Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23         Page 1 of 212 PageID 3518


       89TH CONGRESS                  SENATE
                                                 Calendar No. 1835
                                                              REPORT
                          )
         2d Session                                                   No. 1866



              FEDERAL FIREARMS AMENDMENTS OF 1966

                        OCTOBER 19, 1966.-Ordered to be printed


           Mr. HRUSKA, from the Committee on the Judiciary, submitted
                                 the following
                                   REPORT
                                   together with
                               INDIVIDUAL VIEWS
                                 [To accompany S. 3767]

         The Committee on the Judiciary, to which was referred the bill
       (S. 3767) to amend the Federal Firearms Act, having considered the
       same, reports favorably thereon, without, amendment, and recommends
       that the bill do pass.
                                       PURPOSE
          The purpose of the proposed legislation is to amend existing Feid-
       eral firearms control law to-
                (1) regulate more effectively interstate commerce in firearms
             so as to reduce the likelihood that they fall into the hands of the
             lawless or those who might misuse them;
                (2) assist the States and their political subdivisions to enforce
             their firearms control laws and ordinances;
                (3) help combat the skyrocketing increase in the incidence of
                serious crime in the United States.
          It-is not the purpose of this bill to interfere with the legitimate
       uses of firearms by the millions of law-abiding citizens who acquire,
       transport and possess and them for hunting and other recreational pur-
       suits,  self-protection,      other lawful purposes.
                             MAJOR PROVISIONS OF S. 3767
          1. No carrier in interstate or foreign commerce may deliver any
       handgun to any person under 21 years of age.
          2. No manufacturer or dealer may ship any handgun in interstate
       or foreign commerce to any person, except a licensed manufacturer
       or dealer, unless that person submits to the shipper a sworn statement
        that he
             69-593 0---1

                                                    Defs.' MSJ App. 222
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 2 of 212 PageID 3519
         2          FEDERAL FIREARMS AMENDMENTS OF 1966

               (a) is at least 21 years of age;
               (b) is not prohibited by Federal or State law or local ordinance
             from receiving or possessing the handllmn;
               (c) discloses the title, true name and address of the principal
               law enforcement officer of the locality to which the handgun
               will be shipped.
                  In addition, no manufacturer or dealer may sell a handgun over-
               the-counter to out-of-state residents unless a sworn statement
               is subllitted by the prospective recipient containing the same
               information required of the mail-order purchaser.
           :3. Prior to the shipment of at handgun under provisions of the act,
        the manufacturer or dealer must forward a copy of the customer's
       swornl statement b)y registered or certified mail (return receipt re-
       quested)a tofullthe law enforcement officerserial   named in the statement con-
       taining             description     (excluding          number) of the handgun
       tol)b shipped, andmIust receive a return receipt evidencing delivery
       of thelletter, or notice that the law enforcement officer has refused to
       accept the letter. A dealer then must delay delivery to the purchaser
       for 7 days after lie has received the return receipt or notice of refusal.
          The Governor of any State may designate any official in his State
       to receive notification of handgun purchases for his State or any part
       thereof in lieu of notification to local law enforcement officers.
          4. T'he act of a manufacturer or dealer shipping any firearm (in-
       cluding rifles and shotguns) in interstate commerce to any person in
       any State where the receipt of the firearm by such person would
       violate any statute of that State is prohibited.
          5. ''The act of knowingly making a false statement, furnishing false
       or deceiving identification to any licensed dealer or mannufacturer for
       tile purpose of obtaining a firearm is prohibited.
          6. 'l'he act of transporting into or receiving a firearll by ta resident of
        llly Stiate froll outside tlState
                                      te         if it were unllawful for himn to purchase
       Or possess ia firearms ill his own State is prohlit)ited.
                           lor dealer may deliver any l)ackage c('otainling
          7. No anuIfalcturer
       a firearms to tany carrier for shipm)lent il. interstate conmllner(e without,
       prior    written notice to the ('arrier.
          S. A person llmust be tit least 21 years of age to obtain a Federal
       firearnlls license as deal manufacturer,     er,            or Ipawnbroker. The
       lapllicant mulIst,     not)  be   prohibited frolm   receiving   i firearm by the
       provisions fact or 'Il'e applicant
                      of tile  act.                     lmust not,  have failed to disclose
       any material                  11made  false  statements   in  connllection with the
       al)plication.
          9. The fee for a manufacturer's or pawnbroker's license shall be
       $50 aI year; for a dealer's license $25 for the first year and $10 for
       each renewal year.
          10. Ammunition, ammunition components, and minor parts of a
       firearm (such as springs, sights, and accessories) are removed from
       the application of the Federal Firearms Act.
          11. Firearms manufactured prior to 1899 are considered as antique
       firearms and, as such, are exempted from the provisions of the act.
          12. The existing penalty provisions of the Federal Firearms Act.
       (a maxinium fine of $5,000 and a maximum term of imprisonment
       of 2 years) are increased to maximums of $10,000 and 10 years, but
       all sentenced offenders are made eligible for parole as the U.S. Board
       of Parole may determine.


                                                         Defs.' MSJ App. 223
Case 4:22-cv-00691-O  Document 182-1 AMENDMENTS
                                     Filed 02/13/23 OF
                                                     Page 3 of 212 PageID 3520
                   FEDERAL FIREARMS                    1966                  3
         On September 22 of this year, the committee by a vote of 10 to 5,
       reported this bill to the Senate favorably.
                                       STATEMENT
          Over the past 4 years the Committee on the Judiciary has become
       increasingly    concerned over the rise in lawlessness and violent crime
       in the United States and the relationship between the apparent easy
       availability ofconducted
                         firearms and criminal behavior. Initial investigative
      hearings were                by a subcommittee in 1963 and 1964 into the
       adequacy    of existing Federal firearms control laws. Further hearings
       followed in 1965.
         The public hearings demonstrated that the interstate mail-order
      sale of firearms to criminal elements posed a significant problem to law
      enforcement officials throughout the United States and necessitated
      legislation to strengthen existing Federal control statutes.
         The earlier hearings produced evidence that criminals and other
      undesirable elements have seized upon the inadequacies of existing
      Federal law by availing themselves of mail-order firearms. The
      availability   through this source thus cirumnvents State and local laws,
      giving
      level.
               rise serious law enforcement problems at tlhe State and local
                    to
         The 1965 hearings brought out further deficiencies in the present
      firearms statutes.
         Not only is mail order it means of circumventing State and local
      law, but the over-the-counter sale of firearms, primarily handguns, to
      persons who are not residents of the locale in which the dealer con-
      ducts his business, affords similar circumvention. This problem is
      most prevalent in, but not limited to, those States where stringent
      firearms regulations are in effect and the purchaser is not able to pur-
      chase a firearm in accord witl- the laws of his State. As a result, a
      would-be purchaser travels to a neighboring State with less stringent
      controls and purchases the firearm which is then misused in his
      residence State. This problem was outlined by law-enforcement
      officers throughout the country.
         Firearms purchased in the above manner have been utilized in the
      commission of crime in substantial numbers. For example, the Massa-
      chusetts State Police have traced 87 percent of the concealable fire-
      arms used in crimes in Massachusetts to out-of-State purchases.
         The lack of adequate Federal controls over this aspect of the com-
      merce in firearms affords circumvention and violation of the laws of
      several of the States similar to the mail-order methods of purchase.
         It is difficult for the States to cope with this aspect of the problem
      without additional help by the Federal Government.
                              1THE NEED FOR LEGISLATION
         There has been a great nationwide concern over the steadily in-
      creasing   rate of crime in this country. Much attention, perhaps too
      much attention, has been directed at the role of firearms in crime, with
      too little attention given to the many sociological aspects which are
      the basic causes of our crime problem. It would appear, however,
      from testimony presented to this committee, that there are some
      respects in which the existing Federal Firearms Act should be
      strengthened.

                                                  Defs.' MSJ App. 224
Case 4:22-cv-00691-O
        4             Document
                    FEDERAL    182-1 Filed
                            FIREARMS       02/13/23 OF
                                     AMENDMENTS      Page 4 of 212 PageID 3521
                                                        1966

            After reviewing all of the evidence adduced during the hearings,
        it, is the opinion of the committee that the enactment of legislation that
        would indiscriminately place further restrictions on the acquisition of
        all types of firearms would be unwarranted. Rather, in seeking to
        reduce the criminal use of firearms, the legislation should especially
        concern itself with the particular type of weapon that is predomi-
        nantly usedthebyfactthe criminal.
            Despite            that the vast majority of all handguns are used for
        legitimate    sporting purposes, the committee concluded that this fire-
        arm was the most troublesome and difficult factor in the unlawful
        use of firearms. Its size, weight, and compactness make it easy to
        carry,    to conceal, to dispose of, or to transport. All these factors
        make it, the weapon most susceptible to criminal use.
            In particular, it was learned upon investigation that the most
        serious firearms problem facing most enforcement agencies hias been
        the widespread availability of handguns through mail-order channels.
        T'he record shows that tlhe sale of mail-order handguns in the large
       -urban complexes may have stimulated crime and juvenile delinquency
        and that State, county, and municipal laws and ordinances have been
        unable to cope with the problem because of their jurisdictional
        limits. The extension of the Federal law proposed in S. 3767 is in
        keeping with the long-accepted inrole of the Federal and  Government in
        restricting    interstate
       modities dangerous to life.
                                   commerce     weapons, (drugs,      other com-

                               THE PROBLEM: HAND)GUNS

           The handgun as the most formidable and most frequently used tool
        of the criminal is well recognized and established by first, the existence
        in many States of laws controlling it; and, second, by statistics
        showing its dominance as the weapon used in unlawful activities.
        State control of handgltns
           While there is 1 State that requires an identification card for the
        purchase of a rifle or shotgun and 22 States that prohibit tlie carrying
        of a loaded rifle or shotgun in a moving vehicle, compare the much
        greater extent of control over lhadguns by the States. These con-
        trols are of two classes--the positive and tle negative. In those
        States with positive handgun controls:
                Twenty-threeStates
                               States require a license to sell at retail.
                rTwenty-nine
             about theo person.
                                     require a license to carry a handgun ol O)1'
               Eight States require a permit or its equivalent to purchase a
            handgun.
               Tren States prescribe a \waiting period between purchase and
            delivery of aStates
                          handgun.
               Eighteen          require a license to carry a handgun in a
            vehicle'
          As to States with negative controls:
               Twenty-one States prohibit the carrying of a handgun concealed
            on the person.
               Four States require registration of handguns.
            in some instances other firearms---in a vehicle. handgun----tand
               Twenty-two States prohibit carrying a loaded
               In addition, many municipalities have similar ordinances.


                                                    Defs.' MSJ App. 225
Case 4:22-cv-00691-O  Document 182-1 AMENDMENTS
                   FEDERAL FIREARMS Filed 02/13/23 OFPage 5 of 212 PageID 3522
                                                       1966          5
          The committee is of the opinion that the lawmakers of each State
       are best able to determine the conditions and needs within their own
       borders and to pass appropriate legislation in regard to the use of
       handguns. Thus, the committee endeavored to draft legislation which
       would give State and local officials notice of the flow of handguns into
       their jurisdiction so as to enable them to regulate their use as dictated
       by applicable local laws.
       Statistics on firearms used in crimes
          Federal Bureau of Investigation statistics delineate te handgun ali
       the firearms problem.
          The 1965 FBI Uniform Crime Reports state that 57 percent of
       the willful killings during that year were committed with firearms.
       Thus, out of a total of 9,850 such killings, firearms were used in 5,634
       cases. Writing to Senator Roman L. Hruska on July 27, 1960, FBI
       Director J. Edgar Hoover supplemented the Reports. Indicating that
       handguns were used in 70 percent of the murders committed with
       firearms, the Director stated:
               "Based on the submission of police reports under the
            uniform crime reporting program, 70 percent of the murder
            by gun in this country is committed with a handlguln, 20 per-
            cent by the use of a shotgun, and 10 percent with a rifle
            or other firearm. This will supplement the data available to
            you in Uniform Crime Reports-1965."
          In regard to aggravated assaults, approximately 17 percent of the
       total (206,600) were committed with firearms. However, Mr. Hoover
       advised that,
               "There is no available breakdown of the type of firearms
             used in these attacks."
          In 1965, there were 118,900 robberies. Of this figure, 38 percent,
       or about 45,000, were armed robberies committed with firearms.
       In regard to this category, Mr. Hoover stated in the above-mentioned
       letter:
               Although we do not make a regular collection of the type
            of weapon used in armed robbery, from special surveys in the
            past we have determined about two-thirds are firearms and
            most of these the handgun.
          From these statistics, as well as the treatment accorded handguns
       by State and city statutes and ordinances, it is quite clear that the
       principal offender in the unlawful use of firearms is the handgun.
       Inadequacy of existing Federal law
         It was the intent of the Congress in enacting the Federal Firearms
       Act of 193F; (as amended) to control the movement of all firearms in
       interstate commerce. This law;
               (a) iRequires the licensing of manufacturers and importers of,
            and dealers in, firearms, ammunition and components thereof;
               (b) Provides restrictions on the movement of all firearms and
            pistol ammunition    in interstate or foreign commerce;
               (c) Prohibits convicted felons, persons under indictment and
            fugitives from justice from shipping, transporting or receiving
            firearms or ammunition in interstate or foreign commerce;



                                                   Defs.' MSJ App. 226
Case 4:22-cv-00691-O
        6             Document
                   FEDERAL     182-1 Filed
                           FIREARMS        02/13/23 OF
                                     AMENDMENTS      Page 6 of 212 PageID 3523
                                                       1966

               (/) Prohibits the shipment, transportation, or receipt of stolen
            firearms or atimunlition, or firearms from which tile serial Iinmbler
            has b)een removed, ol)literated, or altered;
               (e) Reqitlires all licensed manufacturers, importers, and dealers
            (o   inulliltain complllete records of the production, receipt, and dis-
            )positionl  of all firearms.
          A p)rovisionl ,f tills Federal firearmlls l1aw makes it, mandatory for
       tany fe(lIerally licensed firearms mlanltufactltrer or dealer to observe the
       ip)lrchlase-l)ermllt
       mellnt for tlie
                            re (lliriemelltt of any State which lias stuch ia
                       )purclhase
                                                                                  ireie-
                                    of al firearms. Here, 1hiever, it. is important. to
       noteilthat only S. of tile 50 States enacted ait purchase-permit,
       req uiremllent, a111d in atll cases witl respect to the purchase of a pistol
       or revolver. At t le samel time, virtually all States do have statutes
       State atndl local a<(cq(iisition
       regllaiting tilie                 of firearms bhy minor children. It is these
                           staitiltes wllich are being circumvented by mail order
       a(nd aire creating the pressing problem before us.
           'I'lc c(olimmitteeIlas (Iraftedat legislation licensed
                                                            to effectively p)lug this
       loopliolein by providing       tllhat    federally           aninufacturer or
       (lealer, slhippl)ig at pistol or revolver by common carrier, must
       notify the carrier Ithat        tlie package l)eing transported contains a
       pistol oor revolver.      The law then l)laces the responsibility on the
       co()mm)I1o) carrier to knowingly make no delivery of such a package to a
       )person wlho is a nilnor or otllerwise prohibited from receiving or
        )OXssessing a 11an11dgtin.
          It is believed tai  at this, in addition to the sworn affidavit require-
       mIlet provi(led in S. 3767 and tlie notification to local law enforcement
       athtllorities, will provide tile necessary and timely information to
       State ai(l local enforcement officials to enable themn to enforce the
       al)l)licable laws ill tlleir respective jurisdictions.
          These l)ro\visions will serve to give greatest assurance that State and
       local laws can( be effectively enforced, without the necessity of en-
       croalching tindily l)po1l tle longst, handing rigllts and privileges of tlhe
       milliomis of firearms owners, collectors, and users who l)ut them to
       legal, whllolesonle, anld beneficial use.
        What S. 3767 does not (tdo
           The subject. bill does nlot. have special provisions which apl)ly to
       i ortoled firearms, destructive devices, or rifles and shotguns.
           Impl)orte(d firearms have been singled out by l)rol)onents of highly
       restrictive firearms control legislation for embargoes in some cases and
       ilniusutal requirements such as meeting recognized safety standards inl
       others. however, the testimony before the committee indicated
       clea rly thiat ilmpm'ted firearms are not inherently evil because of their
       origin. 'Th'ley atre brolluglt     into tilis country iln as wide a range of
       price    anld variety  as are their domesticallyy manufactured counterparts.
       '1'o Ih) sure, t hey should be subject to thle same controls alnd restrictions
       wNlli(.! a1)pply to all firearms, b)ut no reason could be ascertained to appl)l)ly
       (Ilil)atrgoes and(l unusual restrictions against them. Ini any event, any
       sm(|ch restrictions fall beyond the jurisdiction or competency of this
       ('ommlittee since questionss of foreign trade and relations policy are
       involved. Prol)erly these matters should be considered by the Senate
       committeeses on Finance anid Foreign Relations. Detailed comments
       MO imported firearms follow later in this rel)ort.
           Tlie subject bill does not deal with the so-called destructive devices
       such as bazookas, rockets, mines, heavy field artillery and the like.


                                                         Defs.' MSJ App. 227
                                                                       object.
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 7 of 212 PageID 3524
                    FEDERAL FIREARMS AMENDMENTS OF 1966             7
         S. 3767 is intended to amend the Federal Firearms Act of 1938S, which
         primari    ly governs interstate and foreign c(oinlerce il firearms used
         for sporting plnrposes. The National Firearms Act of 19:34, tle s,-
         calleld NMIchineglin Act, has effectively corntrolledl interstate c(mmrierce
         ill mrachinegluns, other alrtomatic wea\eporns, and saLe(d-ofirifles ant(l
        sil(tgullrs by imposing heavy ($200) transfer taxes on ea(lc sale and a
        national      registration systemli o{f all sulch welapolls.
             While the destrrctive (l devices are not a siubstan tial factor ill t ie
       commIllission of serious crimes (only a handfu11 l of cases were1ma(de
        knloiwn to tlle committee in wh\\ich tl(hese weapons were acttually
        ised in tile coiimmnission of tlhe SO,00() firearms crimes commlnlitted(
        ill 1965), neither trle tllere any significant, sporting p rpl)oses for wh\ichl
        they are sllite(l.
             lBot(l Senators I)ol(d and Ilruskia ha ve intrlod( ce,(l ills to bring
       (lest'rmlctive     devicess w\itlhini the scope of the National Firearms Act.
          lThese   bills are plend(ling in tlie SenlteCte
       bills sihouil( lie given\ early collsidleraltion.
                                                         ( o ittoen i illnan(llc. 'I'ihese
            lThe sul)ject, lill (loes not ililmose special plroc(ledlres orm restrictions
        (o t le long g(nill,altlrolgllhmanly of t he bill's )I'()visions aIl)yl to all
       firearms. The evi(lence Iefore tlie cm'iittee ias overwhleinmingly
       (Iemni)stlrate(d iatIhi e Iairdl gutll is tlie typle (f firear tl11( at is prin-
       cil)allyo;f used(I  iill ite (omililissiol of serious crime. 'lThus, it is tile sil)-
                    1s)e(cial
       ject                      I)rovisi()os which require tlie stri)Iuission()o a sw\\rn(
       statement, biy te          l   )purchaselr tal( waiting periods before delivery
       ('can be effected by tIie (leleer (1r manu faclcthirer. Als, persons 1111(nd'
       tie age ()f 21 ciann)ot, obtain lian(Iguns I)y interistlateiIail-o'r(ler shilp-
          iienlt. Rifles anid so()tgtins are exempted( from these alid(itionlal
       req(uirelentts,          since trley are Used slistl anltially less freq Ilently I)y
         tle lawless andl I)ecause of their lrepo)((lderarlt rise il a lawfill and(i
       belreficial manner.
                           ENFORCEMENT OF EXISTIN(; FEDE)RAL LAW
            Experience         and( testimony before this committee indicate th alt tlie
       operation       of  tile   Federal Firearims Act. over tlie years liats demonstrated
       certain weaknesses which call for correction. 'iThe                        of S. 3767
       is to remove these weaknesses in tile interest of i,,ore effective anid efi-
       cient law enforcement.
            Many of tire prol)lems whlichi somei persons ascribe to tlre present
       Federal firearms stattites are, in reality, not tlie fault of tlre law itself
       but a result, of tlhe yet, unsolved problem of uniform and( effective ad-
       ministration of the criminal law. Tills problem lias several factors,
       not the least of wliichl are overworked and understaffed enforcement
       agencies       and similarly overworked bI)tt frequently too lenient, l)rsecur-
       t ors and courts. Thie record shows that. ind(lictlients arnd convictioIns
       under the existing Federal firealrmls statutes have beein relatively few,
       and thie comparative rarity of successful action iln the courts by the
       Federal Government have contributed to ia compounding of thle )rob-
       lems of reasonable and effective firearms regulation.
            Apparently, in a nlimb)er of instances, the public aulthimorities are not
       fully urtiliziixg the tools available to them at present nd(er Federal
       law'. Testimony has been presente(l to this conrmlittee that a State
       conservation agency, in tihe course of apprehending ind(ivid(lals in
       violation of game laws or in routine checking, has had occasion to turn
       over to Federal enforcement personnel weapons in violation of the


                                                          Defs.' MSJ App. 228
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 8 of 212 PageID 3525
        8           FEDERAL FIREARMS AMENDMENTS OF 1966

        National Firearms Act. To its knowledge, this conservation agency
        has never Ihear(l of a Federal prosecution resulting from those seizures.
        Further,i testimony before this committee          has brought out, that in a
         lnmber of instancess Federal agents have apprehended             individuals in
        serio(ls violation of the Federal firearms laws but that no action lias
        resulted from the arrest of these individuals. This is a matter of con-
        ('crn to tis colmiilllit.tee alld ought to be considered in evaluating the
        desirability anId necessity for additional firearms controls.
           A police official of a large American city testified before this com-
        mittee that in the first 6 mlloths of 1965, police officers stoppedd and
        searche(l and found 256 persons carrying, in most instances, handguns.
        IThe arreste(l persons were       charged with carrying ta ct)Inaled weapontand
        warrants were a)pplie( for in all these cases. However, due to frailties
        in the law, only 81 warrants were issued."
           Another police official testified that even though his State has a law
        requiringjl)ermlitis  for thej purchase of hahtdguns, serious difficulty was
        (ecolulttered(l (dealers.personslt
                        with               obttainiig han(lguns by mail order from
        out-of-State                  These sales apparently are in violation of
        section 2((c) of the Federal Firearmns Act (15 U.S.C. 902(c)). Yet, no
        evidence was presented to the committeee that these violations were
        prosccl tte(d.
           This co(milittee is fully aware that the foregoing examples could
        be iamlplified many times. If this be the case, and the evidence
         pointss in that direction, then this c( ommittee believes that the solution
        to thle problems of firearms in crime lies not in highly restrictive legisla-
        tive controls })It, in the understanding and proper handling of all
        operative factors iil the field of crime and (criminal administration.
                                 IAWFUI USE OF FIREARMS
           As detailed( earlier in this repol)rt, s)ec(ifi( needs for amendment of
        the Federtal Firearms Act. have been demonstrate( in the hearings
        before the (:committee. The subject bill, S. 3767, has effectively ad-
        (ressed itself to t these p)rol)lems which lmutst be, resolved. Yet, in tlhe
        drafting of the rel)orted bill, tlie committee lias been1 scrpul)oulttsly
        careful to avoid any un(lue restrictions upon the legitimate, proper,
        anrd beneficial use of firearms, for wheli taken in theA entire context
        and oln )alallce, the p)lae and role of l)rivately owned and used fire-
        arms are necessary and wholesome as they have always been in the
        history of this Nation. 'lTheir legitimate role should be maintained.
           Any legislation intended to (leal with     those who unlawfully use fire-
        arms must be made to concentrate ()on them as effectively as possible
        without, encr(oachilng upoIn the vast preponderance of the public who
        use firearms in a lawful aand beneficial manner.
           In seeking to protect, the constitutionally guaranteed right of our
        citizenry to keep and bear arms for lawful purposes,            the (committee
        was ((consi(lering a factor in our society    of  no  mean  proportion.overBest
        estimates indicate that there are, within        the  United  States,        100
        million privately owned firearms       in the  possession   of over  20  million
        citizens.
           The committee considered the hundreds of thousands of shooters
        who enter into formal rifle, pistol, and shotgun competitive shooting,
        and the millions who use these same types of firearms for informal
        skeet., trap, and target shooting. Not only does this use ofa valuable  firearms
        provide a healthy    recreational   activity,  but  it provides, as



                                                        Defs.' MSJ App. 229
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 9 of 212 PageID 3526
                    FEDERAL FIREARMS AMENDMENTS OF 1966             9
        national asset, a great number of young men who are, prior to their
        entering      our Armed Forces, familiar with firearms and skilled in their
        Iuse. In Vietnam, as in every armed conflict, it, is evident that, in
        spite of spectacular radances in weaponry systems, we are still faced
        will     a need for skilled riflemen. 'I'he plain fact that preindluction
        firearms training produces more capable and effective soldiers was
        recently mad le(arl by a Department of Defense sttu(dy.
           Th'lle study, whicl was cnolldicted for' tile )eparltment of lile Arly
        by tille Artllur 1). IitAtle, Inc.,        a private industrial aliid Ilmanagemenlt
        researcll firmly, Ilnde(rook to review co(ipl)letily              tlie Armyll's civililll
        mlarksmalnsllhil) program c('o(lucted by llhe N lion(al Board for 1(he
        IPromotlion, of Iifle lPralctice.
           A brief summnary of the findings of llhatl evalllaition follows:
                   'lTe results of )our     st idy indicate itihat thle civililat mark-
                                         * * * contributes
                Imlnsilip proi()gram                            significantly t tole (le-
               velopmitent     of rifle Imlrksmianshlip l)roficiency a111 ('colfi(ldel(e
               ill t le ability to use a rifle effectively inl co(lilalt o,tn te plart
                ,f t hose \wIo plarticiplte i thle progrtlll (or benefit ind(lirectly
               fromI it.
                   We believe illit, t'ho'se        aspects of tlie I)()IM Iprogralin
               whilchi   relate    to  tlie l)rot(ler   interest at(d l)articip)ation) il
                   solloitlg
               rifle         i an,   lng     t ie vyoutlt ofour
                                                             f
               c1111) activities ) shouldlbe empl)llasized(l IllnI'C )id
                                                                            l. (1(pri iarlily
                                                                     co( nit'ry
                                                                                       rsutel
               even 11o)re effectively to reat(,hl a greater         l      p'erc('ela(ge of
               tli(se y(ou)llg   111e  likely   to enter  miilitariy service.
           'I'lhis stud(ly indicates clearly tfllat a colitinilltion a11t(1 i!mplelentllta-
       tion of Itle );rogramiisis necessary for' tlle (lefenCse of our ('(co11try.
            'l)he committee was cogniziant.l of tl.e Imany collectol('s of legit ilalte
       firearms of all types; the st tudenlts of firearms history an(ld development
       wlio are just as serious aboil)t thlleir respectable hobby as those wl(o
       collect st.aml)s, aut.omlol)iles, o1' works of art.
           While ill n way ald vocatling tli at individuals take tle law into t lieir
       ownl hands, the c('ommitlee is aware t iml t here are millions (f lhoiies
       where firearms     !ha ve al properplace fo(r self-protection.
           Finally, e co(miiitt.ee endeat'vored t(o draft, legislation whlichl woi(ld
                     tIl,
       not. unnecessarily restrict tlle activities of t lle more t liall 15 million
       hunters int this countlrv. -lt1111ing l)rovides a healllthy outdoor rec'rea-
       tio()n which (catill e eijo)yed lilroghloutt lile lifetime of anll acti adtiill. ve
       'Illis act ivit y is an effect ive inst lrumnent of wildlife managementt lit ilized
       by Federal and State wildlife litaiiatgers. In a(ldditioll, these sp)orts-
       tieen fund, il large part,(lGovernment I prolgralls of wildlife llanatgellient
       through the pu)trc(hase of li,,,,ting licellses, alnd tilroughll tlie allocated
       Federal excise taxes paid upl)ol t.le sales of sl)orting alllls and aim-
       munition.
           Furtliermore, thie recent. report' by the U.S. I)epartm.nent of tile
       Interiorr, Butreatt of Sport Fislheries and Wildlife, is no(tewortlhy. Its
       196;5 N at.io(nal Sttrvey of Fishiing and Hunllting revealed that (luring
       tills period, 13,583,00()0 liiinters spentt. a total of $1,121,135,000 in
       pursuit of ileir sports. 'Th'ley took 169,377,000 trips in spending
       185,8 19,000 recreation days afield. 'Th'ley traveled 8,659,034,000
       passenger miles, p)rinciplally by att o, to reach and retu'1,nrl from huntl ing
       areas. Collectively and individually, hunting sul)l)orts a significant
       portion of the economy.


                                                              Defs.' MSJ App. 230
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 10 of 212 PageID 3527
         10         FEDERAL FIREARMS AMENDMENTS OF 1966

            'lThe lawful and legitimate use of firearms by our citizenry is a wide-
        spread and worthwhile activity which must not be unnecessarily im-
        Ipaired.
        of
                   'Ihe committee believes that this bill preserves the freedom
            activity for these1nore than 20 million lawful firearms users while
        effectivelyco(0.fronting
        rep)resellts
                                 tlhe infinitesimal fraction of this number whiich
                     those who ulse firearms in an antisocial manner.
                                        l)ESTIUCTIV E DEVICES
             I)lirinlg last year's firearmilils hearings, ilwchli attenttioni wias devoted
        It 1ice s,)-c(alle(l (lestrlllctive (levices--- rockets, mortrlars, blazookas,
        greliia(l(es,  liIes, )(bollbls, llmissiles, field artillery, andt the like. IImports
          f s(c'i inllitiltarv hlardIware were featltred at. the lIeariligs as a major
        reasol
        at(l        fTr atlllor izilig ti enllll )argo otnmilitary s1rpll)lils of all kinds
              ,otli(,r ca tegories 4f firearms.
            WIlile theseof devices          (lo    not appeart.o be used significantly in the
        (o()11111ission          serious      crime,     it was not contended by any of the
                 smni's grotllps wholse representatives testified inl opposition to
        spo)(rt1592
        S.             thlat there were           legitimate sporting uses               for them. One of
        I(le lai'ri iiil) o1rt(erS )ord(lwnce
        1de!(ied(
                       r
                      scllh n1ililirv
                                          'i lire(, rii reo('e)l
                                                        s
                                                                    dlle(dl(l
                                                            ii(1lerit   sect   iot
                                                                                   l 414illpl)ort
                                                                                    t at
                                                                                             of
                                                                                                      lic(nt
                                                                                                    thle
                                                                                                                ses1be
                                                                                                            NlMtiial
        S'ecur
        Del)e)li
                 i ty!  i( A,lsti
                    ti('il  It(
                                   t(i;d(1(ided(.    'hu'e N\
                              aIvises th11a it Ii lIoI ge'r pl)-Ier
                                                                     ios1( itscontroll    )fliceof Otllist het\'v State
                                                                                   iilm()'ts                       e.
            Serious ol)jections were raise(l to the inclusion in Jhe Felderal
        Fire('arms        Act of pro)hibitio)ns designedd to take this or any other cate-
        gory firearissofout, ofcommerce.
                 of                                            T'ils law was enacted primarily for
        tihte   regulations        (comnnierce         in   firearms     generally        use(l for sporting
        p)uri)oses-- -rifles,
        Act.                 shIotguns,
              of 1(934 (( h. 53                  hianlguns.
                                 of th.le Internall
                                                     and                        The
                                                    Revenue Code of 1954) ihas long
                                                                                         National        Firearms
        I)eet   the vehicle   for
       peculiarly suscel)til)le
                                   remo(lving   from   commerce weapons which are
                                       tocriminall use and not generally used for
       recreationI.     ''llis act,   provides
                                        automatic
                                                  for the registration and prohibitory
        taxes   oni tlie transfer   of                weapons such as machineguns anl
       sawed(-off rifles andil shotguns. Also included are firearms muflters
       and silencers. 'The National Firearms Act appears to have regulated
       effectively so-called(
                          Persuasive
                                    gangster-typ)e atweapons      mn the years since its
       enlactlmeunit.                    testiotiomly     thie hearings brought out the
                                            tlhe essential difference between tile two
        advantages of preserving
       .icts.    Obviously, it would be more effective to restrict, commerce il
        all destructivee devices, not merely imports, and to sul)ject all pro-
        hibited weapons to tlhe saiie enforcement and regulatory machinery.
       Imports
           Thl!e committeeiFetral
                                ave at good (leal      of consideration to the (lltesioil
       of whether t.ie                F1'irearnms should be amende-d to authorize
                                                   Act
       (lie Seclretary of ti(e Tre(astry to 1)lace (embargoes on certain categories
       of inl)ported firearms and special restrictions on others. The coinclu-
       sion reached b)y a majority of the committee wa\\ that the purposes of
       the bill could be a(deqiately accomplished through regulation of
       dolnest   ic
       lished at commerce
                                 il firearms and(I that. no clear basis had been estab-
                    the hearings to define types of firearms which particularly
       aggravated the crime problem and which were noti also readily avail-
       atile   from
       criminatory
                        domestic   sources. The committee felt
                    treatment of commerce and interference with consumer
                                                                               that dis- strongly
       preference without a clear showing of overriding necessity should be




                                                                           Defs.' MSJ App. 231
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 11 of 212 PageID 3528
                    FEDERAL FIREARMS AMENDMENTS OF 1966            11
        avoided. Proposals to cut off certain imports and to ban mail-order
        sales of rifles made to military specifications were among the provisions
        which the committee rejected as unnecessary and discriminatoryy.
        'his prevailing view is well expressed in a letter dated April 20, 196;(,
        circlllated to the full committee from one of its members who thus
        gave notice of his reservations while nonetheless voting to submit the
       subcomlllittee out bill to the full committee.
            Astpointed        in the above section on so-called (lestrlict ive devices,
         considerable attention was attracte(l at the hearings to the rather
        shocking idea that anyone can )buy ia bazooka, antitank gun, o)r other
        high-calibermilieu tary ordinance. 'Taking destructive devices out of
        commerce is no justification whatsoever for an emblarglo onT imports
        because (a) ilmiports of these devices have already been cilt off by the
       State I)epartmenti lmntler existing law, and (b) the lied( is for restric-'
        tions which reach dest rlctive -evices       already in the
                                                   eUnited                       States.
        I'eniding  bills to amenld  the  Natiolnal
                                                l   irearms  Act, to includet(l (esttruc-
        tive devices will far more effectively laccol()lish the (desire(l objective.
           ''The proposed( ilmilport restrictions wolill have given tile Secretary
        of tile TIreasury lunulsually broad (discretionr to (leci(le whether a partic-
         ilar type of filtearmlI is generally recognized as particularly suitable
        for, or readily adaptable to, sporting lurpioses. If tlis atlthoritby
        means anything, it, pe erits   ts le(eral offi(als to differ with the ju(lg-
        ment of sportsmen expressed in the more familiar manner through
        consumer preference in the marketplace. It is )lain that the pro-
        ponents of an embargo( anticipated cutting off large (lanltities of inm-
        porte(l firearms. Quite obviously suchtl large-scale impl)orts woull( not
        exist, in the absence of impl)ortant, consumer preference. This collm-
        mittee is not prepared to make the unlikely assumption without eti-
       dence that substantial markets for iml)ported products are conl)pose(l
       of irresponsible or (rimiial citizens. No justifiable criteria have
        been proposed for the Secretary of tlie Treasury to dliscrimiutnate h)e-
        tween various categories of imported firearms; on the contrary, the
       statements of the prol)onents of embargoes would encourage the
       Secretary to use this )road discretion to curtail the availability of
       firearms in general within the practical limitations of domesticc pollitics.
       The fact that Treasury witnesses expressed no sensitivity to this
       problem     further suggests the need for caution.
           The hearings failed to establish inherent differences, which might
       bear on criminal use, between military and sporting small arms or'
       between firearms manufactured abroad or in the United States.
       Despite ia general tendency toward lower prices for imports and mili-
       tary surplus, the hearings revealed a considerable overlap with the
       retail prices of equally lethal domestic sporting firearms. Further-
       more, the hearings brought out the important role over the last 10
       years of imported military surplus, largely bolt action rifles, in making
       inexpensive hunting and shooting equipment more widely available
       tas a stimulant to outdoor sports and also to thousands of small busi-
       nesses (gunsmiths, manufacturers of accessories and parts, sporter-
       izers of surplus rifles, makers of ammunition and ammunition loading
       equipment and retailers).
          The conclusion is inescapable that the purpose of proposing any
       embargo would be twofold: (a) remove lower cost firearms from the
       market, and (b) discriminate against imports because they are politi-
       cally vulnerable and might enlist the support of competing domestic
       manufacturers. The majority of the committee rejects on principle

                                                         Defs.' MSJ App. 232
        practical andl




        (lquestio1s
          ll(e  ftlltre
        by('acce)tabl)e
               otlier
        tlie (ollittee
                co
                                                plahusile
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 12 of 212 PageID 3529
         12         FEDERAL FIREARMS AMENDMENTS OF 1966

        the discriminatory implications of both justifications in a bill designed
        to meet the problem of crime in the United States. It is both im-
                          unfair
                             to legislate against low prices. Where should the
        line he drawn? Why shotlld low-income sportsmen, frequently
        farmers awnd other countryy people to whomll hunting is most iml)ortant,
        bear the burden of F'edleral intervention in the marketplace?
            I1'le (colllllittee (conlsie(lred a proposall whi('l originate(l quite recently
        (oI a sill)ject lot cov(eredl at. tie Ilearings. It, would give tlie Se(retary
        oif tlie Treasury Irnoad discretionn to ell)bargo imports (on thie grounds
        tlhat tley Ilighlt be uInsafe to the user. The injection of this issue may
        reflect tlie d(!ifficulty in finding
        'Io(   establish    F'eledral  safely    regilatitons
                                                                grounds for curbing imports.
                                                                in firearms is a (oimplex step
        whichil should I)e (ciirefully studied. It could require elaborate regula-
        tory lla(.lhillery. Why should safety stLandards I)e applied to imported
        firearmtns tanl in(ot to the imuclh Ilarger (olmmerce in new and used ()omes-
        tic firearnls?
            'I'lTe levice of atI enlblarl)go on international tra(le raises complex
                        will regard( to Ut.S. treaty obligations. It could preju(di(ce
                         L)bargailling )positiolns of oulr c(ou)lntry if w\ t()l)os
                        countlries   of pl)ubli(
                          )prote(,tiollist
                                                   safety
                                            Ilovyes.    l
                                                          r justifi(cttiolns
                                                           import
                                                                             for
                                                                   restrictions
                                                                                e


        State )Departmentle imllport licensing system auth)iorized by section 414
        of t.le Muttual Security Act, aLs amendied, which is working well and
                                                                                      t.lee misuse
                                                                                  otherwise
                                                                                  considered
                               would require tlie Treasury l)epartilenlt to overlap ia
                                                                                               uln-
                                                                                                b)y

        makes full use of tlhe overseas investigatory facilities of the State De-
        I)partllnln
        andtil   nitl(lily b)urdenl(ullliiction
                      t. Suc(l l                    would waste Goverlnetint lman-hours
                                      those affected )by the overlapping          regulation;   Ino
        necessity       for  this  ilnherently    uindlesirtalle  appllroach  lis  been    dem(on-
        strted.(l
                                                               to the majority of the conm-
        mlittee tlhat tle foreign source ofplain
            For these reasons, it seemed
                                                         a firearm is no basis to outlaw it
        because, like a similar domestic firearm, it might be used in a crime.
        If nondiscriminatory restrictions on mail-order distribution and
        firearms dealers are adequate mnethod(s of firearms control for domestic
        products, they areadequate for imports.                     To declare imports some-
        howr more evil than its comparable                    domestic product Is not only
        illogical; it, woulll b)e misunderstood by many as inspired by the col-
        lateral p)urpolse of protecting American industry from foreign conm-
        pelititon. Any such misunderstanding would jeopardize passage of
        the bill and the credibility and standing of any law which might
        finally be enacted.
                  EXISTING FED)EIAL LAWS RELATING TO FIREARMS
                   A. NATIONAL FIREARMS ACT OF 1934, AS AMENDED
           (a) mnposes a tax and registration on the making or transfer,
        among other welapols, of all fully autoraatic firearms and all short-
        barrel rifles and shotguns.
           (b) Provides that all manufacturers and importers of, and dealers
        and pawnbrokers in, the foregoing kinds of firearms must pay an
        annual occupational tax.




                                                               Defs.' MSJ App. 233
Case 4:22-cv-00691-OFEDERAL
                      Document 182-1 Filed
                            FIREARMS       02/13/23 OF
                                     AMENDMENTS      Page 13 of 212 PageID
                                                       1966          13 3530
                     B. FEDERAL FIREARMS ACT OF 1938, AS AMENDED
          (a) Reqluires the licensing of manufacturers and importers of, and
       dealers in, firearms, ammunition and components thereof;
          (b) Provides certain restrictions on the movement of firearms and
       ammunnlition in interstate or foreign commerce;
          (c) Prohibits convicted felons, persons tlnder indictment, and fugi-
       tives from justice from shipping, transporting, or receiving firearms or
       ammunition in interstate or foreign commerce;
          (d) Prohibits the shipment, transportation, or receipt of stolen
       firearms or ammunition, or firearms from which the serial number has
       been removed, obliterated or altered.
                C.    MAILING OF CONCEALABLE FIREARMS (18 U.S.C. 1715)
           (a) Prohibits    the mailing of concealable firearms (i.e., handguns)
        except  to officers  of the Active (or Reserve Forces; to law-enforcement
        officers whose duty is to serve warrants (if arrest or commitment, to
        employees   of the postal service; andl to watchmen engaged in guarding
              Government
        any                  property;
           (b) Permits the mailing of concealable firearms to or between
        firearms manufacturers and dealers.
                     I). WEAPONS ABOARD AIRCRAFT (49 U.S.C. 1472(1))
          (a) Prohibits the carrying on or about the person while aboard an
       aircraft engaged in air transportation of a concealed deadly or danger-
       ous weapon;
          (b) Permits the carrying of such weapon aboard such aircraft by
       any law-enforcement officer authorized to carry arms, or by any person
       authorized by regulations issued by the Administrator    of the Federal
       Aviation Agency.
                     E. MUTUAL SECURITY ACT OF 1954 (22 U.S.C. 1934)
          (a) Gives authority to the President to control thle export and
       import of arms, ammunition, implements of war, and technical (ata
       related thereto.
          (b) Requires all persons engaging in these transactions to register
       with the U.S. Government, pay registration fees, and secure import
       licenses for all such materials imported into this country.
               SECTIONAL ANALYSIS OF THE PRIOVISIONS OF S. 3767
                                       SECTION 1
         Section 1 oif S. 3767 amends section 1 of tle-Federal Firealrms Act
       (52 Stat. 1250) by restating and clarifying existing definitions con-
       tained in the act and adding several new definitions.
         'The definition of "person" is unchanged. The terms "interstatte or
       foreign commercee" "firearm," manufacturersr,""dealer,"" and "ffugi-
       tive from justice," have been restated and clarified. The term
       "ammunition" has been deleted. The terms "State," "pawnbroker,"
       "Secretary," "crime of violence," and "indictment" are new.


                                                    Defs.' MSJ App. 234
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 14 of 212 PageID 3531
        14          FEDERAL FIREARMS AMENDMENTS OF 1966

       Paragraph (1)
          The definition of the term "person" in paragraph (1) of the bill is
       unchanged from the existing law (15 U.S.C. 901(1)).
       Paragraph (2)
          Paragraph (2) of section 1 of the bill adds a new definition "State"
       to simr)lify and clarify later provisions of the bill and the existing law.
       lThe Canal Zone is included in the definition. Previously it was ex-
       cluded. Also included are the Commonwealth of Puerto Rico,
       Guam, the Virgin Islands, and American Samoa, the principal Com-
       monwealth and possessions of the United States.
       Paragraph (S)
          Paragraph (3) restates     the existing definition of "interstate or
       foreign  commerce" (15 U.S.C. 901(2)). However, language has been
       removed that has been defined in paragraph (2) above.
       Paragraph (4)
         Paragraph (4) restates the definition    of "firearm" and revises it to
       exclude from the act   antique   firearms made in 1898 or earlier. Also
       mufflers and silencers for firearms are removed from the definition.
          Thle year 1898 was selected as tlie "cutoff" date on the basis of
       testimony presented to (Congress by several gun collectors organiza-
       tions and to be consistent with the regulations on importation of
       firearms issued by the Department of State pursuant to section 414 of
       the Mutual Seclrity Act of 1954.
          Mufflers and silencers for firearms are excluded from coverage since
       these items are included presently in the National Firearms Act
       (Ch. 53 of the Internal Revenue Code of 1954). Tis act provides for
       heavy transfer taxes and registration of all such items.
          Also excluded from the present definition of tile term "firearm" is
       "any part or parts" of a firearm. Experience in the administration of
       tihe FederalFI firearms Act has indicated that it is impractical to treat
       each small part as if it were a firearm. The revised definition sub-
       stitutes the words "frame or receiver" for the words "any part or
       parts."
          Added to the term "firearm" are weapons which "may be readily
       converted to" a firearm. Tile purpose of this addition is to include
       specifically  any starter gun designed for use with blank ammunition
       which vill or hllicl may be readily converted to expel a projectile or
       projectiles  by the action of an explosive. Such so-called starter pistols
       Iave been found to be a matter of serious concern to law enforcement
       officers.
       Paragraph (6)
          The definition of the term "handgun" in paragraph (5) is a new
       provision.     lhis definition is necessary because of later provisions
       of the bill which have application solely to these firearms. There is
       no intention that handguns be exempted from any of the other pro-
       vision of thle bill since a handgun is a firearm within the meaning of
       paragraph   (4) above.
          The term includes "pistols," "revolvers" and "any other weapons
       originally designed to be fired by the use of a single hand" which are
       made to be fired by the use of a single hand and which are designed to
       fire or are capable of firing fixed cartridge ammunition.


                                                    Defs.' MSJ App. 235
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 15 of 212 PageID 3532
                    FEDERAL FIREARMS AMENDMENTS OF 1966            15
       Paragraph (6)
         The definition of the term "manufacturer" is a restatement of
       existing law (15 U.S.C. 901\(4)) except that references to ammunition,
       cartridge
       striken.
                  cases, primers, bullets, or propellant powder" have been
         This deletion was made because experience in the administration of
       the Federal Firearms Act has showed that it is extremely difficult to
       control interstate and foreign commerce in ammunition.
         The requirement that the manufacturer be "in the business of"
       manufacturing or importing firearms has been added to the definition
       to conform with a similar provision in the definition of "dealer."
       Paragraph (7)
          The definition of the term "dealer" is a restatement of existing law
       (15 U.S.C. 901(5)) except that references to "ammunition, cartridge
       cases, primers, bullets, or propellant powder" have been stricken as
       in the definition of "manufacturer" above.
          The word "special" has been stricken from the definition since a
       gunsmith or toother personwith
                                    in the business of repairing firearms should
       he required comply               the provisions of the Federal Firearms
       Act if he fits only barrels which do not fall into "special" category.
          'Te words "or breech mechanism" have been stricken because they
       are unnecessary to a complete description of the functions performed
           a person in the business of repairing firearms.
       byOther   minor rephrasing of the language in the definition has been
       made to clarify the existing language.
       Paragraph (8)
          The definition of the term "pawnbroker" is a new provision. Pawn-
       broker dealers are covered uInder the provisions of the existing law in
       the same manner as other dealers. The purpose of this definition is
       to provide a basis for a separate classification of pawnbroker dealers.
          Under this bill pawnbrokers would be subject to a higher license
       fee than other dealers.
       Paragraph (9)
          The definition of the term "Secretary" contained in paragraph (14)
       is a new provision. The purpose of this definition is to eliminate the
       necessity of repeating "Secretary of the Treasury or his delegate" in
       several sections of the act. -




       Paragraph (10)
          The definition of the term "crime of violence" is new. The term
       includes "voluntary manslaughter, murder, rape, mayhem, kidnaping,
       robbery, burglary, housebreaking, extortion accompanied by threats
       of violence, assault with a dangerous weapon, assault with intent to
       commit any offense punishable by imprisonment for more than 1
       year, arson punishable as a felony, or an attempt to commit any of
       the foregoing offenses."
          Prior to an amendment of October 3, 1961 (75 Stat. 757), the term
       "crime of violence" was included in the act. However, the 1961
       amendment substituted the term "crime punishable by imprisonment
       for a term exceeding 1 year" for the term formerly used.
          On September 15, 1965, another amendment (79 Stat. 788) was
       enacted which gave persons convicted of "a crime punishable by
       imprisonment for a term exceeding 1 year (other than a crime involving

                                                   Defs.' MSJ App. 236
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23        Page 16 of 212 PageID 3533
        16          FEDERAL FIREARMS AMENDMENTS OF 1966
       the use of a firearm or other weapon or a violation of the act or the
       National Firearms Act)" the
       of the Treasury for "relief fromprivilege
                                                 of applying to the Secretary
                                        the disabilities under this act incurred
       by reason    of such conviction" and the Secretary was authorized to
             relief. However, this privilege was not extended to persons who
       grant
       wore indicted for felony crimes.
          The effect of the 1965 amendment was to place certain convicted
       persons in a position to obtain relief from the prohibitions of the act,
       whereas certain persons under indictment could not.
          Under these circumrstances it was determined that a return to the
       previous concept of a crime of violence should be effected to remove the
       obvious disparity of treatment.
       Paragraph (11)
          The definition of the term "indictment" is a new provision. Inas-
       iluchl as a person under indictment for certain crimes is proscribed
       from shipping or receiving firearms in interstate or foreign commerce,
       and a license under the act will not be issued to such a person, the
       definition will serve a useful purpose in making it clear that an "in-
       fornmation" charging a crime is the same as an indictment charging a
       crime. This definition is in accord with the opinion of the court in
       Quitnones v. United States, 161 F. 2d 79.
       Paragraph (12)
          The definition, of the term "fugitive from justice" is a restatement of
       existing oflaw (15 U.S.C.or 901(6)) with   reference to "Territory, the
       I)istrict Colliumbia, possession of the United States" omitted in
       accordance with the definition of "State" in paragraph (2) above.
       "Ammrnlition"
          The definition of tlhe term "ammunition" has been stricken from
       the existing law (15 U.S.C. 901(7)), to exclude all ammunition from
       the coverage of the Fedeeral Firearms Act.
          Under existing law, the term included pistol and revolver ammuni-
       tion. However, an evaluation of the evidence developed in the
       hearings before the committee showed that init is difficult to control
       effectively interstate and foreign commerce conventional firearms
       ammunition used for sporting, recreational, and other lawful purposes
       and that the act was not enforced in this regard.
                                      SECTION 2
         Section 2 of the Federal Firearms Act (15 U.S.C. 902) would be
       restated, revised and six new subsections added. References to
       ammunition have been eliminated in subsections (a), (b), (d), (e),
       and (g). Subsection (c) has been substantially revised and broadened.
       Subsections (f) and (i) have been restated and language stricken
       which has been declared unconstitutional. Subsections (j) through
       (b) are new.
       Subsection (a)
          Subsection (a) of section 2 of existing law (15 U.S.C. 902(a))
       has been restated except that the words "or ammunition" have been
       stricken.



                                                    Defs.' MSJ App. 237
Case 4:22-cv-00691-OFEDERAL
                      Document 182-1 Filed 02/13/23 OF
                                                     Page 17 of 212 PageID 3534
                            FIREARMS AMENDMENTS         1966                  17
        Subsection (b)
           Subsection (b) of section 2 of existing law (15 U.S.C. 902(b)) has
        been restated except that the words "or ammunition" have been
        stricken and minor changes have been made for clarity.
        Subsection (c)
           Subsection (c) of section 2 of existing law (15 U.S.C. 902(c)) has
        been revised and its scope broadened so that it is an unlawful act
        within the meaning of the act for any Federal licensee to knowingly
        ship  or transport directly or indirectly in interstate or foreign com-
        merce any firearm (including rifles and shotguns as well as handguns)
       to any person in any State in violation of any State law which has
       application to the shipment.
          The existing provision has application only to State firearms control
       laws which require purchase permits. Fewer than 10 States have
       such laws, whereas most States have firearms laws which impose con-
       trols and restrictions on the receipt, transportation or possession of
       firearms in a variety of ways.
          This provision has been broadened to assist the States in thecon-
       trol of firearms commerce within their respective borders by insuring
       that channels of interstate and foreign commerce will not be used to
       circumvent applicable State laws.
          It is not the intention of the subsection to impose absolute criminal
       liability on Federal licensees. It is contemplated that an affirmative
       defense would be allowed so that any person charged with a violation
       of this section may establish that he took reasonable efforts to ascertain
       that the shipment would not be in violation of the applicable State
       laws.
       Subsection (d)
          Subsection (d) of section 2 of the existing law (15 U.S.C. 902(d))
       has been restated and modified. The words "or ammunition" have
       been stricken.
          The term "crime of violence" has been inserted in lieu of a "crime
       punishable by imprisonment exceeding 1 year." This change sub-
       stitutes language similar to that in section 2(d) of the Federal Firearms
       Act which was eliminated by the amendment of October 3, 1961 (75
       Stat. 757). The 1961 amendment substituted the words "crime
       punishable by imprisonment for a term exceeding 1 year." The
       reason for the return to the previous language was stated in discussion
       of the definition of "crime of violence" in section 1(10).-
          The words "territories, possessions, or the District of Columbia"
       have been stricken as they fall within the meaning of the term "State"
       as defined in section 1(2) of the bill.
       Subsection (e)
          Subsection (e) of section 2 of the existing law (15 U.S.C. 902(e))
       has been restated and modified by substituting crime "of violence"
       for the words "punishable by imprisonment for a term exceeding one
       year" and by striking the words "or ammunition."
       Subsection (f)
          Subsection (f) as changed by section 2 of the bill is a restatement of
       existing law (15 U.S.C. 902(f)). The restatement eliminates the words
       "and the possession of a firearm or ammunition by any such person
            69-598 06----2



                                                    Defs.' MSJ App. 238
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 18 of 212 PageID 3535
         18         FEDERAL FIREARMS AMENDMENTS OF 1966

        shall )e rl)eslliml)tive evidence that such firearm or ammunition was
        shlil)l)e(l or transported or received, as the case may be, by such person
        ill violation of this act," since the l)resumption is meaningless in view
        of tlie decision of tlie Supremle (Court in 'ot v. (United States, :319
        U.S. 46:3.
        Subsection (,/)
           Subisection (g) as changed b)y section 2 of the bill is a restatement of
        existing law (15 U.S.C. 902(g)) and has been revised by striking the
        words "or amlunlllllitioln" and making minor changes for clarity.
        Subsection (A)
           Sillsecttion (h) its changed by section 2 of the bill is a restatement of
        existing law (15 U.S.C(. 902(h)) and the words "or ammunition"
        stricken wNherever they appear. Also, minor changes      have been made
        for clarity.
        Su.bsection (i)
          Suibsection (i) as changed by section 2 of the bill is a restatement of
       existing law (15 U.S.C. 902(i)). The restatement also deletes the
       words "and tile possession of any such firearm shall be presumptive
       evidence that such firearm was being transl)orted, shipped, or received,
       as tlie case maiy be, by the plossessor in violation of tlis act" since the
       prestimption is meaningless in view of the decision of the Slupreme
       (Court in Tot v. United States, 319 U.S. 463.
       Subsection (j)
          Subsection (j) tas changed by section 2 of the bill is a nevw provision
       which woulld make it uInlawful for any licensee under the act know-
       ingly to deliver, or cause to be delivered, to any colnmon or contract
       carrier for transportation or shipment in interstate or foreign com-
       merce, any package containing a firearm, without written notice to
       the carrier that a firearm is being transported or shipped. This pro-
       vision is correlated to the provisions of section 2(c). Testimony before
       thle committee disclosed the existence of a practice of surreptitiously
       shipping firearms, without notice or disclosure, to circumvent require-
       mients of Federal or State law.
       Subsection (k)
         Subsection (k) prohil)its a coIlmmon or contract carrier from deliver-
       ing inor interstate or foreign commerce any firearm to any person know-
       ing having reasonable cauLse to believe that such person is under 21
       years of age.
       Subsection (1)
          Subsection (1) as added by section 2 of the bill is a new provision that
       would establish a procedure whereby the channels of interstate and
       foreign commerce could not be used to circumvent applicable State
       laws and local ordinances. It would make it a violation of the Federal
       Firearms Act for any licensee to shi) any handgun in interstate or for-
       eign commerce to alny person other than another licensed manufacturer
       or dealer unless the l)ros)ective recipient has submitted a sworn state-
       ment to the manufacturer or dealer containing material information
       pertaining to the sale. The dealer must then forward a copy of the
       statement to the appropriate local law enforcement officer or designated
       State official by registered or certified mail, receive a return receipt
       evidencing delivery of the letter or notice of refusal to accept the

                                                      Defs.' MSJ App. 239
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 19 of 212 PageID 3536
                    FEDERAL FIREARMS AMENDMENTS OF 1966            19
        letter,  and wait at least 7 days after return of the receipt or refusal
        before making delivery of the handgun to the recipient.
        Paragraph (1)
           Paragraph (1) of such subsection (1) provides that the sworn state-
        ment to be submitted to the dealer or manufacturer by the prospective
        recipient shall be in contain
                               such form as prescribed by the Secretary of the
                                       the following information: (1) That the
       Treasury isandat shall
       recipient theleast     21 years or more of age; (2) that he is not pro-
       llibited by        Federal Firearms Act from receiving a handgun in
       interstate or foreign commerce; (3) that there are no provisions of
       applicable   State law or local ordinance which would be violated-by
       the purchaser's receipt or possession of the handgun; and (4) the title,
       name, and official address of the principal law enforcement officer
       where the handgun is to be shipped.
       Paragraph (2)
          Paragraph (2) of such subsection (1) provides that prior to shipment
       of the handgun to the purchaser, the dealer, or manufacturer shall
       forward to the appropriate local law enforcement or State official a
       description   of the handgun (not including serial number) and a copy
       of the sworn statement by registered or certified mail. Also, the
       dealer must receive a return receipt evidencing delivery of the letter
       containing   the description of the handgun and the copy of the sworn
       statement or a notice of refusal to accept the letter in accordance with
       the applicable regulations of the Post Office Department.
       Paragraph (3)
          Paragraph (3) of such subsection (1) would impose a 7-day waiting
       period   following receipt of the notification of the local law enforcement
       officer's acceptance or refusal before the manufacturer or dealer could
       make delivery to the consignee.
          In addition, subsection (1) provides (1) that the Governor of any
       State may designate any official in his State to receive the notification
       to local law enforcement officials required by this subsection and that
       the Secretary shall publish such designation in the Federal Register;
       and (2) that the Governor of any State may request that the Secretary
       discontinue the required notification to local law enforcement officials
       in his State or any part thereof and upon publication in the Federal
       Register, the request shall be in effect for 5 years, unless withdrawn
       by the Governor and so published in the Federal Register.
       Subsection (m)
          Subsection (m) as added by section 2 of the bill is a new provision
       prohibiting licensees under the act from selling a handgun to an un-
       licensed individual who is a resident of a State, other than that in
       which the manufacturer's or dealer's place of business is located with-
       out compliance with the provisions of subsection (1) above. The sub-
       section is intended to deal with the serious problem of individuals going
       across State lines to procure firearms which they could not lawfully
       obtain or possess in their own State and without the knowledge of their
       local authorities. The hearings before the committee have demon-
       strated the ease with which residents of a particular State, which has
       laws regulating the purchase of firearms, can circumvent such laws by
       procuring a firearm in a neighboring jurisdiction which has no such
       controls on the purchase of firearms. The hearings have also shown


                                                     Defs.' MSJ App. 240
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 20 of 212 PageID 3537
         20         FEDERAL FIREARMS AMENDMENTS
                                             i
                                                   OF 1966

        that thisxs a meansby which criminal and lawless elements obtain
        firearms.
            lis provision allows such handgun purchases to be made, but only
        after compliance with the detailed procedures set forth in subsection
        (1) above.
        Subsection (n)
           Subsection (li) of section 2 of the bill is a new provision that would
        make it inltawful for any person, in purchasing or otherwise obtaining
        or attempting to purchase or otherwise obtain a firearm from a li-
        censed mannrlfac tulrer or licensed dealer under this act, knowingly to
        make any written or oral false statement or to knowingly supply any
        false or spuriou.s information or identification intended or calculated
        to receivee sutlch licensee with respect to such person's identity, age,
        address, or crillinal record (if any), or with respect to any ,other ma-
        terial fact pertiln(elwt to the lawfulness of a sale or other disposition of a
        firearms by it licensed manufacturer or licensed dealer.
        Subsection (o)
           Subse(;tion (o) of section 2 as contained in the bill is a new provision
        that would llalke it unlawful for any person to bring into or receive
        in t liieState where lie resides a firearms pl)rchased or otherwise obtained
        outside thllt State if it is unlawful for himl to purchase or possess
        such firearm in thle State (or political suIbdivision thereof) where lie
        resides.
           The intent of this provision is to assist, the States and their political
        subdlivisions in thte enforcement of applicable firearms control laws
        and ordinances by imposing Federal felony sanctions uponl those who
        utilize c shanels of interstate or foreign commllel(re to circumllvent or
        evade these hlaws an(d ordinances.
                                         SECTION 3
            Section 3 of title hill would restTite and revise section 3 of th-e Federal
         Firearms Act (15 U.S.C(. 903). All references to ammniiition would
        be stricken along with references to territories and possessions:
            Subsectioll (11) of the existing law hwoulld
                                                      ,      be revised and the fee
        schedules for manufacturers, (ealers, and pawnl)rokers set forth in
        sepa rate paragraphs. T''he fees for manufacturers and dealers would
        be increased. 'he fee for pawnblroker dealers is new. Subsection
        (b) of the existing law wouldl )e revised andt three new requirements
        for obtainling a Fed(eral license established. lThe applicant must be at
        least 21 years of age, must not be prohibite(l from transporting firearms
         tn(lder the provisions of the act, and must not have Ilmade false state-
        ments or misrelpreselnted inaterial facts in connection withqhis applica-
        tion. Subsection (c) of the bill is a new' provision intended to sub)sti-
        tute for section 3(c) of the existing law. Subsection (d) is at restate-
        ment of the record keeping requirement of existing law with minor
        changes.
        Subsection (a)
           Suilsection (a) of t le bill is intended to make it (lear that no person
        shall engage in )business as ia manufacturer of firearms, or as a dealer in
        firearms intil he tias filed an application with, and received a license
        to (d so front the Secretary. In order to regulate effectively interstate
        and foreign commllerce in firearms it, is necessary that all persons en-


                                                       Defs.' MSJ App. 241
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 21 of 212 PageID 3538
                    FEDERAL FIREARMS AMENDMENTS OF 1966           21
        gaging in these businesses be licensed. Similar provisions were upheld
        in Hanf v. United States (235 F. 2d 710, cert. den. 352 U.S. 880), as
        reasonably    necessary to effective control of interstate and foreign
        commerce under comparable conditions.
           Subsection (a) also provides that the application for a license shall
        be in such form and contain such information as the Secretary of the
        Treasury shall by regulation prescribe. It is the intent of this provi-
        sion to authorize the Secretary to require the submission of information
        reasonably relevant to the determination as to whether the applicant
        is entitled to a license tinder the standards prescribed in subsection (b).
        Since the Secretary has the responsibility for determining whether the
        license should be issued, he must necessarily have the authority to
        require  the submission by the applicant of information relevant to
        his determination as to the applicant's eligibility. Authority to
        prescribe the form of the license application has been exercised by the
        Secretary   since the Federal Firearms Act was enacted in 1938.
           Subsection (a) also increases license fees presently contained in
        section 3(a) of the Federal Firearms Act and adds a new fee for pawn-
        brokers. The annual fee for manufacturers (including importers)
        would be doubled from $25 to $50. Fees for dealers (including guln-
        smiths)  would be increased from $1 to $10, except that a one-time fee
        of $25 would be levied for the first renewal date following the effective
        (late of the bill or for the first year the dealer is engaged in business.
        This additional charge would help to defray the costs of the investiga-
        tion necessary to determine if the applicant has met the licensing
        requirements    contained in section 3(b) of the bill.
           A separate license with a higher license fee is also provided for
        pawnbroker dealers. A "pawnbroker" is defined in paragraph (8)
        of section 1 of the bill. It is noted that under the National Firearms
        Act (26 U.S.C. ch. 53) pawnbroker dealers are charged a higher rate
        of occupational tax than other dealers.
           Since all references to ammunition would be removed from the act'
        by the bill, the substantial number of persons who deal only in
        ammunition will not be required to obtain a license under the act.
        Thus, ammunition reloaders and ammunition dealers will not .be
        affected by the bill.
        Subsection (b)
           Subsection (b) establishes three conditions under which no licenses
        shall be issued by the Secretary of the Treasury or his disignee.
        An application for a license shall be denied if the applicant is "under
        21 years of age," if he is prohibitedd by the provisions of the act
        from transporting, shipping, selling, or receiving firearms in inter-
        state or foreign commerce," and if the applicant has "willfully failed to
        disclose any material information required, or made any false state-
        ment as to any material fact, in connection with his application."
        Subsection (c)
          Subsection (c) as contained in the bill replaces the provisions of
        existing law contained in section 3(c) of the act (15 U.S.C.   903(c))
        and reflects the construction of existing law as contained in current
        regulations (26 CFR, pt. 177).
           The requirement of existing law. concerning the posting of a bond
        by a licensee convicted of a violation of the act in order to continue
        operations pending final disposition of the case on appeal, serves no

                                                     Defs.' MSJ App. 242
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 22 of 212 PageID 3539
        22         FEDERAL FIREARMS AMENDMENTS OF 1966

       useful purpose, and has been omitted. Further, the provisions of
       this subsection have been revised to simplify administration. Since
       the licensee is required to reapply each year for a license, the informa-
       tion on tile application relating to his indictment and/or conviction
       will be adequate. Also, the license itself can, as at present, contain
       a warning that the licensee cannot continue operations once his
       conviction lias become final (other than as provided in section 10 of
       the existing law).
          As under existing law and regullations, a new license will not be
       issued to a person tlnder indictment for, or who has been convicted
       of, Ian offense pnllishable by imprisonment for a term exceeding 1 year.
       however, a licensed mIanufacturer or licensed dealer may continue
       operations    pursuant to his existing license (provided that prior to the
       expirat  ion of t lie t erm of the existing license t imlely application is made
       for a new license), during tle term of such indictment, and until any
       conviction l)ursuantl to the indictment becomes final, whereupon he
       shall be sutbjetl to 1all revisionss of this act, and operations purs1Iuant
       to such license shall be discontinued. If a bona fide application for
       relief is filed under section 10 of tie act., operations mtiy continue
       until such application is acted upon.
        SubsectionI (d)
          Slbsection (d) would restate and revise section 3(d) of tile Fed-
       eral Firearlns Act (15 U.S.C. 903(d)). References to inammiunition
       would ble removed from the existing law. rTle word( permanentn"
       wotld 1!) stricken from tlherecordkeeling
                                               r       requirement of thie sub-
       section, since' tlle Secretary of Treasury is given specific authority
       to prescribe regulations for tle implementation of this requirement.
       ''The lengthl of time for which the records should be kept Iand main-
       tained b)y licensees under the provisions of the act and other
       administrative details wolld b)e left, to the discretion of the Secretary.
       Tllus, the word "'permanent" becomes meaningless. It is anticipated
       that any rerilattions issued tnder that authority granted by this-
       subsection of tlhe bill would be reasonable and in accordance with
       good commercial practice and custom.
                                         SECTION 4
          Section 4 of the bill would restate section 4 of the Federal Firearms
       Act (15 U.S.C. 904), strike the references to ammunition and to ter-
       ritories, possessions and the District of Columbia, and renumber and
       revise several provisions of the section for clarity.
       Subsection (a)
          Subsection 4(a) of the bill would restate portions of section 4 of the
       Federal Firearms Act (15 U.S.C. 904) and make several modifications
       thereof. Ammunition would be removed as elsewhere in the bill.
       The words "territory, or possession, or the District of Columbia,"
       would be stricken consistent with their deletion in other sections of the
       bill. Other revisions would be made by renumbering and rephrasing
       provisions of the section for clarity without changing the meaning of
       existing law.
       Subsection (b)
         Subsection 4(b) of the bill would restate the remainder of section 4
       of the Federal Firearms Act (15 U.S.C. 904) and would make certain

                                                        Defs.' MSJ App. 243
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 23 of 212 PageID 3540
                    FEDERAL FIREARMS AMENDMENTS OF 1966            23
       modifications. All references to ammunition would be deleted. The
                      "Defense or his designee" would be substituted for the
       Secretary ofof "War".
       Secretary              The words "receipt or" would be added to the
       last sentence of the section to clarify the provision contained therein
       and other technical revisions made for -the same purpose without
       altering the meaning of existing law.
                                      SECTION 6
          Section 5 of the bill would restate section 5 of the Federal Firearms
       Act,  add an element of reasonable cause to the provision which makes
       it unlawful for an applicant for a license or exemption to make a false
       statement in connection with the application, increase the maximum
        penalties provided for in the act from $2,000 to $10,000 and from 2
        years to 10 years, provide for parole of sentenced offenders as the
       board of parole shall determine, remove the reference to ammunition
       contained in subsection (b), and update the reference to the Internal
       Revenue Code.
        Subsection (a)
          Subsection (a) of section 5 of the bill would restate the existing law
        (15 U.S.C. 905(a)) and make several changes. The words "or having
       reasonable cause to know" would be added to the provision which sets
       forth the unlawful act of making a false statement in connection with
       an application for a license or ail exemption under the provisions of
       the Federal Firearms Act.
          The maximum penalty provisions for violation of the Federal Fire-
       arms Act would be increased from $5,000 to $10,000 and 2 years to
        10 years to serve as a further deterrence to potential violators of the
       act. It is anticipated that this change will have the effect of in-
       creasing  compliance with the act's provisions.
          All sentenced violators are made eligible for parole "as the board of
       parole shall determine." Thus, the opportunity will be availablefortoa
       keep hardened criminals away from the law-abiding community
       substantial period of time, but at the same time provide flexibility to
       correctional officials so that they may work with those who show sig-
       nificant potential for rehabilitation.
       Subsection (b)
          Subsection (b) of section 5 of the bill would restate subsection (b)
       of section 5 of the existing law (15 U.S.C. 905(b)) and make minor
       changes. The reference to ammunition would be deleted. The
       reference to the Internal Revenue Code would be changed to reflect
       the recodification of the code which was accomplished in 1954.
                                      SECTION 6
         Section 6 of the bill would amend the Federal Firearms Act by
       adding a new section 11 which would provide that nothing contained
       in the act shall be construed as "modifying or affecting the require-
       ments" of the provisions of the Mutual Security Act of 1954 which
       deal with "the manufacture, exportation, and importation oi arms,
       ammunition,   and implements or war."
         Section 414 of that act gives authority to the President to control
       the export and import of arms, ammunition, mplements of war, and
       technical data related thereto. It also requires all persons engaging

                                                   Defs.' MSJ App. 244
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 24 of 212 PageID 3541
        24          FEDERAL FIREARMS AMENDMENTS OF 1966

       in these transactions to register with the U.S. Government, pay regis-
       tration fees, and secure import licenses-for all such materials imported
       into this country.
                                          SECTION 7
           Section 7 of the bill would establish the date at which time the
        amendllents anrd changes made by the bill become effective. The
        effective late would be "the first day of the sixth month beginning
        after the date of enactment" of the amendments. It is felt that this
        period of tlinf will be sufficient for the promulgation and dissemination
        of any regulations necessary to implement the amendments to the
        act. made by the bill and would afford ample opportunity for comment
        of persons whlo would be affected by the regulations.
                                          SECTION 8
          Section s of the bill woull(l set forth a short title for the bill, "Federal
        IFirearnis Allendllmenlts of 1966."
                                CHANGES IN EXISTING LAW

          In coml)liance witli sullsection 4 of rule XXIX of the Standing Rules
       of the Sellatte, c(lianges in existing law made by the bill, as reported,
       are shown as follows (existing law proposed to be omitted is enclosed
       in black brackets, new matter is printed in italic, existing law in which
       no change is proposedC is slowniw roman):
                                Ti1E FEI)ERAIL FIIREARMS ACT
          That as used in this Act--
                (1) The termll "person" includes an individual, partnership,
             association , or corporation.
                (2) 7'he term "State" includes each, of the several States, the
              districtt oj ('olumibia, the (.'ommnoonwealth of 'Puerto Rico, Guam, the
             Virgin, Islands, the (atrnal Zone, ai(n American. Samoa.
                ((2)1 (3) T'(he tern "interstate or foreign commerce" means
            (co0111merc between taily Stn.te [, Territory, or possession (not
            including tlhe     ( ZtalZnme), or the 1)istrict of C(.olulbia,] nld
            aily Iplace outside thereof; or b)ctween p]oinlts within the same
            Stite, [, Territor'y, or p)(ossession (lot, including the (C1nal Zone),
            or the D)istrict of ('olumlia,il] but through any place outside
            thereof; or withinii alny [Territory or] l)possession or the Dist-rict.
            of Columblia.
                [(3)] (j)    'Ihe ternll firea'rmnl', except when the context otherwise
            requiire;s, whatsoever
                         Ilea(s  ally weapl)ot, malinulifactulred after the year 1898, by
                                         name know\', which will, or is designed to,
            [whatev er]
            or which. may be readily converted to, expel a projectile or projectiles
            by the action      of tia explosive [and a firearm muffler or firearm
            silencer, any part or parts of such weapon] or the frame or
                         or
            receiver of any such weapon.
                (5) The term "handgun" means any pistol or revolver originally
            ldesigned to he fired by the use of a single hand and which is designed
            to fire or capable of firing fixed cartridge ammunition, or any other
            firearm originally designed( to be fired by the use of a single hand.
                [(4)] (6) The term "manufacturer" means any person engaged
            in the [manufacture or importation of firearms, or ammunition

                                                         Defs.' MSJ App. 245
Case 4:22-cv-00691-OFEDERAL
                      Document 182-1 Filed
                            FIREARMS       02/13/23 OF
                                     AMENDMENTS      Page 25 of 212 PageID
                                                       19 66        25     3542

              or cartridge cases, primers, bullets, or propellent powder]
              business of manufacturing or importing firearms for purposes of
              sale or distribution [; and the]. The term "licensed manu-
              facturer" means any such person licensed under the provisions
              of this Act.
                 [(5)] (7) The term "dealer" means any person engaged in
              the business of selling firearms [or ammunition or cartridge
              cases, primers, bullets or propellent powder,] at wholesale or
              retail, or any person engaged in the business of repairing such
              firearms or of manufacturing or fitting [special] barrels, stocks,
              or trigger mechanisms [, or breech mechanisms] to firearms,
              or any person who is a pawnbroker. The [and tie] termn "licensed
              dealer" means any [such person] dealer who is licensed under the
              provisions   of this Act.
                 (8)  The     ("pawnbroker" means any person whose business or
                           term
              occupation includes the taking or receiving, by way of pledge or
             pawn, of any firearm as security for the repayment of money loaned
              thereon.
                 (9) The term "Secretary" means the Secretary of the Treasury or
              his designee.
                 (10) The term "crime of violence" includes voluntary manslaughter,
             murder, rape, mayhem, kidnaping,       robbery, burglary, housebreaking,
             extortion accompanied by threats of violence, assault with a dangerous
              weapon, assault with     intent to commit any offense punishable by
             imprisonment     for more than one year, arson punishable as a felony,
             or an attempt to commit any of the foregoing offenses.
                 (11) The term "indictment" includes an indictment or any
             information    in any court of the United States or in any Court of
             any State under which a crime      of violence may be prosecuted.
                 [(6)] (12) The term "fugitive from justice" means any person
             who has fled from any State [, Territory, the District of Colum-
             bia, or possession of the United States] to avoid prosecution for a
             crime [punishable by imprisonment for a term exceeding one
             year] of violence or to avoid giving testimony in any criminal
             proceeding.
                 [(7) The term "ammunition" shall include only pistol or
             revolver ammunition. It shall not include shotgun shells, metal-
             lic ammunition suitable for use only in rifles, or any .22 caliber
             rimfire ammunition.]
          SEC. 2. (a) It shall be unlawful for any manufacturer or dealer,
       except a manufacturer or dealer having a license issued under the
       provisions of this Act, to transport, ship, or receive any firearm [or
       ammunition]       in interstate or foreign commerce.
          (b)   It shall  be unlawful for any person to receive any firearm [or
       ammunition] transported or shipped in interstate or foreign         commerce
       in violation of [subdivision] subsection (a) of this section, knowing
       or having reasonable cause to believe such [firearms] firearm [or
       ammunition] to have been transported or shipped in violation of
       [subdivision     (a) of this section] said subsection.
          (c)   It shall  be unlawful for any licensed manufacturer or licensed
       dealer to [transport or ship] ship or transport, or cause to be shipped
       or transported, any firearm in interstate or foreign commerce [to any
       person    other than a licensed manufacturer or dealer in any State the
       laws of which require that a license be obtained for the purchase of such
       firearm, unless such license is exhibited to such manufacturer or dealer

                                                       Defs.' MSJ App. 246
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 26 of 212 PageID 3543
         26         FEDERAL FIREARMS AMENDMENTS OF 1966

        by the prospective  purchaser],  to any person in any State where the
        receipt by such person of such  firearm
        statute such State unless the licensed
                                                would be in violation of any
                                                            or licensed dealer
                of                                 manufacturer
        establishes that he was unable to ascertain with reasonable effort that the
        ship7met would be in violation of such State law.
           (d) It shall b)e unlawful for any person to ship, transport, or cause
        to be shipped or transported in interstate or foreign commerce any
        firearm [or lammlunitioni] to any person knowing or having reasonable
        cause t(o )believe that such person is blinder indictment or has been
        convicted( iln anly court of the Unit(ed States [, 'rriories,
                                                               ii       possessions,
        o, tile Districtf of (Columbial of a ('rime )lninshal)le l)y imprisonment
        for ai terml exceeding one year] or i'n a(ny co( t of (any State of a crime
        of riolenee (or is a fugitive from justice.
              (e) It sllall )e unlawful for any l)ersoll who is lltder indictment or
        who hasbleenlonvi(cted of a crime [pllnishable )by imprisonment for a
        tlerm exceeding one year] of violence, or who is a fugitive from justice
        to ship, transport, or 'alllse to be shipped or transport( in interstate
        (r forleig(l com()merlce any fiIrearm [I'o amilllunition].
              (f) It sliall be ulnlalwful for anly           w(ho is under indictment or
           /who lilas b1)ee1 ol evicted of a crime person
                                                      [punishable l)y il)risonment for
        ii    tern    e(ee(ding     (one year]  of violence, or who is a. fugitive from
         justice, transl)orted
                       to   receive  any  firearm  [or ammunlition] which has      b)een
         ;liplped o(l' of a firearm orn  in interstate or foreign commerce [, andl the
       possession                           ammunition by any such person shall )be
        l)resilumIltive evidence tlhat stu('h firearmior ammunition was shipped
       o1r transported or received, as1 the ('ase may be, l)y such person in
       violation of this Act.].
             (g) It sliall b)e unlawful for any person to transport, orship or cause
        to 1)e transl)orted or shipped in interstate or foreign commerce any
       stolen firearm [or ammunition], knowing, or having reasonable cause
       to believe, [same] such firearm, to have been stolen.
             (th) It slihall l)e unlawful for any person to receive, conceal, store,
        barter, sell, or dispose of any fireann [or ammunition] or to pledge
       or accept as seclirit'y for a loan any firearm [or ammunition] moving
       il or which is a part of interstate or foreign commerce, and which
       while so moving or constituting such part has l)een stolen, knowing,
       or having reasonable cause to believe, [tile same] such firearm. to have
       b)een stolen.
             (i) It s11alll)e unlawful for any person to transport, ship, or know-
       ingly receive in interstate or foreign commerce any firearm from
       which the manufacturer's serial number lias been removed, obliterated,
       or altered [, and the possession of any such firearm shall be presump-
       tive evidence that such firearm was transported, shipped, or received,
       as the case may be, by the possessor in violation of this Act.].
             (j) It shall be wnlawfutl for any manufacturer or dealer knowingly to
       deliver,o01' cause to bedeliveredd, to an.y common, or contract carrier for
        transportation, or shipment in interstate or foreign commerce, to persons
       other than licensed manufacturers or licensed dealers, any package/ or
       other container in. which there is any hanldgun without written notice to
       the carrier that such handgun is being transported or shipped.
          (k) It shall be unlawfull for any common or contract carrier to deliver, or
       cause to be delivered, ininterstate or foreign commerce any handgun to any
       person with knowledge or with reasonable cause to believe that such person
       is under twenty-one years of age.


                                                        Defs.' MSJ App. 247
Case 4:22-cv-00691-OFEDERAL
                      Document 182-1 Filed
                            FIREARMS       02/13/23 OF
                                      AMENDMENTS    Page 27 of 212 PageID
                                                       1966         27 3544
          (1) It shall be unlawfulfor any licensed manufacturer or licensed dealer
       to ship any handgun in interstate or foreign commerce to any person other
       than another licensed manufacturer or licensed dealer unless:
               (1) such person has submitted to such manufacturer or dealer a
             sworn statement in such form and manner as the Secretary shall by
            regulation prescribe, containing the following information: (A)
            that such person is twenty-one years or more of age; (B) that he is not
            a person prohibited by this Act from receiving a handgun in interstate
            or foreign commerce; (C) that there are no provisions of law, regula-
            tions, or ordinances applicable to the locality to which the handgun
            will be shipped, which would be violated by such person's receipt or
            possession of the handgun; and (D) the title, name, and official ad-
            dress of the principal law enforcement officer of the locality to which
            the handgun will be shipped;
               (2) such manufacturer or dealer has, prior to the shipment of such
            handgun, forwarded      by registered or certified mail (return receipt
                               the
            requested) or (A) the
                       to          local law enforcement  officer named in the sworn
            statement, (B) official designated by          the  Governor  of the State
            concerned under this subsection, a description of the handgun to be
            shipped               the manufacturer, the caliber, the model and type
                     (including but
            of  such handgun, not including serial number identification),
            and one copy of the sworn statement, and has received a return receipt
            evidencing delivery of such letter, or such letter has been returned to
            such manufacturer or dealer due to the refusal of the named law en-
            forcement officer or designated official to accept such letter in accord-
            ance with United States Post Ofjice Department regulations; and.
                 (3) such manufacturer or dealer has delayed shipment for a
              period of at least seven days following receipt of the notification of the!
              local law enforcement officer's or designated official's acceptance or
              refusal of such letter.
       A copy of the sworn statement and a copy of the notification to the local law
       enforcement officer or designated official along with evidence of receipt or
       rejection of that notification shall be retained by the licensee as a part of
       the records required to be kept under section 3(d). For purposes of
       paragraph (2) (B), the Governor of any State may designate any official in
       his State to receive such notification for such State or any part thereof in
       lieu of the notification required by paragraph 2(A) and shall notify the
       Secretary of the name, title, and business address of such official and the
       Secretary shall publish in the Federal Register the name, title, and address
       of such official. Upon such publication, notification to the local law
       enforcement officers required under paragraph (2) (A) of this subsection
       wunil not be required for a period offive years from the date of such publica-
       tion unless the request is withdrawn by the Governor of such State and such
       withdrawal is published in the Federal Register.
           (m) It shall be unlawful for any licensed manufacturer or licensed
       dealer to sell or deliver for sale any handgun to any person other than
       another licensed manufacturer or licensed dealer who is not a resident of
       the State in which such manufacturer's or dealer's place of business is
       located and in which the sale or delivery for sale is made, unless such
       manufacturer orwithdealer   has, prior to sale, or delivery for sale of the hand-
       gun, complied          the provisions of subsection (1)(b) of this section.
            (n) It shall be unlawful for any person in connection with the acquisi-
       tion or attempted acquisition of a firearm from a licensed manufacturer
       or licensed dealer to-



                                                         Defs.' MSJ App. 248
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 28 of 212 PageID 3545
         28         FEDERAL FIREARMS AMENDMENTS OF 1966

                 (1) knowingly make any false or fictitious statement, written or
              oral; or
                 (2) knowingly furnish or exhibit any false, fictitious, or misrepre-
              sented identification  with the intention to deceive such manufacturer
              or dealer with respect to any fact material to the lawfulness of the
              sale or other disposition of afirearm by a licensed manufacturer or
              licensed dealer under the provisions of this section.
          (o) It shall be unlawful for any person to transport or receive in the
       State where he resides a firearm purchased or otherwise obtained by him
       outside the State where he resides if it would be unlawful for him to pur-
       chase or possess such firearm in the State (or political subdivision thereof)
       where he resides.
          SEC. 3. (at) Any manufacturer or dealer desiring a license to trans-
       Iport, sJipl, or receive firearms [or ammniunition] in interstate or
       foreign commerce shall makek] filea.n application [to] for such
       license with the Secretary [of the Treasury, who shall prescribe by
       riles an(l regullations the information to be contained in such applica-
       tion. The applicant shall, if a manufacturer, pay a fee of $25 per
         nnllm and, if a dealer, shall pay a fee of $1 per annumll], in such form
       an.d containing suchinformation as the Secretary shall by regulation
       prescribe. Each such applicant shall be required to pay a fee for obtaining
       .such license as follows:
                 (1) If a manufacturer of firearms, a fee of $50 per anntum;
                 (2) If a dealer (other than; a pawnbroker) in firearms, a fee of
             $10 pe'r ,annt1lm, except that for thefirst renewal following the effective
             date of the Federal Pirearins Amendmen nts of 1966 or for the first
             year he is engaged( in business as a dealer sch d(lealer will pay a
             fee of $25,;
                (3) Ifi pawnbroker, a fee of $50 per annum.
          (b)) Upon filing by a qualified applicant of a proper application and
       the payment of the prescribed fee, the Secretary [of the Treasury]
       shall issue to such applicant [a license] the license applied for, which
       shall, subject to the pro isions of this Act, entitle the licensee to trans-
       port, ship, sell and receive firearms [and ammunition] in interstate
       [and] or foreign commerce [unless and until the license is suspended
       or revoked in accordance with the provisions of this Act: Provided,
       That no license shall be issued to any applicant within two years
       after the revocation of a previous license] duringg the period stated in
       the license. No license shall be issued pursuant to this Act--
                (1) to any applicant who is under twenty-one years of age;
                (2) to any applicant, if the applicant (including, in the case of a
             corporation, partnership, or association, any individual who,
             directly or indirectly, has the power to direct or cause the direction,
             (f the management annd policies of the corporation, partnership, or
             (association) is prohibited by the provisions of this Act from trans-
             porting, shipping,or selling or receiving firearms in interstate or
             foreign commerce;
                (8) to any applicant who ihas willfully failed to diwsciose any
             material information required, or made any false statement as to
           any material fact, in connection with his      application.
         [(c) Whenever any licensee is convicted of a violation of any of tile
       provisions of this Act, it slall be the duty of the clerk of the court to
       notify the Secretary of the treasury within forty-eight hours after
       such conviction and said Secretary shall revoke such license: Provide(d,
       That in the case of appeal from such conviction the licensee may

                                                        Defs.' MSJ App. 249
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 29 of 212 PageID 3546
                    FEDERAL FIREARMS AMENDMENTS OF 1966            29
        furnish a bond in the amount of $1,000, and upon receipt of such bond
        acceptable      to the Secretary of the Treasury he may permit the licensee
        to continue business during the period of the appeal, or should the
        licensee refuse or neglect to furnish such bond, the Secretary of the
        Treasury shall suspend such license until he is notified by the clerk of
        the court of last appeal as to the final disposition of the case.]
           (c) The provisions of section 2 (d), (e), and (f) of this Act shall not
        apply in the case of a licensed manufacturer or licensed dealer who is
        under indictment for a crime of violence: Provided, That such manu-
       facturer or dealer gives notice to the Secretary by registered or certified
       mail of his indictment within thirty days of the date of the indictment.
       A licensed manufacturer or licensed dealer who has gzven notice of his
       indictment to the Secretary, as provided in this subsection, may continue
       operationand
                     pursuant
                      until
                                 to his existing license during the term of such indict-
       ment,                 any conviction pursuant to the indictment becomes final,
       whereupon       he shall be fully subject to all provisions of this Act, and opera-
       tions pursuant to such license shall be discontinued.
           (d) [Licensed dealers] Each licensed manufacturer and licensed
       dealer shall maintain such [permanent] records of production, importa-
        tion, notification, shipment, sale and other disposal of firearms [and
        ammunition] as the Secretary [of the Treasury shall] may by regula-
       tion prescribe.
          SEC. 4. (a) The provisions of this Act shall not apply with [respect]
       respect-
                 (1) to the transportation, shipment, receipt, or importation
              of any [firearm or ammunition,] firearms sold or shipped to, or
              issued for the use [of, (1)] of (A) the United States or any de-
              partment, independent establishment, or agency thereof; [(2)]
              (B) any State [Territory, or possession, or the District of
              Columbia,] or any department, independent establishment,
              agency, or any political subdivision thereof; [(3)] (C) any duly
              commissioned officer or agent of the United States, a State,
              [Territory, orsubdivision
                                   possession, or the District of Columbia,] or
              any political                    thereof; [(4) or to] (D) any bank,
              [public carrier,       express]   common or contract carrier, express
              company, or armored-truck company organized and operating
              in good faith for the transportation of money and valuables,
              which is granted an exemption by the Secretary; or [(5)] (E) [to]
              any research laboratory         designated [by the Secretary of the
              Treasury:     Provided, That such bank, public carriers, express, and
              armored-truck companies are granted exemption by the Secre-
              tary of the Treasury; nor] as such by the Secretary; or
                 (2) toorthe transportation, shipment, or receipt of [any]
              antique unserviceable firearms [, or ammunition,] possessed
              and held as [curios or museum pieces: Provided, That nothing
             herein] a curio      or museum piece.
           (b) Nothtng      contained   in this [section] Act shall be construed to
       prevent shipments          of  firearms   [and ammunition] to institutions,
       organizations,      or persons  to  whom   [such] firearms    [and ammunition]
       may     be lawfully    delivered   by the  Secretary   of [War,] Defense or his
       designee,    nor to prevent the receipt or transportation of such firearms
                                so delivered] by their lawful possessors while they
       [and     ammunition
       are engaged in military training or in competitions.
          SEC. 5. (a) Any person violating any of the provisions of .this Act
       or any rules and regulations promulgated hereunder, or who makes

                                                         Defs.' MSJ App. 250
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 30 of 212 PageID 3547
        30          FEDERAL FIREARMS AMENDMENTS OF 1966

       -any   statement in applying for the license or exemption provided for
        in this Act, knowing or having reasonable cause to know such statement
        to le false, shall, upon conviction thereof, be fined not more than
        [$2,000] $10,000, or imprisoned for not more than [five] ten years,
        or both, anl(/ shall become eligible for parole as the Board of Parole shall
       determine.
           (b) Any firearm for ammunition] involved in any violation of tlle
       provisions    of this Act or any rules or regulations promulgated there-
        Iln(ler slall 1)e subject to seizure and forfeiture, and all provisions of
       [Title 26] the Internal Revenue Code of 1954 relating to the seizure,
       forfeiture, and disposition of firearms, as defined il section [2733 of
       TIitle 2i] 5848(l) of said C'ode shall, so far as applicable, extend to
       seizures and forfeitures incurred under tihe provisions of this Act.
           SEC. 10. A person who has been convicted of a crime punishable by
       imprisonment for a term exceeding one year (other than a crime in-
       volving the use of a firearm or other weapon or a violation of this
       Act-or of the National Firearms Act) may make application to the
       Secretary of the Treasury for relief from the disabilities- under this
       Act incurred by reason of such conviction, and the Secretary of the
       Treasury may grant such relief if it is established to his satisfaction
       that the circumstances regarding the conviction, and the applicant's
       record and reputation; are such that the applicant will not be likely
       to conduct his operations in an unlawful manner, and that the granting
       of the relief would not be contrary to the public interest. A licensee
       conducting operations under this Act, who makes application for
       relief from the disabilities incurred under this Act by reason of such a
       conviction, shall not be barred by such conviction from further
       operations under his license pending final action on an application for
       relief filed pursuant to this section. Whenever the Secretary of the
       Treasury grants relief to any person pursuant to this section, he shall
       promptlywith publish   in the Federal Register notice of such action,
       together          the reasons therefor.
          SEC. 11. Nothing in this Act shall be construed as modifying or affecting
       the requirements of section 414 of the Mdtual Security Act of 1964, as
       amended, with respect to the manufacture, exportation, and importation of
       arms, ammunition, and implements of war.




                                                      Defs.' MSJ App. 251
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23        Page 31 of 212 PageID 3548




       INDIVIDUAL VIEWS OF MESSRS. DODD, BAYH, KENNEDY
          OF MASSACHUSETTS, TYDINGS, FONG, JAVITS,
          SMATHERS, AND LONG OF MISSOURI
          It became obvious late in the session that the controversial aspects
       of the firearms legislation proposed by the Juvenile Delinquency
       Subcommittee gave the administration bill little chance of being
       reported   out of the full committee in this Congress. In view of that
       fact,  even  though   a majority of the committee voted for S. 1592
       initially, the committee   finally voted to report S. 3767 favorably, and
       we did this with the intention of substituting S. 1592 for S. 3767
       once the bill came to a vote on the Senate floor.
                  of the sixteen members of the Judiciary Committee have
          Eightthese
       signed          individual views, more than signed any other views
       contained in this report.
          In our view, the report on S. 3767 raises serious questions.
          The most important point is that this report has not been signed
       by a majority of the members of the Judiciary Committee.
          It has not even been signed by all of the opponents of the admin-
       istration's firearms control bill, S. 1592.
          It should be noted that the report on S. 3767 was submitted to the
       members for approval shortly before it was to be printed. Thus,
       time did not permit much more than a brief analysis of the findings
       set out and the basis of those findings.
          It is significant that the opponents' report does not even mlentioll
       the major change contained in S. 3767, one which would weaken the
        )resent Federal Firearms Act (i.e., the return to the "crime of vio-
       lence" standard as a substitute for the existing "felony" standard).
       Further, the record reflects lno need for this change. This aspect of
       the bill is discussed subsequently.
          There are several specific areas in the report on S. 3767 which are in
       direct contradiction to the facts and to the testimony presented
       before the Subcommittee To Investigate Juvenile Delinquency.
                                 COMMITTEE ACTION
          The facts are as follows: In voting on the major provisions of S.
       1592, i.e. the inclusion of handguns, the inclusion of rifles and shot-
       guns, the inclusion of import controls and the inclusion  of destructive
       device controls, the committee vote jwas nine to five in favor of
       their inclusion.
          It was the extended opposition of several members of the com-
       mnittee which led the supporters of S. 1592 to propose reporting S. 3767
       from the committee as a means of getting some kind of gun bill to the
       Senate floor. They did this with the full intention of offering S. 1592
       as a substitute for S. 3767.
                                                                        31




                                                   Defs.' MSJ App. 252
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 32 of 212 PageID 3549
         32         FEDERAL FIREARMS AMENDMENTS OF 1966

        Rifles and shotguns
           The opponents' report claims that upon review of the testimony
        before the Juvenile Delinquency Subcommittee there is no justifiction
       for restrictions on rifles and shotguns. It ignores the testimony of
       Commander Leary of the Philadelphia Police Department, Deputy
       Comdr. Leonard Reisman of the New York Police Department, and
       Attorney    General Sills of New Jersey. (Their testimony is referred
        to in the individual views of Senator Dodd.)
           It ignores the fact that 1,690 persons were murdered and many
       thousands wounded with rifles and shotguns last year and that this
       figure represents a steady increase over the last 3 years.
        Imported firearms
           Under the title "What S. 3767 Would Not Do," the opponents'
        report completely ignores the testimony of law enforcement witnesses
        who enthusiastically supported S. 1592's ban on imported military
        surplus  handguns and other foreign-made firearms, not, suitable for
        lawful use. Completely overlooked is the evidence presented by
        Chief Herbert Jenkins, of Atlanta, Ga., Chief Curtis Brostron, of
        St. Louis, Mo., Attorney General Thomas Lynch, of California,
        Attorney General McLeod, of South Carolina, that great numbers of
       firearms used in crimes in their jurisdiction were in this category.
        (The individual views go into detail on this point.)
           The report indicates that the same restrictions should be applied
        to imported firearms as are applied to domestic firearms and using
        this "equality" argument it denounces any embargo on imported
       firearms. This argument completely overlooks the existing Federal
       law, implemented by regulations, which prohibits the sale of domestic
       military surplus firearms to the public. (They may be obtained under
       limited and special circumstances under the civilian marksmanship
       program of the       Department of Defense.) The report denounces
       embargoes    on the one hand, yet later, as a partial rationale for exclud-
       ing destructive  devices from his bill, it indicates that the State Depart-
       ment, under the authority granted by the Mutual Security Act of
        1954, as amended, can in fact embargo the importation of destructive
       devices.
          The opponents' report further alleges that the Federal Firearms
       Act primarily governs interstate and foreign commerce in firearms
       used for sporting purposes. This is an unusual interpretation. The
       Federal Firearms Act covers all firearms, by definition, and to say
       otherwise represents a consummate failure to appreciate the legislative
       history of this law. The report states further that the National
       Firearms Act has effectively controlled firearms covered by that act.
          This area is covered later in the individual views and, summarily
       the national act, does not proscribe shipment and receipt by and to
       felons or fugitives. It merely imposes a transfer tax on transactions,
       and compliance will those provisions results in a lawful transfer.
       A felon could lawfully acquire a national act weapon under the language
       of that specific act. A prime example of the application of the national
       act concerns the recent case in Washington State, where a mental
                                lawfully,
       incompetenttheacquired,transfer    a fully operable German machinegun,
       by paying $200                  tax.




                                                    Defs.' MSJ App. 253
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 33 of 212 PageID 3550
                   FEDERAL FIREARMS AMENDMENTS OF 1966            33
        Civilian marksmanship program
           The opponents' report cites a report of the Arthur D. Little Co.
        on the Office of the Director of Civilian Marksmanship (DCM)
        program   which operates under the auspices of the National Board
        for the Promotion of Rifle Practice.
          Based on this study, the opponents' report concludes:
               The plain fact that preinduction firearms training pro-
             duces more capable and effective soldiers was recently
             made clear by a Department of Defense study.
          Again this statement is not in keeping with the facts. First, the
       study didor not show that such preinduction training produced more
       capable ofeffective soldiers. In fact, it stated that only 3 percent
        (385 men) the 12,800 basic trainees surveyed at 4 basic training
       centers had previous DCM-affiliated club firearms training.
          This is a rather insignificant number of the total number of trainees
       surveyed   to make such a sweeping statement. More important, one
       of the crucial questions left unanswered by this study is the perform-
       ance of both groups under combat conditions.
          We can say that the study strongly suggests that the program is
       not doing what it is supposed to do, i.e., train significant numbers of
       young    men in rifle proficiency before entering military service, so
       that they will be better marksmen in combat.
          This statement is in direct contradiction to the testimony of the
       Department     of Defense on S. 1592. Tn addition, we must point out
       that DCM-trained men are apparently not entering military service
       (3 percent of the trainees in a sampling of 12,800). One of the reasons
       for this is that a significant 42 percent of the members of the DCM
       clubs are over 25, an age after which the likelihood of being drafted
       drastically diminishes.
                         COMPARISON OF S. 1592 AND S. 3767
          S. 1592, the administration firearms control bill, was carefully
       studied by the Juvenile Delinquency Subcommittee during 11 days
       of hearings during May, June, and July of 1965 and then reported,
       as amended, to the full committee on May 19 of 1966.
          It has been endorsed by the administration, by the American Bar
       Association,   and by the International Association of Chiefs of Police.
       The bill has been supported editorially by virtually every leading
       newspaper    in the country. Fully 70 percent of the people, according
       to a recent Gallup poll, favor enactment of legislation that would be
       much more restrictive than S. 1592 in controlling firearms in this
       country.
          We believe that the need for the amendments to the Federal Fire-
       arms Act embodied in S. 1592, as amended by the subcommittee,
       has more than adequately been documented through testimony and
       other factual information coming to the attention of the subcommittee.
          We do not consider that S. 3767 is a substitute for S. 1592. Its
       scope is much too narrow and limited. Its claimed effectivenessouris
       very questionable. S. 3767 does not provide the controls that
       hearings  have demonstrated are necessary, if we are to effectively
       regulate the acquisition of firearms as a means of arresting the rising
            69-593 0---3


                                                   Defs.' MSJ App. 254
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 34 of 212 PageID 3551
          34        FEDERAL FIREARMS AMENDMENTS OF 1966

         crime rate. S. 3767 falls far short of the positive controls that the
         enactment of S. 1592 would bring about.
             For examl)le, S. 3767 does not propose any control at all over the
         indiscriminate sale of rifles and shotguns yet. there were 1,690 murders
         committed in 1965 with these firearms. The hearing record on S. 1592
         indicates that, rifles and shotguns are misused, especially in those
         areaCs where there are stringent controls onl the acquisition and the
         use of pistols and revolvers.
         Mail-order controls
            S. 3767 does not prohibit the mail-order sale of handguns to indi-
         viduals as does S. 1592. The method of regulation envisioned in
        S. :3767 is a requirement that an affadavit be filed. This approach
         Vwas rejected by the subcommittee because the provisions of S. 1592
         \would be much more effective. By cutting out these mail-order
        sales, w\e would assist the States materially in controlling handgun
        sales within their own borders.
            S. 3767 retains the controls now in the Federal Firearms Act over
         the interstatelmoviement of shotguns and rifles, but they are only a
         record-keepingtorequirement     tand a proscription on shipment and re-
        ceipt   byanld felons. In addition, the bill would eliminate many
        of the present controls over the interstate movement of mufflers and
        silencers. And S. 3767 does not include destructive devices, which
         lias long been considered ai serious omission in the act. S. 1592 would
        correct this omissioil.
            'The hearings clearly establish the need for additional controls over
          nail-order sales of all firearms and certain other devices. There is
        nothing in the hearing record to justify the elimination of mufflers
        and silencers, articles which have no legitimate use, and there is a need
        to control destructive devices as is proposed in S. 1592.
            S. 1952 would authorize the mail-order shipment of rifles and shot-
        guns   subject to affidavit controls.
            It would retain mufflers and silencers within the control of the Fed-
        eral Firearms Act and it would extend these controls to destructive
        devices.
            More significantly, the interstate movement of handguns, destruc-
        tive devices, and ammunition for such devices, would be limited to
        licensees by S. 1592. Nonlicensed persons would be prohibited from
        making mail-order purchases of such weapons.
        Importations
          S. 3767 would not affect imported weapons, in spite of a wealth of
       testimony reflecting the need for the controls provided for in S. 1592.
       The record compiled on S. 1592 contains more than adequate'doclumen-
       tation of the problems and dangers inherent in the unlimited importa-
       tion of firearms.
          S. 1592 is concerned with the importation of destructive devices,
       ammunition for such devices and surplus military weapons. It would
       prohibit the importation of destructive devices and ammunition there-
       for, and would place only reasonable restrictions on the importation of
       surplus military weapons.
        Licensing
          S. 3767 pIfovides for the licensing of manufacturers and dealers
       receiving  or shipping firearms in interstate or foreign commerce, as
       does the present statute. The criteria used for the issuance of a

                                                   Defs.' MSJ App. 255
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 35 of 212 PageID 3552
                    FEDERAL FIREARMS AMENDMENTS OF 1966           35
       license under the bill are that the applicant (1) must be at least 21
       years of age, (2) is not prohibited by the act from shipping or receiving
       firearms in interstate or foreign commerce, and (3) has not willfully
       failed to disclose a material fact or made a false statements in hils
       application. An example readily illustrates the weakness         in these
       proposed licensing features of the bill. Assuming that requirement
       Nos. (1) and (3) are met, S. 3767 would not l)revent the issuance
       of a license to one convicted of a violation of this very act, the Na-
       tional Firearms Act, the Narcotics Act, or many other felonies.
       Moreover, the privilege granted by a license could be suspended only
       ill tle event the licensee were finally convicted of a crime of violence.
       'Thus the Government might be placed in the embarrassing position
       of having to authorize firearms operations by a person convicted of
       Irior viiolations of the Federal firearms laws.
          The licensing problem is treated in detail in S. 1592. That bill
       wou ld req(llire anyone engaged in the business of manufacturing,
       importing   or dealing in firearms to obtain a license. That require-
       ilment sul)stantially broader thall merely requiring a dealer or
               is
       manufacturer shipping or receiving firearms in interstate or foreign
       commerce to obtain a license as does S. 3767. The criteria for issuing
       a license under S. 1592 are keyed to the age of the applicant, whether
       the applicant will actually engage in the firearms l)ltsinless, whether
       he may lawfully ship or receive firearms in interstate or foreign coIm-
         Uerce under the act, and whether, in view of the past record and
       reputation    of the applicant, lie is likely to conduct his business lawfully.
           InI sort, S. 1592, contempllates that the privilege of engaging in the
       firearms business should )e extended only to those legitimately entitled
       to the confidence of society. Moreover, the licensing provisions of
       S. 1592 recognize the right of one who has been denied a license to
       obtain at hearing as well as judicial review of the administrative (leci-
       sion depriving hin of t license. It should also be noted that under
       S. 1592, certain business-type felony (convictions will not result in
       the "felony" sanctions. finally, if a person convicted of certain
       other felonies is, in fact, entitled to the confidence of society, under
       section 10 of the act, lie could be granted relief at the discretion of
       t lie Secretary of the Treasury.
       Substituting    "crime of violence" criteria for so-called "felony" criteria
              used in the present act and in S. 1592
           As just outlined, S. 3767 does not contain the licensing standards set
       forth in S. 1592. Thus, under that bill it would be possible for a
       convicted gambler or racketeer to become licensed under the Federal
       Firearms Act. There is another major flaw in S. 3767 which would
       allow an evasion of the major intent of the act. In reverting to the
       pre-1961 preclusionary term "crime of violence" rather than retaining
       the term "crime punishable by imprisonment for a term exceeding 1
       year", S. 3767 would not preclude a person who had violated a pro-
       vision of the National or Federal Firearms Act from being licensed
       under the Federal act as a dealer, manufacturer or importer of firearms.
       This clearly is outside of the intent of the present act.
          Under S. 3767, the Treasury Department would have to issue a
       license to a person who had violated the National Firearms Act or the
       Federal Firearms Act. It is this type of violator that the present act
       has tried to get at and since passage of the 1961 amendment (changing
       crime of violence to crime punishable by a term of imprisonment

                                                       Defs.' MSJ App. 256
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 36 of 212 PageID 3553
        36          FEDERAL FIREARMS AMENDMENTS OF 1966

       exceeding      1 year), there have been many denials of licenses to persons
       who have, in the past,, violated one or both acts.
          In view of the importance of this proposed change, we feel it is
       necessary to review the history of this part of the Federal Firearms Act.
       The crimee of violence" criteria appeared in the original Federal
       Firearms Act. However, the criteria of "crime punishable by im-
       prisonment for a term exceeding 1 year"---the felony criteria--was
       silibstitlted- by Public Law 87-342. 13oth Senate Report 364 (87th
       lCong.,    1st sess.) and Holse Report 1202 (87th Cong., 1st sess.) on
       S. 1750, which became Public Law 87--342, stated:
                 ()Over the past few years the infiltration of racketeering
             into ourl' society and the exploding crime rate have increas-
             inglvy    )ecoime ai cause for national concern. New laws are
             needed to give thle Federal Bitreatl of Investigation additional
             jurisdiction    to assist. local authorities in the common assault
               againstt crime. S. 1750, introduced at the re(luest of the
             Attorney     General as an integral part of an antticrime legisla-
             tive program, woll(d be stich a law.
                 Additionally, it. woll(l make it more difficult for the
             crimiinal elements of oulr society to obtain firearms.
                 The Attorney General's letter proposing the enactment
             of this legislation, a letter front the ('omlptroller General, as
             well us a letter from the executive vice president of the
             National Rifle Association of America urging stucl an enact-
             nment, are printed below.
          In considering H.R. 9570 (89th Cong., 1st sess.), which later
       became Public Law 89-184, the Congress again looked at the crime
       of violence criteria in relation to the felony criteria. That public
       law added section 10 (15 U.S.C. 910) to the Federal Firearms Act
       and through the provisions of that section, the Secretary is authorized
       to grant relief to felons (other than those who used a firearm or
       other weapon to commit a felony or were convicted of violating the
       Federal or National Firearms Act) under certain circumstances.
       Both Senate Report 666 (89th Cong., 1st sess.) and House Report 708
       (89th Cong., 1st sess.) stated:
                 Prior to 1961 the Federal Firearms Act prohibited such
             interstate traffic in firearms and ammunition only in the case
             of a person indicted for, or conviicted of, a "crime of violence."
             ''he 1961 legislation changed this to the language indicated
             above; that. is, substantially to any crime meeting the defini-
             tion of a felony under Federal law (18 U.S.C. 1(1)).
                 * * * hIowever, your committee has concluded from an
             examination of this case that, under certain circumstances,
             it would be desirable to authorize the Secretary of the Treas-
             ury to grant relief from the disabilities imposed under the
             Federal Firearms Act in the case of felony convictions.
             Relief from the disabilities is provided, however, only where
             it is established to the Secretary's satisfaction that te cir-
             cumstances regarding the conviction and the applicant's
             record and reputation are such that he will not. be likely to
             conduct his operations in an unlawful manner and that the
             granting of the relief will not be contrary to the public
             interest. Among the factors whicl would be given primary

                                                    Defs.' MSJ App. 257
Case 4:22-cv-00691-OFEDERAL
                      Document 182-1 Filed 02/13/23 OF
                                                     Page 37 of 212 PageID 3554
                            FIREARMS AMENDMENTS         1966                  37
             consideration in the case of a corporation is the absence of
             culpability of any person, at the time the application is filed,
             having the power to direct or control the management of the
             corporation.
               The Secretary of the Treasury is not given permission to
             grant such relief if the crime involves the uise of a firearm
             or other weapon or a violation of the Federal Firearms Act.
             or the National Firearms Act.
          The record of hearings on S. 1592 shows no need to return to the
       crime of violence criteria. Yet, S. 3767 proposes such action. More-
       over, the manner in which this criteria would be incorporated in the
       act by . 3767 would create inconsistencies. Under the licensing
               .

       provisions,   as amended, a person convicted of a violation of the act,
       the National Firearms Act, a narcotics violation, or many other
       felonies would be entitled not only to continue a firearms business
       under an outstanding license but also to obtain a new license under
       the act in that the act would not prohibit foreign or interstate ship-
       ments or receipts by such persons. In addition, the provisions of
       section 10 of the act (15 U.S.C. 910) would, for all practical purposes,
       become meaningless.
         S. 1592 retains the "felony" criteria. It is used in relation to un-
       lawful acts. The licensing provisions incorporate this criteria and
       expand    on it. Moreover, it should be noted that in those instances
       where this criteria may prove to be unjust the person affected may
       obtain relief pursuant to section 10 of the act tinder stated circulm-
       stances.
       Implementation oj State firearms laws
         Section 902(c) of S. 3767 is written so as to be largely ineffective as
       a means of regulating the interstate movement of firearms.
          It reads:
                It shall be unlawful for any licensed manufacturer or
             licensed dealer to ship or transport, or cause to be shipped or
             transported,  any firearm in interstate or foreign commerce,
             to any person in any State where the receipt. by such person
             of such firearm would be in violation of any statute of such
             State unless the license manufacturer or licensed dealer
             establishes that he was unable to ascertain with reasonable
             effort that the shipment would be in violation of such State
            law.
          This provision would be of doubtful value in assisting the States to
       enforce their own gun laws for the following reasons: (1) It applies
       only   to interstate shipment and would not prevent a felon or fugitive
       from buying a gun from a dealer, over the counter, in his own State;
       (2) it would punish shipment by licensees to purchasers in States where
       it would be unlawful for the buyer to receive a firearm; whereas most
       prohibitive State gun laws proscribe purchase, ownership, possession,
       transportation,    and so forth, by criminals or other specified classes.
       They     do  not  prohibit receipt. Mostof States   would have to enact
                                                             in order to benefit
       special   legislation penalizing receipt    firearms
       from the proposed control; and (3) the "unless" clause would make it
       very difficult, to establish an offense under this provision.
                                                                under
                                                                      This is the
                                                                      the
       very problem    now  faced by Treasury Department
                                     the                                  present
        act.


                                                    Defs.' MSJ App. 258
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 38 of 212 PageID 3555
        38         .FEDERAL FIREARMS AMENDMENTS OF 1966

            The langllag of the "unless" clause is faulty in that it relieves the
         (deler of    crinlinal liability because the substantive offense is based ol
        receipt   il    violation of State law rather than possession.
            I I the opinlion of the Treasury Depart.inent this subsection would be
        as ineffective as is the present subsection 902(c) of the Federal Fire-
        arms Act, under which not a single conviction has been obtained since
        enactment of the act in 1938.
            A further consideration is the fact that many political subdivisions
        of a State have enacted local laws or ordinances controlling the sale,
        transfer, or possession of firearms in their respective jurisdictional
        areas. This sul)section would not assist authorities in such local
       areas in the enforcement of control provisions.
           On the otler hland(, S. 1592 offers assistance to State and local
       authorities in controlling tie movement of firearms into a State or
        political subdivision       of a State. This, in fact, isx one of the acllte
        prol)lems      which the bill is designed to correct. In the case of hand-
       gullns, aind certain other types of weapons, this would be effected by
       limiting interstate shipments to those between licensees and prohibit-
       ilg suchl weatlpons from being shipped interstate to nonlicensed per-
       soills. Moreover, S. 1592 would prohibit over-the-counter sales -of
       handguns and certain other types of weapons to out-of-State residents.
        It specifically proscribes the sale of any firearm where the receipt or
         ,ossessioll o(f tIe weal)pon would be il violation of any State or local
       lfa':, regulation,      or ordinance, and further, prohibits any one from
                                 into his State of residence from another State if it
       bringing      a  firearm
       woull bIe unlawful for him to purchase or possess the firearm in the
       State of his residence or political subdivision thereof where he resides.
       It. includes lno proviso similar to that in S. 3767 which would render
       these prohibitions unenforceable.
        Destructive devices
           S. 3767 does not define nor provide special regulations over the
       acquisition        of "destructive devices," weapons which are basically
       armaments of war. Thus, under S. 3767 any teenager could acquire
       through the mail order route an antitank gun in the same manner that
       lie would acquire a .22 caliber rifle. We believe that destructive
       devices should be regulated in accordance with the provisions of
       S. 1592, which provides for strict controls over their acquisition.
           The apparent rationale for failure to include "destruc'rve devices"
       in S. 3767 is that such weapons should be covered only by the National
       Firearms Act rather than by the Federal Firearms Act, which S. 3767
       would amend.
           We do not concur with that rationale.
           The National Firearms Act (1934) is intended to regulate and con-
       trol the possession of automatic weapons under the taxing power.
       It is similar to the intent of the Marihuana Tax Act, that is to con-
       trol, through taxing measures, certain commodities. The commodi-
       ties controlled under the National Firearms Act are the gangster's
       weapons of the thirties, machineguns, sawed-off shotguns, etc.
           The act requires the payment of a transfer tax of $200 on automatic
       weapons and of $5 on the other weapons covered in the act, which
        tax is paid by the transferor. If the taxing provisions of the act are
       complied with then the covered weapons may be lawfully obtained.
       Thus, a felon who complied with the transfer tax provision could
       lawfully purchase a machinegun, under the act.

                                                       Defs.' MSJ App. 259
  Table: [No Caption]




Case 4:22-cv-00691-OFEDERAL
                      Document 182-1 Filed 02/13/23 OF
                                                     Page 39 of 212 PageID 3556
                            FIREARMS AMENDMENTS        1966                                   39
                           The act does not proscribe sale to a felon or acquisition by a felon
                         through   movement in interstate commerce. However, the Federal
                        Firearms Act (1938), which covers all firearms, does proscribe the
                        interstate shipment and receipt of all firearms, including the National
                        Act weapons, by and to felons and fugitives. Thus there is no ra-
                         tionale for including "destructive devices" in the National Act only.
                        It is obvious that such weapons should be included in the Federal
                        Firearms Act, if we are to control their interstate movement and
                        acquisition adequately and effectively.
                           In summary, S. 3767 is quite limited and would not be as positive a
                        crime deterrent as S. 1592. Further, in urging enactment of his bill,
                        Senator lHruska has never made clear the inconveniences or extreme
                        burdens of law-abiding sportsmen that S. 1592 would effect. All of
                        our 50 States now have a substantial number of federally licensed
                        dealers, thus any responsible person could purchase the firearm of
                        his choice through such dealers with minor inconvenience of identify-
                        ing himself, filling out a form and complying with the laws of his
                        State.
                           If we hope to enact effective firearms legislation, then we cannot
                        accept Senator    Hruska's ineffective compromise. This is borne out
                        through a perusal of the legislative history of the Nationtal and Federal
                        Firearms Acts, both of which were watered down versions of the
                        original proposals,  and which have led to the tragic situation in this
                        country   today  where any juvenile, criminal, or demented person can
                        buyA a gun with unbelievable   ease.
                             comparative analysis of S. 1592 and S. 3767 follows:
                                      S. 1592                               S. 3767
                           Definition section:
                           Defines firearms to include de- No similar provision.
                        structive devices, mufflers, and
                        silencers.
                           Defines specifically destructive No similar provision.
                        devices (to provide for special reg-
                        ulation).
                           Defines short barreled shotgun No similar provision.
                        (to provide for special regulation).
                           Defines short barreled rifle (to No similar provision.
                        provide   for special regulation).
                           Defines importer specifically.       No similar provision.
                           Defines crime punishable by im- Defines "crime of violence" in
                        prisonment for a term exceeding 1 lieu of definition cited in column 1.
                        year to. exclude antitrust and sim- (This is a reversion to the pre-1961
                        ilar violations. (The Federal Fire- definition and is inconsistent with
                        arms Act was amended in 1961 to the Attorney General's amend-
                        provide the felony criteria rather ment of that year defining "crime
                        than more limited "crime of vio- punishable by imprisonment for a
                        lence" which was in the original term exceeding one year." Thus
                        act, passed in 1938.)                under Senator Hruska's bill a con-
                                                             victed racketeer or gambler could
                                                             be licensed to ship or receive fire-
                                                             arms in interstate commerce.)



                                                                     Defs.' MSJ App. 260
Case 4:22-cv-00691-O FEDERAL
                      Document 182-1 Filed 02/13/23 OF
                                                    Page1966
                                                          40 of 212 PageID 3557
        40                   FIREARMS AMENDMENTS
                      S. 1592                              8. 3767
           Unlawful acts (Federal licens-
        ees, importers, manufacturers, and
        dealers):
           Prohibits tie interstate mail- Regulates mail-order sale of
        order sale of llalgulls.              handguns    through affidavit pro-
                                              visions. (Not as effective as pro-
                                              vision in S. 1592.)
           Regulates through   affidavit pro-    No similar provision.
        vision interstate mail-order sale of
        rifles atnd shotguns.
           I'rohibits the sale of handguns Regulates through affidavit pro-
        to nonresidents of the licensee's vision this type of sale. (Not as
        place  of business (State).           effective as S. 1592.)
           Prohibits the sale of halidgtns No similar provision.
        to l)erisons under 21 alnd of rifles
        anld shotguns to persons under 1
        in over-the-counter transactions.
           Prohibits the over-the-counter No similar provision.
        sale of firearms by licensees with-
        out identifying purchasers.
           Prohibits the sale of firearms No similar provision.
        over the counter in violation of
        State and local law.
           Prohibits delivery of handguns No similar provision with re-
        to persons under 21 and rifles and gard to rifles and shotguns on the
        shotguns to persons under 18 by carriers or Post Office Depart-
        common or contract carriers and ment.
        Post Office Department. (This
        does not apply to licensees only.)
           Licensing:
           Licenses all manufacturers, im- No similar provision. Retains
        porters, and    dealers in firearms present Federal Firearms Act ter-
        engaged    in business.   (Power to minology for licensing, transpor-
        license is consistent with the com- tation, or receipt in interstate or
        merce clause of Constitution.)        foreign commerce.
           Sets forthl licensing standards No similar provision.
        to insure bona fide status of li-
        censees and compliance with the
        act.
           Importation   of firearms:
           Prohibits importation of military No similar provision.
        surplus and other foreign-made
        nonsporting handguns as well as
        destructive devices and National
        Firearms Act weapons. (Allows
        importation    of new foreign-made
        quality firearms  suitable for sport-
        ing purposes and military surplus
        rifles and shotguns in the same
        category.)
           Regulation of destructive de-
        vices and National Firearms Act


                                                   Defs.' MSJ App. 261
 Table: [No Caption]




Case 4:22-cv-00691-O FEDERAL
                      Document 182-1 Filed 02/13/23 Page 41 of 212 PageID 3558
                             FIREARMS  AMENDMENTS   OF 1966                                 41
                                      S. 1592                             S. 3767
                       weapons, short barreled etc.:
                                                  rifles and
                         Providesmachineguns,
                       shotguns,    for stringent controls No similar provision.
                       over sale of these firearms.
                         Recordkeeping    provisions:
                         Provides for adequate record- Retains wording of present Fed-
                       keeping and periodic examination eral Firearms Act.
                       of these records to insure com-
                       pliance with the act. Provides for
                       making available to State and
                       local officials pertinent record in-
                       formation for use in law enforce-
                       ment.
                          In urging enactment of the stronger and more effective S. 1592, we
                       recognize    the fact that stringent firearms laws are a deterrent to
                       firearms misuse. All one need do is examine the figures compiled by
                       the Federal Bureau of Investigation relative to gun murders in the
                       several States to conclude that strong gun laws do work.
                          First, in those geographic areas of the country with strong gun laws,
                       the percentages of gun murders are low when compared with areas
                       with either minimal or no gun controls. In the Northeast with
                       generally   strong gun controls, 38 percent of the murders were com-
                       mitted with guns in 1965. Nationally the average was 57 percent.
                       In the Western, North Central and Southern States where gun con-
                       trols are minimal the percentages of gun murders were 60, 61, and 66
                       percent respectively.
                         Second, in specific States with effective firearms regulation tie
                       disparity  is even more pronounced when comparing strong gun
                       control States with the minimal gun control States.
                         Below are percentages of gun murders in individual States for the
                       4-year period 1962-65.
                         States with stringent gun laws: States with weak gun laws:
                         New York, 32 percent.              Colorado, 59 percent.
                         Massachusetts, 35 percent.         Louisiana, 62 percent.
                         New Jersey, 39 percent..            New Mexico, 64 percent.
                         Pennsylvania,  43  percent.          Arizona, 66 percent.
                                                              Montana, 68 percent.
                                                              Texas, 69 percent.
                                                              Nebraska, 70 percent.
                          We acknowledge the fact that there are many and varied contribut-
                       ilg causes to crime, all of which must be considered in any evaluation
                       of the problem. Thus, the at)ove figures are made more meaningful
                       when it is realized that the densely populated States have low per-
                       centages when compared with the less densly populated States, be-
                       cause a major factor affecting the incidence of crime is population
                       density.
                          Wlile S. 1592 would be a much more effective means of regulation,
                       as compared with S. 3767, it would not interfere with the purchase of
                       firearms by law-abiding, responsible adult Americans. When ole
                       weighs  the ultimate saving of human life, which we believe is the hall-
                       mark of S. 1592, with the slight inconvenience that the bill would


                                                                  Defs.' MSJ App. 262
Case 4:22-cv-00691-O
        42            Document
                    FEDERAL    182-1 Filed
                            FIREARMS       02/13/23 OF
                                     AMENDMENTS     Page 42 of 212 PageID 3559
                                                       1966

       impose upon sportsmen and other responsible Americans in purchas-
       ing firearms, then we believe that the enactment of S. 1592 is the only
       responsible course to follow.
          TI'Ihere follows the text of the amended S. 1592 along with a state-
       mlellt of pulrp)ose, the extent of the program with which tlie bill deals, its
       sc(oe) of coverage with rationale based on testimony before the sub-
       committee tanld a section-by-sectioll analysis of S. 1592.
                                          S. 1592
                        A BIILL To amend the Federal Firearms Act
          Be it enacted by the Senate andtHoase of Representatives of the United
       States of lAmerica in congress s assembled, That this Act may be cited as
       the "State firearms control l Assistance lAmendments of 1966".
                               FINDINGS AND DECLARATION
         SEC. 2. (a) The congress s hereby finds and dteclares-
                (1) that there is a u:idespread traffic in firearms moving in or other-
             nwise aRfecting interstate or foreign commerce, and that the existing
           Federal controls over such traffic do not adequately enable the States
           to control the firearms traffic within their ouwn borders through the
           exercise of their police power;
                (2) that the ease nith which ch any person can acquire firearms
           (including criminals, juveniles without the knowledge or consent of
           their parents or guardians, narcotics addicts, mental defectives,
           armed groups who would supplant the functions of dluly constituted
           )public authorities,theand others whose possession      offirearms isinsimi-
           larly contrary to          public
                            lawlessness  and
                                              interest)  is a
                                                        crime
                                                              significant
                                                              in the
                                                                          factor the
                                                                     United
           prevalence of                       violent                       States;
                (3) that only through adequate Federal control over interstate and
         .foreign     commerce in firearms, and over all persons engaging in the
           businesses of importing, manufacturing, or dealing in firearms, can.
           this grave problem be properly dealt with, and effective State and
           local re(tlation of the firearms traffic be made possible;
                (4) that the acquisition on a mail-order basis of firearms by non-
           licensed individuals, from a place other than their State of residence,
            has materially tended to thwart- the effectiveness of State laws and
            regulations,
                     that
                           and local ordinances;
                          the sale or other disposition of concealable weapons by
                (5)
           importers,     manufacturers,    and( dealers holding Federal licenses, to
            nonresidents of the State in which the licensee's place of business is
           located, has tended to make ineffective the laws, regulations, and
           ordinances in the several States and local jurisdictwns
           such firearms;
                                                                              regarding
                (6) that there is a causal relationship between the easy availability
           of firearms and juvenile and youthfull criminal behavior, and that
           firearms     have been widely sold by federally licensed importers and
           dealers to emotionally immature, or thrill-bent juveniles and minors
           prone tothatcriminal   behavior;
                          the united States has become the dumping ground of the
                (7)
            castoff surplus military weapons of other nations, and that such
           weapons, and the large volume of relatively inexpensive pistols and
            revolvers (largely worthles8sfor sporting purposes), imported into the


                                                       Defs.' MSJ App. 263
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 43 of 212 PageID 3560
                   FEDERAL FIREARMS AMENDMENTS OF 1966            43
              United States in recent years, has contributed greatly to lawlessness
             and to the Nation's law enforcement problems;
                 (8) that the lack of adequate Federal control over interstate and
             foreign commerce      in. highly destructive weapons (such as bazookas,
             mortars,   antitank   guns, etc., and destructive devices such as explosive
             or incendiary grenades, bombs, missiles, etc.) has allowed such weap-
             ons and devices to fall into the hands of lawless persons, including
             armed groups who would supplant lawful authority, thus creating a
             problemthatof national  concern;
                           the existing licensing system under the Federal lirearims
                (9)
             Act does not provide adequate license fees or proper standards for
             the granting or denial of licenses, and that this has led to licenses
             being issued to persons not reasonably entitled thereto, thus distorting
             the purposes of the licensing system.
          (b) The Congress further hereby declares that the purpose of this Act
       is to cope with the conditions referred to in the foregoing subsection, and
       that it is not the purpose of this Act to place any undue or unnecessary
       Federal restrictions or burdens on law-abiding citizens with respect to
       the acquisition, possession, or use of firearms appropriate to the purpose
       of hunting, trap shooting, target shooting, personal protection, or any
       other lawful activity, and that this Act is not intended to discourage or
       eliminate the private ownership or use of firearms by law-abiding citizens
       for lawful purposes, or provide for the imposition by Federal regulations
       of any procedures or requirements other than those reasonably necessary
       to implement and effectuate the provisions of this Act.
          SEC. 3. The first section of the Federal Firearms Act (52 Stat. 1250)
       is amended to read as follows:
          "SECTION 1. DEFINITIONS.-(a) As used in this Act-
                "(1) The term 'person' includes an individual, partnership,
            association,    or corporation.
                "(2) The term 'interstate or foreign commerce' the      means commerce
                                                                            Canal Zone)
             between any State or possession (not including
             and any place outside thereof; or between points within the same
            State or possession (not including the Canal Zone), but through any
            place    outside thereof; or within any possession or the District of
             Columbia. The term 'State' shall include the Commonwealth of
             Puerto Rico, the Virgin Islands, and the District of Columbia.
                "(3) The term 'firearm', except where              the context otherwise
            requires,    means   any weapon (including       a  starter gun), by whatso-
            ever name known, which will, or is designed to, or which may be
            readily converted to, expel a projectile or projectiles by the action of
            an explosive; the frame or receiver of any such weapon; or any
            firearm muffler or firearm silencer; or any destructive device.or
                "(4) The term 'destructive device' means any explosive incen-
            diary (A) bomb or (B) grenade or (C) mine or (D) rocket or (E)
            missile or (F) similar device; and the term shall also include any
            typeorof weapon by bewhatsoever name known         which will, or is designed
            to,     which    may readily       converted to  expel   a projectile or pro-
            jectiles  by  the  action  of explosive,
                                          an             the   barrel or barrels of which
            have a bore of one-half inch or more in diameter.
                "(5) The term 'short-barreled shotgun' means a shotgun having
            a barrel or barrels of. less. than eighteen inches in length and any
            weapon made from a shotgun (whether by alteration, modification,
            or otherwise) if such weapon as modified has an overall length of
            less than twenty-six inches.

                                                          Defs.' MSJ App. 264
                                                                       .lt'
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 44 of 212 PageID 3561
       44          FEDERAL FIREARMS AMENDMENTS OF 1966

                "(6) The term 'short-barreled rifle' means a rife having a barrel
           or    barrels of less than sixteen inches in length, and any weapon
           made from a rifle (whether by alteration, modification, or otherwise)
           'if such weapon as modified has an overall length of less than twenty-
           six inches.
                "(7) The term 'importer' means any person engaged in the business
           of importing or bringing firearms or ammunition into the United
           States for purposes of sale or distribution; and the term 'licensed
           importer'       means any such person licensed ,under the provisions of
           this Act.
                "(8) The term 'manufacturer: means any person engaged in the
           manufacture of firearms or ammunition for purposes of sale or
           distribution; and the term 'licensed manufacturer' means any such
           person licensed under the provisions of this Act.
               "()) T'he term 'dealer' means (A) any person engaged in the busi-
           ness of selling firearms or ammlu.nition at wholesale or retail, (B) any
           person engaged in the business of repairing such firearms or of
           making oror fitting special barrels, stocks, or trigger mechanisms to
          firearms, (C) any person who is a pawnbroker. The term 'licensed
           dleler' means any dealer who is licensed 'under the provisions of
           this Act.
               "(10) The term 'pawnbroker' means any person whose business
          or occupation includes the taking or receiving, by way of pledge or
          .pawn, of any firearm or ammunition as security for the payment or
          repayment of money.
               "(11) The term 'ii'ndictmllent' include'l: a(l i(ldic'tment or ain in-
           /'ormtltion in a(/y court of thel nited States or o/ any/ State or
           J/irsoesssioln under' which a( crime lpu1n.ishable by inmprisonrmnentt lr
          te'irm exceedi'lng one 'year imayl be prosecuted.
               "(12) The term fugitivere from justice' means any person 'who
          h1as fled frmomn (1ly/a    State or )possession (il) to avoid prosecution
          for a crime punishelle by imp)risonmenrt for ( term ex-ceeding one
           iyer, or (1B) to aroid gil.ngi/ testimony in alty criminal proceeding.
               "(/S) 'Ihe term 'antlliq'ue firearm' means any firearm 0/' a design
           used(l before the i/ear 1870 includingg any mnatchlocl;, fli'nltlock,
            )('ICr'11ssol0 ca(', or similar ear!,ly type) ('oignition system) or repllica
          thereof, 'il/hether actually imanltfactured before or after the yeai
           1870: but iott including any weapon de.;illned /or use with smoke-
          le5ss )U(wder ,/', using rimnfire or con'renltion(al cenlter-firc ignition
          '/;ith fitred( a(m u'lition.
               '"(I.) The term 'Secretary' or 'S'ecrclar!/ o/ the Treasury' mIneal(s'
          the Secretary of' the T'reasuRy or his delegate.
               "(16) 'he term 'ammt nition' means amtnl.ln'itionl (ta destru't-
          tire d(el.ce; it shall 'not include shotgun shells or a(ln other ammuirnl i-
          tion desilneld lfr use 'in. a firearms other tha(nn( (estrucltilt (lerice.
               "(b) As used in this Act-
          "(1) The term 'firearm' shall not include an antique firearm.
               "(2) The term 'destructive device' shall not include-
                       "(A) a device which is not designed or redesigned or used or
                  intended for use as a weapon; or
                       "(B) any device, although originally designed as a weapon,
                  which is redesinedfor use as a signaling, line throwing, safety
                  or similar device; or
                       "(C) any shotgun (other than a short-barreled shotgun); or
                       "(D) any nonautomatic rifle (other than a short-barreled rifle)

                                                         Defs.' MSJ App. 265
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 45 of 212 PageID 3562
                   FEDERAL FIREARMS AMENDMENTS OF 1966             45
                 generally recognized as particularly suitable for use for the
                 hunting of big game;    or
                    "(E) surplus obsolete ordnance sold, loaned, or given by the
                 Secretary of the Army pursuant to the provisions of 10 U.S.C.
                 4684/(2), 4685, or 4686; or
                    "(F) any other device which the Secretary finds is not likely to
                 be used as a weapon.
              "(3) The term 'crime punishable by imprisonment for a term
           exceeding one year' shall not include any Federal or State offenses
                         to antitrust violations, unfair trade practices, restraints
           pertainingor other
           of trade,           similar offenses relating to the regulation of business
           practices  as  the Secretary may by regulation designate."
         SEC. 4. Section 2 of the Federal Firearms Act is amended to read as
       follows:
         "SEC. 2. UNLAWFUL AcTs.-(a) It shall be unlawful-
               "(1) for any orimporter,  manufacturer,   or dealer, except an importer,
            manufacturer,        dealer having  a license issued under the provisions
            of Act, engage
               this       to          in  the business of importing, manufacturing,
            or dealing in firearms or ammunition, or to transport, ship, or receive
            any firearm or ammunition, in interstate or foreign commerce; or
              "(2) for any importer, manufacturer, or dealer licensed under the
            provisions of this Act to ship, transport, or cause to be shipped or
            transported,   in interstate or foreign commerce, any firearm to any
           person    other than a licensed    importer,    licensedmanufacturer,     or
           licensed dealer, except that-
                    "(A) this paragraph shall not be held to preclude a licensed
                 importer, licensedtomanufacturer,     or licensed dealer from re-
                 turnning afirearm the sender (including a replacement firearm
                 of the same kind, make, and type);
                    "(B) this paragraph shall not be held to preclude a licensed
                importer, licensed manufacturer, or licensed dealer from ship-
                 ping, or causing to be shipped, for conveyance in the mails,
                a firearm to any officer, employee, agent, or watchman eligible
                  lnder the provisions of section 1716 of title 18 of the United
                States Code to receive through the mails, for use mn connection
                with their official duty, pistols, revolvers, and other firearms
                capable ofthisbeing concealed  on the person;
                    "(C)        paragraph  shall not apply in the case oj a shotgun,
                or rifle (other than a short-barreled shotgun or a short-barreled
                rifle) of a type and quality generally recognized as particularly
                suitable for lawful sporting purposes, and not a surplus mili-
                tary firearm., which is shipped, transported, or caused to be
                shipped or transported, in interstate or foreign commerce by
                an importer, manufacturer, or dealer licensed underr the pro-
                visions of this Act to any person who has submitted to such
                importer,
                      in
                           'manufacturer,   or dealer a sworn statement, in tldupli-
                                                    as the Secretary shall by regu-
                cate,     such   form and manner
                lations prescribe, attested to by a notary public, to the effect
                that (1) such person is eighteen years or more of age, (2) he is
                not a person prohibited, by this Act from receiving a shotgun
                or rifle in interstate or foreign commerce, (3) there are no
                provisions of law, regulations, or ordinances applicable to the
                locality to which the shotgun or rifle will be shipped which
                would be violated by such person's receipt or possession of a


                                                          Defs.' MSJ App. 266
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 46 of 212 PageID 3563
        46         FEDERAL FIREARMS AMENDMENTS OF 1966

                .shot.gi.....-.
                             or rifle, and (4) that (Title _-  ....., Name
                  -             ----,   antd Official
                                                    lAddress -------_-  -)
                (blanks to be filled in with the title, true name, and address)
               are the true name and address of the principal law enforcement
               officer of the locality to which the shotgun or rifle will be shipped.
                it shall be ,unlawful for an importer, manufacturer, or dealer,
               licensed under the provisions of this Act, to ship, transport,
               or cause to be shipped or transported, in interstate or foreign
                                sitch shotgun or rifle
               commerce oranydealer                    unless such importer, manu-
               facturer,              has, prior to the shipment of such shotgun
               or rifle forwarded by United States registered mail (return
               receipt requested) to the local law enforcement officer named in
               the sworn statement, the description (including (1) manufac-
               turer thereof, (2) the caliber or gage, (3) the model and type of
               shotrgun or rifle but notto including serial number     identification)
               of the shotgun or rifle be shipped, and one copy of the sworn
               statement, and has received a return receipt evidencing deliver
               of the registered letter or such registered letter has been returned
               to the importer, manufacturer, or dealer due to the refusal of the
                named law enforcement officer to accept such letter as evidenced
                in accordance with United States Post Office Iepartment regu-
                lations, and has delayed shipment for a period of at least
                seven days following receipt of the notification of the local law
                enforcement officer's acceptance or refusal of the registered letter.
                A copy of the sworn statement and a copy of the notification to
                the local law enforcement officer along with evidence of receipt
                or rejection of that notification, all as prescribed by this sub-
                pargrgraph, shall be retained by the licensee as a part of the
                records required to be kept under section 3(g): Provided, That
                (i) the Governor of any State may designate any official in his
                State to receive the notification to local law enforcement officers
                required  in this subparagraph. The Secretary shall be notified
                             and title of the official so designated and his business
                of the name
               address and shall publish the title, name, and address of that
                official in the Federal Register. Upon such publication,
                                 local law enforcement officers required in this
               notification of shall
               subparagraph            be made to the official designated; and (ii)
                the Governor of any State may request the Secretary to discon-
               tinue in his State or any part thereof the notification to local
               law enforcement officers required in this subparagraph. Upon
               publication of the request in the Federal Register, the notifica-
               tion to the law enforcement officers in the area described in the
                request will not be required for a period of five years unless the
               request is withdrawn by the Governor and the withdrawal is
               published in the inFederal   Register; and
                   "(D)  nothing this paragraph shall be construed as applying
                in any manner in the District of Columbia, the Commonwealth of
                IPuerto Rico, or any possession of the United States differently
                than it would apply if the District of Columbia, the Common-
                wealth of Puerto Rico, or the possession were a State of the
                United States; or
             "(3) for any person in connection with the acquisition or attempted
          acquisition of a firearm from a licensed importer, licensed manu-
          facturer, or licensed dealer to-

                                                       Defs.' MSJ App. 267
Case 4:22-cv-00691-OFEDERAL
                      Document 182-1 Filed
                            FIREARMS       02/13/23 OF
                                      AMENDMENTS    Page 47 of 212 PageID
                                                       1966         47 3564
                       "(A) knowingly make any false or fictitious statement,
                 written or oral, or
                       "(B) knowingly furnish or exhibit any false, fictitious, or
                   misrepresented identification;
             intended or calculated to deceive such importer, manufacturer, or
              dealer with respect to any fact material to the lawfulness of the sale or
             other disposition of a firearm by a licensed importer, licensed manu-
            facturer     or licensed dealer under the provisions of subsections (b)
             and (c), or
                 "(4) for any person to transport into or receive in the State where
             he resides a firearm purchased or otherwise obtained by him outside the
             State where he resides if it would be unlawful for him to purchase or'
             possess    such firearm in the State (or political subdivision thereof)
             where he resides.
          "(b) It shall be unlawful for any licensed importer, licensed manu-
       facturer, or licensed dealer to sell or otherwise dispose of any firearm to
       any person-
                "(1) without ascertaining through reliable means of identification
             customarily    used in good commercial practice (which shall be noted
             in the licensee's records) the identity, (late of birth (in the case of an
             individual), and place of residence (or place of businessorin the case of
             a corporation or other business entity) of such person;
                "(2) who (in the case of an individual) he knows or has reasonable
             cause to believe is under twenty-one years of age (except for a shotgun
             or rifle), and under eighteen years of age in the case of a shotgun or
             rifle; or
                "(3) who he knows or has reasonable cause to believe does not
             reside in (or in the case of a corporation or other business entity,
            who does not have a place of business in) the State in which the
            importer's,                     or dealer's place of business is located;
                           manufacturer's,shall
             except  that this paragraph        not apply in the case of a shotgun or
             rifle (other than a short-barreled shotgun or short-barreled rifle); or
                "(4) who by reason of any State or local law, regulation, or
             ordinance applicable at the place of sale or other disposition may not
             lawfully receive or possess such firearm.
       This subsection shall not apply in the case of transactions between
       licensed importers, licensed manufacturers, and licensed dealers, nor in
       the case of transactions involving rifes or shotguns which are subject to
       the provisions of subparagraph (C) of section 2(a) (2).
          "(c) It shall be unlawful for any licensed importer, licensed manLu-
       facturer, or licensed dealer to sell or otherwise dispose of any firearm or
       ammunition to any person (other than a licensee) knowing or having
       reasonable cause to believe that such person is under indictment or has
       been convicted in any court of the United States or of any State or posses-
       sion of a crime punishable by imprisonment for a term exceeding one year
       or is a fugitive from justice.
          "(d) It shall be unlawful for any person who is under indictment or
       who has been convicted in any court of a crime punishable by imprison-
       ment for a term exceeding one year, or who is a fugitive from justice, to
       ship, transport, or cause to be shipped or transported, any firearm or
       ammunition in interstate or foreign commerce.
          "(e) It shall be unlawful for any person who is under indictment or
       who has been convicted in any court of a crime punishable by imprison-
       ment for a term exceeding one year, or is a fugitive from justice, to receive


                                                       Defs.' MSJ App. 268
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 48 of 212 PageID 3565
         48         FEDERAL FIREARMS AMENDMENTS OF 1966

        any firearm or ammunition which has been. shipped or transported in
        interstate orforeign commerce.
             (,f) It shall be unlawful for any person knowingly to deposit, or cause
        to be deposited for mailing or delilvry by mail, or knowingly to deliver,
        or cause to be delivered, to any common or contract carrier for transporta-
        tion or shipment in. interstate or foreign commerce, any package or
        other container in which there is any firearm, without written notice
        that a firearm is being transported or shipped.
            "(g) It shall be unlawful for any common or contract carrier to deliver,
        or cause to be delivered, in interstate or foreign commerce, any firearm
        to any person who does not exhibit or produce evidence of a license
        obtained under section 3 of this Act-
                  "(1) knowing or having reasonable cause to believe that such
               person   is under twenty-one years of age (except for a rifle or shotgun)
               and under eighteen years of age in the case of a rfle or shotgun; or
                  "(2) with knowledge or with reasonable cause to believe that the
               receipt orbe possession   of the firearm by the person to whom it is delivered
               wiuld in violation of the laws or ordinances of the State (or
               political subdivision thereof) in which the delivery is made; and
        No firearm will be delivered in the United States mails under such
        circumstances as woul.l be unlawful if done by a common or contract
       carrier.
           "(h) It shall be unlawful for any person to transport or ship, or cause
       to be transported or shipped, in interstate or foreign commerce, any stolen
       firearm, or stolen ammunition knowing, or having reasonable cause to be-
       lieve, same to have been stolen.
           "(i) It shall be unlawfulfor any person to receive, conceal, store, barter,
       sell, or dispose of any stolen firearm or stolen ammunition or pledge or
       accept as security  which
                                 for a loan any stolen firearm or stolen ammunition,
                                   is a part of, or which constitutes interstate or foreign
       moving as,      or
       commerce, knowing, having reasonable cause to believe, the same to have
                                   or
       been stolen.
           "(j) Itinshall    be unlawful for any person to transport, ship, or knowingly
       receive,        interstate    or foreign commerce, any firearm from which the
       importer's manufacturer's
                      or                      serial number, as the case may be, has been
       removed, obliterated,       or  altered.
          "(k) It shall be unlawfdu for any person to import or bring into the
        United States or any possession thereof any firearm in violation of the
       provisions of this Act, orammunition.
                                         to import or bring into the United States or any
       possession     thereof any
           "(I)or It shall be unlawful for any person to knowingly         receive any fire-
       arm ammunition which has been imported or brought into the United
       States or any possession thereof in violation of the provisions of this Act."
           SEC. 5. Section 3 of the Federal Firearms Act is amended to read as
       foUows:
          "SEC. S. (a) No person shall engage in business as a firearms or am-
       munition importer, manufacturer, or dealer until he has filed an applica-
       tion with, and received a license to do so from, the Secretary. The ap-
       plication shall be in such form and contain such information as the Sec-
       retary shall by regulations prescribe. Each applicant shall be required
       to pay a fee for obtaining such license (for each place of business) as
       foutows: a
          "(1) If manufacturer-
               "(A) of destructive devices, a fee of $1,000 per annum;

                                                           Defs.' MSJ App. 269
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 49 of 212 PageID 3566
                    FEDERAL FIREARMS AMENDMENTS OF 1966            49

            annum.
                  "(B) of firearms (other than destructive devices), a fee of $600 per
           "(2) If an importer-
                  "(A) of destructive devices, a fee of $1,000 per annum;
                  "(B) of firearms (other than destructive devices), a fee of $500 per
              annum.
           "(3) If a dealer-
                  "(A)
                  "(B)
                         in destructive devices, a fee of $1,000 per annum;
                         who   is a pawnbroker (dealing in firearms other than
              destructive devices), P.fee of $250 per annum;
                 "(C) who is not a dealer in destructive devices or a pawnbroker,
              a fee of $10 per annum; except thatfor the first renewal following the
              effective  date of the State Firearms Control Assistance Amendments
              of  1966  or for the first year he is engaged in business as a dealer such
              dealer will pay a fee of $26.
        The fee for an importer or manufacturer of, or a dealer in, ammunition
       for  a destructive device shall be the same as for an importer or manufac-
        turer of, or a dealer in, destructive devices. However, a person who has
       obtained a license covering destructive devices shall not be required to
       obtain an additional license with respect to ammunition for destructive
       devices.
           "(b) Uponfiling by an applicant of the prescribed application and pay-
       ment of the prescribed fee, the Secretary shall (except as provided in sub-
       section (c)), issue to such applicant the license applied for, which shall,
       subject to the provisions oj this Act and other applicable provisions of law,
       entitle the licensee to transport, ship, and receive firearms and ammunition
       covered by such license in interstate or foreign commerce during the
       period stated in the license.
          "(c) Any application submitted under subsections (a) and (b) of this
       section shall be disapproved and the license denied if the Secretary, after
       notice and opportunity for hearing, finds that-
                 "(I) the applicant is under twenty-one years of age; or
                 "(2) the applicant (including in the case of a corporation, partner-
             ship,   or association, any individual possessing directly or indirectly,
             the power to direct or cause the direction of the mangement and
             policies of the corporation, partnership, or association) is prohibited
             from transporting, shipping, or receivingfirearms or ammunition in
             interstate or foreign commerce under the provisions of subsection (d)
             or (e) of section 2 of this Act; or is, by reason of his business exper-
             ience, financial standing, or trade connections, not likely to commence
             business operations during the term of the annual license applied for
             or to maintain operations in compliance with this Act; or
                "(3) the applicant has wiUllftly violated any of the provisions of
             this Act or the regulations issued thereunder; or
                "(4) the applicant has willfully failed to disclose any material
             information required, or made any false statement as to any material
            fact, in connection with his application; or
                "(6) the applicant does not have, or does not intend to have or to
             maintain,    in a State or possession, business premises for the conduct
             of  the business.
          "(d) The provisions of sections 2 (d) and (e) of this Act shall not apply
       in the case of a licensed importer, licensed manufacturer, or licensed
       dealer who is indicted for a crme punishable by imprisonment for a term
       exceeding one year. A licensed importer, licensed manufacturer, or
             0603 0 -6--4


                                                        Defs.' MSJ App. 270
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 50 of 212 PageID 3567
          50        FEDERAL FIREARMS AMENDMENTS OF 1966

          licensed dealer maly continue operations, pursuant to his existing license
          (provided      that prior to the expiration. of the term of the existing license
          timely, ap location is made for a( new license), du(rtingt the term of such.
          indictmrlenlt arlnd until any conviction pursuant to the indictment becomes
          final, vwhere(ilpon he shall      belf lly subject to all provisions of th'iS Act and
         ol,'rationls /llrsulanlt has been licenseunder
                                       to  suich            shall be dliscontinuledl (unless an
         aIpplication rdiefshall
                           for                    filed         section. I).
             "(e)      )o  person           import bring any firearm. into the, United
                                                      or
         States or anl possecss5ionl thereof, except that the Secretary may authorize
         a firearnl to be imported or brought in, if the person importing or bringing
         in tlhe firearm'(establishesl to the satisfaction of the Secretary that the fire-
         (rIl--
              -l
                    "(1) is being imllorted or brought in for scientific or research
                I)IrI)oSes, or1'is for use inl connection with) cornlpetition, or training
                /urslalntis toa(l chapter  ,01 of title O1 of the United States (ode; or
                                    unserviceable firearm (not readily restorable to firing
                    "'()
                condition), imported or broughtlnin a(s a curio or mnu.seaum piece; or
                    "(3) i.~-S
                           "(Ai1) ol attype 1and qltualitl/ that )meets recognized safety stand-
                      a(I'ds,
                           "(B) generallyy recognized as particularly suitable for, or
                      readily adaptable       to, sporting purposes,
                          ''() in the case of surjpluismilitary firearms, a rifle or shot-
                      g/it', (Lald
                            "()) of a type that does not fall within the definition of a.
                      firearms as defined in section 58/fS8(1) of the Internal Revenue
                      (Code of 1I64; or
                    "(1) 'l'as previously taken. out of the United States or a possession
                by1 the person, who is bringing in the firearm.
         I'rovided, 'Ihat the Secretary inay permit the conditional importation or
        bringing in of a firearm for examination and testing in connection ltith
        the inaking of a determination. as to whether the importation or bringing
        in of such firearm ';ill be allowed under this subsection.
            "(f) No licensed importer, licensed manufacturer, or licensed dealer
        .hall sell or otherwise dispose of a destructive device, a machine gun (as
        defined( ini section 56848 of the Interal lievenue (Code of 1.)54), a short-
        barreled shotgltun, or a short-barreled rifle, to a nonlicensee unless he has
        in his possession, a sworn statement executed by the principal law en-
        forcement officer of the locality wherein the purchaser or person to whom
         it is otherwise disposed of resides, attesting that there is no pr'ovisioln of
        la w, regulation, or' ordinance which would be violated by such person's
        receipt or possession thereof a'nd that he is satisfied that it is intended
        by such person for lawful purposes. Such sworn, statement shall be
        retained by the licensee as a part of the records required to be kept under
        subsection (g).
             "(g) Each licensed importer, licensed manufacturer, a-nd licensed
        dealer shall maintain such records of importation, production, shipment,
        receipt, and       sale or other disposition, of firearms andl ammunition at such
        place,   for  such    period a'n(d in such form as the Secretary     may by regulations
        prescribe.        Such    importers,    manufacturers,     and  dealers shall make such
        records available for inspection at all reasonable times, a',td shall submit
        to the Secretary such reports and information, with respect to such records
        and the contents thereof as he shall by regulations prescribe. The
        Secretary or his delegate may enter during business hours the .premises

                                                             Defs.' MSJ App. 271
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 51 of 212 PageID 3568
                   FEDERAL FIREARMS AMENDMENTS OF 1966             51
       (including places    of storage) of any firearms or ammunition importer,
       manufacturer,    or dealer for the purpose of inspecting or examining any
       records or documents required to be kept by such importer or manufacturer
       or dealer under the provisions of this Act or regulations issued pursuant
       thereto, and any firearms or ammunition kept or stored by such importer,
       manufacturer,     or dealer at such premises. Upon the request of any
       State or possession or political subdivision thereof, the Secretary of the
       Treasury may make available to such State, or possession, or any political
       subdivision thereof, any information which he may possess or which he
       may obtain by reason of the provisions of this Act with respect to the
       identification of persons within such State, or possession, or political
       subdivision thereof, who have purchased or received firearms or ammuni-
       tion, together with a description of the firearms or ammunition so pur-
       chased or received.
          "(h) Licenses issued under th prolis'ions of subsection (c) of this
       section shall be kept posted and kept available for inspection on the b utsint s
       premises covered by the license.
          "(i) Licensed importers and licensed manufacturers shall identify
       (or cause to be identified), in such manner as the Secretary shall by regu-
       lations prescribe, eachfirearm imported or manufactured by such importer
       or manufacturer."
          SEc. 6. Section 4 of the Federal Firearms Act is amended to read as
      follows:
         "SEC. 4. EXCEPTIONS TO APPLICABILITY OF THE ACT.--The pro-
      visions of this Act shall not apply with respect to the transportation, ship-
      inent, receipt, or importation of any firearms or ammunition imported
      for, or sold or shipped to, or issued for the use of (1) the United States or
       any   department,    independentt establishment, or agency thereof; or (2)
      any State, possession, or any department, independent establishment,
                    or
      agency,    or any political subdivision thereof."
          SEC. 7. Section 6 of the Federal Firearms Act is amended by striking
      out subsection (b) ab.t inserting in lieu thereof new subsections (b) and
       (c) reading as follows:
          "(b) Any person who-
                "(1) with intent to commit therewith an offense punishable by
          imprisonment    for a term exceeding one year; or
                "(2) with knowledge or with reasonable cause to believe that an
             offense punishable by imprisonmentfor a term exceeding one year is
            intended to be committed therewith;
      ships, transports, or receives a firearm in interstate or foreign commerce
      shall be fined not more than $10,000 or imprisoned not more than ten
      years, or both, for each such offense.
          "(c) Any firearm or ammunition involved in, or used or intended to
      be used in, any violation of the provisions of this Act, or any rules or
      regulations promulgated thereunder, or any violation of the provisions of
      title 18, United States Code, chapter 84, or sections 111, 112, 372, 871,
      or 1114, shall be subject to seizure and forfeiture and 'all provisions of the
      Internal Revenue Code of 1964 relating to the seizure, forfeiture, and
      disposition of firearms, as defined in section 6848(1) of said Code, shall,
      so far as applicable, extend to seizures andforfeitures under the provisions
      of this Act."
         SEC. 8. The Federal Firearms Act is amended by renumbering sections
      6, 7, 8, 9, and 10 as sections 7, 8, 9, 10, and 11, respectively, and inserting
      after section 6 the following new section:

                                                        Defs.' MSJ App. 272
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 52 of 212 PageID 3569
        52          FEDERAL FIREARMS AMENDMENTS OF 1966

          "SEC. 6. APPLICABILITY OF OTIER LAWS.--
                "(a) Nothing in this Act shall be construed as modifying or
             affecting any provision of-
                      "(1) the National Firearms Act (chapter 63 of Internal
                   Revenue Code of 1964); or
                      "(2) section 414 of the Mutual Security Act of 1954, as
                   amnendled (section 1934 of title 22 of the United States Code
                             to munitions control)); or
                   (relatingSection
                      "(3)          1716 of title 18 of the United States Code
                   (relating nonmailable firearms).
                             to
                "(b) Nothing in this Act shall confer any right or privilege to
             conduct any7 business contrary to the law of any State, or be construed
             as relieving any person from compliance with the law of any State."
          ",S',c.. Se.action 8 of the Federal Fiirearms Act (relating to rules and
       regulations) is amended to read as follows:
          "SE'C,. 8. RHULES AN/D RIEGULATIONS..-The Secretary ma/y prescribe
       such rules and regulations as he dleems reasonably necessary to carry out
       the provisions of this Act. The Secretary shall give reasonable public
       notice, and( afford to interested parties opportunity for hearing, prior to
       prescribing such regulations."
          SEC. 10. 7he amendml(nents made by this Act shall become effective on.
       the first day of the third month beginning not less than ten days after
       the date of enactment of this Act; except that the amendments made by
       section 5 of this Act to section 3(a) of the Federal IFirearms Act shall not
       aLpply  to any importer, manufacturer, or dealer licensed under the Federal
       I1irearms iAct on the effective (late of this Act until thte expiration of the
       license held by such importer, manufacturer, or dealer on, such date.
          The principal purposes of this pIroposed bill, S. 1592, are to aid in
        making it. possible to keel) firearms out of the hands of those not legally
       entitled to possCSS them because of age, criminal background, or
       incompetency, and to assist law enforcement authorities in combating
       the increasing prevalence of crime in the United States.
          The case with which any person can anonymously acquire firearms
       (including criminals, juveniles without the knoxl-edge or consent of
       their parents or guardians, narcotic addicts, mental defectives, armed
       groups \who would supplant duly constituted public authorities, and
       others wlose possession of firearms is similarly contrary to the public
       interest) is a matter of serious national concern.
          We believe that the existing Federal controls over interstate and
       foreign commerce in firearms are not sufficient to enable the States to
       effectively cope with the firearms traffic within their own borders
       through the exercise of their police power. Only through adequate
       Federal control over interstate and foreign commerce in firearms, and
       over all persons engaging in the business of importing, manufacturing,
       or dealing in firearms, can this problem be (lealt with, and effective
       State and local regulation of the firearms traffic be made possible.
       S. 1592 would provide this needed control.
          It would provide Federal controls over--
                (1) The interstate traffic in ofmail-order firearms;
                (2) Out-of-State purchases concealable firearms;
                (3) Acquisition of firearms by juveniles and minors;
                (4) Rifles and shotguns;
                (5) Importation of nonsporting and military surplus firearms;
                (6) Highly destructive weapons (e.g., bazookas, mortars,
             antitank guns, explosives, or incendiary grenades, bombs, etc.);

                                                      Defs.' MSJ App. 273
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 53 of 212 PageID 3570
                    FEDERAL FIREARMS AMENDMENTS OF 1966            53
                 (7) Licensing of importers, manufacturers, and dealers;
                 (8) Recordkeeping provisions;
                 (9) Making interstate transportation, shipment, or receipt
              of a firearm with intent to commit a felony therewith, a Federal
             offense.
           It is not the purpose of S. 1592 to place any undue or unnecessary
        restrictions or burdens on responsible law-abiding citizens with respect
        to the acquisition, possession transportation, or use of firearms appro-
        priate to the purposes      of hunting, trapshooting, target shooting,
        personal protection, any other lawful activity. It is not intended
                                or
        to discourage or eliminate the private ownership of such firearms by
                                                                          the im-
        law-abiding citizens for oflawful purposes, oror to provide forother
        position,   by regulations, any procedures      requirements         than
        those reasonably necessary to implement and effectuate the provisions
        of the  bill.
            We believe that there is a serious problem of firearms misuse in the
         United States based on our extensive inquiries into the problem.
           For 4 years prior to the introduction of S. 1592, on March 22, 1965,
        the Subcommittee to Investigate Juvenile Delinquency had been con-
        ducting an investigation into the interstate traffic in mail-order fire-
        arms, especially to juveniles, youthful offenders, and adult criminals.
            In January, March, and May of 1963, and in March and April of
         1964, public hearings were held by     the subcommittee and the testi-
        mony proved conclusively that the interstate traffic in mail-order
        firearms to the above persons was a serious problem to iaw enforcement
         throughout the United States. The consensus of those who testified
        at the hearings was that this problem could only be effectively attacked
        through thetheenactment    of Federal legislation.
            During 1963 and 1964 hearings, testimony revealed the existence
         of the following conditions because of the mail-order gun business:
                 Juveniles, minors, convicted felons, and undesirable adults
              have increasingly availed themselves of the mail-order source of
              firearms.
                These firearms have been used extensively in the commission of
              serious crimes.
           The indiscriminate sale of these firearms has resulted in accidental
        tragedies including loss of life and serious injury.
            Because of the anonymity afforded the purchaser in a mail-order
         transaction, these firearms appeal to juveniles, youthful offenders,
        and adult criminals.
           The sale of mail-order firearms is accomplished with little or no
        concern as to the age, background and competence of a purchaser,
        especially    by a certain group of dealers who entered the mail-order
        business in recent years.
           Firearms sold through the mails are primarily foreign made or
        imported military surplus firearms, relatively inexpensive and often
        inferior in design and quality.
           The yearly volume of importation of these firearms is approximately
        1 million a year.
           The $1 fee and lack of minimum standards for obtaining Federal
        firearms dealers' licenses has resulted in flagrant abuse of the intent
        of the Federal Firearms Act.
           The failure of certain dealers to keep adequate records as required
        by the regulations (26 C.F.R. Part 177) and to cooperate with State

                                                    Defs.' MSJ App. 274
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 54 of 212 PageID 3571
         54.        FEDERAL FIREARMS. AMENDMENTS OF 1966

        and local law-enforcement officials is a detriment to effective law
        enforcement.
                 'rTe interstate traffic in mail-order firearms often circumvents
              State and local law, and it is virtually impossible for the States
              to control this traffic in the maintenance of domestic law and
              order.
           Furthermore, during the period between the 1964 hearings and the
        introduction of S. 1592 on March 22, 1965, substantial evidence on
        the problem of increasing firearms misuse wats developed by the sub-
        committee concerning (1) the interstate traffic in all firearms, including
        rifles and shotguns and certain destructive devices, (2) the importation
        of firearms, (3) the effectiveness of laws in certain States and locales
        as ta deterrent to firearms misuse and their lethal capabilities.
           In addition to reaffirlinig the existence of the problem areas referred
        to in the foregoing paragraphs, many witnesses testified in the 1965
        hearings    regarding another aspect of the interstate firearms traffic.
           Not only is mail order a means of circumventing State and local
        law, but tlle over-the-colnter sale of firearms, primarily handguns, to
        persons who are not residents of the locale in which the dealer con-
        (lucts his business, affords similar cii cumvention. This problem is
        most prevalent in, but not limited to, those States where stringent
        firearms regulations are in effect and the l)urchaser is not able to
         purchasee a firearm under the laws of his State. As a result, a would-be
        purchaser travels to a neighboring State with less stringent controls
        andIpurchases the firearm which, many times it was demonstrated,
        was misused in his State or residence. This problems was outlined by
        law enforcement, officers throughout the country.
           Firearms purchased in the above manner have been used in the
        commission of a substantial number of crimes. For example, the
        Mamssachusetts State Police have traced 87 percent of the concealable
        firearms used in crimes in Massachusetts to out-of-State purchases.
           The lack of adequate Federal control-s over this aspect of the
        interstate traffic in firearms leaves open to people a method of violating
        the laws of their own States similar to the mail-order sales route.
           Again, as with mail order, the records show that juveniles, youthful
        offenders, and adult criminals have purchased firearms in this manner
        and subsequently used them in crimes.
           It is virtually impossible for the States to cope with this aspect of tlhe
        problem     without additional controls by the Federal Government.
           While we conceded that the more serious problem in firearms misuse
        concerns tile pistol and revolver, the fact remains that of the total
        number of firearms murders each year, some 30 percent are perpe-
        trated by persons armed with rifles and shotguns.
           Furthermore, law enforcement officials have testified to thle need for
        and supported the concept of additional regulations over the acquisi-
        tion of such weapons.
           The capabilities and lethal nature of the firearm are readily ap-
        parent, when one examines the figures compiled by the Federal Bureau
        of Investigation and included in their uniform crime reports. During
        1963, 56 percent of the 8,500 murders were perpetrated by persons
        armed with firearms.' In 1964, 55 percent of the 9,250 murders were
        traced to firearms misuse. In 1965, 57 percent of the 9,850 murders
        were committed by persons armed with guns. Furthermore, a firearm
        is seven times more lethal than all other weapons combined.


                                                      Defs.' MSJ App. 275
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 55 of 212 PageID 3572
                     FEDERAL FIREARMS AMENDMENTS OF 1966                         55
           In gun murders involving emotional provocation, the evidence indi-
        cates that if the gun were not available at the spur of the moment,
                     murders could well have resulted only in a minor assault.
        many suchbecause
        However,            guns are readily available and are lethal by nature,
        our homicide statistics have soared.
           The testimony before our subcommittee has also pointed to the
        fact that the majority of bank robberies involved the use of a firearm
        and were it not for the easy availability of guns, the chances for a
        successful perpetration of this particular crime would be substantially
        reduced.
           In his statement opening the 1965 hearings, the subcommittee chair-
        man cited the volume of firearms which had been imported during the
        2-year period 1963-64. In that 2-year period, 2,167,754 firearms      were
                                                                        the total.
        imported, with pistols and revolvers numbering 859,758 ofaccount
           loaw enforcement officials testified that foreign imports            for
        a significant percentage of the total number of firearms seized pursuant
        to their use in the commission of crimes. The percentage ranged from.
        a low of 18 percent in Washington, D.C., to a high of 80 percent in
        Atlanta, Ga. The .22-caliber revolver has been singled        out by law
        enforcement generally as being particular problem
                                           a                      in that it is in)-
        expensive   and easily obtainable.
           The extent, of the problem is clear, we beliive,~atnd the need for
        enactment of S. 1592 is apparent.
           In documenting the thoroughness of our inquiry, \e feel that it is
        important to cite those Federal, State, and local officials who appeared
        before the subcommittee calling upon the Federal Governmentt to
        enact remedial legislation, and specifically S. 1592.
          They are-
               Nicholas deB. Katzenbach, Attorney General of the United
            States.
              Henry H. Fowler, Secretary of tile Treasury.
              Sheldon M. Cohen, Commissioner of Internal Revenue.
              Stephen Ailes, Secretary of the Army.
              James V. Bennett, consultant, Federal Bureau of Prisons,
            Department of Justice.
               Thomas C. Lynch, attorney general, State of California.
              Arthur J. Sills, attorney general, State of New Jersey.
               Daniel R. McLeod, attorney general, State of South Carolina.
               Richard R. Caples, commissioner of public safety, State of
            Massachusetts, accompanied by Lt. John Collins and Sgt. Edward
            Higgins,  Massachusetts State Police.
              John B. Layton, Chief of Police, Washington, D.C.
               Herbert T. Jenkins, chief of police, Atlanta, Ga.
               Curtis Brostron, chief of police, St. Louis, Mo., accompanied
             by Maj. Adolph Jamobsmeyer.
               Howard R. Leary, commissioner of police, Philadelphia, Pa.,
             accompanied  by Chief Inspector Harry Fox.
               Leonard Reisman, deputy commissioner, New York City
             Police Department.
               Carl K. Miller, commander, Chicago Police Department.
               Merton Howe, captain, Los Angeles Police Department.
               Jesse Gonzales, sergeant, Los Angeles Police Department.




                                                      Defs.' MSJ App. 276
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 56 of 212 PageID 3573
         56         FEDERAL FIREARMS AMENDMENTS OF 1966

                       PRESIDENT'S STATEMENT ON FIREARMS CONTROL
            President Johnson in his message to the Congress March 8, 1965,
         described crime as a "malignant enemy in America's midst of such
         extent and seriousness that the problem is now one of great national
         concern." He identified as a significant factor in the rise of violent
         crime the ease with which any person can acquire a firearm. He
         also stressed the need for increased Federal control over interstate
        shipment      of firearms and the importance of curbing the importation
         of surplus military weapons as well as other used firearms.
            The President recommended the enactment of legislation amending
         the Federal Firearms Act, to "make it more feasible for the States to
        impose more and     effective controls over firearms within their own
        boundaries,"            more specifically, to correct abuses in mail order
        sales, provide
                to             suitable  licensing standards for persons engaged in
        activities licensed under the act, and to restrict the sale of firearms by
        licensees to persons of mature age. As a complement to Federal
        firearms control legislation, lie urged Ipublic officials to review State
        and local laws "in this critical field with a view to keeping lethal
        weapons out of the wrong hands."
           S. 1592, as originally introduced(, was designed to accomplish the
        Federal objectives outlined by the President.
           Tlie scope of S. 1592 is broad. However, we believe that the need
        for each of the provisions of the bill haslIeen thoroughly documented
        by the testimony given before the subcommittee. There follows the
        scope of coverage of the bill with rationale.
                 T'he interstate traffic in mail order firearms
           S. 1592 would( have the effect of channeling interstate and foreign
        commerce in firearms, except for sporting-type rifles and shotguns (not
        to include military surplus), through federally licensed importers,
        manufacturers, and dealers, thereby prohibiting the commercial mail
       order traffic in firearms (other than rifles and shotguns) to unlicensed
       persons; alnd with respect to interstate mail order transactions in
       sporting-type      rifles and shotguns would require a purchase affidavit,
       and notice to a law enforcement officer at the place where the rifle or
       shotguncontrol
                   is to be shipped. This will enable the States to more effec-
       tively             the firearms traffic within their own jurisdictions under
       the police power granted to them by the Constitution.
           The testimony and the record reflect the concern of law enforce-
       mnent officials throughout the country over the vast proliferation of
       mail order firearms in interstate commerce.
          Tlis traffic is a means which affords circuIimvention and contraven-
       tion of State and local laws governing the sacTuisition of firearms. It
       is characterized by ready availability, minimal cost, and anonymity of
       purchase. Tlie result lhas been an ever-increasing abuse of this source
       of firearms by juveniles, minors, and adult criminals.
          Ill the District of Columbiat'l the subcommittee, with the cooperation
       of the M\etropolitan Police Department, determined that 25 percent of
       the recipients of mail-order firearms had criminal records ranging in
       seriousness from habitual drunkenness to murder.
          In testifying before the subcommittee on June 2, 1965, Commander
       Carl K. Miller, Chicago Police Department, referred to the results of
       an investigation of 4,069 consignees of mail-order firearms in Chicago,
       who had purchased and received their firearms from just 3 California-

                                                     Defs.' MSJ App. 277
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 57 of 212 PageID 3574
                    FEDERAL FIREARMS AMENDMENTS OF 196 6           57
        based mail-order firearms dealers. He indicated that 948 consignees
        had arrest records. Of the 948 arrestees, 13 were arrested for murder,
        58 for robbery, 42 for burglary, 111 for various types of assaults,
        83 for carrying concealed weapons, and 426 for disorderly conduct.
           In addition, 229 were arrested for various other crimes including
        larceny,  larceny from auto, gambling, resisting arrest, causing a dis-
        turbance with a gun, narcotics investigation, and sex offenses.
           In testifying on June 3, 1965, Attorney General Arthur J. Sills, of
        New Jersey, cited the results of a State police survey conducted to
       determine if purchase permits had been obtained by residents in New
       Jersey   who had received mail-order firearms from two California mail-
       order firearms dealers. In summary, Attorney General Sills testified
        that, of the 154 guns sold and mailed by the 2 dealers, 61 were sold
       and mailed without permits being issued. Further, it was deter-
       mined that 26 persons with criminal records were among those who
       had purchased the 61 firearms from the 2 mail-order outlets. This
       subcommittee cooperated with the New Jersey authorities by furnish-
       ing the names of consignees of mail-order handguns to the New Jersey
       State Police. The laws of New Jersey require a permit to purchase
       a handgun.
          Deputy Commissioner       Leonard E. Reisman, New York City Police
       Department, in accord withJuly
                        testified on        1, 1965, that since 1950, the police
       department,                     the                              law of New
                                           provisions ofof the Sullivan firearms
        York,   has  checked    out 2,676  deliveries      concealable           by
       common carrier into New York. While some 1,200 were proper
       shipments,    the police department disapproved 1,439 deliveries because
       they   were  consigned to persons who would not have been authorized
       to receive them under the laws of the State of New York. Thus,
       even where there are the most stringent State laws, attempts are
       being made to circumvent the law through the delivery of mail-order
       firearms to unauthorized persons.
          Police Commissioner Howard Leary, of Philadelphia, testified on
       June 8, 1965, and referred to a survey of mail-order gun consignees in)
       Philadelphia. Again, this survey was conducted in cooperation with
       the subcommittee. Commissioner Leary stated that of the 300 guns
       received by Philadelphians via mail order, 54 of them had police rec-
       ords. Furthermore, 15 of them had been arrested previously for crimes
       involving   the use of firearms, HIe went on to indicate that, thus far,
       in 1965, 160 handguns were mail-ordered to Philadelphians, and 16 of
       them had previous arrest records.
          In endorsing S. 1592, Attorney General Thomas C. Lynch, of the
       State of California, cited the mail-order source of firearms as a con-
       tributing and compounding factor to crime and the problem of law
       enforcement throughout his State.
          Chief of Police Herbert T. Jenkins, Atlanta, Ga., in referring to the
       increasing   number of firearms which come into the custody of the
       Atlanta Police Department each year, indicated that the traffic in
       illegal firearms has doubled in the last 5 years. He blamed mail-order
       sources as a major contributing factor in this increase.
          In addition, examples of mail-order firearms purchased and received
       in circumvention of the law and subsequently used in the commission
       of crime, were cited by the following law enforcement officials who
       appeared    in support of S. 1592 before the subcommittee during the
       1965 public hearings:


                                                     Defs.' MSJ App. 278
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 58 of 212 PageID 3575
        58          FEDERAL FIREARMS AMENDMENTS OF 1966

                John B. Layton, chief of police, Washingtoii, D.C.
                Howard R. Ieary, commissioner, police department, Phila-
             dell)hia, Pa.
                Curtis Brostron, chief of police, St. Louis, Mo.
                (.Carl K. Miller, commander, Chicago Police Department.
                Merton 'N. Howe, captain, commander of robbery division,
             Ios Angeles Police Department.
           In summary, the record is replete with testimony documenting
        the existence of a serious mail-order gun problem. This traffic
       affords easy circumvention and contravention of State and local law
       and leads to the frustration of law enforcement in it; efforts to combat
       crime.
               Acquisition offirearms by juveniles and minors
          S. 1592 would bar federally licensed importers, federally licensed
       manufacturers,     and federally licensed dealers from selling or otherwise
       disposing any firearms to any person who (in the case of an individ-
                    of
       ual) lie knows, or has reasonable cause to believe, is under 21 years
       of age (except for a shotgun or rifle) and under 18 years of age in the
       case of a shotgun or rifle. The bill would place similar restrictions on
       interstate carriers regarding delivery of firearms to such persons.
       Thus, the bill would provide a uniform and effective means throughout
       the United States for preventing the acquiring of the sp ecified firearms
       by persons      under such ages. However, under thc, bill, a minor or
       juvenile   would   not be restricted from owning, or learning the proper
       use of the firearm, since any firearm which his parent or guardian
       desired him to have could be obtained for the minor or juvenile by the
       parent or guardian.
           The clandestine acquisition of firearms by juveniles and minors
        is a most serious problem facing law enforcement and the citizens of
        this country.
           Deputy Commissioner Leonard Reisman, of the New York City
       Police Department, testified that in 1964, there were 2,615 arrests in
        that city for the illegal possession of dangerous weapons; 1,136 of the
       arrestees were under 21 years of age, or 43 percent of the total. The
       commissioner stated that by far the most popular instruments of
       violence among these young people are firearms of all types.
           Capt.
        that
                  Merton W. Howe, Los Angeles Police Department, testified
              in the crimes of armed robbery and aggravated assault, the in-
       crease of gun misuse by juveniles is graphically illustrated by a
       comparison of 1956 and 1964 figures. In 1956, t'ere were only 26
       incidents of juvenile armed robbery by gun. Hwever, in 1964, the
       figure jumped to 58 incidents. In 1956, there were 31 incidents of
       juvenile toaggravated assaults by gun, whereas in 1964, the figure
       jumped       157.
           Chief Curtis Brostron, St. Louis Police Department, testified that
       in 1964, 21 youths, ages 14 to 26 years, committed murders with fire-
       arms, and that one of these was the double shotgun slaying of his
       parents by a 15-year-old boy.
          Comdr. Carl K. Miller, Chicago Police Department, testified that
       in 1964 there were 191 firearms murders in Chicago. Of this total,
       the perpetrator in 3 cases was a 13-year-old juvenile; in 2 cases a 14-
      ,year-old;   and 7 cases a 15-year-old, and in 11 cases a 16-year-old.
        Phus, 23 of the 191 gun murders were committed by juveniles under
       17 years of age.


                                                    Defs.' MSJ App. 279
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 59 of 212 PageID 3576
                    FEDERAL FIREARMS AMENDMENTS OF 1966            59
          Commander Miller further indicated that minors were involved as
        principals in five
                        18 of the murders. Six were 17 years of age, six were 18
        years of age,        were 19, and one was age 20.
           Thus,of of 191 gun murders in the city of Chicago, minors under 21
        years
        totall.
                    age accounted for 41, or approximately 20 percent of the
           Police Commissioner Howard R. Leary, Philadelphia, Pa., cited
        the incidence of juvenile misuse of firearms in that city during 1964.
        He testified that guns played an important role in Philadelphia's
        juvenile crime picture. A total of 199 juveniles under 18 years of age
        were arrested in 1964 charged with crimes involving firearms, includ-
        ing  homicides, robberies, assaults, carrying concealed weapons, and
        violation of Pennsylvania's Uniform Firearms Act. IH indicated
       further that 203 firearms Xere confiscated from teenagers by the
       juvenile aid division in 1964. The results of this traffic were exempli-
       fied by the fact that four teenage gang clashes resulted in two 17-year-
       olds, one 18-year-old, and one 20-year-old being killed by firearms on
       Philadelphia's     highways.
           Chief Herbert T. Jenkins, Atlanta Police Department, in referring
        to the misuse of firearms in the crime of aggravated assault, testified
       that of the 404 such assaults in the last 17 months, 93 of the per-
       'petrators were under 21 years of age. He concluded:
                 Most of these cases would have ended as a simple alterca-
              tion, except for the ready availability of the gun.
           Attorney General Daniel R. McLeod, South Carolina, included in
       his testimony the comments of law enforcement officials in South
       Carolina, who responded to his request for information in
       preparation     for his appearance before the subcommittee. The reply
       of the chief of police of Greenville, S.C., is relevant:
                For your information and file, during the year 1964, 42
              teenage males and 3 teenage females were arrested and
             charged with      carrying,
                                     in
                                           shooting,  pointing, or having in
             possession,   firearms     the city of Greenville.
                         the first 6 months of 1965, we have already arrested
                During
             for the same offenses as mentioned above 26 male teenagers
             and 2 female teenagers.
          The statistics documenting the misuse of firearms by juveniles and
       minors in this section of the report take on added significance when
       one considers the fact that in each of the jurisdictions referred to the
       lawful acquisition of concealable firearms by these persons was
       prohibited     by statute.
          The testimony conclusively refutes the myth that criminals steal
       firearms rather than purchase them in illicit channels. While it is
       conceded that some criminal firearms are stolen, the fact is that the
       record reflects illicit purchases are made either through mail order or
            over-the-counter purchase in nonresident jurisdictions.
       bySpecific    cases exemplifying illicit purchases by juveniles and minors
       in the above manner were included in the record by several witnesses
       who appeared before'the subcommittee.
          Commissioner Richard R. Caples, of the Massachusetts Department
       of Public Safety, cites the out-of-State purchase of firearms by Mas-
       sachusetts residents as the prime source of the criminal gun in his
       State. His statement was documented by records covering the past

                                                    Defs.' MSJ App. 280
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 60 of 212 PageID 3577
         60         FEDERAL FIREARMS AMENDMENTS OF 1966

         10 years. He also included in the record specific cases of juveniles
         and minors who journeyed to neighboring States, purchased conceal-
         able firearms, and subsequently used them in crimes in Massachusetts.
            A case in point concerned a 16-year-old juvenile who traveled to
        Maine on numerous occasions, purchased 16 firearms, including 3
        handguns, and subsequently sold them to Cambridge, Mass., youths
        who used them in crimes.
           Chief John B. Layton, Metropolitan Police Department, District
        of Columbia, cited the recent case of a shooting in the city's sixth pre-
        cinct. Juvenile investigators determined that the gun involved, a
        .22-caliber pistol, had been purchased by an 18-year-old on the same
        day   in nearby Silver Spring, Md. Further investigation determined
        that the same dealer in Silver Spring, in a 3- or 4-month period, had
        sold 11 pistols and two .22-caliber blank pistols to persons under 21
        years of age. All of those involved resided in the 6th and 12th pre-
        cincts which border the Silver Spring area.
           Minors under 21 years of age are prohibited by the laws of the
        District of Columbia from purchasing pistols and revolvers.
           Capt. Merton W. Howe, Los Angeles Police Department, Robbery
       Division, cited two cases which involved juveniles and mail-order gins:
                Two of the most tragic cases that come to mind from
              mail-order guns involve juveniles.
           One case involved the shooting by a 16-year-old boy of his best
       friend. He claimed that lie did not know that the gun was loaded.
       The second concerned a 16-year-old boy, who shot himself with a
       mail-order gun after having been reprimanded by his father.
           Deputy Commissioner       Leonard Reisman, New York City Police
       Department,     testified about the case of a do-it-yourself gunsmith who
       made out-of-State purchases of starter pistols and converted them to
       lethal firearms. These death weapons were being sold to youth gang
       members on street corners for $20.
          The cases cited clearly show the two major sources of firearms for
       juveniles:   Mail-order houses and over-the-counter purchases in States
       with weak gun laws.
          We believe that these two prime sources of firearms to juveniles
       and minors involving interstate commerce, mail-order, and out-of-
       State, over-the-counter purchases should be regulated in accord with
       the provisions of S. 1592.
          By prohibiting the mail-order traffic in concealable firearms entirely
       and restricting the over-the-counter purchase of concealable firearms
       by   nonresidents, and by regulating the mail-order traffic in shotguns
       and rifles, the problem will be substantially alleviated. In addition,
       the establishing of minimum ages for (1) purchase of rifles and shot-
       tguns at 18 years, and (2) pistols and revolvers and all other firearms
       at 21 years, provides the machinery for the States to implement and
       enforce their own statutes governing the sale and acquisition of fire-
       arms.
               Out-of-State purchase of concealable firearms
          S. 1592 would prohibit a federally licensed importer, federally li-
       censed manufacturer, or federally licensed dealer from selling or other-
       wise disposing of a firearm (other than a shotgun or rifle) to any per-
       son whom lie knows, or has reasonable cause to believe, does not re-
       side in (or in the case of a corporation or other business entity, who

                                                     Defs.' MSJ App. 281
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 61 of 212 PageID 3578
                    FEDERAL FIREARMS AMENDMENTS OF 1966            61
        does not have a place of business in) the State in which the importer's,
        manufacturer's,  or dealer's place of business is located.
           It would also make it unlawful for any person to bring into or re-
        ceive in the State where he resides i firearm purchased outside that
        State in those cases where it would be unlawful for him to purchase or
        possess such firearm in the State (or political subdivision thereof)
        where he resides.
           The provisions of S. 1592, which prohibit a licensee from disposing
        of pistols and revolvers to persons who are not residents of the State
        in which he conducts his business is justified by the record of the sub-
        committee's 1965 hearings.
           The record is replete with testimony documenting the fact that the
        purchase of firearms by persons in other than their resident State is a
        serious contributing factor to crime. Testimony further indicates
        that large numbers of criminals and juveniles have availed themselves
        of this source of firearms in order to circumvent the laws of their
       respective jurisdictions.
           The subcommittee, in conjunction with the Treasury Department,
        surveyed   the records of selected firearms dealers in the Maryland
        suburban area of Washington, D.C. The results are most certainly
        alarming. It was determined that two dealers whose records were
        examined sold to a significant number of District residents. Those
        two dealers are located in a Maryland county where regulations con-
        trolling over-the-counter sales are minimal. (A county ordinance was
       subsequently enacted.)
          The records of-Apple Hardware, Inc., in Chillum, Md., show that
       58 percent of their handgun sales during 1964 and early 1965 were to
       residents of the Distlict of Columbia. Subsequent criminal records
       checks on these purchasers reveal that 40 percent of them have criminal
       records in this city.
          The records of the Suitland Trading Post in Suitland, Md., show
       that 40 percent of their firearms sales during 1964 and early 1965
       were to residents of the District of Columbia. Subsequent criminal
       records checks have revealed that 23
       records in the District of Columbia.
                                               percent        purchasers
                                                         of the            have
          The results referred to need no elaboration. Circumvention of the
       laws of the District of Columbia was easily effected by these pur-
       chases.
         This situation is not peculiar or confined to the Washington, D.C.,
       area.
          The most complete documentation of the State level of this aspect
       of the problem was included in the testimony of Commissioner
       Richard R. Caples, of Massachusetts. He testified that over a 10-year
       period,used
                the Massachusetts State Police had traced 87 percent of the
                   in crime in that State to purchases in neighboring States.
       guns
       He further stated that of some 4,506 firearms which were traced, only
       6 were determined to have been stolen.
         He included for the record some 60 cases which concerned the
       purchase of firearms in neighboring States which were subsequently
       used in crimes in Massachusetts.
         One case concerned an unknown person who purchased nine snub-
       nosed revolvers from several dealers in New Hampshire, using fictitious
       names and addresses. Subsequently, two of the revolvers were found
       in the possession of a Boston resident (George McLaughlin), who, at


                                                   Defs.' MSJ App. 282
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 62 of 212 PageID 3579
         62         FEDERAL FIREARMS AMENDMENTS OF 1966

         tile time of the sales, was being sought for murder and was considered
         byThetile FBI to b)e 1 of tle 10 most wanted criminals il tilis country.
                   remaining cases l)resented by Comillmissioner CaIples are equally
        serioIus in nature.
                        General Sills, of New Jersey, also testified aoutlt the
            Attorneyof firearms
         p)lrchase
        into New Jersey.
                                in other States and their subsequent illegal entry
             He stated that of 1,815 arrests for the illegal carrying of colicealed
        weapons handgunsn) only 15 of thle guns involved ha(l been pIurchased
        legally, that is witl the permit to purchase which is required in New
        Jersey. Only six hla(l been registered voluntarily, after l)lrchalse
        outside of that State.
            Attorney Generall Sills referred to ai cooperative effort on the part of
         Ne\w eJeriey and 1Maryland authorities who surveyed the purchasee of
        handguns by      27 New Jersey residents in Maryland. The 27 persons
        I)r'c:llased  65 handguns from 3 retail stores in Aberdeen, Md. Eight
        of the l)lrchlasers ilsed fictitious names land/or addresses, and five of
        these uIsed the same fictitious address. (ne of tle five \who used that
        fictitious address, Hector Gomez, was later found to have a lengthy
          )olice record for such offenses as extortion, robbery, assault, and
        at.telnl)tc(l rape. He I)urlchase( 12 handguns in one store and 3 from
        another store in a period of 12 days.
            Mr. Sills endorsed tile provisions of S. 1592, which would prohibit
        the sale of handguns to nonresidents.
            In addition, the following officials cited specific cases which involved
        out-of-State and nonresident l)urchases of concealable firearms con-
                                  which were subsequently used in the com-
        trary to tile local law and
        mission of crimes of violence. None of the examples referred to in
        this section concerned mail-(order sources. These examples are sep-
        arate and( distinct fr6m those cited in the section on the interstate
        traffic in mail-order firearms.
            Chief John B. Layton, District of Columbia.
            Captain Merton Howe and Sgt. Jess Gonzales, Los Angeles Police
       Department.
          CoInmissioner    Howard Leary, Philadelphia.
          Further, Chief Curtis Btrostron, of St. Louis, and Chiefof Herbert
       Jenkins, of Atlanta, Ga., referred to the easy availability firearms
       from out of State as a contributing factor to firearms used in crime.
          We believe that the problem outlined above is sufficient to warrant
       the enactment of the provisions of S. 1592 which would prohibit the
       sale of handguns to nonresidents of a given State.
               Rifles alnd shotguns
          The control would be exercised through the filing of an affadavit by
       the purchaser of a mail-order gun. The dealer would be required to
       forward a copy of this affidavit to the law enforcement officials in the
       purchaser's area of residence. This would give police officials a chance
       to check and see if the purchaser is legally entitled to have a rifle or
       shotgun,   under that jurisdiction's statutes.
         But in general, rifles and shotguns are distinguished from pistols and
       revolvers in S. 1592, and are given favored treatment.
         Testimony reflects that the inclusion of rifles and shotguns in
       S. 1592 is one of the most controversial aspects of the bill, and we
       believe it necessary therefore, to devote a section of these views to
       clarifying the need for including them. While the major problem

                                                      Defs.' MSJ App. 283
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 63 of 212 PageID 3580
                    FEDERAL FIREARMS AMENDMENTS OF 1966            63
         fitcill law enforcement. is the control of concealable firearms, the fact
        reinilinss tllit tile record also shows a substantial misuse of rifles and
        shotguns.
            It would be unwise to exclude these firearms from coverage entirely.
        Such an exclusion simply cannot be justified on the basis of available
        information. The position which we have taken with regard to rifles
        and shotguns is to provide moderate but effective regulation over
        their acquisition.
            Federal Bureau of Investigation crime statistics for 1963, show that.
        30 percent of the firearms murders in the United States were carried
        out by persons armed with rifles and shotguns. This represented a
        loss of lives   numbering some 1,400. orThe 1964 figureswerereflect that 30
        percent    of  the 5,090 gun murders, 1,527      deaths,        committed
        with rifles and shotguns. And in 1965, 1,690 persons were murdered
        with rifles and shotguns.
            The 30 percent figure does not always hold true in large metro-
        politantocities on the basis of statistics on rifle and shotgun murders
        given us ofbyrifle representatives  from a number of urban areas. The
        percentage             and shotgun murders is much higher in rural areas
        than in the cities, a fact which those who oppose their inclusion in
        S. 1592 have consistently failed to acknowledge. FBI statistics
        show that 52.8 percent of the rural gun murders are by rifle and
        shotgun. the
            Thus, problem of firearms misuse is not confined to the cities.
        Rather it is national in scope.
            Further evidence of the need for the inclusion of the long arms is a
       subcommittee inquiry into the mail order sales of rifles and shotguns
       by     Klein's Sporting Goods, Chicago, Ill., a reputable and respected
       firm in the business of selling mail-order firearms.
           From the subpenaed files of Klein's Sporting Goods, the subcom-
        mittee in cooperation with local police in several jurisdictions has
       determined that mail-order rifles and shotguns have been sent to
        persons with criminal arrest records in Chicago, Ill.; in Dallas, Tex.;
        in Philadelphia, Pa.; in Los Angeles, Calif.; in the State of New.Jersey;
       and in the State of New York.
           The crimes of these mail-order purchasers of rifles and shotguns
       range    in seriousness from misdemeanors to felonies and include assault,
       assault and battery, assault with a deadly weapon, assault and battery
       on a police officer, larceny, sex offenses, and narcotics and dangerous
       drug offenses.
           The incidence of sale of mail-order rifles and shotguns to persons
       with criminal records is not as frequent as is the case with regard to
       pistols and    revolvers. However, we do find that such firearms sales to
       persons     with  criminal records ranged between 10 and 15 percent of
       total sales in the jurisdictions mentioned above.
           In addition, the record shows the concern of law enforcement with
       regard to rifles and shotguns and the need for regulation.
           In referring to efforts at the State level to regulate the acquisition
       of long arms, Deputy Commissioner Leonard ReiSman, of New York,
       cited statistics which show that there were 490 crimes in 1963, where
       the weapon used was a rifle or shotgun. This figure included 37
       homicides.
           In supporting the inclusion of rifles and shotguns in S. 1592, Attor-
       ney     General Arthur J. Sills, of New Jersey, referred to his efforts at
       the State level to enact controls over these firearms. In citing the

                                                     Defs.' MSJ App. 284
Case 4:22-cv-00691-O
        64           Document
                   FEDERAL    182-1 AMENDMENTS
                           FIREARMS Filed 02/13/23 OFPage 64 of 212 PageID 3581
                                                       1966
        need for S. 15592, and complementary State regulation, h1e referred to
        specific   instances of rifle and shotgun murders, wherein the weapons
        had been purchasedd and subsequently misused by persons who could
        not liave (e   one so lad the proper regulation been in effect.
           Further specific references to rifle and shotgun murders were cited
        )bv Commissioner Richard R. Caples, of Massachusetts; Chief Herbert
       '1. Jenkins, of Atlanta, (a.; and Chief Curtis Brostron, of St. Iouis,
        NIo.
           And finally, ('ominissioner Howard R. leary, of Philadelphia,
        testified:
                 We lhave noticed a greater tendency, as police pressure
              o)i mneti ods of securing of handguns is stepped up, for felons
              to use shotguns and rifles to hold up and threaten the pub-
             lic. In fact, we had a wave of holdups of public transpor-
              tatlion vehicles b)y a team, who used rifles to hold at bay a
              busload of citizens while the robbery of the driver was being
             completed.
           'Tle record      is, we believe, quite clear. Rifles and shotguns are
       Ilisused     in   the   commission of crimes of violence in great enough
       frequency      to  warrant   regulation over their acquisition.
           Importation nonssporting and military surplus firearms:
                             of
           S. 1592 would curl) the flow of surplus military weapons and other
       foreign made firearms into tlhe United States which are not particularly
       suitable for target shooting, hunting, or for any other la tful purpose.
          'The provisions concerning the importation of firearms would not
       interfere with the importation of currently produced firearms, such as
       rifles, shotguns, pistols, or revolvers of recognized quality which are
       used for hunting, recreational purposes, or personal protection.
          The importation of certain foreign-made and military surplus
       nonsporting       firearms has an important bearing on the problem which
       S. 1592 is designed to alleviate.
          During 1963 and 1964, 2,167,754 firearms were imported into the
       United States. This includes 859,758 pistols and revolvers, the
       majority of which Ofweretheeither inexpensive,       small caliber firearms or
       military surplus.                1,307,996 rifles and shotguns imported, the
        majority were military       surplus.
          T'he problem which this flow of firearms creates has become great,
       not because of the high import figures alone, but because of the fact
       that many of these weapons have gotten into the hands of juveniles
       and felons.
          The sulbcomnittee's inquiry has shown that at least 75 percent of
       the mail order guns sold in the United States are imported in one
       manner or another.
          Law enforcement officials testified that foreign imports account for
       a significant percentage of the total number of firearms coming into
       their possession as the result of having been used in the commission
       of crime. The figure ranged from a low of 18 percent of the total in
       Washington, D.C., to a high C.      of 80 percent in Atlanta, Ga.
          Attorney General Thomas Lynch, of California, testified:
                 Imported surplus weapons have proved especially trouble-
             some in connection with juveniles. Thousands of firearms
             not suitable for lawful sporting purposes have been dumped
             onto the market here at prices which attract juveniles.


                                                       Defs.' MSJ App. 285
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 65 of 212 PageID 3582
                    FEDERAL FIREARMS AMENDMENTS OF 1966            65
          Attorney General Lynch then went on to cite the problem of juvenile
       misuse of imported .22 caliber starter pistols which are converted to
       fire .22 caliber ammunition. He indicated that over the past 8 years,
       hundreds of felonies had been committed by youngsters armed with
       these weapons.
          Deputy Commissioner           Leonard Reisman, New York City Police
       Department,       also testified   about the experiences of New York City
       with regard to the imported starter pistol. He cited the case of one
       type of pistol which was imported into New York with a plugged
       barrel. Separate shipments of rifled barrels followed which were used
       to replace the plugged barrels. Converting the blank starter pistols
       to lethal firearms took a matter of minutes.
          This problem, however, is not limited to the convertible starter
       pistols.
          Chief Herbert T. Jenkins, Atlanta Police Department, testified that
       80 percent of the confiscated firearms now in the possession of his
       department are foreign-made imports, with an average value of about
       $10. He indicated further that the misuse of the small-caliber firearms
       (usually .22 caliber) pose one of the greatest problems to law enforce
       ment in Atlanta.
          Chief Curtis Brostron, St. Louis Police Department, testified that
       his department's crime laboratory processes each day at least one
       German-.made .22 caliber revolver which sells for $10 to $15.
          Captain Merton W. Howe, Los Angeles Police Department, testified
       that in 1963, 46.7 percent of the firearms which were destroyed by the
       department under authority conferred by the California Penal Code,
       were foreign made.
          In 1964, the figure based on a sampling of about 25 percent of the
       total was 47 percent.
          Attorney General McLeod,            of South Carolina, testified that the
       inexpensive,    imported     .22 caliber revolver, designed as a starter pistol
       but readily converted to a lethal firearm, has been a problem of serious
       proportions to law enforcement officials in South Carolina. He in-
       dicated that he has reliable information that one dealer alone converted
       20,000 Rohm starter pistols to lethal .22 caliber firearms.
          With regard to these weapons, the Attorney General stated:
                This gun, and others of its characteristics, should not be
             permitted     to be imported or manufactured in this country,
             and so far as S. 1592 meets this problem, we are in accord
            with it.
          The incidence of foreign-made firearms coming into the possession of
       police departments       is truly significant.
          Furthermore,      the  following  excerpt from Senate Report 1340, 88th
       Congress,    2d  session, particularly noteworthy.
                                  is
          With reference to the interstate mail-order traffic in imported fire-
       arms, the report states on page 4:
                It is of relevance that the mail-order-type firearms are .22
            caliber revolvers, .25 caliber pistols, .38 caliber, and .45 cali-
            ber revolvers. The .22 caliber and the .25 caliber are usually
            new weapons, while the .38 and .45 caliber are usually surplus
            military firearms which have been discarded by foreign
           governments.


                                                       Defs.' MSJ App. 286
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 66 of 212 PageID 3583
         069        FEDERAL FIREARMS AMENDMENTS OF 1966

               Highly destructive weapons
            8. 1592 would extend the coverage of the Federal Firearms Act to
        include highly destructive devices, such as explosive or incendiary
        bombs,    grenades, and mines. And it would establish stricter controls
        lthan those presently in the act over interstate and foreign commerce
         insuch devices as large-caliber, military-type weapons (bazookas,
        mortars, and antitank guns). They are now treated the same way as
        rifles and shotguns, i.e., records of sales must be kept.
            -The stark realities of the ease with which these weapons can be and
        are purchased were described in a statement opening hearings on
        June 2, 1965, when the chairman of the Subcommittee To Investigate
        Juvenile Delinquency read into the Record circumstances surrounding
        the purchase of several mortars and bazookas by a subcommittee
        consultant, who at the time was a provisional member of the prfra-
        military   organization, the Minutemen.
            The concern of law enforcement officials throughout the country
        over this traffic in heavy armament was made clear by Attorney
        General Thomas C. Lynch, of California; Attorney General Arthur
        J. Sills, of New Jersey; Deputy Commissioner Leonard Reisman, of
        New York, and Capt. Merton W. Howe and Sgt. Jesse Gonzales,
        of the Los Angeles Police Department.
            Several representatives of the sporting fraternity indicated in
        testimony    that the definition of "destructive devices," in S. 1592 was
        too inclusive and would include certain antique firearms and certain
        large-bore sporting firearms. Based on these objections, the subcom-
        mittee amended this definition to exclude these firearms from coverage.
                 Licensing of importers, manufacturers, and dealers
            S. 1592 would prescribe meaningful licensing standards and denial
       hearing     procedures designed to assure that licenses would     be issued
       onlytoto responsible,   law-abiding  persons actually engaged in or intend-
       ing engage in business as importers, manufacturers, or dealers in
       firearms. License fees, to be increased by the bill, would provide
       sufficient funds to partially defray the cost of investigation of appli-
       cants and would tend to discourage license applications by persons
       who do not intend to engage in the business for which the license is
       sought.
           The absence of specific standards from the present Federal Firearms
       Act and the minimal fees in the act have resulted in an abuse of the
       intent of the act.
           Secretary of the Treasury Henry H. Fowler told the subcommittee:
                Since a bureau of my Department is responsible for the
              administration of the Federal Firearms Act, I am particularly
              anxious that the changes proposed in the bill with respect to
              the issuance of licenses to manufacture, import, and deal in
              firearms be adopted.
           Under the existing law, anyone other than a felon can, upon the
       mere allegation thathe is a dealer and payment of a nominal fee of $1,
       demand and obtain a license.
           This situation invites irresponsible individuals to obtain licenses,
       thus facilitating the acquisition of these weapons by criminals and
       other undesirables.



                                                     Defs.' MSJ App. 287
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 67 of 212 PageID 3584
                    FEDERAL FIREARMS AMENDMENTS OF 1966            67
           Secretary Fowler, in answering a question posed by Senator Hiram
        Fong, testified that of the 99,544 outstanding licenses in 1964:
                It is our estimate that less than half of the licensed dealers
             are actually engaged in the business as dealers and that more
             than half are persons who are using the simple device of be-
             coming a licensee for their own personal nonbusiness I)urpose.
           Further strong support for the need for increased license fees for
        dealers, manufacturers, and importers and the inclusion of specific
       standards to obtain licenses was given by Attorney General Nicholas
        deB. Katzenbach; Commissioner Sheldon S. Cohen, of the Internal
        Revenue Service; Commissioner Richard R. Caples, of Massachu-
       setts; Deputy Commissioner Leonard Reisman of New York City,
        and by Capt. Merton W. Howe, of the Los Angeles Police Department.
                Recordkeeping provisions
          S. 1592 would place more emphasis on the recordkeeping responsi-
       bilities of licensees by requiring that reliable means be used by the
       licensee to verify information submitted to him by the purchaser, and
       by specifically providing for the inspection of records required to be
       maintained by licensees.
          It would also authorize the release of pertinent information obtained
       from the licensee's records, to State and local authorities, to assist
       them in law enforcement activities. In addition, the bill would make
       it possible to require, by regulations, the submission of reports con-
       cerning   the operations of lisensees.
          Because of the controversy which arose during the hearings con-
       cerning section    3(g) under ofS. firearms
                                           1592, relating to the recordkeeping of
                                                   and destructive device ammu-
       acquisition    and disposition
       nition by licensees, it is necessary to devote a section of this report
       to these provisions of the bill.
          Section 3(g) requires no more recordkeeping by licensees than is
       presently required by section 903(d) of the Federal Firearms Act, as
       implemented by regulations (26 CFR pt. 177), with the exception of
       including   destructive device ammunition.
          Section 3(g) does require that such records be made available for
       inspection or examination by the Secretary or his delegate during nor-
       mal business hours. It is further required that licensees shall submit
       such reports and information with respect to the records and the con-
       tents thereof as the Secretary shall by regulation prescribe.
          This is a reasonable means of determining periodically the licensees'
       compliance with      the recordkeeping provisions of the bill. It is not
       designed as, nor intended to be, a means of national registration of
       firearms.
          It is further provided for in this section that the Secretary may
       make available to a State, possession, or political subdivision thereof,
       any information     that he is authorized to obtain concerning the
       identity  of purchasers of firearms and the types of firearms purchased.
       This provision is included as an aid to effective law enforcement.
          The record on S. 1592 is quite clear that the maintenance-of com-
       plete records of acquisition and disposition of firearms by licensees is
       an essential element contributing to effective and sound law enforce-
       ment at the Federal, State, and local levels of government.
          Making   interstate transportation, shipment, or receipt of a firearm,
       with intent to commit a felony therewith, a Federal offense.


                                                    Defs.' MSJ App. 288
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 68 of 212 PageID 3585
        68          FEDERAL FIREARMS AMENDMENTS OF 1966
           The evidence presented at the hearings showed a need for a change
        in the Federal Firearms Act to provide a penalty for shipping, trans-
        porting, or receiving it firearm in interstate or foreign commerce
        with intent to commit. a felony therewith or with knowledge or with
        reasonable cause to believe that a felony offense is intended to be
        committed therewith.
           The subcommittee agreed to provide that. this be a Federal offense
        and that it be punishable by a fine of not more than $10,000, or impri-
        sonment of not more than 10 years, or both.
           In view of the constitutional question that has been raised with
        regard  to S. 1592, we include the following brief analysis of the intent
        and interpretation of the second amendment.
           A number of witnesses at the hearings argued that S. 1592 is uncon-
        stitutional because it would interfere with individual rights guaranteed
        by the second amendment to the Constitution. The amendment
        provides:
                 A well regulated Militia, being necessary to the security
              of a free State, the right of the people to keep and bear Arms,
              shall not be infringed.
           It, is noteworthy that enactment of the National Firearms Act of
        1934, as well as the Federal Firearms Act, was opposed on the same
        grounds and that these statutes were attacked in the courts as being
        violative of the second amendment. The courts have uniformly
        ruled to the contrary, and their decisions make it plain that the
        amendment presents no obstacle to the enactment and enforcement
       of S. 1592.
          The decisions hold that the second amendment, unlike the first,
       was not adopted with the individual rights in mind, but is a prohibition
        upon Federal action which would interfere with the organization of
       militia by the States of the Union.
          Obviously, Federal the firearms legislation does not hamper the present-
       day militia; thatUnited
                             is, States
                                     National Guard, and the courts have held
       accordingly     (see               v. Miller, 307 U.S. 174 (1939); Cases v.
        United States, 131 F. 2d 916 (1st Cir. 1942), cert. denied, sub nom
       Velasquez v. United States, 319 U.S. 770 (1943); United States v. Tot,
        131 F. 2d 261 (3d Cir. 1942, reviewed on other grounds, 319 U.S.
       463 (1943); United States v. Adams, 11 F. Supp. 216 (S.D. Fla. 1935)).
          It is sometimes contended that, aside from the second amendment,
       there is a natural right to bear arms, or a right stemming-from a State
       constitution. However, it is well settled that there is nothing in-
       herent in any such right that renders it absolute. The overwhelming
       majority of State cases hold that the legislature may prescribe regula-
       tions and limitations with regard to the carrying of weapons. It is
       clear,   for example, that a State law prohibiting the carrying of revol-
       vers without a license, or forbidding possession of concealed weapons,
       does not violate either the Federal or State constitution. And it is
       clear also that no body of citizens other than the organized State
       militia,   or other military organization provided for by law, may be
       said to have a constitutional right to bear arms.
          In summary, the decided cases, both at the Federal and State levels,
       reveal no constitutional barrier to the passage of S. 1592. To the
       contrary, they afford ample precedent for its validity.


                                                     Defs.' MSJ App. 289
Case 4:22-cv-00691-OFEDERAL
                      Document 182-1 Filed
                            FIREARMS       02/13/23 OF
                                     AMENDMENTS      Page 69 of 212 PageID
                                                       1966          69 3586
          It is of some importance here to point out that the American Bar
       Association was not impressed by the allegation that this legislation
       would violate the constitutional rights of citizens. .Although this
       argument was made in the course       of the proceedings, the house of
       delegates of the association at its 1965    annual meeting in Miami
       Beach,   Fla., overwhelmingly (i.e., by a vote of 184 to 26) endorsed
       the enactment of this bill. The association reaffirmed its position on
       August 8, 1966, at its convention in Montreal.when it adopted a
       resolution urging the Congress to adopt S. 1592.
                                                    THOMAS J. DODD.
                                                    BIRCH BAYH.
                                                    EDWARD M. KENNEDY.
                                                    JOSEPH D. TYDINGS.
                                                    HIRAM L. FONG.
                                                    JACOB K. JAVITS.
                                                    GEORGE A. SMATHERS.
                                                    EDWARD V. LONG.




                                                 Defs.' MSJ App. 290
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23         Page 70 of 212 PageID 3587




               SECTION-BY-SECTION ANALYSIS OF S. 1592, AS AMENDED
        Section 1
           This section, which was added to the bill by the subcommittee,
        would include an informative short title and provide that this act
        (which amends the Federal Firearms Act) may be cited as the State
        Firearms Co-ntrol Assistance Amendments of 1966.
        Section 2
           This section, which was added to the bill by the subcommittee,
        would incorporate into the bill a statement of "findings and declara-
        tion."
           In view of the misconceptions which have arisen concerning the
        nature and purpose of the bill, it is deemed desirable to include in the
        bill a definitive declaration of the bill's purpose and of the findings
        which justify its enactment.
        Subsection (a)
           Subsection (a) of section 2 contains findings and declarations as
        to the existence of the conditions with which the bill is designed to
       deal and of the action necessary to cope with those conditions. Each
       of these findings is fully supported by the evidence of record before
        the subcommittee.
           Paragraph (1) is the basic finding and declaration that the existing
       Federal controls over the traffic in firearms moving in (or otherwise
       affecting)   interstate or foreign commerce do not adequately enable
       the States to control the firearms traffic within their own borders
       through the exercise     of their police power.
          Paragraph (2)      is the basic finding and declaration that the ease
       with which any person can acquire fire-trmns(including criminals,
       juveniles  without the knowledge or consent of their parents or guard-
       ians,  narcotics   addicts, mental defectives, armed groups who would
       supplant    the  functions   of duly constituted public authorities, and
       others whose possession of firearms is similarly contrary to the public
       interest) is a significant factor in tile prevalence of lawlessness and
       violent crime in the United States.
          The subcommittee through its own investigations and by the evi-
       dence presented to the subcommittee by the Nation's leading law-
       enforcement officers, has established this fact beyond reasonable doubt.
          Paragraph    (3) is the basic finding and declaration that only through
       adequate    Federal    control over interstate and foreign commerce in
       firearms,  axid
                    iover-all    persons engaging in the businesses of importing,
       manufacturing, dealing in firearms,
                          or                       can the grave problem of fire-
       arms getting into the wrong hands be properly dealt with, and effec-
       tive State and local regulation of the firearms traffic be made possible.
          Paragraph (4) is a specific finding that the acquisition on a mail-order
       basis of firearms by nonlicensed individuals, from a place other than
       their State of residence, has materially tended to thwart the effective-
       ness of State laws and regulations, and local ordinances.
             70



                                                    Defs.' MSJ App. 291
Case 4:22-cv-00691-OFEDERAL
                      Document 182-1 Filed
                            FIREARMS       02/13/23 OF
                                      AMENDMENTS    Page 71 of 212 PageID
                                                       1966         71 3588
           This specific finding is documented by the evidence summarized in
        the August 7, 1964, Interim Report on Interstate Traffic in Mail Order
        Firearms (S. Rept. 1340, 88th Cong., 2d sess.) and by the further
        evidence submitted with regard to S. 1592 in the 89th Congress and
       summarized in the general statement regarding the bill under the dis-
       cussion of the scope of coverage of the bill. (See p. 8.) The docu-
        mentation of the existence of the problem of the interstate traffic in
       mail-order firearms is so complete that the Attorney General of the
        United States has described it to the committee as resulting in "un-
       arguable evils."
           Paragraph (5) is a specific finding and declaration that the sale or
        other disposition of concealable weapons by importers, manufacturers,
        and dealers holding Federal licenses, to nonresidents of the State in
        which the licensee's place of business is located, lias tenled to make
        ineffective the laws, regulations, and ordinances in tile several States
        and local jurisdictions regarding such firearms.
           The evidence of record before the committee fully supports this
        finding  and declaration. (See summary in the general discussion of
        the scope of coverage of the bill under the subheading "Out of State
        Purchase of Concealable Firearms," p. 12.) Tile existence of this
        problem   has been so well established that even the principal opponents
        of S. 1592 who appeared before tlhe sutbcornmittee conceded the ex-
        istence of this problem in the course of their subsequent appearances
        before the House Colilmittee on Ways and Means.
           Paragraph (6) is a specific finding and declaration that there is a.
        causal relationship between the easy availability of firearms and juve-
        nile and youthful criminal behavior, anId that firearms have been
       widely sold by federally licensed importers stand dealers to emotionally
        immature, or thrill-bent, juveniles and ininors prone to criminal
       behavior.
           The subcommittee in the course of its investigation and hearing lias
        fully established the basis for this finding and declaration. The sub-
        committee expressed its concern with regard to the causal relationship
        between the availability of firearms and juvenile and youthful crimi-
        nal behavior in the interim report on August 7, 1964 (S. Rep. 1340,
       88th Cong., 2d sess.), relating to the "Interstate Traffic in Mail Order
       Firearms."
           This finding and declaration has been further supported by the evi-
         lence presented before the subcommittee in the 89th C(ongress during
       hearings on S. 1592. (See tile summarization under tie bill sulh)eadl-
       ing on "Acquisition by Juveniles and Minors" in the general discussion
       of the scope of coverage of the bill.)
          Paragraph (7) is a specific finding and declaration that the United
       States has become the dumping ground of the castoff surplus military
       weapons of other nations, and that such weapons, and the large volume
       of relatively inexpensive pistols and revolvers (largely worthless for
       sporting   purposes), imported into the United States in recent years
       have contributed greatly to lawlessness and to the Nation's law
       enforcement problems.
          This finding and declaration is fully supported by the evidence
       developed by the investigation of the subcommittee and by testimony
       before the subcommittee by the Attorney General of the United States,
       the attorneys general of California, New Jersey, and South Carolina,
       and by the police officials of Atlanta, Chicago, Los Angeles, New


                                                   Defs.' MSJ App. 292
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23        Page 72 of 212 PageID 3589
        72          FEDERAL FIREARMS AMENDMENTS OF 1906
       York City, Philadelphia, St. Louis, and 'the District of Columbia.
       (See summary under subheading "Importation of Nonsporting and
       Military    Surplus Firearms," in general discussion of the bill relating
       to scope of coverage.)
          Paragraph (8) is a specific declaration and finding that the lack
       of adequate Federal control over interstate and foreign commerce in
       highlyanddestructive weapons   (such as bazookas, mortars, antitank guns,
       etc.,       destructive devices such as explosive or incendiary grenades,
       bombs, missiles, etc.) has allowed such weapons and devices to fall
       into the hands of lawless persons, including armed groups who would
       supplant lawful authority, thus creating a problem of national concern.
       of the subcommittee and by thefully
          This finding and declaration is        supported by the investigations
                                             evidence presented at the hearings
       before the subcommittee.
          The concern of Federal State, and city law enforcement officers
       over this problem was made clear at the hearings before the subcom-
       mittee. (See summary under subheading "Highly Destructive Weap-
       ons" in general discussion of the scope of coverage of the bill.)
          Paragraph (9) is a specific finding and declaration that the exist-
       ing licensing system under the Federal Firearms Act does not pro-
       vide adequate license fees or proper standards for the denial of
       licenses and that this has led to licenses being issued to persons not
       reasonably entitled thereto, thus distorting the purposes of the licens-
       ingThis
            system. and declaration is
                 finding                      fully supported by investigations
       of the subcommittee and by the evidence presented by Federal, State,
       and city law enforcement officials at the hearings before the sub-
       committee. (See summary under subheading "Licensing of Import-
       ers, Manufacturers, and Dealers" in general discussion of the scope
       of coverage of the bill.)
       Subg8edion (b)
          Subsection (b) of section 2 is designed and intended to remove
       certain public misconceptions as to the nature of the bill and is a
       general  declaration that the purpose of the bill is-to cope with the
       conditions referred to in the findings in subsection (a), and that it
       is not the purpose of the bill to place any undue or unnecessary re-
       strictions or burdens on law-abiding citizens with respect to the acqui-
       sition, possession, or use of firearms appropriate to the purpose of
       hunting,   trap shooting, target shooting, personal protection, or any
       other lawful activity, and that the bill is not intended to discourage
       or eliminate the private ownership or use of firearms by law-abiding
       citizens for lawful\ purposes, or provide for the imposition by reg-
       ulations of any procedures or requirements other than those reason-
       ably necessary to implement, and effectuate the provisions of the
       Federal Firearms Act (as it would be amended by S. 1692).
       Section s
          This section (which was. sec. I of the bill as introduced) would
       restate and amend section 1 of the Federal Firearms Act (52 Stat.
       1250) which contains the definition of the meaning of certain terms
       used in the act. This section, as amended by the subcommittee, would
       be divided into subsection (a) (containing definitions of terms) and
       subsection (b) (containing exclusions as to the application of certain
       terms as used in the act).

                                                   Defs.' MSJ App. 293
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 73 of 212 PageID 3590
                   FEDERAL FIREARMS AMENDMENTS OF 1906             73
       Sub8ection (a)
          The definition of the term "person" in paragraph (1) is existing
       law (15 U.S.C. 901(1)).
          The definition of the term "interstate or foreign commerce" is a re-
       statement of existing law (15 U.S.C. 901(2)). "Territory" is omitted
       since there is no territory at the present time. The last sentence of this
       definition is inserted to clarify the status of the act in Puerto Rico, the
       Virgin Islands, and the District of Columbia.
          The definition of the term "firearm" in paragraph (3) is a restate-
       ment and revision of the provisions of existing     law (15 U.S.C. 901(3)).
       The revised definition has been extended to include any weapon (in-
       cluding a starter gun) by whatsoever name known "which will," or
       "which may be readily converted to," expel a projectile or projectiles
       by  the action of an explosive. This represents a much-needed clari-
       fication and strengthening     of existing law designed to prevent circum-
       vention the purposes the act. As under existing law, the defini-
                 of                of
       tion, also includes weapons "designed to" expel a projectile or projec-
       tiles by the action of an explosive, and firearm mufflers and firearm
       silencers.
          The present definition of the term "firearm" includes "any part or
       parts" of a firearm. It has been impractical to treat each small part
       of a firearm as if it were a weapon. The revised definition substitutes
       the words "frame or receiver" for the words "any part or parts."
          In addition, the definition of the term "firearm" is extended to in-
       clude any "destructive device" as defined in the proposed new defini-
       tion of this term contained in paragraph (4) of section 1 (a). The effect
       of this inclusion is to make the
       such destructive devices.
                                            provisions of the act applicable to all
          The subcommittee amended the definition of a "firearm" to specifi-
       cally include any starter gun designed for use with blank ammunition
       which will.or which may be readily converted to expel a projectile or
       projectiles by the action of an explosive, in order to make it unequivo-
       cally clear that such starter pistols are firearms within the meaning
       of the Federal Firearms Act. Such so-called starter pistols which may
       be converted to fire a projectile by boring a hole through an obstruc-
       tion in the barrel, substitution of a barrelwhich will permit the firing
       of a projectile, or otherwise converted to fire a projectile have been a
       matter of serious concern to law-enforcement officers.
          The definition of the term "destructive device" contained in para-
       graph (4) is a new provision.
          The subcommittee has restated this definition for the purpose of
       clarifying  its application.
          As amended, the term "destructive device" means any explosive
       or incendiary (a) bomb or (b) grenade or (c) mine or (d) rocket or
       (e) missile or (f) similar device; and the term also includes any type
       of weapon by whatever name known which will or which may be
       readily  converted to, expel a projectile or projectiles by the action of
       an explosive, the barrel or barrels of which have a bore of one-half
       inch or more in diameter.
          The restated exceptions to the application of the term "destructive
       device" are contained in paragraph (2) of subsection (b).
          The first part of the definition of destructive device would bring
       under the coverage of the Federal Firearms Act certain highly de-
       structive weapons not now covered by the act. The part of the defini-

                                                     Defs.' MSJ App. 294
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23         Page 74 of 212 PageID 3591
        74          FEDERAL FIREARM8 AMENDMENTS OF 1906
        tion including firearms which have a bore of one-half inch or more
        in diameter would not extend the coverage of the present act (since
        existing law now applies to all firearms as defined in the act), but
        would rather subject such military-type weapons which have no recg-
        nized use for lawful sporting purposes to the restrictive controls pro-
        vided under the bill for traffic in destructive devices.
           The definition of the term "short-barreled shotgun" contained in
        paragraph    (5) is a new provision. The definition describes,a shot-
        gun of the type which is subject to the provisions of the National
        Firearms Act (ch. 53 of the Internal Revenue Code of 1954). The
        purpose   of the definition is to provide a convenient means of reference
        to weapons of this type.
           The definition of the term "short-barreled rifle" contained in para-
                (6) is a new provision. The' definition describes a rifle of the
        graphwhich
        type 53 of theis subject
                         Internal
                                 to the provisions of the National Firearms Act
                                   Revenue Code of 1954). The purpose of the
        (ch.
        definition is to provide a convenient reference to weapons of this type.
           The definition of the term "importer" is a new provision. Under
       existing   law (15 U.S.C. 901(4)), the term "manufacturer" includes
        a person engaged in importation of firearms or ammunition for pur-
        poses of sale or distribution. It appears obvious that separate classi-
        fications should be provided for importers and manufacturers in order
        to more appropriately effectucate the purposes of the act.
          The definition of the term "manufacturer" is a restatement of exist-
       ing   law (16 U.S.C. 904(4)) except that the references to importation
       have been deleted.
          The definition of the term "dealer" is a restatement of existing law
        (15 U.S.C. 901(5)) with certain revisions. The definition also makes
       it clear that "pawnbrokers" are a type of dealer. This reflects pro-
       posed changes in other provisions of the act which would place pawn-
       brokers handling firearms in a special category and provide for higher
       license fees for procurement of licenses by pawnbroker dealers.
          The definition of the term "pawnbroker" ls a new provision. Pawn-
       broker dealers are covered under the provisions of the existing act in
       the same manner as other dealers. The purpose of this definition is to
       provide a basis for a separate classification of pawnbroker dealers.
       Under the provisions of the National Firearms Act (26 U.S.C. ch. 53),
       pawnbrokers are separately classified and charged a higher rate of
       special (occupational) tax than other dealers.
          The definition of the term "indictment" is a new provision. Inas-
       much as a person under indictment for certain crimes is proscribed
       from shipping or receiving firearms in interstate or foreign commerce,
       and a license under the act will not be issued to such a person, the defi-
       nition will serve a useful purpose in making it clear that an "infor-
       mation" charging a crime is the same as an indictment charging a
       crime. This definition is in accord with the opinion of the court in
       Quinon.s    v. United State, 161 F. 2d 79.
          The definition of the term "fugitive from justice" is a restatement
       of existing law (15 U.S.C. 901(6)) with reference to,."Territory"
       omitted since there is at the present time no such ."Territory."
          The definition of the term "antique firearm" contained in paragraph
       (13) is a new definition added by the subcommittee to the bill. The
       purpose is to provide by this definition (and par. (1) of subsec. (b))
       for the exclusion of bona fide antique firearms (and replicas thereof)
       from the coverage of the Federal Firearms Act. As included in the

                                                    Defs.' MSJ App. 295
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 75 of 212 PageID 3592
                    FEDERAL FIREARMS AMENDMENTS OF 1966                     75
        bill, the term "antique firearm" means any firearm of a design used be-
        fore the year 1870 (including any matchlock, flintlock, percussion cap,
        or similar early type of ignition system) or replica thereof, whether
        actually manufactured before or after the year 1870 (but not including
       weapons     designed for use with smokeless powder or using rimfire
       or conventional center-fire ignition with fixed ammunition).
        .  Certain suggestions were made to the subcommittee to the effect
       that ready availability of ammunition on a commercial basis should
       be one of the principal criteria considered in determining whether
       a firearm was an     antique. Under this concept, firearms using fixed
       ammunition and of a design developed after the year 1870, would be
       classed as antiques based on availability of ammunition. The sub-
       committee after careful study rejected this approach for two principal
       reasons: First, there are devices commercially available by which fire-
       arrs can be adapted to fire ammunition other than that which the
       firearm was designed to fire. Second, there would be an inherent and
       undesirable uncertainty in this type of classification, dependent upon
       whether or not ammunition was (or was not) at any given time,
       readily   available on a commercial basis.
           The definition of the term "Secretary" or "Secretary of the Treas-
       ury" contained in paragraph (14) is a new provision. The purpose
       of this definition is to eliminate the necessity of repeating "Secretary
       of the Treasury or his delegate" in several sections of the act.
           The definition of the term "ammunition" contained in paragraph
       (15)   was amended by the subcommittee to exclude from the coverage
       of the Federal Firearms Act all ammunition, other than ammunition
       for a destructive device.
          As revised, the term "ammunition" means ammunition for a
       destructive device. The term does not include shotgun shells or any
       other ammunition designed for use in a firearm other than a destruc-
       tive device.
           Under existing law (15 U.S.C. 901(7)), the term included pistol
       and revolver ammunition. However, an evaluation of the evidence
       developed in the hearings before the subcommittee showed that it is
       difficult to effectively control interstate and foreign commerce in con-
       ventional firearms ammunition used for sporting, recreational, and
       other lawful purposes. Therefore, the subcommittee decided to limit
       the coverage of the act, insofar as ammunition is concerned, to am-
       munition for highly destructive weapons. Strict controls can be effec-
       tively exercised
       legitimate
                           in this area since there is no significant normal
                    commerce in such ammunition (other than for military pur-
       poses    which are exempt from coverage under sec. 4 of the Federal
       Firearms Act).
       Subsection (b)
          Subsection (b) is new. It contains exceptions to the applicability of
       certain terms as used in the Federal Firearms Act (as it would be
       amended by the bill).
          Paragraph (1) provides that as used in the Federal Firearms Act,
       the term 'firearm" shall not include an antique firearm. The term
       "antique firearm" is defined in paragraph (13) of subsection (a). The
       effect this provision has is to make the Federal Firearms Act inapplica-
       ble to antique firearms.
          An exception was provided in existing law for firearms held and
       possessed as an antique or'curio but the Act contained no definition

                                                   Defs.' MSJ App. 296
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23            Page 76 of 212 PageID 3593
        76           FEDERAL FIREARWMS AMIENDMENTS OF 1966
        of an "antique firearm." S. 1592, as introduced, proposed to delete
        this exception. The evidence presented at the hearings demonstrated
        the need for a properly defined and delineated exception for antique
        firearms. It was pointed out that in other countries which exercise
        strict controls over the traffic in firearms exemption from such controls
        is made for firearms which can properly be classified as antiques.
                                                      a pew provision which contains
                        (2) of subsection of(b)theis term
           Paragraphto the
        exceptions           applicability                 "destructive device." The
        subcommittee has restated these exceptions and has specifically enu-
        merated items not intended to be covered.
           All antique firearms would be excluded by paragraph (1) since
        antique firearms are excluded from the application of the definition
        of "firearms."
           As restated, this paragraph would provide that as used in the Fed-
        eral Firearms Act the term "destructive          device" would not include-
                 (A) a  device   which  is not
              intended for use as a weapon; or
                                                 designed or redesigned or used or
                 (B) any device, although originally designed as a weapon
              which is redesigned for use as a signaling; line throwing, safety
              or similar device; or
                            shotgun (otherriflethan a short-bareled
                 (C) any nonautomatic                                    shotgun) or
                 (D) any                           (other  than a short-barreled rfle)
                                      or particularly suitable for use for the hunt-
              generally  recognized
              ing of big game or
                 (E) surplus    obsolete ordnance sold, loaned, or given by the
              Secretary or Armyorpursuant 'to the provisions of 10 U.S.O.
                          of  the
              4684(2), 4685       4686;
                 (F) any other device which the Secretary finds is not likely to
              be used as a weapon.
           'I'he exceptions contained in paragraph, (2) are drafted in the same
        manner as the exceptions contained in 26 U.S.C. 5179(a) (relating to
        registration   of stills) and section 5205(a)(2) (relating to stamps'on
        containers of distilled spirits). Therefore, the decisions of the courts
        (Queen v. United States, 77 F. 2d 780; certiorari denied, 296 U.S. 755;
        and Sherr v. United States, 305 U.S. 251) to the effect that the Gov-
        ernment is not required to allege or prove matter contained in an excep-
        tion would be applicable. Establishment by a person that he came
        within the exception would be a matter of affirmative defense. Thus,
        an explosive device shown to be designed and intended for lawful use
        in construction or for other industrial purposes would be excepted.
        However, ifit the device    were designed or used or intended ftr use, as
        a weapon,      would be subject to the provisions of the act.
           A provision has been made in this paragraph that the Secretary
        may exclude from the application of the definition of "destructive
        device" any device which he finds is not likely to be used as a weapon.
        This provision makes it possible to deal with situations which may
        arise where there is no reasonable likelihood that the device will be
        used as a weapon.
           Paragraph (3), which relates to the application of the term "crime
        punishable by imprisonment for a term exceeding one year" as used
        in the Federal Firearms Act, is a new provision. This provision was
        placed in subsection (b), rather than in subsection (a), since it merely
        excludes certain offenses from the application of this language as used
        in the Federal Firearms Act.

                                                       Defs.' MSJ App. 297
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 77 of 212 PageID 3594
                    F-EDRAL 'FIREmA S A MENDMI S      1966         77
          Prior to October 4, 1961, the Federal 'Fearms Act included provi-
       sions which made it unlawful for a person convicted of a crime          of
       violence (as defined) in any court of the United State,'a State or
       possession, to transport, ship, or receive any firearm in interstate or
       fo#ign commerce S. 1750 (87th Cong., 1st sees.) amended the act by
       strikdiig'the definition of "crime of violence" and by striking that term
       wherever it appeared in' the act and inserting in lieu thereof the term
       "crime punishable by imprisonment for a term exceeding'one year."
       S:. 1750 was introduced at the request of the Attorney General as an
       integral  part of an anticrime legislative program.
       1202 (87th Cong., 1st sess.). The felony
                                                               See House Report
                                                     criteria for prohibiting the
       transporting, shipping, or receiving of firearms incorporated in the act
       by S. 1740 has been retained to date.
          However, the definition of "crime punishable by imprisonment for
       a term exceeding one year" proposed in the bill would modify the
       felony criteria 'by excluding antitrust-type' violations. It may be
       noted that antitrdst-type violations are not felonies under Federal
       law. However,'a limited number of States have statutes making such
       offenses felonies. The definition would provide uniform treatment
       of such offenses, both State and Federal.
       Section 4
          Section 4 of the bill (sec. 2 of the bill as introduced) would amend
       section 2 of the Federal Firearms Act (15 U.S.C. 902), which relates
       to prohibited acts, to read as contained in the bill.
       Subsection (a)
          The subcommittee has rearranged and restated the provisions of sub-
       section (a) of section 2 of the act as contained in the bill. This sub-
       section is, in general, intended to aid in coping with the problems
       referred to in paragraphs (l).through (4) of the "Findings and Dec-
       laration" contained in subsection (a) of section 2 of the bill, including
       the problem of the interstate traffic in mail-order firearms.
          The subsection, as amended by the subcommittee, would apply only
       with respect to the activities of persons engaging in the firearms busl-
       ness. Thus, there would be no possibility that a hunter, a person en-
                  shoo ting
       gaging mfrom          competitions, a person moving his household be-
       longings         one State to another, a person sending his firearm to
       another State' for service, would be burdened or restricted in. such
       activity by the provisions of this subsection.
          As a related change, the subcommittee has amended section 5 of the
       Federal Firearms Act to provide a specific penalty for the shipment,
       transportation, or receipt of a firearm in interstate or foreign com-
       merce with intent to commit therewith an offense punishable by
       imprisonment    for a term exceeding 1
       detailed discussion of this new penaltyyear
                                                    (see sec. 7 of the bill for the
                                                 provision).
          Subsection (a) is derived in part from the provisions of existing
       law contained in subsection. (a) and (b) of section 2 of the Federal
       Firearms Act (15 U.S.C. 902 (a) and (b)). Such provisions of exist-
       ing lawanmake it unlawful for any importer,     manufacturer, or dealer,
       except importer, manufacturer, or dealer licensed under the act, to
       transport, ship, or receive any firearm in interstate or foreign com-
       merce, or for any person to receive any firearm transported or shipped
       in interstate or foreign commerce, by an unlicensed importer, manu-
       transport,orship, or receive any firearm in interstate or foreign com-
       facturer, dealer.
                                                     Defs.' MSJ App. 298
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 78 of 212 PageID 3595
        78           FEDERAL FIREIAMS AMENDMENTS OF.. 19.06
           Subsection (a), as amended by the subcommittee, is aimed primarily
        at the activities of, persons engaging in the business of importing,
        manufacturing, or dealing in firearms (or ammunition for destructive
        devices).
           The effect of subsection (a), as amended with respect to commercial
        transactions, is substantially the same as the effect of the subsection as
        contained in the bill as introduced. It would have the effect of chan-
        neling interstate and foreign commerce in firearms to licensed import-
        ers, licensed manufacturers, and licensed dealers, thereby prohibiting
        the commercial mail-order traffic in firearms (other than rifles and
        shotguns subject   to the provisions of paragraph (2)(C)) to unlicensed
                    This will help the States to effectively control the firearms
        persons.
        traffic within their own jurisdiction under the exercise of their police
        power granted to ofthem under the Constitution. it shall be
           Paragraph (1) subsection (a) provides that                    unlawful
        for any importer, manufacturer, or dealer, except an importer, manu-
        facturer, or dealer having a license issued under the provisions of the
        Federal Firearms Act to engage in the business of importing, manu-
        facturing, or dealing in firearms (or ammunition for destructive de-
        vices) or to transport, ship, or receive any firearm (or ammunition for
        destructive devices) in interstate or foreign commerce.
           This paragraph is essentially existing law, except for the specific
        prohibition against engaging in business without having first obtained
        a license under the provisions of the Federal Firearms Act. This new
        language   is keyed to the provisions of the first sentence of subsection
        (a)  of section 3 of the Federal Firearms Act as contained in the bill,
        and the purpose of the basic requirement is discussed in the analysis of
       that provision.
          Paragraph (2) of subsection (a) provides, in general, that it shall
       be unlawful for any importer, manufacturer, or dealer licensed under
       the provisions of the Federal Firearms Act to ship, transport, or cause
       to be shipped or transported, in interstate or foreign commerce, any
       firearm to any person other than a licensed importer, licensed manu-
       facturer, or licensed dealer.
          The effect of paragraph (2) is to channel the commercial traffic in
       firearms in interstate and foreign commerce through licensees in the
       various States so that the State into which a firearm is shipped will
       have authority to effectively control the transactions between the
       Federal licensees and the ultimate purchasers under the police power
       granted   to the States by the Constitution.
          The provisions of this paragraph would not, of course, be applicable
       in respect to transactions with the persons excepted under the provi-
       sions of section 4 of the act (15 U.S.C. 904), such as Federal or State
       agencies.    No specific exception is made in this section for the trans-
       actions with such persons since such transactions are covered by
       section 4 of the Federal Firearms Act (as contained in sec. 6 of the
       bill).
          However, four specific exceptions have been provided in the bill to
       the provisions of paragraph (2).
          The first exception in subparagraph (A) provides that paragraph
       (1) of subsection (a) shall not be held to preclude a licensed importer,
       licensed manufacturer, or licensed dealer from returning a firearm to
       the sender (including a replacement firearm of the same kind, make,
       and type). This provision is intended to accommodate interstate
       shipments of firearms for service or repair and to allow a dissatisfied

                                                     Defs.' MSJ App. 299
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 79 of 212 PageID 3596
                    FEDERAL FIREAJRM AENMEmNNTS OF 1966            79
        customer to have a substitute firearm of the same kind, make, and
        type  shipped to such customer by a licensee.
           The second exception in subparagraph. (B) of paragraph (2) of
        subsection (a) provides that paragraph (1) of subsection (a) shall
        not be held to preclude a licensed importer, licensed manufacturer, or
        licensed dealer from shipping, or causing to be shipped, for conveyance
        in the mails, a firearm to any officer, employee, agent, or watchman
        eligible under the provisions of section 1715 of title 18 of the United
        States Code to receive through the mails, for use in connection with
        their official duty, pistols, revolvers, and other firearms capable of
        being concealed on the person. This will allow interstate shipments
        by mail of firearms by licensees to persons who are, under existing law,
        authorized to receive through the mails firearms capable of being
        concealed on the person for use in connection with their official duties.
           The third exception in subparagraph (C) of paragraph (2) of sec-
        tion 2(a) of the act as contained in the bill exempts from the prohibi-
        tion against shipment or transportation in interstate or foreign
        commerce of firearms by licensees to nonlicensed persons rifles and
        shotguns which are suitable for sporting purposes but which are not
        military
        an
                  surplus. The exemption is conditioned on the obtaining of
            affidavit from the prospective consignee attesting to the legality
        of the shipment and receipt of the firearm. The provision also makes
        it unlawful for a licensee to ship or transport in interstate or foreign
        commerce to a nonlicensed person such rifle or shotgun, without first
        notifying the principal law enforcement officer of the locality to which
        the rifle or shotgun is to be shipped. These controls are designed to
        assure against commercial interstate mail-order shipment to persons
        ineligible under Federal or applicable State law to receive a rifle or
        shotgun, and to advise interested local law enforcement officers of the
        transaction in order that they may have an opportunity to establish
        the prospective recipient's qualifications under State law for receipt
        or possession of a rifle or shotgun and to take any action deemed
        appropriate.
           In addition, subparagraph (C) provides (1) that the Governor of
        any State may designate any official in his State to receive the notifi-
        cation to local law enforcement officials required by this subparagraph
        and that the Secretary shall publish such designation in the Federal
        Register; and (2). that the Governor of any State may request that
        the Secretary discontinue the required notification to local law enforce-
        ment officials in his State or any part thereof and upon publication in
        the Federal Register, the request shall be in effect for 5 years, unless
        withdrawn by the Governor, and so published in the Federal Register.
           The fourth exception in subparagraph (D) of paragraph (2) of
        subsection (a) of section 2 of the act as contained in the bill is the ex-
        ception forthethe District of Columbia, the Commonwealth of Puerto
        Rico, and        possessions of the United States. This provides that
        nothing in paragraph (2),shall be construed as applying in any man-
        ner in the District of Columbia, the Commonwealth of Puerto Rico, the
        Virgin Islands, or a possession, differently than it would apply i such
        place were a State of the United States, This provision is intended to
        make it clear that tlhe prohibitions qf this paragraph are not intended,
        by reason of the 'definition of thA term '"interstate or foreign com-
        merce," to apply to over-the-counter sales, or transportation within
        such places.


                                                     Defs.' MSJ App. 300
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 80 of 212 PageID 3597
         80         FEDERAL FIREARMS AMENDMENTS OF 1966

            The decisions of the courts (Queen v. United States, 77 F. 2d 780,
         cert. den. 295 U.S. 755; and Scherr v. United States, 305 U.S. 251) to
         the effect that the Government is not required to allege or prove mat-
         ter contained in an exception would be applicable to the exceptions
         contained in paragraph (2) of this subsection. Establishment by a
         person that he came within the exception would be a matter of affirm-
        ative defense.
            Paragraph (3) of subsection (a) of section 2 of the act as contained
         in the bill would make it unlawful for any person, in purchasing or
        otherwise obtaining or attempting to purchase or otherwise obtain a
         firearm from a licensee licensed under this act, knowingly to supply
        any false or spurious information or identification intended or cal-
         c(ulated to deceive such licensee with respect to such person's identity,
         age, address or criminaltorecord (if any), or  with respect to any other
         material fact pertinent the lawfulness of a sale or other disposition
         of a firearm by a licensed importer, licensed manufacturer, or licensed
         dealer under the provisions of subsections (b) and (c) of section 2 of
         the act.
            Paragraph   (4) of section 2(a) of the act as contained in theto bill is
         a new provision which would make it unlawful for any person bring
         into or receive in the State where he resides a firearm purchased out-
        side that State if it is unlawful for him to purchase or possess such
        firearm in the State (or political subdivision thereof) where he resides.
         Subsection (b)
            Subsection (b) of section 2 of the act, as contained in the bill, is a
        new provision which is intended to regulate the over the counter dis-
        position   of firearms by federally licensed importers, manufacturers,
        and dealers, to persons other than licensees under the act.
            The subcommittee has made certain amendments to this subsection
        to set forth more specifically the procedures intended to be followed
        and the exact nature of the acts which are prohibited.
           In order for the records of disposition required to be kept by
        licensees to have significant value or validity,   it is essential that the
        licensees be required to ascertain by reliable means of identification
        the age and identity of the purchaser and the address of the place
       where he resides.
           Paragraph (1) of subsection as amended by the subcommittee,
       would make it unlawful for any(b),licensee under the Federal Firearms
       Ac t to sell or otherwise dispose of any firearm to any person without
       ascertaining    through some reliable means of identification, such as a
       mo tor vehicle driver's license, or other comparable document (which
       is required to be noted in the licensee's records), the identity, date of
       birth (in the case of an individual) and place of residence (or place of
       business in the case of a corporation or other business entity) of such
       person.
           It is intended that the place of residence to be established under this
       provision be the. place where the person is actually residing, other
       than on a transient basis.
           Under paragraph (2) of subsection (b) as amended by the subcom-
       mittee, it would be unlawful for a federally licensed importer, federally
       licensed manufacturer or federally licensed dealer, to sell or other-
       wise dispose of any firearm to any person who (in the case of an
       individual) he knows or has reasonable cause to believe is under 21

                                                      Defs.' MSJ App. 301
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 81 of 212 PageID 3598
                    FEDERAL FIRMARMS AMENDMENTS OF 1966            81
           years of age (except for a shotgun or rifle) and under 18 years of age
        m the case of a    shotgun or rifle.
            The subcommittee amemenent to paragraph (2) inserted the words
         "knows or has reasonable cause to believe. This change does not
         relieve the licensee from the requirement of ascertaining the age of the
         purchaser as provided in paragraph (1) of subsection (b).
            The provisions of paragraph (2) of subsection (b) of section 2 of the
         act, as contained in the bill, provide uniform and effective means
         throughout the United States for preventing the purchasing of the
         specified,  firearms by persons under such ages. The procuring of fire-
         arms by juveniles (often without the knowledge or consent of their
         parents or guardians)of has  become a matter of national concern. The
         tragic consequences      this situation have been fully brought out in the
         proceedings    of the subcommittee.
            Under this provision a minor or juvenile would not be restricted
         from owning or learning the proper usage of a firearm, since any fire-
         arm which his parent or guardian desired him to have could be
        obtained for the minor or juvenile by the parent or guardian.
            The subcommittee amended pagrgraph (3) of subsection (b) of sec-
         tion 2 of the act, as contained in the bill, by substituting the.words
         "does not reside in" for the words "is not a resident of" to make it clear
         that this provision is to be construed as referring to actual place of resi-
        dence rather than the legal or voting residence. However, it is not
        intended that premises occupied only on a transient basis be con-
        sidered the place of residence for the purpose of this subsection.
           As amended by the subcommittee, the provisions of paragraph (3)
        prohibiting licensees under the act from selling a firearm (other than
        a shotgun or rifle) to an unlicensed individual who is a resident of
        a State, other than that in which the importer's, manufacturer's, or
        dealer's place of business is located, is intended to deal with the very
        serious problem of individuals going across State lines to procure
        firearms which they could not lawfully procure or possess in their
        own State and without the knowledge of their local authorities. The
        hearings before the subcommittee have fully demonstrated the ease
        with which residents of a particular State, which has laws regulating
        the purchase of firearms, can circumvent such laws by procuring a
        firearm in a neighboring jurisdiction which has no such controls on
        the purchase of firearms. The hearings have also shown that this is
        a common means by which criminal and lawless elements obtain
        firearms.
           Paragraph     (4) of the subsection would make it unlawful for any
        federally   licensed  importer, manufacturer, or dealer to sell or other-
        wise dispose of any firearm to any person who, by reason of State or
        local law, regulation, or ordinance, applicable to the place of sale or
        other disposition,    may not lawfully receive or possess such firearm.
           The conditions imposed by this subsection on the operations of per-
        sons licensed under the act are deemed to be reasonable conditions on
        the privilege granted to them, and necessary to effective control of
        interstate and foreign commerce in firearms, and to protect the public
        welfare.
        Subsection (c)
           Subsection (c) of section 2 of the act, as contained in the bill, is a
        new provision which, like subsection (b), deals with the activities of
               Wo    -
                             e


                                                      Defs.' MSJ App. 302
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23         Page 82 of 212 PageID 3599
        82           FEDEiAL FIREARMS AMENDMENTS OF 1966

        licensed importers, licensed manufacturers, and licensed dealers. This
        subsection would make it unlawful for any such importer, manufac-
         turer, or dealer to sell or otherwise dispose of any firearm or ammu-
        nition to any person (other than a licensee) knowing, or having rea-
        sonable cause to believe, that such person is under indictment or has
        been convicted in any court of the United States, or of a State (as
        defined in par. (2) of sec. l(a).of the act, as contained in the bill)
        or possession, of a crime punishable by imprisonment for a term ex-
        ceeding 1 year, or who is a fugitive from justice. In other words,
        licensees would be prohibited from knowingly disposing of firearms
        or ammunition to felons, fugitives from justice, or persons under
        indictment for a felony. The subcommittee deleted from subsection
        (c) of section
                 the
                         2 of the act, as contained in the bill originally intro-
        duced,        final clause thereof which would have made it unlawful
        for a licensed importer, licensed manufacturer, or licensed dealer
        to ship or transport any firearm in interstate or foreign commerce
        to any person who could not have lawfully received such firearm under
        the )rovisions of subsection (a) of section 2 gf the act, as contained
        in tie bill originally introduced. A provision to achieve a com-
        parable   purpose isinnow  found in subjection (a)(2) of section 2 of the
        act,  as contained     the amended bill.
        Subsection (d)
           Subsection (d) of section 2 of the act, as contained in the bill, is
        existing  law (1!5 U.S.C. 902(e)) except that the words "in any court"
        have been inserted to conform the language of subsection (e).
        Subsection (e)
           Subsection (e) of section 2 of the act, as contained in the bill, is a
        restatement of existing law (15 U.S.C. 902(f)) revised to include
        persons
        ing  law
                  under indictment. The omission of these persons from exist-
                  appears to have been an inadvertent omission since such per-
        sons are, under existing law (16 U.S.C. 902(e)), prohibited from
        shipping   or transporting firearms in interstate or foreign commerce.
        Also, the presumption contained in existing law has been eliminated,
        since it was declared unconstitutional by the Supreme Court in Tot v.
        United States, 319 U.S. 463.
        Subsection (f)
           Subsection (f) of section 2 of the act as contained in the bill is a
        new provision which would make it unlawful for any person (including
        a licensee under the act) knowingly to'deposit, or cause to be deposited
       for mailing, or delivery by mail, or knowingly to deliver, or cause to
       be delivered, to any' common or contract carrier for transportation
       or shipment in interstate or foreign commerce, any package or other
       container in which there is any firearm, without written notice to the
       Postmaster General or his delegate or to the carrier (as the case may
       be) that a firearm is being transported or shipped. This provision is
       correlated to the provisions of section 2(g) of the act as contained in
       the bill. Further, the testimony before the subcommittee disclosed
       the existence of a practice of surreptitiously shipping firearms, without
       notice or disclosure, to circumvent requirements of Federal or State
       law.



                                                    Defs.' MSJ App. 303
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 83 of 212 PageID 3600
                   FEDERAL FIREARMS AMEINDMETS OF 19 66            83
       Subsection (g)
          The subcommittee has amended subsection (g) of section 2 of the act
       as contained in the bill since the amendments made to subsection (a)
       require a restatement of the, provisions applicable to carriers.
          As amendedi subseetion (g) of section 2 of the act as contained in
       the bill contains two paragraphs.-
          Paragraph     (1) prohibits a common or contract        carrier from de-
       livering or
                 in interstate    or foreign cause to believe
                                             commerce        firearm
                                                        any that suchto any person
       knowing        having    reasonable                                person, is
       under 21 years of age (or under 18 years of age in the case of a rifle
       or shotgun).
          Paragraph    (2)in prohibits a, common or contract carrier from deliver-
       ing  a firearm        interstate  oi foreign commerce to any person with
       knowledge or with reasonable cause to believe that the receipt or
       possession of the firearm by the person to whom it, is delivered would
       be in violation of the laws or ordinances         of the State (or political
       subdivisions thereof) in which the delivery is made.
         A similar' requirement is also provided with respect to delivery of
      'firearms in the U.S. mails.
         The provisions of this subsection are in furtherance of the purposes
      of the bill to restrict acquisition of 'firearms byi juveniles and minors
       and to aid the States and their political subdivisions in achieving
       effective firearms controls.
      Subsection (h)
         Subsection (h) of section 2 of the act as contained in the bill is
      existing law (15. U.S.C. 902(g)) and relates to' the transportation or
      shipment of stolen firearms.
       Subsection (i)
          Subsection (i) of section 2 of the act as contained in 'the bill is a
       restatement of existing law (15 U.S.C. 902(h)). The language has
       been revised to correspond with- other comparable provisions of Fed-
       eral law pertaining to the receipt or sale of stolen property "moving
       as, or which is a part of, or which constitutes interstate or foreign
       commerce," (see 18 U.S.C. 2313 relating to sale or receipt of stolen
       vehicles). This change will make it clear that the provisions apply
       to stolen firearms or ammunition transported in interstate or foreign
       commerce, after having been stolen, aswelas s to firearms and am-
       munition stolen in the course of movement in interstate or foreign
       commerce,
       Subsection (j)
          Subsection (j) of section 2 6f the act as contained in the bill is a
       restatement of existing law (15 U.S.C. 902(i)) relating to firearms
       from which the manufacturer's serial number has been removed, ob-
       literated, or altered. The restatement makes applicable the provisions
       of the subsection to an importer's serial number, as well as the manu-
       facturer's, since importers and manufacturers are separately classified
       under the provisions of the bill. The restatement also deletes the
       words "and the possession of any such firearm shall be presumptive
       evidence that such firearm was being transported, shipped, or received
       as the case may be, by the possessor in violation of this act" since the
       presumption is meaningless    in view of the decision of the Supreme
       Court in Tot v. United States, 319 U.S. 463.


                                                      Defs.' MSJ App. 304
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 84 of 212 PageID 3601
        84           FEDERAL FIREARM8 AMENDMETS OF 1966
        Susection (k)
           Subsection (k) of section 2 of the act as contained in the bill is. a
        new provision which would make it unlawful for any person to im-
        port or bring into the United States, or any possession thereof, any
        firearm in violation of the provisions of this act or to import or bring
        into the United States or any possession thereof any ammunition
        for a destructive device. This provision is correlated to the provisions
        relating to importation of firearms contained in section 3(e) of the
        act as contained in the bill.
        Subsection (0
           Subsection (1) of section 2 of the act as contained in the bill is a
        new  provision which   would make it unlawful for any person to know-
        ingly receive any firearm or ammunition which has been imported or
        brought into the United States, or any possession thereof, in violation
        of the provisions of this act. This subsection also is correlated to the
        provisions of section 3(e) of the act as contained in the bill relating
        to importation.
        Section 5
          Section 5 of the bill (which was sec. 3 of the bill as introduced) would
        amend section 3 of the Federal Firearms Act (16 U.S.C. 903) which
        relates to licensing of importers, manufacturers, and dealers, and to
       recordkeeping by licensees.
       Subsection (a)
          Subsection (a) of section 3 of the act, as contained in the bill, is a
       restatement and revision of existing law (15 U.S.C. 903(a)).
          The first sentence of subsection (a) is intended to make it clear that
       no person shall engage in business as an importer of firearms, or as a
       manufacturer of firearms, or as a dealer in firearms (or ammunition
       for destructive devices) until he has filed an application with, and
       received a license to do so from the Secretary. In order to effectively
       regulate interstate and foreign commerce in firearms (and ammuni-
       tion for destructive devices) it is necessary that all persons engaging
       in these businesses be licensed. Similar provisions were upheld in
       Hanf v. United States, 235 F. 2d 710, cert. den. 352 U.S. 880, as
       reasonably   necessary to effective control of interstate and foreign
       commerce under comparable conditions.
          The legislative record before the subcommittee concerning the traffic
       in firearms amply demonstrates that the licensing of all persons en-
       gaged in the business of importing, manufacturing, or dealing in fire-
       arms is an appropriate and necessary means to the attainment of the
       legitimate end of effective control over the interstate traffic in firearms.
       A full discussion of the constitutional basis for this provision (and
       other provisions) is contained in the memorandum submitted by the
       Attorney   General of the United States, Nicholas deB. Katzenbach,
       when he testified before the subcommittee on May 19, 1965. This
       memorandum is included in the record of the hearings following the
       testimony   of the Attorney General.
         The second sentence of subsection (a) provides that the application
       for a license shall be in such form and contain such information as
       the Secretary of the Treasury shall by regulations prescribe, It is
       the intent of tbhs provision to authorize the Secretary to require the
       submission of information reasonably relevant to the determination
       as to whether the applicant is entitled to a license under the standards

                                                     Defs.' MSJ App. 305
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 85 of 212 PageID 3602
                       BDERAL FIREARMB -AMENDMNTS OP 1066                       85
        prescribed in subsectionwhether
                                     (c). Since   the Secretary has the responsi-
        bilty for determining               the license should be issued, he must
        necessarily   have the authority to require the submission by the appli-
        cant of information relevant to his determination as to the applicant's
        eligibility. Authority to prescribe the form of the license application
        has been exercised by the Secretary since the Federal Firearms Act
        was enacted in 1938, and the evidence presented to the subcommittee
        demonstrated that only information relevant to the issuance of a
        license has been required on the prescribed application form.
           The provision that applicants shall be required to pay a fee for
        obtaining their license "for each place of business" is merely a clarifi-
        cation of existing law, since existing law is now so construed (see 26
        CFR of177.33).
                  business
                           It is intended that the license cover only the specific
                            for which it is issued.
        place
           Under existing law, an importer is required to obtain a license as
        a manufacturer. The bill provides a separate classification for im-
        porters,  and under subsection (a) an importer would be required to
        obtain a license as such.
           Under existing law, the applicant, if a manufacturer or importer,
        paid  a fee of $26 per annum, and, if a dealer, a fee of $1 per annum.
        These fees are completely unrealistic and, in the case of dealers rep-
        resent only a fraction of the cost of processing an application and
        issuing a held
                    license. Further, the information presented at the public
                             the subcommittee established the fact that many
        hearings         bylicenses
        persons   holding            as dealers under the Federal Firearms Act
        are not bona fidely engaged in business as such, but nevertheless have
        due to the nominal license fees and the absence of statutory standards
        for the issuance of licenses, obtained licenses. This information is
        summarized in the general discussion of the provisions of the bill re-
        garding the scope of coverage
        Importers,  Manufacturers,
                                             under the subheading "Licensing of
                                       and Dealers." In order for the     licensing
        system  under  the act  to serve
        this situation be corrected.
                                         its intended purpose, it is essential that

        contained in provisions
           Under the                of subsection (a) of section 3 of the act as
                       the it unlikely
        which would make
                           bill the  license fees would be increased to a figure
                                         that any person not bona fidely engaged
        in business as an importer, manufacturer, or dealer would attempt to
        obtain a Federal Firearms Act license. The increased license' fees
        would be such as to not only cover the cost of processing an application
        and issuing the license, but would partially defray the cost of conduct-
        the the
        ing      investigation contemplated by the provisions of section 3(c)' of
             act as contained in the bill to determine the qualifications of the
        applicant   and whether or not he would be likely to conduct his opera-
        tions in  compliance with the act.
           A separate classifcation and higher fees are provided in the case of
        a manufacturer or imnpofter of, or a dealer in, "destructive devices'"
        as defined in paiagrph (4? of subsection' (a) of section 1 of the act,
        as contained in the bil.', Since  "destructive'devices"   afe notordinary
        articles of commerce, it is anticipated that very few such licenses wil
        be 'issed. The purpose of this separatee classification and higher fee
        with respect to such  devices
                         suchipake
                               to     is        more effective the stringent con-
        trols imposed under the, bill with re d, thereto. '
          A separate license with a higher license fee is' also provided for pawn-
        broker  dealers. A "pawbr'oker" is defined in section i(a) of the bill.
        It may nbenoted that under the National Firearms Act (26 U.S.(.' ch.

                                                     Defs.' MSJ App. 306
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 86 of 212 PageID 3603
         86         FEDERAL FIREARMS AMENDMENTS OF 1966

        53) pawnbrloker dealers are charged a higher rate of occupational tax
        than other dealers.
          The bill providedd a fee of $100 per annum for dealers (other than
        dealers in (estructivew devices and pawnbrokers). The evidence pre-
        sented at the hearings before the subcommittee showed that the $100
        dealer fee would work a hardship on small dealers, particularly dealers
        in sporting ammunition and dealers in sporting rifles and shotguns.
           'The amllie(llnellt to the bill eliminating IamflInllliition (otlhl' than
        llanmliunition for d(estrcictvie devices) means that tile substantial llnm-
        ber of persons who deal only ill am1n1llllition will not be required to
        )obtain a license under the act. Thus, iamlnlunition reloaders and alm-
        mulnition dealers will not be affected by the bill.
           The subconinlittee further amended the bill to provide a basic license
        fee of $10 per annual for dealerss (other than pawnbrokers and dealers
        in destructive devices). Thi s will materially reduce the burden on
        small dealers while retaining a fee sufficiently high to discourage filing
        of applications by persons not genuinely engaged in business as
        dealers in firearms.
           It is contemplated that investigations will be conducted to determine
        suitability  of licensees and prospective licensees under the new licens-
        ing standards discussed below in subsection (c). Because the annual
       license fee for dealers (other than pawnbrokers or dealers in destruc-
        tive devices) is being reduced to $10 and in order to partially defray
        the expense of a one-time investigation of such dealers the subcom-
        mittee has provided that for the first renewal following the effective
       date of the amendments to the Federal Firearms Act made by this bill
       or for the first year he engages in business such a dealer will pay a
       license fee of $25.
          It is deemed that the fees provided in tile bill as amended by the
       subcommittee will be adequate for the purposes intended and will
       partially defray tlie costs of investigation of applications and of ad-
       ministration of the Federal Firearms Act, as amended by the bill.
       Subsection (b)
          Subsection (b) of section 3 of the act as contained in the bill is a
       restatement and revision of the provisions of existing law (15 U.S.C.
       903(b)). Existing law provides that upon payment of the prescribed
       fee the Secretary of the Treasury shall issue to such applicant a li-
      cense which shall entitle the licensee to transport, ship, or receive
      firearms and ammunition in interstate or foreign commerce unless
      and until the license is suspended or revoked in accordance with the
      provisions of the act. It will be noted that in existing law there are
      no specific conditions on the issuance, of a license other than the pay-
      ment of the prescribed fee. However, in view of the existing pro-
      scriptions in section 2 of the act against the shipment, transportation,
      or receipt in interstate or foreign commerce in firearms or ammunition
      by a person who is a fugitive from justice, or who has been convicted
      of, or who is under indictment for, any offense punishable by impris-
      onment for a term exceeding 1 year, the act has consistently been
      construed as precluding the issuance of licenses to such persons since
      it would be illegal for them to engage in the transactions covered by
      the license. (See 26 CFR, pt. 177.)
         The revision of section 3(b) makes it clear that the privileges
      granted to the licensee are not unlimited or unconditional but are
      subject to the provisions of this act and other applicable provisions

                                                     Defs.' MSJ App. 307
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 87 of 212 PageID 3604
                    FEDERAL FIREARMS AMENDMENTS OF 1966            87
       of law, and also that an application for a license (including a renewal
       application  as well as an original application) may be denied under the
       conditions set forth in section 3(c) of the act as contained in the bill.
       Subsection (c)
          Subsection (c) of section 3 of the act as contained in the bill is basic-
       ally a new provision, except to the extent that it incorporates the
       construction of existing law to the effect that a license will not be
       issued to a person who is prohibited from transporting, shipping, or
       receiving firearms or ammunition in interstate or foreign commerce
       under the provisions of section 2 of the act (i.e., a person wnaho has
       been convicted of, or who is under indictment for, a felony, or who is
       a fugitive from justice).
          The existing provisions of the Federal Firearms Act, regarding the
       issuance of licenses, represent an anomaly to the general practice
       with regard to the issuance of licenses or permits in that the act con-
       tains no standards for the issuance or denial of a license, such as are
       contained in-other comparable acts. (See 26 U.S.C. 5271(c) and
       5712, and 27 U.S.C. 204(a)(2).)
          Further, the existing weak provisions of the act do not grant any
       discretion with regard to the issuance of licenses to importers, manu-
       facturers, and dealers, but rather provide that upon payment of the
       prescribed  nominal fee that the Secretary of the Treasury "shall"
       issue the license applied for.
         Since under     existing law it would be unlawful for an        importer,
       manufacturer, or dealer to ship or receive firearms in interstate or
       foreign commerce without a license, it is necessary to issue licenses
       upon the allegation of applicants that they "intend" to engage in such
       business. However, under existing law there is no specific statutory
       basis for denying an application submitted by a person who is not
       yet engaged in the firearms business and who does not intend to
       engage in the business with respect to which he is submitting an
       application for a license. While there may be implied authority in
       existing law to deny applications under such conditions, there are
       significant legal and administrative problems involved in taking such
       action under existing law.
          In view of the magnitude of this problem (e.g., Secretary Fowler
       estimated that possibly 50,000 licenses had been issued to persons who
       may not be engaged in the business covered by the license) as developed
       at the hearings, it is essential that there be no doubt as to the authority
       of the Secretary of the Treasury or his delegate to deny license appli-
       cations in cases where the applicant is not engaged in the applicable
       business, and does not intend to engage in such business. Therefore,
       the subcommittee has restated the provisions of paragraph (2) of sub-
       section (c) to make it completely clear that the Secretary of the Treas-
       ury or his delegate may deny an application for a license where the
       applicant is not engaged in the business and there is good cause to be-
       lieve that he will not engage in the business during the term of the
       license applied for.
          The hearing record shows that the nominal license fees and other
       inadequacies of existing law have resulted in an untenable situation
       which urgently needs correction and it is noted that Secretary of the
       Treasury Henry H. Fowler in his appearance before the subcommittee
       on May 19, 1965, stated, that as the head of the Department respon-
       sible for the administration of the Federal Firearms Act that he was

                                                     Defs.' MSJ App. 308
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 88 of 212 PageID 3605
         88         FEDERAL FIREARMS AMENDMENTS OF 1966
        particularlyy anxious that the changes proposed in the bill with respect
        to tihe issuance of licenses to manufacture, import, and deal in firearms
        be adopted." The Attorney General of the United States, Nicholas
        deB. Katzenbacli, who testified before the subcommittee on the same
        date, stated tlhat the changes in thie licensing provisions)  provided in
        the bill were intelnidedl to "give reasonable discretion to the Secretary
        of the treasuryy as to wllo should be licensed to manufacture, import,
        or deal in the (lead(ly weapons with which the Federal Firearms Act is
        concerned," antl "to bring about a higher level of responsibility in the
        firearms trade."
            Subsection (c) of section 3 of the act as contained in the bill elim-
         inates t le anonmalous situation with respect to the licensing system
         containlued ill existing law and sets forth specific standards under which
        an applications shall be disapproved and the license denied, after notice
        and opportunity for hearing.
            'I'Te standards provided in subsection (c) are very similar to the
        stlandlards
         cure,   deal provided
                      ill, or  use
                                  ill 26 U.S.C. 5271(c) (relating to permits to pro-
                                     specially denatured distilled spirits); 26 U.S.C.
        5712 (relating to permits for manufacturers oi tobacco products);
        and to 27 U.S.C. 204 (relating to wllolesale dealers in liquors, imr-
        porters of liquors, etc.) under which the Treasury Department has
         issued( over 25,000 permits. The principal standard in all three of
         the statutes cited is thle implied standard recognized by the' Supreme
         Court, in the Ala-King case (Mal-King v. Blair, 271 U.S. 479).
            The record and reputation of tile applicant its well as relevant and
        significant association with persons with a criminal record or repu-
        tation would be tlhe principal basis for finding that, the applicant is
        not, likely to maintain operations in compliance with the Federal Fire-
        arms Act. (See Seaway Beverages, Inc. v. Dillon, et al., :319 F. 2d
        722, cert. (tell. 375 U.S. 923; and lincourt v. Palmer, 190 F. 2d 390,
        which construe the language of the standards set, forth in plar. (2).)
           Thle hearing and appeal procedures provided l)y the Admlinistrative
          'Procedure Act (act of June 11, 1946, 5 U.S.(. 1()()01 et seq.) would,
       -as in the case of tle permits provided for in title 26, United States
        Code, sections 5271 and 5712, be applicable with respect to license
        proceedings under the Federal Firearms Act.
           The provisions of paragraph (2) relating to individuals possessing,
       directly or indirectly, the power to direct or cause the direction of the
        management and policies of the corporation, partnership, or associa-
        tion, are necessary to preclude felons o'r other individuals wlho could
        not, obtain a license its an individual from using a corporation or other
       business organization to conduct their operations. In the past, in-
       dividuals convicted of a felony have formed corporations for the pur-
       pose of continuing their firearms operations.
           Tlie provisions of paragraph (5) would preclude thle issuance of
       licenses to applicants who do not have, or do not intend to have or
       maintain, bona fide business premises for the conduct of the business.
       This provision
                 )          will be a definite aid in limiting licensees tender the
        Federal Firearms Act to persons bona fidely engaged in business, and
       assuring that there will be an appropriate place that is subject to
       proper inspection where the required records will be maintained.
           The information developed at the public hearings held by the sub-
       committee disclosed a definite need for such a provision. It was shown
       that in some cases importers or dealers maintained no regular place
       of business which could be found, and conducted their operations

                                                       Defs.' MSJ App. 309
Case 4:22-cv-00691-O
             I        Document
                     FEDERAL   182-1 Filed
                             FIREARMS      02/13/23 Page
                                      AMENDMENTS         89 of 212 PageID
                                                    OF 1966         89 3606
       through post office boxes, mail drops, answering services, etc., or from
       a vehicle, vessel, or aircraft which moved from place to place.
         It is not intended that a building also used as a dwelling be pre-
       cluded from being the place of business. However, in such cases the
       part of the  building  intended as the business premises should be des-
       ignated  as  such  and  the records maintained in the designated area
       available for inspection as provided in subsection (g).
        Subsection (d)
           Subsection (d) of section 3 of the act as contained in the bill re-
        places  the provisions of existing law contained in section 3(c) of the
        act (15 U.S.C. 903(c)) and reflects the construction of existing law as
        contained in current regulations (26 CFR part 177).
           The requirement of existing law, concerning the posting of a bond
       by a licensee convicted        of a violation of the act in order to continue
       operations pending        final disposition of the case on appeal, serves no
        useful purpose, and has been omitted. Further, the provisions of this
        subsection have been revised to simplify administration. Since the
       licensee is required to reapply each year for a license, the information
        on the application relating to his indictment and/or conviction will
        be adequate. Also, the license itself can, as at present, contain a
       warning that the licensee cannot continue operations once his con-
       viction has become final (other than as provided in sec. 11).
           As under existing law and regulations, a new license will not be
       issued to a person under indictment for, or who has been convicted of,
        an offense punishable by imprisonment for a term exceeding 1 year.
       However, a licensed importer, licensed manufacturer, or licensed dealer
       may continue        operations pursuant to his existing license (provided
       that prior to the expiration of the term of the existing license timely
        applicationandis until
       dictment
                          made for a new license), during the term of such in-
                               any conviction pursuant to the indictment becomes
       final, whereupon he shall be subject to all provisions of this act, and
       operations pursuant to such license shall be discontinued. If a bona
       fide application for relief is filed under section 11, operations may con-
       tinue until such application is acted upon.
       Subsection (e)
           Subsection (e) of section 3 of the act as contained in the bill is
       a new provision designed to bring under control the flow of surplus
       military weapons and other firearms being imported or brought into
       the United States which. are not particularly suitable for target shoot-
             hunting, or any
       ing,The                    other lawful purpose.
                operations    of  certain importers of and dealers in such firearms
       has reflected a flagrant disregard of the public interest.
          The interim report made by the subcommittee with respect to the
       "Interstate Traffic in Mail-Order Firearms" (S. Rept. 1340, 88th
       Cong., 2d   sess.) pointed out that such firearms are a principal source of
       supply   to juvenile delinquents and other lawless elements. This report
       also indicated that many of these firearms were in such poor condi-
       tion, or of such poor workmanship, that their use would be hazardous.
          The further evidence now of record before the committee fully sup-
       ports andandjustifies the halting of this senseless flow of imported surplus
       military        non-sporting-type firearms which have found their way
       into the hands of criminal and lawless elements across the United
       States. Many of the Nation's leading law enforcement officials have


                                                      Defs.' MSJ App. 310
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23              Page 90 of 212 PageID 3607
        90            FEDERAL FIREARMS AMENDMENTS OF 1966
        testified regarding the wide usage of such firearms in the commission
        of crimes and of their serious and destructive effect on law enforce-
        ientt T such
              .
                   hey have also testified as tothetheconverted
                                                       unsafe character to the user
        of  many
        rebored weapons,      andpar
                         firearms, ticularly
                                 th   e firearms with
                                                                  starter pistols, the
                                                        insufficient safety features.
        The testimony concerning the problems created by the importation of
        such firearms is more fully set forth in the general discussion of the
        provisions  of the bill relattl g to scope of coverage
        ing dealing with   th e "'Importation Nonsporting
                                                of            underand
                                                                         the subhead-
                                                                        Military Sur-
        pllts Firearms."
           One    particularly     disturbing facet of the traffic in military surplus
        firearms involves the importation of antitank guns, bazookas, mortars,
        and similar larger caliber weapons. One importer told the subcom-
        mittee thallt lie alone had imported over 4,000 such weapons. These
        firearms have not been imported for national defense purposes, but for
        indiscriminate sale to anyone with the purchase price, including law-
        less elements.
           Under the provisions of subsection (e), no person could import or
        bring firearms into the United States or a possession thereof, except
        liponalithorization       by the Secretary.     Such authorization would not
        he  issule(lto the satisfaction of the Secretary thatunless
        lished
                       under  the  provisions  of this subsection          it was estab-
                                                                     certain conditions
        designed      to protect the public interest had been met.
           These provisions would not prohibit the importation of currently
        produced firearms        which are in safe firing condition and which are
        particularly      suitable  for sporting purposes; nor would they prohibit
        the importation of military surplus rifles or shotguns as long as they
        meet adequate safety standards, are suitable for, or readily adaptable
        to, sporting purposes and are not, "firearms" as defined in the National
        Firearms Act. Therefore, there would be no interference with the
                                                or of pistols or revolvers (not military
        bringing inof of rifles or shotguns, which
        surplus), recognized quality                   are used for hunting and other
        recreational purposes or for personal protection.
           Also firearms could be brought in for -scientific or research pur-
        poses, or for use in connection with competition or training pursuant
        to chapter 401 of title 10 of the United States Code; or if they were
        unserviceable (not readily restorable to firing condition) and were
        intended as curios or museum pieces. Also any antique firearm (as
        defined) could be brought in since  such firearms are excluded from
        the coverage of the Federal Firearms Act. A firearm which had pre-
        viously been taken out of the United States (or a possession) could
        be brought back in by the person who took it out. This is to accom-
        modate travelers, hunters, and American personnel stationed in foreign
        countries.
        Subsection (f)
           Subsection  (f) of section 3 of the act as contained in tile bill is a new
        provision relating  to the sale or other disposition of destructive devices,
        machineguns,    short-barreled    shotguns, and short-baxreled rifles by
        licensee to nonlicensees. This provision is impose as a condition on
        the privilege granted the licensee to engage in interstate or foreign
        commerce with respect to such firearms. Since these are not ordinary
        articles of commerce, it is not expected that there will be any signifi-
        cant volume of transactions falling within the application of the sub-
        section. However, it is deemed to be in the public interest to place

                                                         Defs.' MSJ App. 311
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 91 of 212 PageID 3608
                    FEDERAL FIREARMS AMENDMENTS OF 1966            91
       adequate controls over tie disposition of these highly destructive
       weapons by licensees to nonlicensed persons.
       Subsection (g)
          Subsection (g) of section 3 of the act as contained in the bill is a
       restatement and revision of the recordkeeping requirements of exist-
       ing CFR
            law (15 U.S.C. 903(d)). Under existing law and regulations
       (26         177.51), licensees are required to maintain complete and
       adequate   records reflecting the importation, production, and dislosi-
       tion at wholesale and retail of firearlns, and the records are required
       to be kept available for inspection by internal revenue officers during
       regular  business hours (26 CFR 177.54).
          The restatement of the recordkeeping requirements contained in
       this subsection would make clear in the statute the requirement that
       the records be made available for inspection at all reasonable times,
       and the authority of the Secretary or his delegate to enter during
       business hours the premises of the licensee for inspection purposes.
         The subsection also makes clear the authority of the Secretary, by
       regulations,  to require the submission of reports concerning the opera-
       tions of licensees.
          Particularly as to manufacturing and importing operations the
       submission of information as to the number and types of firearms
       manufactured and imported might prove to be desirable and in the
       public  interest. The hearings held regarding the bill have demon-
       strated the difficulty of readily obtaining reliable information in this
       regard.    Also there may be other situations in which the submission
       of information could be of significant value, as for example retail sales
       of firearms in unusual quantities which might be.destined for armed
       groups who would supplant lawful authority or for illicit exportation
       for purposes for which an export license could not be obtained.
           There is no provision of S. 1592 which requires, provides for, or
       authorizes the Secretary or his delegate to institute a national fire-
       arms registration procedure under the Federal Firearms Act, and
       it is not intended that S. 1592 be used as the statutory basis for the
       national registration of firearms.
          If it should be deemed necessary or desirable to provide for the
       national registration of firearms (other than as provided in the
       National Firearms Act; 26 U.S.C. ch. 53), it is intended that such
       registration be by specific congressional authorization and not pur-
       suant to any regulatory discretion granted under the terms of this
       bill.
          It has been existing practice to make available to State and local law
       enforcement officers information obtained from the required records
       of licensees for law enforcement purposes (e.g., tracing the ownership
       of a firearm found at the scene of the crime). The subsection would
       provide  specific statutory authority for this practice.
          It may be noted that the entry and inspection provisions contained
       in this subsection are similar to those provided in 26 U.S.C. 5146 with
       regard to the premises of liquor dealers. If there is to be proper
       enforcement of the Federal Firearms Act, it is essential that there be
       clear statutory authority to enter the premises where the business is
       carried on in order to inspect the records which are required to be
       maintained pursuant to the act.



                                                    Defs.' MSJ App. 312
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 92 of 212 PageID 3609
        92          FEDERAL FIREARMS AMENDMENTS OF 1966

       Subsection (h)
           Subsection (h) of section 3 of the act as contained in the bill is a
       new provisioll which wolld require licenses issued to importers, manu-
       facturers, and dealers under the provisions of this section to be        kept
       posted and available for inspection on the business premises covered
       by the license.
       Subsection (i)
           Subsection (i) of section 3 of the act as contained inlthe bill is a new
       provision. Existing         law (15 U.S.C. 902(i)) makes it unhlwful for
       any person to transport, ship, or knowingly receive in interstate or
       foreign commerce, any firearm from which the manufacturer's serial
       number lhas been removed, obliterated, or altered. Under the statu-
       tory authority to prescribe regulations to carry out the provisions of
       the act( (15 U.S.C. 907), the Secretary has prescribed regulations re-
       quiring     the identification of firearms (26 CFR 177.50). Subsection
       (i)   would   include in the act specific statutory authority for the Secre-
                    require
       tary firearms inlicensed
                to                      importers and licensed manufacturers to
       identify                  the manner   prescribed by regulations.
       Section 6
           Section (6 of the bill (which was sec. 4 of the bill as introduced)
       amends section 4 of the Federal Firearms Act. Section 4 of the act
       as contained in the bill is a restatement of existing law (15 U.S.C.
       904). However, the section as contained in the bill eliminates certain
       of the exceptions in existing law.
           Section 4 of the act as contained in the bill contains the exception in
       existing law (15 U.S.C. 904) applicable in respect to transportation,
       shipment,      receipt, or importation of firearms or ammunition imported
       for or sold or shipped to, or issued for the use of (1) the United
       States or any department, independent establishment, or agency
       thereof, or (2) any State or possession, or the Districtorof Columbia,
       or any (epartment, independent establishment, agency, any political
       subdivision thereof. Such transactions are completely exempt from
       all provisions of the act.
           'I le exemptions in existing law for certain nongovernmental activi-
       ties have been omitted. Such omission does not mean that firearms or
       ammunition (for destructive devices) cannot be shipped to, or pro-
       cured by, the omitted persons. Rather, it means that the omitted per-
       sons will be required to conduct their transactions and operations in
       conformity       with the terms of the Federal Firearms Act. There ap-
       pears    to be   no substantial reason why this cannot. be done.
           The Department of Defense has advised the subcommittee that the
       Department        "strongly recommends the enactment of S. 1592" and that
       "no function of the Department of Defense will be in any way im-
                       this legislation" (this includes the civilian marksmanship
       paired byconducted
       program                   under tie auspices of tile ,Secretary of the Army).
       Section 7
           Section 7 of the bill (which was sec. 5 of the bill as introduced)
       amends section 5 of the Federal Firearms Act (15 U.S.C. 905(b)).
           No change has been made in subsection (a), the existing penalty pro-
       vision of the Federal Firearms Act.
           The subcommittee has amended section 7 of the bill by redesignating
       subsection (b), which relates to forfeiture, as subsection (c) and in-
       serting a new subsection (b) which would provide that any person who
                                                      Defs.' MSJ App. 313
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 93 of 212 PageID 3610
                     FEDERAL FIREARMS AMENDMENTS OF 1966                       93
        .(1) with intent to commit therewith an offense punishable by im-
        prisonment for a term exceeding 1 year; or (2) with knowledge or
        with reasonable cause to believe that an offense punishable by im-
        prisonment for a term exceeding     1 year is intended to be committed
        therewith;  ships, transports  or receives a firearm in interstate or for-
        eign commerce shall be fined not more than $10,000 or imprisoned not
        more than 10 years, or both, for each such offense.
          The provisions of the new subsection (b) would provide a severe
        penalty  for shipping, transporting, or receiving a firearm in interstate
        or foreign commerce with intent, or with knowledge or reasonable
        cause to believe, that a felony offense is intended to be committed
        therewith.
          This is basically an extension of the penalty imposed under the
        present act regarding the shipment, transportation or receipt in inter-
        state or foreign commerce of firearms by persons convicted of an
        offense punishable by imprisonment for a term exceeding 1 year.
          The 10-year maximum penalty appears clearly warranted in the
        cases to which subsection (b) would be applicable and it is important
        that persons be deterred from shipping, transporting, or. receiving
        firearms in interstate or foreign commerce under the conditions which
        would be covered by this subsection. However, this provision would
        not have the effect of unduly burdening the agencies involved in
        criminal justice activities at the Federal level, as would certain other
        proposals  relating to subsequent criminal misuse of a firearm which
        at any previous time had moved in interstate or foreign commerce.
        The effect of the "subsequent misuse" approach would be to give
        apparent   Federal jurisdiction in the case of an inordinately large
        number of criminal cases involving crimes of an essentially local
        nature.
       Subsection (c)
          Subsection (c) of section 5 of the act as contained in the bill is a
       restatement and revision of existing law (15 U.S.C. 905(b)). This
       subsection would extend the existing forfeiture provisions of the Fed-
       eral Firearms Act, which provide for the forfeiture of firearms and
       ammunition involved in violations of the act to cover firearms and
       ammunition "involved in, or used or intended to be used in," violation
       of the act or of certain provisions of title 18 of the United States Code
       pertaining   to threats to, or assaults on, law-enforcement officers, inem-
       hers of  the  judiciary, etc.
          Under existing law, firearms involved in violations of the Federal
       Firearms Act (15 U.S.C. 901 et seq.) or the National Firearms Act
       (26 U.S.C., cl. 53) are subject to forfeiture. However, these pro-
       visions are inadequate to cover many cases involving firearms used
       in offenses against the laws of the United States pertaining to assaults
       on, or threats against, law enforcement officers and public officials.
          The subcommittee made one change in the redesignated subsection
       (c) dealing with forfeiture of firearms. This amendment added to
       the enumerated provisions of title 18, United States Code, the viola-
       tion of which makes a firearm subject to seizure and forfeiture, chapter
       84 of title 18. Chapter 84 of title 18 contains the recently enacted
       provisions concerning, in general, assassination or attempted assas-
       sination of the President of the United States and certain other
       persons. The subcommittee deems the inclusion of chapter 84 neces-
       sary to avoid the possibility of future situations involving attempted
                                                     Defs.' MSJ App. 314
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23         Page 94 of 212 PageID 3611
       94           FEDERAL FIREARMS AMENDMENTS OF 1966

       commercial exploitation of the fact that a firearm was used in an
       assassination or an attempted assassination. It has come to the sub-
       committee's attention that a deplorable and regrettable situation in
       this respect has already developed with regard to the rifle reported by
       the Warren Commission to have been used in the assassination to
       which that report was directed.
          The procedures applicable to seizure, forfeiture, and disposition
       would be the sale as for firearms seized for violation of the Federal
       Firearms Act (i.e., the provisions of the Internal Revenue Code of
       1954, appllicable in respect of National Firearms Act firearms, would
       atipply).
          aIhe enactment of the provisions contained in this section of the
       bill is deemed to be clearly a matter in the national interest.
       Section 8
          Section 8 of the bill (sec. 6 of the bill as introduced) would renum-
       ber sections 6, 7, 8, 9, and 10 of the Federal Firearms Act as sections 7,
       8, 9, 10, and 11, respectively, and insert after section 5 a new section.
           The new section 6 of the act as contained in the bill relates to the
       applicability   of other laws. This section is merely for the purpose of
       making completely clear that nothing in the Federal Firearms Act
                 it
       shall be construed as modifying or affecting any provision of the Na-
       tional Firearms Act, section 414 of the Mutual Security Act of 1954,
       or'section 1715 of title 18 of the United States Code. Also subsection
       (b) of section 6 makes it clear that nothing in the Federal Firearms
       Act is intended to confer any right or privilege to conduct any busi-
       ness contrary to the law of any State, or to be construed as relieving
       any person from compliance with the law of any State.
       Section 9
          The first sentence of section 9 of the bill is a restatement of existing
       law (15 U.S.C. 907) concerning the authority of the Secretary of the
       Treasury to prescribe     such rules and regulations as he deems reason-
       ably necessary to carry out the provisions of the Federal Firearms Act.
          The subcommittee has amended this section of the existing Federal
       Firearms Act (relating to the issuance of regulations) by adding at
       the end thereof a new sentence which would specifically provide that
       the Secretary shall give reasonable public notice, and afford interested
       partiesoutopportunity   for hearing, prior to prescribing regulations to
       carry        the provisions of the Federal Firearms Act. This would
       mean that any new regulations issued to effectuate the provisions of the
       bill would only be issued after such public notice and opportunity for
       hearing.     Thus, all interested parties will have full opportunity to
       be heard before any regulations implementing the provisions of the
       Federal Firearms Act, as amended by the bill, are issued.
          The subcommittee deems this specific statutory requirement for a
       hearing desirable in view of the wide public interest in the procedural
       details to be prescribed by regulations to implement the provisions
       of the statute.
          It is expected that the Treasury Department will give full con-
       sideration to the views of interested parties and to the legitimate in-
       terests of those who may be affected by the procedures to be prescribed.
          The language of the notice and hearing provision included in the
       subcommittee amendment is identical to the language contained in


                                                     Defs.' MSJ App. 315
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 95 of 212 PageID 3612
                    FEDERAL FIREARMS AMENDMENTS OF 1966            95
        section 5 of the Federal Alcohol Administration Act (27 U.S.C. 205)
        under which the Treasury Department issues regulations relating to
        the labeling and advertising of alcoholic beverages.
        Section 10
           Section 10 of the bill contains the effective date provisions and
        corresponds to section 8 of the bill as introduced.
           In view\ of the notice and hearing requirements regarding the issu-
        ance of regulations which the subcommittee has provided for in sec-
        tion 9 of the bill, the subcommittee has deemed it advisable to amell(l
        the effective date provisions to provide time for the issuance of im-
        plementing    regulations as provided for in the bill. Under this sec-
        tion of the bill, as amended by the subcommittee, the amendments to
        the Federal Firearms Act contained in the bill would, in general, be
        effective as of the first day of the third month which begins not less
        than 10 days after the date of enactment. However, the amendments
        made by the bill to section 3(a) of the Federal Firearms Act (relating
        to the obtaining of licenses by importers, manufacturers, and dealers)
        would not apply to any importer, manufacturer, or dealer licensed
        under the Federal Firearms Act as of the effective date until the ex-
        piration  of the license held by such importer, manufacturer or dealer
        on such date.
           In effect this means that a licensee will not have to obtain a new
        license,byby reason of the amendments to the FederallicenseFirearms Act
        made       this bill, until the licensee's existing annual       expires.
        This will permit an orderly processing of license applications over the
        course of the year following the effective date of amendments to the
        Federal Firearms Act made by this bill.
                                                        THOMAS J. DODD.
                                                        GEORGE A. SMATHERS.
                                                        EDWARD V. LONG.
                                                        BIRCH E. BAYH.
                                                        EDWARDML . KENNEDY.
                                                        JOSEPH D. TYDINGS.
                                                        HIRAMN L. FONG.
                                                        JACOB K. JAVITS.




                                                    Defs.' MSJ App. 316
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23        Page 96 of 212 PageID 3613




             AI)DITIONAL VIEWS OF M{R. KENNEDY OF MASSACHUSETTS
          Although I amn pleased that some legislation regulating the sale of
       firearms has finally been reported from the Judiciary Committee, I
       intend to support a motion on the Senate floor to substitute Senator
        Dodd's bill S. 1592, for the bill reported, S. 3767. S. 3767 is a com-
       promise    measure supported by sonle members as the only way to get
       any kind of gun control legislation out of the committee. But it is not
       an adequate substitute for S. 1592, and in my judgment there is no
       justification  for passing legislation weaker in impact or narrower in
       scope   than S. 1592.
          Indeed it is amazing to me that we continue to tolerate a system of
       laws which makes it ridiculously easy for any criminal, madman, drug
       addict, orandchild to onobtain lethal firearms which can be used to rain
       violence       death innocent people. I recognize that S. 1592 is not
       a panacea; that effective gun regulation will require State action and
       that, gun controls will not by themselves eliminate violence. But I
       think we have a responsibility to do what we can to minimize the
       bloodshed and death resulting from firearms abuse. And S. 1592
       represents a responsible first step. S. 1592 establishes a Federal
       framework within which State regulation of firearms can be made
       effective. It does this by, inter alia, banning interstate mail order
       traffic in handguns, restricting the over-the-counter purchase of hand-
       guns by nonresidents, regulating mail-order traffic in shotguns and
       rifles by an affidavit procedure, establishing minimum ages of 18 for
       the purchase of rifles and 21 for the purchase of pistols, and seeking to
       curb the flow of nonsporting and military surplus firearms which have
       poured   into this country from abroad in recent years and been dumped
       on the market at low prices attractive to juveniles. It is a serious
       attempt to deal withthethe problems revealed by the testimony taken on at
       the many hearings         Juvenile Delinquency Subcommittee held
       this question.
          S. 3767 on the other hand leaves out regulation of rifles altoghter,
       and permits anyone, no matter how young, to buy a rifle by mail
       order or a pistol over the counter. S. 3767 would also permit the sale
       of handguns, by interstate mail order and to nonresidents over the
       counter, provided an affidavit is filled out. This is not adequate.
       There is no justification for replacing a ban on mail-order handgun
       sales by an affidavit procedure. An affidavit procedure is simply not
       as effective as an outright ban. Affidavits may be ignored by local law
       enforcement officers or the information on them may go unchecked
       for accuracy. Consequently, employing the affidavit procedure will
       not insure that handguns will not be sold to those who have no right
       to them.
          Similarly, in the face of the evidence of substantial misuse of rifles
       and shotguns, particularly in areas where handguns are regulated,
       I can see no justification for leaving mail-order rifle and shotgun sales
       totally unregulated.
             96


                                                    Defs.' MSJ App. 317
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 97 of 212 PageID 3614
                    FEDERAL FIREARMS AMENDMENTS OF 1966            97
            Furthermore, S.our3767 would do nothing to stop the torrent of cheap
        imports   flooding country with unsafe and military surplus weapons.
        In contrast, under S. 1592, imported military surplus handguns are
        banned, and imported military surplus rifles are permitted only if
        they meet recognizedThesafety standards     and are suitable for lawful
        sporting    purposes.        purpose  of this restriction is to stop the
        United States from being the dumping ground for weapons of death
        from abroad. Since the flow of cheap and unsafe guns from abroad
        increases the danger of gun violence to the American people, I think
        it altogether appropriate to legislate to slow that fldw.
           Opponents of S. 1592 base their opposition on what they claim to be
        the unnecessary burdens caused the average gun buyer by this legisla-
        tion. But this legislation will not in any substantial way burden any
        person   who has a legitimate purpose in obtaining a firearm. And I
        do not believe that the minor burdens this bill may impose can possibly
       justify any    further watering down of its gun controls.
           Why    would it be so burdensome to have to order guns by mail
       within your State? Or to actually visit a weapons shop or department
       store to purchase firearms? Or to be restricted in buying a pistol to
       buying    it in the State of your residence? Or to be 21 to buy a pistol
       from a federally licensed dealer over the counter? Why should any-
       one under 18 be permitted to buy a rifle by mail order or over the
       counter? What is so burdensome about requiring the buyer of a
       rifle by mail order from out of State to fill out a simple affidavit?
       After all, S. 3767 would impose that burden for handguns. Is it
       really so   great a burden to put upon a rifle buyer? If imposing this
       slight inconvenience     would result in even only a few less than the
       present 1,700 rifle murders a year, I think it would be worth it.
           I believe we owe it to the people of this country to try and make a
       decent start in reducing the dangers of gun violence, and passageof
       S. 1592 would mark such a beginning.
                                                    EDWARD      M.KENNEDY.




                                                    Defs.' MSJ App. 318
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 98 of 212 PageID 3615




                          ADDITIONAL VIEWS OF MI{. TYDINGS
           I opposed S. 3767 and I voted against it in the Judiciary Committee,
        because I believe it is totally inadequate to protect the American pub-
        lic from the nearly unlimited -traffic in lethal weapons which threatens
        us today.
          .I realize that other Senators who share my opinion of this bill none-
        theless voted for it in order to get some firearms bill to the floor, where
        it can be strengthened by atmendmeent. I htve joined those Senators in
        the views they express against S. 3667 in this report and I join them
        in rejecting the views expressed in this report in favor of S. 3767. 1
        will vigorously support the amendments which will be offered on the
        Senate floor to strengthen this bill.
           How much longer will the people of the United States be subjected
        to indiscriminate slaughter at the hands of criminals and lunatics who
        have nearly unlimited access to weapons of death? That is the ques-
        tion squarely facing the Congress.
                                                          JOSEPH D. TYDINGS.
              98




                                                     Defs.' MSJ App. 319
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23        Page 99 of 212 PageID 3616




                           INDIVIDUAL VIEWS OF MR. HART
           With others of the committee, I voted to report S. 3767 in the belief
        that the Senate should be put into position to act in this area of great
        concern. The country does face a serious problem in the sale and
        distribution of firearms, and our colleague from Connecticut, Senator
                                                         the problem and act.
        Dodd, long has urged the Congress to recognizesale
           I believe we should prohibit the interstate        of handguns and
        large,  operable, military weapons.    However,  I  do  not agree that
        mail-order restrictions should apply to sporting shoulder arms
        weapons difficult to conceal. The criminal who felt the need for a
        shoulder arm would not be seriously inconvenienced by mail-order
        restrictions. Even in many States that have strict regulations on
        handgun     purchases, over-the-counter sales of shoulder arms are
        unrestricted.
                                                           PHILIP A. HART.
                                                                        99




                                                   Defs.' MSJ App. 320
ase 4:22-cv-00691-O Document 182-1 Filed 02/13/23        Page 100 of 212 PageID 361




                           INDIVIDUAL VIEWS OF iMR. SCOTT
         We need realistic, enforcible Federal regulation of the interstate
      sale of firearms. Two areas are most urgentlyl         ill need of prolnpt
      action: (1) sales of handguns, which are most.liable to use and abuse
      by   criminals, and (2) mail-order purchases of all weapons because of
      their susceptibility to crimes, most horribly illustrated by the assassi-
      nation of President Kennedy.
         I cannott, however, without some reservations, support. either S. 1592
      or 8. 3767.
         S. 1592 has several desirable provisions. Bllt, 1 would be more
      favorably dispose t that bill if it. were stripped of section 2, its
      statement of findings--which by inference ltmps millions of law-
      abiding     citizens together with criminals and the worst kind of ex-
      treinists--and if its regulation of "destructive devices" would be
      treated separately in the National Firearms Act of 1934.
         S. 3767 does not go far enough, chiefly because I believe that the
      interstate mail-order sale of rifles and shotguns, as well as handgluns,
      should be regulated.
         I offered, during the Jldiciary C(ommittee's executive session (con-
      sideration of various firearms control bills, a measure patterned after
      S. 14, a bill which Senator Dodd introduced on January 6, 1965. 1
      believe it meets the areas of major concern.
         My    bill would (by amendment of the Federal Firearms Act):
          1. Require the manufacturer or dealer, before making shipment of
      a firearm, to obtain from the purchaser a sworn statement in duplicate
      that--
                (a) Such a person is at least 18 years of age.
                (b) Such person is not under indictment, has not been con-
             victed of a crime punishable by a term exceeding 1 year, and is
             not a fugitive from justice.
                (c) There are no provisions of local law which would be
             violated by his possession of the firearm.
                (d) Provides the true name and address of the principal law
             enforcement officer of the locality to which the firearm will be
           shipped.
         2. Require e e manufacturer, prior to shipment of a firearm, to
      send to the local law enforcement officer by registered mail a descrip-
      tion of the firearm (but not its serial number identification), one
      of the purchaser's statement, and obtain return receipt from copy   such
      officer for the registered letter. The dealer must wait for 7 days after
      receiving  receipt, before making delivery of the firearm.
         3. Require the shipper of a firearm to deliver a written notice of
      the content of the shipment, to the common or contract carrier.
         4. Make it unlawful for the carrier to deliver any firearm to a per-
      son with knowledge or reasonable cause to believe that such person
      is under 18 years of age.
         5. Exempt antique firearms.
            100

                                                   Defs.' MSJ App. 321
ase 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 101 of 212 PageID 361
                   FEDERAL FIREARMS AMENDMENTS OF 1966            101
         6. Provide that it is not the intent of Congress to-
              (a) Regulate shipments of firearms to the exclusion of State
            laws.
               (b) Supersede State laws, unless inconsistent with the bill.
               (c) Make lawful any act if such act is unlawful under State
            law.    '




          My  bill also incorporates certain technical and clarifying amend-
       ments to the act, for example (1) license fees in the case of dealers
       are increased from $1 to $25 for the first year and $10 for subsequent
       years, and in the case of manufacturers and pawnbrokers from $25
       to $50; (2) deletes obsolete references to "territories"; (3) eliminates
       ammunition and small firearms parts from coverage of the act since
       Treasury has makesfound provisions relating thereto impractical to ad-
       minister;   (4)         clear that the act would not be construed so as
       to affect section 414 of the Mutual Security Act of 1954.
          The imminent adjournment of the 89th Congress precludes further
       action on firearms control legislation. When Congress reconvenes in
                     shall continue my efforts to help enact effective legislation,
       January,to Imeet
       geared             a serious problem.
                                                                 HUGH SCOTT.
                                            0




                                                     Defs.' MSJ App. 322
   Case
March 22,4:22-cv-00691-O
           1965          Document 182-1 Filed
                         CONGRESSIONAL  RECORD02/13/23
                                                  -     Page 102 of 212 PageID 3619
                                                     SENATE                      5527
and federally licensed dealers of shotguns         stills) and section 5205(a) (2) (relating to       in interstate or foreign commerce, and a
and rifles to persons under 18 years of age,       stamps on containers of distilled spirits).         license under the act will not be issued to
and of all other types of firearms to persons      Therefore, the decisions of the courts (Queen      such a person, the definition will serve a
under 21 years of age, would be prohibited.        v. United States, 77 F. 2d 780; cert. den. 295     useful purpose in making it clear that an
   The bill is also designed to eliminate the      U.S. 755; and Scherr v. United States, 305 U.S.     "information" charging a crime is the same
serious abuses of the Federal Firearms Act         251) to the effect that the Government is           as an indictment charging a crime. This
license system inherent in the nominal li-         not required to allege or prove matter con-         definition is in accord with the opinion of
cense fee and weak qualifying requirement          tained in an exception would be applicable.         the court in Quinones v. United States, 161
provisions of existing law, and to assure that     Establishment by a person that he came              F. 2d 79.
persons licensed under the act are bona fidely     within the exception would be a matter of              The definition of the term "fugitive from
engaged in the business and are of good            affirmative defense. Thus, an explosive de-         justice" is a restatement of existing law (15
repute.                                            vice shown to be designed and Intended for          U.S.C. 901(6)) with reference to "territory"
   The bill would curb the flow of imports of      lawful use in construction or for other in-         omitted since there is at the present time
surplus military weapons, and certain other        dustrial purposes would be excepted. How-           no such territory.
firearms which are not particularly suitable       ever, If the device were designed or used or           The definition of the term "crime punish-
for lawful sporting purposes.                      intended for use, as a weapon, it would be          able by imprisonment for a term exceeding
   Further, the bill would bring under strict      subject to the provisions of the act.               1 year" is a new provision.
Federal control interstate and foreign com-           A provision has been made in this defini-           Prior to October 4, 1961, the Federal Fire-
merce in large caliber weapons such as ba-         tion that the Secretary may exclude from the        arms Act included provisions which made It
zookas, mortars, antitank guns, etc., and de-      definition any device which he finds is not         unlawful for a person convicted of a crime
structive devices such as explosive or incen-      likely to be used as a weapon. Examples of          of violence (as defined) In any court of the
diary (a) grenades or (b) bombs or (c) mis-        devices which may be excluded from this            United States, a State, or possession, to
siles or (d) rockets or (e) similar weapons.       definition are devices such as Very pistols        transport, ship, or receive any firearm in
          SETON-BY-SECTION ANALYSIS                and other signaling devices and line-throw-         Interstate or foreign commerce. S. 1750
                                                   ing appliances (required for commercial             (87th Cong., 1st sess.) amended the act by
    Section 1: This section would restate and
 amend section 1 of the Federal Firearms Act       vessels by U.S. Coast Guard regulations)            striking the definition of "crime of violence"
  (52 Stat. 1250) which contains the defini- which may have been made from converted                  and by striking that term wherever it ap-
 tion of the meaning of certain terms used         firearms.    This provision also makes it pos-     peared in the act and inserting In lieu
 in the act.                                       sible to deal with any other comparable             thereof the term "crime punishable by im-
    The definition of the term "person" In situation which may arise, such as old can-                prisonment for a term exceeding 1 year."
 paragraph (1) is existing law (15 U.S.C. 901      non or fieldpieces which are primarily of his-      S. 1750 was introduced at the request of the
                                                   torical significance and with respect to           Attorney General as an integral part of an
  (1)).
    The definition of the term "interstate or      which there is no reasonable likelihood that        anticrime legislative program. See House
 foreign commerce" is a restatement of exist-      they will be used as a weapon.                     Report No. 1202 (87th Cong., 1st sess.). The
 ing law (15 U.S.C. 901(a)). "Territory" is           The definition of the term "short-barreled      felony criteria for prohibiting the trans-
 omitted since there is no "territory" at the shotgun" contained in paragraph (5) is a new            porting, shipping, or receiving of firearms In-
 present time. The last sentence of this def- provision. The definition describes a shot-             corporated in the act by S. 1750 has been
 inition is inserted to clarify the status of the gun of the type which is subject to the pro-        retained to date.
 Act in Puerto Rico, the Virgin Islands, and visions of the National Firearms Act (ch.                    However, the definition of "crime punish-
 the District of Columbia.                        53 of the Internal Revenue Code of 1954).           able by imprisonment for a term exceeding
    The definition of the term "firearm" in        The purpose of the definition is to provide        1 year" proposed in the bill would modify
 paragraph (3) is a restatement and revision a convenient means of reference to weapons               the felony criteria by excluding antitrust-
 of the provisions of existing law (15 U.S.C.     of   this type.                                     type violations. It may be noted that anti-
 901(3)).    The revised definition has been ex-      The definition of the term "short-barreled      trust-type violations are not felonies under
 tended to include any weapon by whatsoever        rifle" contained in paragraph (6) is a new         Federal law. However, a limited number of
 name known "which will," or "which may be provision. The definition describes a rifle                States have statutes making such offenses
 readily converted to," expel a projectile or      of the type which is subject to the pro-           felonies. The definition would provide uni-
 projectiles by the action of an explosive.        visions of the National Firearms Act (ch.          form treatment of such offenses, both State
 This represents a much needed clarification       53 of the Internal Revenue Code of 1954).          and Federal.
 and strengthening of existing law designed        The purpose of the definition is to provide            The definition of the term "Secretary" or
 to prevent circumvention of the purposes of       a convenient reference to weapons of this          "Secretary of the Treasury" contained in
 the act. As under existing law, the defini-       type.                                             paragraph (12) is a new provision. The
 tion also includes weapons "designed to"             The definition of the term "importer"           purpose of this definition is to eliminate the
 expel a projectile or projectiles by the ac-      is a new provision. Under existing law (15         necessity of repeating "Secretary of the
 tion of an explosive, and firearm mufflers and U.S.C. 901(4)), the term "manufacturer" in-           Treasury or his delegate" In several sections
 firearm silencers.                               cludes a person engaged in importation of           of the act.
    The present definition of this term in-       firearms or ammunition for purposes of sale            The definition of the term "ammunition"
 cludes "any part or parts" of a firearm.         or distribution.     It appears obvious that       contained in existing law (15 U.S.C. 901(7))
 It has been impractical to treat each small      separate classifications should be provided        has been revised to include ammunition for
 part of a firearm as if it were a weapon. The for importers and manufacturers in order              a destructive device and ammunition for a
 revised definition substitutes the words         to more appropriately effectuate the purposes      machinegun or rifle in addition to pistol and
 "frame or receiver" for the words "any part      of the act.                                         revolver ammunition.
 or parts."                                           The definition of the term "manufacturer"          Section 2: Section 2 of the bill would
    In addition, the definition of the term is a restatement of existing law (15 U.S.C.              amend section 2 of the Federal Firearms Act
 "firearm" is extended to include any "de-        904(4) ) except that the references to im-          (15 U.S.C. 902), which relates to prohibited
structive device" as defined in the proposed      portation have been deleted.                        acts.
new definition of this term contained in              The definition of the term "dealer" is a           Subsection (a): Subsection (a) is derived
 paragraph (4) of section 1. The effect of restatement of existing law (15 U.S.C. 901(5) )           in part from the provisions of existing law
this inclusion is to make the provisions of with certain revisions. The definition also              contained in subsections (a) and (b) of sec-
the act applicable to such destructive de-        makes it clear that "pawnbrokers" are a            tion 2 of the Federal Firearms Act (15 U.S.C.
vices.                                            type of dealer.        This reflects proposed      902 (a) and (b)). Such provisions of ex-
    The definition of the term "destructive de-   changes in other provisions of the act which       Isting law make it unlawful for any importer,
vice" contained in paragraph (4) is a new         would place pawnbrokers handling firearms          manufacturer, or dealer, except an importer,
provision. The purpose of this definition         in a special category and provide for higher       manufacturer, or dealer licensed under the
is twofold. First, it would bring under the license fees for procurement of licenses by              act, to transport, ship, or receive any firearm
terms of the act any explosive or incendiary      pawnbroker dealers.                                in interstate or foreign commerce, or for any
 (a) grenade or (b) bomb or (c) rocket or (d)        The definition of the term "pawnbroker"         person to receive any firearm transported or
missile or (e) similar weapon, or launching       is a new provision. Pawnbroker dealers are         shipped in interstate or foreign commerce, by
device therefor (except devices which are not     covered under the provisions of the existing       an unlicensed importer, manufacturer, or
designed or redesigned or used or intended        act in the same manner as other dealers.           dealer.
for use as a weapon).        Second, the defini- The purpose of this definition is to provide            The provisions of section 2(a) of the bill
tion would include large caliber weapons a basis for a separate classification of pawn-              establish a general rule making it unlawful
such as bazookas, mortars, antitank guns, broker dealers. Under the provisions of the                for any person, except an importer, manufac-
etc., in order that the more stringent con-       National Firearms Act (26 U.S.C., ch. 53),         turer, or dealer licensed under the provisions
trols applicable with respect to the traffic pawnbrokers are separately classified and               of this act, to transport, ship, or receive fire-
in destructive devices would be applicable charged a higher rate of special (occupa-
                                                                                                     arms in interstate or foreign commerce. This
with respect to such weapons.                     tional) tax than other dealers.                    would have the effect of channeling inter-
    The parenthetical exception contained in         The definition of the term "indictment" is      state" and foreign commerce in firearms
this definition is drafted in the same manner     a new provision. Inasmuch as a person              through licensed importers, licensed manu-
as the exceptions contained in 26 U.S.C. sec-     under indictment for certain crimes is pro-        facturers, and licensed dealers, thereby pro-
tion 5179(a) (relating to registration of scribed from shipping or receiving firearms                hibiting the so-called mail-order traffic




                                                                                                              Defs.' MSJ App. 323
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 103 of 212 PageID 3620

                            Calendar No. 758
                 ___.~~~~~~~~~~~~~   __75
           79TH CONGRESS                  SENATE                          Nmo.
             ust Session   I                                             Mo.   762




             ADMINISTRATIVE PROCEDURE ACT


                                      REPORT
                                          OF THE

                      COMMITTEE ON THE JUDICIARY
                                            ON

                                           S. 7
                     A BILL TO IMPROVE THE ADMINISTRATION
                        OF JUSTICE BY PRESCRIBING FAIR
                           ADMINISTRATIVE PROCEDURE




           NOVzMBUR I9 (legislative day, OCTOBER 29), 1946.-Ordered to be printed -



                              UNiTD STATES
                     -GOVERNME1 T PRUTING OFMCUM
                             WASHINOTON * 1T




                                                          Defs.' MSJ App. 324
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                   Page 104 of 212 PageID 3621




                                  CONIMMITTEE ON THE JUDICIARY
                                   PAT McOARRAN, Nevada, Chairnan
           CARL A. HATCR, New Mexico            ALEXANDER WILEY, Wisconsin
           JOSEP11 0. O'MAHIONEY, Wyoming       WILLIAM LANGER, North Dakota
           HARLEY M. KILOORE, West Virginia     ROMER FERGUSON, Michigan
           ABE MURDOCK, Utah                    CHAPMAN REVERCOMB, West Virghiict
           ERNEST W. McFARLANI), Arizona        KENNETH S. WHERRY, Nebraska
           BURTON K. WHEELER, Montana           E. H. MOORE, Oklahoma
           OHIARLE 0. XANjREWS, Florida         H. ALEXANDER SMITH, Now Jersey
           JAMES 0. EASTLAND, Mississippi
           JAMES W. HUFFMAN, Ohio
           - -        (vacancy)
                                         CALVIN M. CORY, C£erk
                                         J;C0. SOURWINZ, CoUt0I0
                 11




                                                                   Defs.' MSJ App. 325
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23     Page 105 of 212 PageID 3622




                               CONTENTS
                                               Page
            T. Legislative history ---1
          II. Approach of the_ committee
         MII. Structure of the bill_. _._-- -_-   7
                                                  --   -   --



          IV. Analysis of provisions     ---      9
           V. General c(rInents--                30
         Appendixes:
             A. Text of bill -_,3_-------                        _--    82
             B. Report of Attorney General on bill-_-__-____-_          87
         Diagrams:
             1. Chronological list of bills-__--  __--- ___-__-____-__-  2
             2. hvrt of present bilUl--------------
                                                                 Ill




                                                   Defs.' MSJ App. 326
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23   Page 106 of 212 PageID 3623




                                                 Defs.' MSJ App. 327
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 107 of 212 PageID 3624




         IftH CONGRESS                   SENATE
                                                Calendar No.  758
                                                             REPOR.
           i48 Se8&in     JNO. 752



                     ADMINISTRATIVE PROCEDURE ACT


           NOVEMBER 19 (legislative day, OcrOBER 29), 1945.-Ordered to be printed


              Mr. MCCARRAN, from the Committee on the Judiciary,
                           submitted the following
                                     REPORT
                                    [To accompany S. 71
            The Committee on the Judiciary, to whom was referred the bill
         (S. 7), to improve the administration of justice by prescribing fair
         administrative procedure, having considered the same reports favor-
         ably thereon, with an amendment, and recommend that the bill do
         pass, as amended.
             There is it widespread demand for legislation to settle and regulate
         the field of Federal administrative law and procedure. The subject is
         not expressly mentioned in the Constitution, and there is no recogniz-
         able body of such law, as there is for the courts in the Judicial Code.
         'Phere are no clearly recognized legal guides for either the public or
         the administrators. Even the ordinary operations of administrative
         agencies are often difficult to know. The Committee on the Judiciary
         is convinced that, at least in essentials, there should be some simple
          uaid standard plan. of administi ative procedure.
                              I. LEGISLATIVE HISTORY
            For more than 10 years Congress has considered propoials for
         general statutes respecting administrative law and procedure. Figure
         1 on page 2 presents a convenient cbronlological chart of the main
         bills introduced. Each of them has received widespread notice and
         intense consideration.
            The growth of the Government, particularly of the executive
         branch, has added to the problem. The situation had become such
         by the middle of the 1930's that the President appointed a committee
                                                                            1




                                                          Defs.' MSJ App. 328
Figure 1




           Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                   Page 108 of 212 PageID 3625

                     2                     ADMINISTRATIVE PROCEDURIE AJC

                                                            FIoUR   1




                                            |   AD1IIN1STRATIVE LAW BILLS

                                                                                  -
                                 ADMINISTRATIVE                                 ADM INISTRATIVE
                                        COURT                                     PROCEDURB


                                   S. 1835 (Norris)                       8.   915 (Logan)-H. R. 4238
                               78d Congress, list Session               (Celler)--H1. R. 6324 (Walter)
                                                                           76th Congress, Ist Session
                          ,-               ~~~~~~~~~~~~~~~I
                          S. 3787 (Logan)-H. R. 12297
                                      (Celler)
                             74th Congress, 2d Session                          S. 674-H. R. 4238
                                                                        (Attorney General's Committee,
                                                                                  Af minority)
                                                                           77th Congress, 1st Session

                                  S. 3676 (Logan)
                             75th Congress, 3d Session
                                                                                S . La75-H. R. 4782
                                 H. R. 234 (Celler)                     (AKttorney Genlerall's Commlttee,
                             76th Congress, 1st Session                              hMajority )
                                                                           77th Congress, 1st Session


                           S. 916 (Logan)-H. R. 4235
                                      (Celler)                            S3.918 (Logan)-4I. n46e
                                                                                                R.
                             76th Congress, 1st Session                             ( Waltcr )
                                                                           77th CongrresH, 1Ht ';esslon


                         Report of President's Committee
                          on Administrative Management                       H. R. 4.314 (Owynne)
                                 January 8, 1937                           78th Congress, 2d Session



                         Twenty-seven Monographs of the                 8. 2030 (McCarran)-H. R. 5081
                         Attorney General's Committee on                            (Sumners)
                              Administrative Procedure                      78th Congress, 2d Session
                           Sen. Doe, 186-76th Congress,
                                     8d Session
                            Sen. Doe. 10-77th Congress,
                                     1st Session
                                                                             H. R. 5237 (Smith)
                                                                          78th Congress, 2d Session

                           Report of Attorney General's
                           Comnmittee on Administrative
                                     Procedure                           S. 7 (McCarran)-H. R. 1208
                           Sen. Doe. 8-77th Congress,                             (Sumners)
                                    1st Session                           79th Congress, 1st Session




                                                                           Defs.' MSJ App. 329
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                 Page 109 of 212 PageID 3626

                              ADMINISTRATIVE PROOMDUA             ACT                      8
         to make a comprehensive survey of aid -uggestions concerning
         administrative methods, overlapping functIong and diverse
         tiOll. While that committee was not prinTty concerned orqaniza-
                                                                    with the
         more detailed questions of administrative l&Cawnd Procedure as the
         term is now understood, it was inevitably brought face to face witb
         the fundamental problem of the inconsistent unon of prosecuting and
         deciding functions exercised by many executive agencies.
            REPORT OF PRESIDENT'S COMMITTEE.-IT 1937 the President's
         Committee on Administrative Management isuied its report, in
          vhich it said (pp. 32-33, 39-40):
            The executive branch of the Government of the United States has * * *
         grown up without plan or design * * ". To look at it npwi no one would
         ever recognize the structure which the founding fathers erected a century and a
         half ago. * * * Commissions have been the result of lekl0tive groping
         rather than the pursuit of a consistent policy. * * * They are In reality
         miniature independent governments set up to deal with the railroad problem, the
         banking problem or the radio problem. They constitute a headless "fourth
         branch" of the government, a haphazard deposit of irresponsible agencies and
         uncoordinated powers. * * * There is a conflict of principle Involved in
         their make-up and functions. * * * They are vested with duties of adminis.
         tration * * * and at the same time they are given important judicial work.
         + * * The evils resulting from this confusion of principles are insidious and
         far reaching. * * * Pressures and influences properly enough directed toward
         officers responsible for formulating and administerng policy constitute an un-
         wholesome atmosphere in which to adjudicate private rights. But the mixed
         duties of the commissions render escape from these subversive influences im-
         possible. 1Furthermore, the same men are obliged to serve both as prosecutors
         and as judges. This not only undermines judicial fairness; it weakens public
         confidence in that fairness. Commission decisions affecting private rights and
         conduct lie under the supicion of being rationalizations of the preliminary findings
         which the Commission, in the role of prosecutor, presented to Itself.
           To which, in transmitting it to Congress, the President added
         (pp. iii-v):
           I have examined this report carefully and thoughtfully, and am convinced
         that it is a great document of permanent importance. * * * The practice
         of creating independent regulatory commissions, who perform administrative
         work in addition to judicial work, threatens to develop a "fourth branch" of the
         Government for which there is no sanction in the Constitution. -
            See also pages 41-42, 207-210, 215-219, 222-223, 230-239 for addi-
         tional comments and the very drastic remedy proposed in that report.
         That Committee recomninen ded the complete separation of investiga-
         tive-prosecuting functions and personnel from deciding functions and
          )erson.nel.
            E'ALIM R HEARINGS AND BILLS.-In 1938 the Senate Committee on
         the Judiciary held hearings on a proposal for the creation of an
         administrative court and, in that connection, issued a committee
         1l)int elaborately analyzing administrative powers conferred by statute
         (S. 3676, 75th Cong. 3d sess.). In 1939 the Walter-Logan adminis-
         trative proeeulure bill was favorably reported to the Senate (S. Rept.
         442, 76th Cong., 1st seas., on S. 915). In the third session of the
         same Conigress the Walter-Logan bill (S. 915 and H. R. 63N4) was
         reported to the House of Representatives with amendments (see
         II. Rept. 1149, 76th Cong., 1st sess.; for an annotated draft, see S.
         Doe. 145, 76th Cong., 3d sesa.). The Walter-Logan bill was pased by
         the Congress but vetoed by the Presl ent in 1940-in part on the ground




                                                                Defs.' MSJ App. 330
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23        Page 110 of 212 PageID 3627

         4                ADMIZ18ThTIVF PROCEDURE ACT
         that action should awAit the. tell in minent final report by n commit-
         tee appointed in the Fkoenative bralich to study the entire sitiiation
         (H.Doe. 986, 76th Cong., 3d sess.).
           ATTORNEly GENzItAt s COMMITTrEE-In December 1938 the
        Attorney General 6wnewing the suggestion which he had previously
        made respecting tie need for procedural reform in the wide and grow-
        ing field of administrative law, recommended the appointment of a
        commission to make a thorough survey of existing practices and pro-
        cedure and point the way to improvements (S. Doe. 8, 77th Cong.,
         1st sess., p. 251). The President concurred and authorized the
        Attorney General to appoint a committee for that purpose (id., p.
        252). this Committee was composed of Government oflicials,
         teachers, judges, and private practitioners. It made an ir trim
        report in January 1940 (id., 254-258). Its staff prepared, and in
         1940-41 issued, a series of studies of the procedures of the principal
        administrative agencies atid bureaus in the Federal Government (S.
         Doc. 186, 76th Cong., 3d sess., pts. 1-13; and S. Doe. 10, 77th Cong.,
         1st sess., pts. 1-14). The Committee held executive sessions ove'r a
        long period, at which the representatives of Federal agencies were
        heard. It also held public hearings. It then prepared and issued
        a voluminous final report. See Administrative lProcefdure in torern-
        ment Agencies-Report of the Committee on Administrative Procedure,
        Appointed by the Attorney General at the Request of the President, to
        Investigate the Need for Procedural Reform in Various Administrative
         Tribunals and to Suqqest Improvements Therein (S. Doe. 8, 77th Cong.,
         1st sess.). That Committee is popularly known as the Attorney
        General's Committee on Administrative Procedure and will be so
        designated in this report. In thle framing of the bill herewith re-
        ported, (S. 7), your committee has had the benefit of the factual
        studies and analyses prepared by the Attorney General's Committee.
           SUBSEQUENT BILLS AND HFARINGs.-Growmng out of the work of
        the Attorney General's Committee on Administrative Procedure,
        several bills were introduced in 1941 (S. 674, 675, and 918, 77th
        Cong., 1st sess.). Hearings were held on these bills during April,
        May, June, and July of that year. (See Administrative Procedure,
        hearings, 77th Cong., 1st sess., pts. 1-3, plus appendix.) However,
        the then emergent international situation prom pted a postponement
        of further consideration of the matter. But all interested adminis.
        trative agencies were heard at length at that time and the proposals
        then pending involved the same basic issues as the present bill.
           PRESENT BILL.-Based upon the studies and hearings in connection
        with prior bills on the subject, and after several years of consultation
        with interested parties in and out of official positions, S. 2030 (78th
        Cong., 2d sess.) was introduced on June 21, 1944, the companion bill
        it-the House of Representatives being H. R. 5081. The introduction
        of these bills brought forth a volume of further suggestions from every
        quarter. As a. result, with the opening of the present Congress,
        a revised and simplified bill was introduced (S. 7, January 6, 1945;
        H. R. 1203, January 8, 1945).
           CONSIDERATION AND REVISION.-Much informal discussion followed
        the introduction of S. 7 and H. R. 1203. The House of Representa-
        tives' Committee on the Judiciary held hearings in the latter part of
        June 1945.



                                                       Defs.' MSJ App. 331
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 111 of 212 PageID 3628

                            ADMINISTRATIYP FROCaDURZ ACT                           b
            Previously, that committeeEd the Senate Coommittee on the
         Judiciary had requested a            tratie agencies to submit their
          views in writing. These wer 4arefully analyzed and, with the aid
          of representatives of the-A* rney General and interested private
          organizations, in May 1945 tre was issued a Senate comittee print
         setting forth in parallel colw the bill as introduced and a tentatively
         revise(l text.
            Again interested partied ip and out of Government submitted com-
         ments orally or in writing on the revved text. These were analyzed
         l)y the committee's staff, d a further committee print was issued in
         June 1945. lIi four ps) el columns it set forth (1) the text of the
         bill as introduced, (2) t*: text of the tentatively revised bill previously
         published, (3) a gender explanation of provisions with references to
         the report of bte Atney General's Committee on Administrative
         Procedure and othqe Aithorities, and (4) a summary of views and sug-
         gestions received.
            Thereafter the *#orney General again designated representative to
         hold further disecpons with interested agencies and to screen and
         correlate further kency views, some of which were submitted in writ-
         ing and some o y. Private parties and representatives of private
         organizations        participated.
            ]Following *j discussions the committee drafted the bill as ret
         ported, whiled set forth in full in appendix A. The Attorney Gen-
         eral's favor1A report on the bill, as revised, is set forth in appendix B.
                        II. APPROACH OF THE COMMITTEE
            In urtd.rtaking the foregoing very lengthy process of consideration,
         the com*itWee has attempted to make sure that no operation of the
         Gove0ment is unduly restricted. The committee has also taken the
         posi n that the bill must reasonably protect private parties even at
         the ri'k of some incidental or possible inconvenience to or change in
         present alminiistrative operations. The comm:1ittee is convinced, low-
         ever, that no administrative function is improperly affected by the
         present bill.
            THE PRINCIPAL PROBLEMS.-TIe principal problems of the com-
         tuittee have been: First, to distinguish between different types of ad-
         nfiluistrative operations. Second, to frame general requirements appli-
         cable to each such type of operation. Third,to set forth those require-
         ments in clear and simple terms. Fourth, to make sure that the bill
         is complete enough to cover the whole field.
            The committee feels that it has avoided the mistake of attempting
         to oversimplify the measure. It has therefore not hesitated to state
         functional classifications and exceptions where those could be rested
         upon firm grounds. In so doing, it has beu the undeviating policy
         to deal with types of functions as such and in no case with adminis-
         trative agencies by name. Thus certain war and defense functions are
         exempted, but not the War or Nas Departments in the performaceD
         of their other functions. Manifesly, it would be folly to assume to
         distinguish between "good" agencies and others, and no such distinc-
         tion is made in the bill. Thelegitimate needs of the Interstate Com-
         merce Commission, for example, have been fully considered but it has
         not been placed in a favored position by exemption from the bill.



                                                          Defs.' MSJ App. 332
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 112 of 212 PageID 3629

         6                  ADMINISTRATIVE PROCEDURE ACT

             The committee feels that adnmiiistrgtive operations should be treated
          as a whole lest the neglect of somni link defeat the purposes of the bill.
          The chart set forth as figure 2 on page 9 emphli izes this approach      I

          of the committee.
             COMPARISON WITH WALTER-LOGAN B1LL. -The Walter-Logan bill,
          which was vetoed by the President, difered materially from S. 7 as
          reported. While it distinguished between regulations and adjudica-
          tions, the Walter-jogan bill simply required administrative hearings
          for each nnd provided special methods of judicial review.
             More particularly, in the matter of geiseral regulations, the Walter-
          Logan bill failed to distinguish between the different classes of rules.
          It state(l that rules-should be issued within 1 year after the enactment
         of the statutory authority. It required a mandatory administrative
          review luponl notice and hearing within a year (sec. 2), and set up a
          system of judicial review through declaratory judgments by the
          Court of Appeals for the District of Columbia within a liinited time
          after the adoption of any rule (HI. R. 6324, 76th Cong., 3d sess.,
         seC, 3).
             In the a(ljudication of particular cases, the Walter-Logan bill also
          provided for administrative hearings of tiny "coPtroversy" before a
          board of aniy three employees of any agency. Decisions of such
          boards were to be made within 30 days and were subject to the ap-
         parently summary approval or modification of the head of the agency
         or his deputy. but independent commissions (not less *than three
         members sitting) were required to hold a further hearing after any
         hearing by an examiner (sec. 4). A special form of judicial review
         was provi(led for any administrative adjudication (sec. 5). A long
         list of exemptions of agencies by name conclule(l that bill (sec. 7).
            The present bill must be distinguished from the Waltei-Logan bill
         in several essential respects. It differentiates the several types of
         rules. It requires no agency hearings in connection with either
         regulations or adjudications unless statutes already do so iii par-
         ticular cases, thereby preservin-g rights of judicial trials de novo.
         WVhere statutory hearings are otl erwise provided, it fills in somoe of
         the essential requirements; and it provides for a special class 'of:
         semni-iln(el)ende1nt subordinate hearing ofli cers. It includes several
         tvypes of illci(lental procedures. It confers numerous 'procedural
         rilgts. It limits anlministrative penalties. It contains more coin-
         prehlensive provisions for judicial review for the redress of any legal
         wrong. And, since, it is drawn entirely upon a functional basis, it
         contains 11o exemptions of agencies as such.
            COMPARISON WIliT'i ATTORNEY GENERAL'S COMMITTEE REPORT.-
         The present bill is more complete than theosolution favored by the
         majority of tho Attorney General's Committee, but less prolix and
         more (lefillito than the minority proposed. While it follows generally
         the views of good administrative practice as expressed by the whole
         of that Committee, it differs in several important respects. It provides
         that, agencies may choose whether their examiners shall malke the
         i vIil decisionn or merely recommend a decision, whereas, the At-
         tortioY Genieral's Committee made a decision by examiners mamida-
         tory. It provides some general limitations upon administrative
         powers an(l sanictions, particularly in the rigorous field of licensing,
         while the ALtorney General's Committee did not touch upon the sub-



                                                          Defs.' MSJ App. 333
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 113 of 212 PageID 3630

                            ADMINISTRATIVE PROCEDURE ASr                          7
          ject. lIt relies upon independence, salary security, and tenure during
          good behavior of examiners within the framework of the civil seFvice,
          wheIwreas the Attorney General's Committee favored short-term ap-
          1)ointtments approved by a special "Office of Administrative Pro-
          CC?(l ure."
              A more detailed comparison of the present bill, with full references
          to the report of the Attorney General's Committee, is to be found in
          the third parallel column of the print issued by this committee in
          June 1945.
                               III. STRUCTURE OF THE BILL
              The bill, as reported, is not a specification of the details of admin-
          istrativo procedure, nor is it a codification of administrative law.
          Instead, o0tt of long consideration and in the light of the studies here-
          tofore mentioned, there has been framed an outline of minimum basio
         essentials. Figure 2 on page 9 diagrams the bill.
              The bill is designed to afford parties affected by administrative
         powers a means of knowing what their rights are and how they may be
         protected. By the same token, administrators are provided with a
         simple course to follow in making administrative determinations.
         T1le jurisdiction of the courts is clearly stated. The bill thus pro-
         vi(les for public information, administrative operation, and judicial
         review.
             SUBSTANCE OF T11E BILL.-What the bill does in substance may be
         summarized under four headings:
                 1. It provides that agencies must issue as rules certain specified
                       information as to their organization and procedure, and also
                       make available other materials of administrative law
                       (sec. 3).
                 2. It states the essentials of the several forms of administrative
                       proceedings secss. 4, 5, and 6) and the limitations on ad-
                       ministrative powers (sec. 9).
                 3. It prosiides in more detail the requirements for administrative
                       hearings and decisions in cases in which statutes require
                      such hearings (sees. 7 and 8).
                 4. It sets forth a simplified statement of judicial review designed
                       to afford a remedy for every legal wrong (sec. 10).
         The first of these is basic, because it requires agencies to take the
         initiative in informing the public. In stating the essentials of the
         different forms of administrative proceedings, it carefully distinguishes
         between the so-called legislative functions of administrative agencies
         (where they issue general regulations) and their judicial functions
         (in which they determine rights or liabilities in particular cases).
             The bill provides quite different procedures for the "legislative"
         and "judicial" functions of administrative agencies. In the "rule
          niaking" (that is, "legislative") function it provides that, with certain
         exceptions, agencies must publish notice and at least permit interested
         parties to submit their views in writing for agency consideration
         before issuing general regulations (sec. 4). No hearings are required
         by the bill unless statutes already do so in a particular case. Similarly,
         in "adjudications" (that is, the "judicial" function) no agency hear-
         ings are required unless statutes already do so, but in the latter case




                                                          Defs.' MSJ App. 334
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23            Page 114 of 212 PageID 3631

         8 8ADMINISTRATIVE PROCEDURE ACT
          the mode of hearing and decision is prescribed (sec. 5). Vhere
          existing statutes require that either general regulations (called " rales"
          in the bill) or particularized adjudications (called "orders" in the bill)
          be made after agency bearing or opportunity for such hearing, then
          section 7 spells out the minimum requirements for such hearings,
          section 8 states how decisions shall be made thereafter, and section 11
          provides for examiners to preside at hearings and make or participate
          in decisions.
             While the administrative power and procedure provisions of sec-
          tions 4 through 9 are law apart from court review, the provisions for
          judicial review provide parties with a method of enforcing their rights
          in a proper case (see. 10). However, it is expressly provided that the
          judicial review provisions are not operative where statutes otherwise
         preclude judicial review or where agency action is by law committed
          to Agency discretion.
             KINDS OF PROVISIONS.-The bill may be said to be composed of
         five types of provisions:
               1. Those which are largely formal such as the sections setting
                     forth the title (sec. 1), definitions (sec. 2), and rules of con-
                     struction (sec. 12).
               2. Those which require agencies to publish or make available
                     information on administrative law and procedure (sec. 3).
               8. Those   which provide for different kinds of procedures such as
                     rule making (sec. 4), adjudications (sec.. 5), and miscellane-
                     ous matters (sec. 6) as well az for limitations upon sanctions
                     and powers (sec. 9).
               4. Those which ovide more of the detail for hearings (sec. 7)
                     arid decision (sec. 8) as well as for examiners (sec. 11).
               5. Those which provide for judicial review (sec. 10).
             The bill is so drafted that its several sections and subordinate pro-
         Visions are closely knit. The substantive provisions of the bill should
         be read apart from the purely formal provisions and minor functional
         distinctions. The definitions in section 2 are important, but they do
         not indicate the scope of the bill since the subsequent? provisions make
         many functional distinctions and exceptions. The public informa-
         tion provisions of section 3. are of the broadest application because,
         while some functions and some operations may not.lend themselves
         to formal procedure, all administrative operations should as a matter
         of policy be disclosed to the public except as secrecy may obviously
         be required or only internal agency "housekeeping" arrangements
         may be involved. Sections 4 and 5 prescribe the basic requirements
         for the making of rules and the adjudication of particular cases, In
         each case, where other statutes require opportunity for an agency
         hearing, sections 7 and 8 set forth the minimum requirements for
         such hearings and the agency decisions thereafter while section 11
         provides for the appointment and tenure of examiners who may
         participate. Section 6 prescribes the rights of private parties in a,
         number of miscellaneous respects which may be incidental to rule,
         making, adjudications or the exercise of any other agency authority,
         Section 9 limits sanctions, and section 10 provides for judicial review.




                                                           Defs.' MSJ App. 335
                                                                         w-s0
Figure 2.- Diagram of principal sections of bil




                                                  Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                              Page 115 of 212 PageID 3632

                                                                                   ADMINISTRATIVE PROCEDURE ACT                                                9
                                                                              Fxaumu 2.-Diagrant of principal ec(tlona of bill
                                                                    -u



                                                                    I                    I
                                                                Sec. 3            Sec. 4                  Sec. 5                see.6            See. 9
                                                               PUBLIC          RULE MAKING            ADJUDICATION           ANCILLARY        POWERS AND
                                                           INFORMATION         (a) Notice            (a) Notice                MATTERS          SANCTIONS
                                                           (at) Rtiles         r',
                                                                                h  0    -A
                                                                                         -   --.
                                                                                                     (b) Procedure          (a) Appear-        (a) In general
                                                           (b) Opinions        (c) Effective         (c) Separation              ance          (b) Licenses-
                                                                and orders          dates                 of f u n c -      (b) Investiga-         grants, re-
                                                           (e) Public rec-     (d) Petitions             tions                   tionn             vocations,
                                                                ords                                 (d) Declara-           (c) Siibpenas           renewals
                                                                                                         tory orders        (d) Denials
                                                                                     I




                                                                          Sec. 7                         Sec 8                           Sec. 11
                                                                        HEARINGS                       DECISIONS                      EXAMINERS
                                                                    (a) Presiding offi-            (a) Action    by rimb-          Civil-service selec-
                                                                        cers                           ord Inat tols                  tion, eonlpen4a-
                                                                   thl TT*,.-Inu nnwaeP            (b) Submittals and                 tion, and tenure
                                                                   (c) Evidence                        decisions
                                                                   (d) Record




                                                                                                        Sec. 10
                                                                                                   JUDICIAL REVIEW
                                                                                                   (a) Right of review
                                                                                                   (b) Forin and venue
                                                                                                   (c) Reviewable act
                                                                                                   (d) Interim relief
                                                                                                   (e) Scope of review
                                                              Section 1 prescribes the title, section 2 the definitions, and election 3 the effective dates
                                                           and rules of construction. In the above dlascramn, the first row of sections sets forth the
                                                           several kinds of requirements, procedures. nud limitations : utild the second rowi Includes
                                                           hearing and decision requirements where other statutes require a hearing. Section 10 on
                                                           Judicial review relates not only to decisions made after agency hearing but, in appropriate
                                                           cases, to the exercise of any other administrative power or authority.

                                                                              IV. ANALYSIS.OF PROVISIONS
                                                              The following statements respecting each provision of the bill are
                                                           designed to answer specific questions relating to language and objec-
                                                           tives. Under each section or subsection heading there appears ani
                                                           italicized synopsis of the provision, followed by one or more para-
                                                           graphs of analysis or special comment. A reading of all the italiciz"d
                                                           paragraphs will, therefore, afford a synopsis of the whole bill, which is
                                                           reproduced at length in appendix A at page 32.
                                                              SEC. 1. TftLE.-It i8 Iprovided thuat the rneasure-ria.j 6ecited a. theM
                                                           Adminitrative Procedure Act.
                                                              While a short title has been deemed preferable, it may be noted
                                                           that1 the bill actually provides for both administrative procedure s
                                                           judicial review.
                                                              Szc. 2. D 5pFINITIONs.-M defitione   1napLY to th4 remainder of the
                                                           biU. -; '           v3     7
                                                                  S. Reptu., 79-1, rol. 3-78



                                                                                                                               Defs.' MSJ App. 336
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23              Page 116 of 212 PageID 3633

         10                  ADMINIS'RA'lrIVE PRtOCEDU1RE ACT
              lFor l hie, purl)ose of 1)oth simplifying the language of later provisions
          and achieving greater precision, general terms of administrative law
          flhlf prioc(Iure are defined.
               ((a) AoENCY.- The word agencyy" is defined by excluding legislative,
          jud;ril, and territorial authorities and by including any other "author-
          it1J" whether or not within or subject to review by another agency. The
          bill is not to be construed to repeal delegatioiis of authority provided by
          law. Akxpressly exempted from the term "agency", except for the public
          i-iformoition, requirements of section 3, are (1) agencies composed oJ repre-
          .s( ntatjw.~qfJ parties or of organizations of parties and (2) defined war
          a utlh'4rwtsi in cludignq civilian authorities functioning under temporary
          oril n ((id sttahtes (4/)erativc (luring 'present lostiliti s."
              'T'he word "authority" is advisedly used as meaning whatever
          peirsois a1iL) vested vith l)powrs to act (rather than the mere form
          of agency ougiinization such as department, commission, board, or
          b)ureat) because the real authorities may be some subordinate or
          sei(ldependlent person or persons within such form of organization.
          Ini conferring administrative powers, statutes customarily do not
          refer to formal agencies (such as the Department of Agriculture)
          but, to specified peCIsohis (such as the Secretary of Agriculture).
         Boards or cOmlmiSSiOns usually possess authority which does not
          extend to hindivi(liual mreml)ers or to their subordinates.
              The bill (does not repeal delegations of authority which are duly
          ahithori/ed(l by existing law. This does not mean, however, that
         (lelegatiolls aree effective whliereo other, provisions of the bill require
         otherwise. For examl)le, the requliiemnent, that examiners in certain
         instances hear cases woul(1 supersede any existing delegations to
          prosecuting ofhicors to hear sulch cases.
              Agencies compose(l of representatives of the parties or of organi-
         zations of the parties to the disputes deteornuined by them are exempted
         becga1se such agencies as presently operated do not lend themselves
         to the a(lju(dictive plroce(lures set out in the rnemainiing sections of the
          bill. They tend to be arbitral or mediating agencies rather than
         tlriblunals.
              rTl'e exclusion of war functions and agencies, whether exercised
         by civil oI' military I)ersonnel, affords all necessary freedom of action
         for the exercise of such functions in the period of reconversion. It
         has been deemed wise to exempt such functions in view of the fact
         that, they are rarely required to be exercised upon statutory hearing,
         With which much of the bill is concerned, and the fact that they are
         rapiilly liquidating. It should be noted, however, that even war
         functions nae not exempted from, the public information requirement
         of section 3. "Present hostilities" means those connecte(l with the
         war brought on at Pearl H-Jarbor in December 1941.
              (b) PIE'SON AND PARTY.-"Personh" is defined to include specified
         form..' o-f oragaruizations other than agencies. "Party" is defined to include
         anyotnel nmrne(d, or (ld'nitte(i or seeking and entitled to be admitted, as a
         part?, in any (lf/tfley proceeding except that nothing in the subsection is
         to be construed to prevent an agency from admitting anyone as a party
         for limitedl purposes.
            The definitionn of person includes both individuals and any form of
         organization 1)ut a(lvise(lly (,excludes Federal agencies. The practice
         of agencies to admit persons as parties in proceedings "for limited
         purposes" is expressly preserved, but that exception does not authorize


                                                             Defs.' MSJ App. 337
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 117 of 212 PageID 3634

                            ADM[NISTRATIVE PROCEDURE ACT                         11l
         any agency to ignore or prejudice the rights of the true or full parties in
         ally proceediiig.
             (c) RULF AND RULE MAKING.-"RUle" is defined as any agency
         statement of general applicability designed to implement, interpret, or
         prescribe law, policy, organization, procedure, or practice requirements.
         "fRule making" means agency processfor theformulation, amendment, or
         rc.peal of -a rule and includes any prescription for the future of rates,
         11ayes, financial structures, etc., etc.
            Thel(definition of "rule" is important because it prescribes the kind
         of operation that is subject to section 4 rather than section 5. The
         specification of the activities that are' involved in rule making is
         inieluded in order to comprehend them beyond any possible question.
         'l'hey are dlofilled as rules to the extent that, whether of general or
         particular al)plicability, they formally prescribe a course of. conduct
         for the future rather than -merely pronounce existing rights or lia-
         bilities. It should be noted that rule making is exempted from some
         of the general requirements of sections 7 and 8 relating to the details
         of hearings andidclecisions.
             (d) ORDERt AND ADJUDICATION.-" Order" means the final disposition
         of any matter, other than rule making but including licensing, whether or
         not affirmative, negative, or declaratory in form. "Adjudication"
         means the agency processfor the formulation of an order.
            The term "order" is defined to exclude rules. "Licensing" is
         specifically included to remove any possible question at the outset.
         Licenses involve a pronouncement of present rights of named parties
         although they may also prescribe terms and conditions for future
         observance. It should be noted, however, that licensing is exempted
         from some of the provisions of sections 5, 7, and 8 relating to hearings
         and decisions.
            (e) LICENSE AND LICENSING.-"License" is defined to include any
         forin of required official permission such as certificate, charter, etc.
         "Licensing" is defined to include agency process respecting the grant,
         renewval, modification, denial, revocation, etc., of a license.
            This definition supplements subsection (d). Later provisions of the
         bill distinguish between initial licenses and renewals or other licensing
         proceedings. A further distinction might have been drawn between
         licenses for a term, su ch as radio licenses, and thosb of indefinite
         (lhiation, such as certificates of convenience and necessity.
            (f) SANCTION AND RELIEF.-"Sanction" is defined to include any
         agency prohibition, withholding of relief, penalty, seizure, assessment,
         requirement, restriction, etc. "Relief" is defined to include any agency
         grant, recognition, or other beneficial action.
            These definitions are mainly relevant to -section 9 on sanctions and
         poJvers and to section 10 on judicial review. The purpose--of--the
         sltibsection, is t6o definb exhaustively every possible form of legitimate
         a dininist native power or authority.
            (g) ActJENCY PROCEEDING AND ACTIoN.-"Agency proceeding" i
          lefined  to mean any agency process defined in the foregoing eubsectwne
         (c), (d), or (e). For the purpose of section 0 on judicial review, "agency
         actionn" is defined to include an agency rule, order, license, sanction,
         relief, or the eq'uivaleint or denial thereof, and failure to act.
            The term "agency proceeding". is specially defined in order to
         simplify the language of subsequent provisions and to assure that all
         forms of administrative procedure or authority are included, The


                                                          Defs.' MSJ App. 338
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                 Page 118 of 212 PageID 3635

         12                   ADMINISTRATIVE PROCEDURE ACT
         term "agency action" brings together previously defined terms in
         order to simplify the language of the judicial review provisions of
         section 10 and to assure the complete coverage of every form of agency
         power, proceeding, action, or inaction.
           SEc.
              c3. P1UBLIC INFORMATION.-FrOm the public information pro-
         risions of section 3 there are exempted matter (1) requiring secrecy in the
         public interest or (2) relating solely to the internal management of an
         agency.
               Thlie public information requirements of section 3 are in many ways
          among the most inpllortant, far-reaching, and useful provisionLs of the
          bill. For the information and protection of the public wherever lo-
          cated, these l)rovisiolns require agenicie-s to take the mystery out of
          administrative, procedure by stating it. The section has bcenrdawn
          uJp)ol the theory that administrative operations and procedures are
          public property which the general public, rather than a few specialistS
          or lobbyists, is entitled to know or to have the ready means of knowing
          with (efi nitenesqs and assurance.
               Tihe inlt.O(luctOry clause states the only general exceptions. The
          first., which excepts niatters requiring secrecy in the public interest, is
           )ecefsCnaiv but, is not t O be construeC to defeat the purpose of the remain-
          Wliglfrovr4iosls. It !oull(l inclI(de confidential operations ini anyagency,
          suchits Sflme of the aspects of the investigating or prosecuting funC-
          t ilolY Of t lie Sf'C-Ict Service or Federal Bureau of Investigation, but no
          (otrlu, ful lOns or op)eraItions in those or other agencies. Closely re-
          Iood is Hie secon(I excelpion, of matters relating solely to internal
          ,Yrfl(cV IM1,tnremtlient, which mafy not be construed to defeat other
          1)rovis)i15 of tie bill or to permit withholding of information as to
         operlhirIons whicli remaining provisions of the section or of the whole
                 rfq1ivc to be 1ul )lic or publicly available.
                i(I)     is - Lt(cr/ (IlqenC1 is required to publish in the Federal Register
          r/<; I ! ~1r((ctiwonl, (2) places of doing business with the public, (3)
          thi( I/18s o( rmle vimking and adjudication including the rules of practice
              (11(f Atf/lfdo, and (4) such. substantive rules as it may frame for the
         .pIida('c(    (!f f/me p)lblic. No person, is in any manner to be required to
         T(0ort to orga(mnizafi'on, or procedure not so punished.
               Silce the l)ill leaves wide latituldo for each agency to frame its own
         I)roced ur's, tlhi'; sit section requiring agencies to state their organi-
         zatioii and poroedure0s in the form of rules is essential for the informa-
          tion of the public. The publication must be kept up to date-.- The
         enumerate(l classes of informational rules must also be separately
         stated so that, for exalnl)le, rules of procedure will be separate from
         rules of sulbsttance, ilnt-elJ)Gretation, or policy. The effect of any one of
         thfe first three classifications of required rule making is that agencies
         must also publish their internal delegationss of authority. The sub-
         section forbi(ds secrecy of rules binding or applicable to the public, or
         of (lelegations of authority. The requirement that no one, shall "in
         any maimer" le required to resort to unpublished organization or
         proce(lure protects the ul)blic from being required to pursue remedies
         that are not generally known.
               (b) OPINIONS AND ORDTEERs.-Agencies are' required to publish or''
         orders in the adjudication of cases except those held cotfidentialfr tofl
         pursual.n.t to rule, make available to public inspection allfinal opinion's
                                                                                       g$
         cause and not cited as precedents.



                                                               Defs.' MSJ App. 339
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 119 of 212 PageID 3636

                           ADMINISTRATIVE PROCEDURE ACT                         13
             Rule making results in published material in the Federal Register
         as set forth in subsection (a), but in the case of adjudication there is
         no standard, general, and official medium of publication, Some
         agencies publish sets of some of their decisions, but otherwise the
         public is not informed as to how and where they may see decisions
         or consult precedents. Requiring each agency to formulate and
         publish a rule respecting access to their final opinions and orders will
         give the general public notice 'as to how such information may be
         secured. While the subsection does not mention "rulings"--which
         are neither rules nor orders but are general. interpretations, such as
         the opinions of agency counsel-if authoritative, they -would be
         covered by the fourth category in subsection (a) of this section.
             (C) PUBLIC RECORDS.-Except as statutes may require otherwise or
         information may be held corfdentil for good cause, matters of official
         record are to be made available to persons properly and directly concerned
         in accordance with rules to be issued by the agency.
             This provision supplements subsections (a) and (b). The require-
         ment of an agency rule on the availability of official records is inserted
         for the same purpose as in subsection (b). In many cases, the interest
         of the person seeking access to the record will be determinative.
         Agencies should classify data in order to specify what may be disclosed
         an(1 what may not; and they must in any case provide how and where
         applications for information may be made, how they will be deter-
         mined', and who will do so. Refusals of information would be subject
         to the requirements of section 6 (d).
             SinC. 4. RULE MAKING.-lThe introductory clause exempts from all of
         the requirements of section 4 any rule making so far as there are involved
          (1) military, naval, or foreign affairs functions or (2) matters relating
         to agency management or personnel or to public property, loan, grants,
         benefits, or contracts.
             'These, exceptions would not, of course, relieve any agency from
          l equirements imposed by other statutes. The phrase "foreign affairs
         functions," used here and in some other provisions of the bil, is not
         to be loosely interpreted to mnean any function extending beyond the
         bolders of the United States but only those "affairs" which so affect
         relations with other governments that, for example, public rule
           nakilng provisions would clearly provoke definitely undesirable inter-
         national consequences. The exception of matters of management or
         personnel would operate only so far as not inconsistent with other
         provisions of the bill relating to internal management or personnel.
         The exception of proprietary matters is included because the prin-
         cipal considerations1inl most such cases relate to mechanics and inter-
         pretations or policy, and it is deemed wise to encourage and facilitate
         Lhe issuance of rules by dispensing with all mandatory procedural
         i requirements. None of these exceptions, however, is to be taken as
         (encouraging agencies not to adopt voluntary public rule making pro-
         cedures where useful to the agency or beneicial to the public.          he
         exceptions merely confer a complete discretion upon agencies to decide
         what, if any, public rule- making procedures they will adopt in a given
         situation within their terms. It should be noted, moreover that the
         exceptions apply only "ta the extent" that the excepted subjects are'
         directly involved.
            (a) NOTICE.-Genera notice- of proposed rule making must, be pub-
         lished in tho Feder? Regitr aGndmawst include (1) time, pt      4,


                                                         Defs.' MSJ App. 340
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23              Page 120 of 212 PageID 3637

         14                  ADMINISTRATIVF, PROCEDURE ACT
         nature of proceedings, (2) reference to aulthotrity under which held, and
          (8) terms, substance, or issues involved. 1lowvnter, except where notice
         an(l hearing is required by some other statute, the subsection does not
         apply to rules other than tiose0 of substance or where the agency for good
         caiUtsC £vnds (and. incorpora(tes the fin ding and reasons therefor in the
         published rutle) that notice and public procedure are imipracticable,
         unnecessary, or contrary to the public interest.
             Agency notice must be stifhcienit to fairly apl)'isc interested parties
         of thle issues involved, so that they may preSent reSponlISiVe (latat 01'
         argiumilnt irelating thereto. TI ie sub)Section governs the ap)plication
         of thle public procedures required by the next subsection, since, those
         proce(lures only apply Nvlhere notice is reqluire(1 by this subsection.
         Agencies are given (liscretion to (lispenSo with notice (alnd conlse-
         q(uejtly w\rith1 ptullic proceedIillgs) inl thle, case of interpretative rules,
         general statements of policy, or rules of agency organization, pro-
         ce(lure, o' practice. TIhIiis (d0('S not mllealn, how0evel, that agen-icies
        should iiot,---wovhere, useful to thlemn or helpfuLl to the( public-undertake
         1)11)ilie p'rOcedUr'Cs ill conInection wvith, such rudle. making. The exemp-
         tio11 of situations of ernergrelley Or necessity is not an. 'escape Clause''
         ill the sense tfl):t an!yl ag(elicy has discretionn to (lisl'cogard its terms ol
         thle facts. A true ald s oliorted(l or stl)l)ortable linl(ling of necessity
        or emergency mu11st, b)e Inade and1 pu blished. ''Imlplracticab)le'' meaiis
        a situation ill Niich the (lue anl( reqcliire(l execution of the agency
         filuIctionsX wNoIl(dt 11navoi(dbly prevenlte(l by its undertaking public
        Un I c-1 1n lidmg proceed(lings. 'U nIInecessary"' means unnecessary so far
        as the )I11blic is cOl)cenl1e(l, as vOtI1d b)e the (caIse if a miniiior or merely
        t'chnlical amendment. iI whllicl the public is not, parLicultrly interested
        wvere invlvo(l. "Pliblic interest" Supplements thle terms "implrac-
        tic4tble" or "unnecessary"; it requires that plmblic rule-making pro-
        ce(lur(e"s shtill not prveent1 anageny
                                           ll         from operating and that, onl the
        other hand, luck of public interest in rule makiing warrants an agency
        to (dispense with pillJli1proce(lure. It should be noted that where
        authority belleficuiol to the public does not becomic operative until a
        rulle is issued, thle agency imay promitulgato the necessary rule immedi-
        ately, and rely upon supplemental procedures in the nature of a public
        reconsideration of thle- issued rule to satisfy the requirements of this
        sectionC. WhIcre public rule-makinig procedures are (1isperlsed with,
        the provisions of sul)sectioIns (c) and (d) of this section would never-
        theless apply.
            (b) PROC}IDURES.-After such notice, the agency must afford interested
        persons anre opportunity to participate in the rule making at least to the
        extent of sibnotting written (data, ?news, or argument; and, after consider-
        ation of such presentations, the agency must incorporate in any rules
        adopted a con cise general statement of their basis and purpose. Llowcver,
        where other statutes require rules to be made after hearings, the require-
        ments of sections 7 and 8 (relaxing to public hearings and deuixm
        thereon) apply in place of the protnisions. of this subsection.
            This subsection states, in its first sentence, the minimum require-
        ments of public rule making procedure short of statutory hearing.
        Under it agencies might in addition confer with industry advisory
        committees, consult organizations, hold informal "hearings," and the
        like. Considerations of practicality, necessity, and pul)lic interest as
        discussed in connection with subsection (a) will nAturally govern the
        agency's determination of the extant to which public proceedings


                                                             Defs.' MSJ App. 341
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 121 of 212 PageID 3638

                            ADMINISTRATIVE PROCEDURE ACT.                         '15t
        should go. Matters of great import, or those where the public sub-
        mission of facts will be either useful to the agency or a protection to
        the public, should naturally be accordle(l more elaborate public pro-
        cedures. The agency must analyze and consider all relevant matter
        presented. The required statement of the basis and purpose of rules
        issue-d should iiot only relate to the data so presented but with reason-
        able fullness e.\l)lain the actual basis and objectives of the rule.
           (c) E1'i,,crvrlvo D1,vrEs.--The required publication or service of an'y
        substantive rule must be made not less than 30 days prior to its elective
        (late except (1) as otherwise provided by the agency for good- cause found
         and published or (2) in the case of rules recognizing exemption or relieving
        restriction, interpretative rules, and statements of policy.
           This suI)section does not provide procedures alternative to notice
        auld other public procoe(lings required by the prior subs(~etions of this
        section. Nor does it supersede the provisions of subsection (d) of this
        section. Where public procedures are omitted as authorized in cer-
        tain cases, sulbsection (c) does not thereby become inoperative. It,
        will afford persons affected a reasonable tine to prepare for the effective
         late of a rule or rules or to take anry other action which tho issuance of
        rules mnay prompt. "Afile certain nomed kinds of rules are not neces-
        sarily SLiIject to the deferred effective date provided, it does not
        thereby follow that agencies are required to make such excepted types
        of rules operative with less notice or no notice but, instead, agencies
        are given discretion in those, eases to fix such future effective date as
        they may find advisable. The other exception, upon good cause found
        and published, is not an "escape clause" which may be arbitrarily
        exercised but re qtuires legitimate grounds supported in law and fact by
        the required finding. Moreover, the specification of a 30-day deferred
        effective date is not to be taken as a maximum, sincO there may be
        cases in which good administration or the convenience and necessity
        of the pcr~sons subject to the rule reasonably requires a longer period
           (4) PE'rITIONS.-EV&ry ageni         s required to accord any interested
        person the right to petitionfor the issuance, amendment, or repeal of a rule.
           This subsection applies lnot merely to effective rules existing at any
        time but to proposed or tentative rules. Where the latter are pub-
        lished, agencies should receive petitions for modification because that
        is one of the purposes of publishing proposed or tentative rules.
        Where such petitions are made, the agency must fully and promptly
        consider them, take such action as may be required, and pursuant to
        section 6 (d) notify, the petitioner in case the request is denied. The
        agency may either 'rant the petition, undertake public rule making
        proceedings as provided by subsections (a) and (b) of this fiection, or
        deny the petition. The taking or denial of action would have the
        same effect and consequences as3 the taking or denied of action where,
        under presently existing legislation, the equivalnnt of a right of
        petition is recognized in interested persons.. The mere filing ol' a
        petition does not require an agency to grant it, or to hold a hearing
        or engage in any other public rule making proceedings. The refusal
        of an agency to grant the petition or to hold rule making proceedings,
        therefore, would not per se be subject to judicial reversal,. However,
        the facts or considerations brought to the attention of an agency by
        such a petition might be such as to require the agency to act to
        prevent the rule from continuing or becoming vulnerable upon



                                                          Defs.' MSJ App. 342
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23             Page 122 of 212 PageID 3639

         16                  ADMINISTRATIVE PROCEDURE ACT
         judicial review, through declaratory jild(Igent or other procedures
         pursuant to section 10.
             SEc. 5. ADJUDICATIONs.-The tvtriou subsequent provisions of sec-
         tion 1S relating to adjudications apply only where the case is otherwise
         required by statute to be determined upon an agency hearing except that,
         even in that case, the following classes of operations are expressly not
         affected: (1) Cases subject to trial de novo in court, (2) selection or tenure
         of public officers other than examniners, (8) decisions resting on inspec-
         tions, tests, or elections, (4) military, naval, and foreign affair functions
         (6) cases in which an agency is acting for a court, and (6) the certification
         of employee representatives.
            The general limitation of this section to cases in which other statutes
         require the agency to act upon or after a hearing is important. All
         cin!ses are nevertheless sul)ject to sections 2, 3, 6, 9, 10, and 12 so far as
         those are oth erwise relevant.
            rphe numbered exceptions remove from the operation of the
         section even a(ljudications otherwise required by statute to be made
         after hearing. The first, where the adjudication is subject to a judicial
         trial de novo, is inlcludeld because whatever julcgment the agency makes
         is effective only in a prima face sense at most and the party aggrieved
         is entitled to complete judicial retrial and decision. The second,
         respecting the selection and tenure of officers other than examiners, is
         included because the selection and control of public personnel has been
         traditionally regarded as a, discretionary function which, if to be over-
         turned, should lbe done by separate legislation. The third exempts
         proceedings resting on inspections, tests, or elections because those
        methods of determination do not lend themselves to the hearing
        process. The fourth exempts military, naval, and foreign affairs func-
         tions for the same reasons that they are exempted from section 4; and,
        in any event, rarely if ever do statutes require such functions to be
        exercised upon hearing. The fifth, exempting cases in which an agency
        is acting as the agent. for a court, is included because the administrative
        operation is subject to judicial revision in toto. The sixth, exempting
        the certification of employee representatives such as the Labor Board
        operations under section 9 (c) of the National Labor Relations Act,
        is included because these determinations rest so largely upon an election
        or tile availability of an election. It should 1e noted that these excep-
        tions apply only "to the extent" that the excepted subject is involved
        anal, it may be added, only to the extent that such subjects are directly
        involved.
            (a) No'ricF.---Persons entitled to notice of an, agency hearing are to
        be duly and timely informed of (I) the time, place, and nature of the
        hearing, (2) the legal authority and jurisdiction under -which it i8 to be
        held, and (3) the matters of fact and laiv asserted. W,1here private per-
        sons are the moving parties, re.sponde0ts must givm prompt notice of
        issues controverted in' law orfact; and in other cases the agency may
        require responsive ple(ding. In. fixing the times and places for hearings
        the agency must give due regard to the convenience and necessity ol
        the parties.
            The specification of the content of notice, so far as legal authority
        and the issues are concerned, does not mean that prior to the com-
        melicement of the proceedhigs an agency must anticipate all develop-
        ments and all possible issues. But it does mean that, either by the
        formal notice or otherwise in the record, it must appear that the party


                                                            Defs.' MSJ App. 343
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23             Page 123 of 212 PageID 3640

                             ADMINISTRATIVE PROCDU1W ACT                           17,
          affected has had ample notice of the legal and factual issues with due
          tiue to examine, consider, acd prepare for them. The second
          senlt3ilce of the subsection applies in those cases whore the agency
          does nloat control the matter of notice because private persons are the
          moving parties; and in such cases the respondent parties must give
         notice oi the issues of law or fact which they controvert so that the
          moving Marty will be apprised of the issues he must sustain. The
          purpose of the provision is to simplify the issues for the benefit of
          both Vie parties and the deciding authority. The last sentence
         requiring the convenience and necessity of the Parties to be consulted
          in fixing the times and places for hearings, includes an agency party
          as well as a private party; but the agency's convenience is not to out-
         weigh that of the private parties and, while the due and required
         execution of agency functions may be said to be paramount, that con-
         sideration would be controlling only where a lack of time has been
          unavoidable or a particular place of hearing is indispensable and does
          not deprive the private parties of their fuil opportunity for a hearmig.
             (b) PROCEDuRN.-The agency i required Firt to afford parties an
         opportunity for the settlement or adjwutment of issue (where time, the
         nature of the proceeding, and -the public interest permit) followed, to te
         ej tent that islue8 are not 8o -settled, by hearing and dectosn under 8ections
         7 and 8.
            The preliminary settlement-by-consent provision of this subsection
         is of the greatest importance Such adjustments may go to the
         whole or any part of any case. The limitation of the requirement to
         cases in which "time, the nature of tbe proceeding, and the public
         interest permit" does not mean that formal proceedings, to the
         exclusion of prior opportunity for informal settlement, lie in the
         discretion of any agency irrespective of the facts, lI situation
         presented, or practical aspects of the case. It does not mean that
         agencies have an arbitrary choice, or that they may consult their
         mere preference or convenience. .It is intended to exempt only
         situations in which, for example, (1) time is unavoidably lacking, (2)'
         the nature of the proceeding is such that for example (as m some forms
         of rule making) the great number of arties or possible parties makes
         it unlikely that any adjustment could -be reached, and (3) the ad-
         ministrative function requires immediate execution in order to protect
         the tangible and demonstrable requirements of public interest.
            (C) SEPARATnON OF FuNcOToNS.-OffiCCr8 who pretide at tiwi taking
         of emdence mut make the decision or recommended decion in the Cae.
         They may not conslt wih any person or party except openly and tpen
         notice, save in the disposito of customary eparte Ars and e
         may not be made subject to the Bpergisio of prosecuting officer. T
         latter may not participate in the decision eacept as witness or counsel in
         puIblic proceedings Howeve, th :ubseeon is not to aply in dete-
         mining applications -for initl lenses or the past- reasonablene8q of
         rates; nor does it a      to t agency or members theof.
            The gist of the subsection thatno investigatingor prosecuting
         officer shall directly or indirctly in any manner irflulmce or control
         the operations othearing and deciing offers except '8 a participant
         in public pTrocediigs, and 6even:the in no- different ashionthan the
         private parties or their repr tives; Es parte matters author-
         ized by law" meas p no )requets for adjourxmeii, continti-
         anoe, filing of papers, ad so forh The exception of-: appliaton6.


                                                            Defs.' MSJ App. 344
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23            Page 124 of 212 PageID 3641

         18                  ADMINISTRATIVE PROCEDURE ACT
          for initial licenses frees from the requirements of the subsection such
          matters as the granting of certificates of convenience and necessity
          which are of indefinite duration, upon the theory that in most
          licensing cases, the original application may be much like rule making.
          The latter, of course, is not subject to any provision of section 5. The
          e~xemptioii of cases involving "the past reasonableness of rates" (if
          trialWe de, fo)o on judicial review they would be exempted in any
          event) is miade for the same reason. There are, however, some
          instances of either kind of case which tend to ble accusatory in forii
          and involve slhtarply controverted factual issues. Agencies should
          not apply the exceptioIns to such cases, because they are not to be
          inut rprete~d as prechldiing fair procedure where it is required.
              A furt her word may 1)e said as to the last exemption-of the agency
          itself or the members of the board who comprise it. Such a provision
          is required 1)y the very nature of administrative agencies, where the
         sam10e authority is responsible for both the investigation-prosecution
          ancd thlle lhearing and decision of cases. There, too, the exemption is
         not, to b)e taken as meaning that the top authority must reserve to
          itself both prosecuting and deciding functions. To be sure it is
         ultimlately responsible, for all functions committed to it, but it may
         and should confine itself to determining policy and should delegate
          tle factual sllpervisio* of investigations and initiation of cases to
         responsible su hordimate officers.
              (d) 1)DEcMIARATORY ORDERS.-Every agency is authorized in its sound
         d''scr('l?. to issue declaratory orders with the same effect as other orders.
             '11hi sl )section. does not mean that any agency empowered to issue
         orders mall1y issue declitratory orders, because it is limited by the intro-
         dtietory causes of section 5. Thus, such orders may be issued only
         wAhere the tigency is empowered by statute to hold hearings and the
         subject is tiot expressly exempted by the introductory clauses of this
         Section.
             Agencies are not required to issue declaratory orders merely because
         rel(Ituest  is made therefor. Such applications have no greater effect
         than they now have under existing comparable legislation. "Sound
         discretion," moreover, would preclude the issuance of improvident
         orders. 'IThe administrative issuance of declaratory orders would be
         governedl by the same basic principles that govern declaratory judg-
         ments in the courts.
             SFC. 6. ANCILLARY MATTERS.-71C provisions of section 6 relating to
         incidental or miscellaneous rights, powers, and procedures do not override
         contrary provisions in other parts of the bill.
             The purpose of this intioductory exception, which reads "except as
         otherwise provided in this act," is to limit, for example, the right, of
         appearance provided in subsection (a) so as not to authorize improper
         ex palrte, conferences during formal hearings and pending formal deci-
         sions under sections 7 and 8.
             (a) APPEAIANCE.-Any person compelled to appear in person before
         any agency or its representative is entitled to counsel. In other cases,
         every party may appear in person or by counsel. Sofar as the responsible
         con duct of public business permits, any interested person may appear
         before any agency or its responsible officers at any timefor the presentation
         or adjustment of any matter. Agencies are to proceed uwit reasonable
         dispatch to conclude any matter so presented, with due regard for the
         convenience and necessity of the parties. Nothiing in the subsection is to


                                                           Defs.' MSJ App. 345
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23            Page 125 of 212 PageID 3642

                            ADMINISTRATIVE PROCEDURE ACT                          19
         be taken as recognizing or denying the propriety of itonlawyers representing
         parties.
             This subsection is designed to confirm and make effective the right
         of interested persons to appear themselves or through or with counsel
         b)(eore any agency. The word "party" in the second sentence is to be
         uinderstood as meaning any person showing the requisite interest in
         tie matter, since the subsection applies in connection with the exercise
         of any agency authority whether or not formal proceedings are avail-
         able. Tcho phiraso "responisi)le officers", as used i'el o and in some other
         provisions, bothi includes all officers or employees who really determine
          natters or exercise substantial advisory functions and excludes those
         wlioso duties are merely formal or mechanical. The third sentence
         d(oes not require agencies to give notice to all who may be affected,
         but merely to receive the presentations of those who seek to make
         t lem. rThe qualifying -words in the third sentence-which read
         "so far as the responsible conduct of public business permits"-
         I)recludo the undue harassment of agencies by numerous petty appear-
         anlces by or for the sanme party in the same case; but they do not confer
         upon agencies a discretion to emasculate the subsection or preclude
         interested persons from presenting fully and before any responsible
         officer or employee their cases or proposals in full. The reference to
         "stop-order or other summary actions" emphasizes the necessity for
          m opportunity for full informal appearance where normal and formal
         I narimg and decision requirements are not applicable or are inadequate.
         '1'l'he requirement that agencies proceed "with reasonable dispatch to
         conclud(e any matter presented" is a statement of legal requirement
         that no agency shall in effect deny relief or fail to conclude a case by
         nore inaction.
            The final sentence provides that the subsection shall not be taken
         to recognize 'w deny the right of nonlawyers to be admitted to prac-
         Lice before. v agency, such as the practitioners before the Interstate
         Commerce (,oinmwnission. The use of the word "counsel" means
         lawyers. While the subsection does not deal with the matter ex-
         pressly, the committee does not believe that agencies are justified in
         laying burdensome admission requirements upon members of the bar
         in good standing before the courts. The right of agencies to pass
         upon the qualifications of nonlawyers, however, is expressly recog-
         nized and preserved in the subsection.
            (b) INVESTIGATIONs.*-Investigative proce is not to be istd or
         enforced except as authorized by law. P6r8son compelled to submit data
         or evidence are entitled to retain or, on payment of costs, to procure
         copies except that in nonpublic proceedings a vQtness may for good cause
         be limited to inspection of the official transcpt.
            This section is designed to preclude "fishing expeditions" and
         investigations beyond the jurisdiction or authority of an agency.
         It applies to any demand, whether or not a formal suibpena is actually
         issued. "Nonpublic investigatory proceedings means those of the
         grand jury kind in which evidence is taken behind closed doors.
         The limitations for good cause, to inspection of the official transcript
         is deemed necessary where evidence is taken in a case in which prose-
         cutions may be brought later and it is obviously detrimental to the
         due execution of the laws to permit copies to be circulated. In those
         cases the Witness or his counsel may be limited to inspection of the
         relevant portions of the transcript. Parties should in any case have


                                                           Defs.' MSJ App. 346
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 126 of 212 PageID 3643

         20                 ADMINISTRATIVE PROCEDUR ACT
         copies or an opportunity for inspection in order to assure that their
         evidence is correctly set forth, to refresh their memories in the case
         of stale proceeding gs, and to enable them to be advised by counsel.
         They should also have such copies whenever needed in legal or ad-
         ministrative proceedings.
            (C) SUBPiENAs.-Where agencies are by law authorized to issue sub-
         penas, partie8 may secure them upon request and upon a statement or
         shooting of general relevance and reasonable scope if the agency ruh'es so
         require. Where a party contests a subpena, the court is to inquire into
         the situation and, sofar as the subpena i found in accordance with law,
         issue an order requiring the production of the evidence under penalty ol
         contemptforfailure then to do so.
            This provision will assure private parties the same access to ;3ub-
         penas as that available to the representatives of agencies.- It will
         also prevent the issuance of improvident subpenas or action by an
         agency requiring a detailed, unnecessary, and burdensome showing of
         evidence which might fall into the hands of the, party's adversaries or
         investigators and prosecutors (who in any event should not have
         access to such papers directly or indirectly). The subsection con-
         stitutes a statutory limitation upon the issuance or enforcement of
         subpenas in excess of agency authority or jurisdiction. This does
         not mean, however, that courts should enter into a detailed examina-
         tion of facts and issues which are committed to agency authority in
         the first instance, but should, instead, inquire generally into the legal
         and factual situation and be satisfied that the agency could possibly
         find that it has jurisdiction. The subsection expressly recognizes the
         right of parties subject to administrative subpenas to contest their
         validity in the courts prior to subjection to any 'form of penalty for
         noncompliance.
            (d) DENIALS.---Prompt notice is to be given of denials of requests in
         any agency proceeding, accompanied by a simple statement of grounds.
            This subsection affords the parties in any agency proceeding, whether
         or not formal or upon hearing, tihe right to prompt action upon their
         requests, immediate notice of such action, and a statement of the
         actual grounds therefor. The latter should in any case be sufficient
         to apprise the party of the basis of the denial and any other or further
         administrative remedies or recourse he may have. A statement of
         the actual grounds need not be made "in arming a prior denial or
         where the denial is self-explanatory." However, prior denial would
         satisfy the subsection requirement only where the grounds previously
         stated remain the actual grounds and sufficiently notify the party as
         set forth above. A self-explanatory denial must meet the same test;
         that is, the request must be ini such form that its~mere denial fully
         informs the party of all he would otherwise be entitled to have
         stated.
           SEc. 7. HEARtINos,-Section 7 relating to agency hearings applied
         only where hearings are required by sections 4 or 6.
            As heretofore stated in connection with sections 4 and 5, the bill
         requires. no hearings unless other statutes contain such a requirement
         in particular cases of either rule making or adjudication. This
         section 7, therefore, is merely supplementary to sections 4 or 5 in
         the relevant cases.
            (a) PRESIDING OFFICERS.-- We hearing must be hAld either by the
         agency, a member or members of the board which comprise. it, one or


                                                         Defs.' MSJ App. 347
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23            Page 127 of 212 PageID 3644

                            ADMINISTRATIVE PROCEDURE ACr                          21
         mote examiners, or other officers specially provided for In or designated
         by other stUtutes. All pre8iditg and deciding offleers are to operate
         impartially. They may/ at any time withdraw if they deem thenmsdeve
         disqualified and, upon the filing of a proper affidavit of personal bia or
         disqualification against them, the agency is reqwied to determine the
         matter as a part of the record and decision in the case.
            This subsection provides two mutually exclusive methods of hear-
         ing-by the agency itself (or one or more of itjs members) or by sub-
         or(linate officers. A third kind of hearing ofifer recognized in this
         subsection is one specially' provided for or named in other statutes.
         Whoever presides is subject to the remaining provisions of the bill.
         They must conduct the' hearing in a strictly impartial manner, rather
         than as the representative of an investigative or prosecuting authority
         but this (loes not mean that they do not have the authority and duty-
         as a court does--to make sure that all necessary evidence is adduced
         and to keep the hearing orderly and efficientt. The provision for affi-
         davits of bias or personal disqualification requires a decision thereon
         by the agency in, and as n part of the case; it thereby becomes sub-
         ject to administrative and judicial review. That decision might be
         made upon the affidavit alone, as for example, the protest might be
         dismissed as insufficient on its face. The agency itself may hear any
         relevant argument or facts, or it may (lesignlate an examiner to do so.
         The effect which bias or disqualification shown upon the record might
         have would be determined by the ordinary rules of law and the other
         provisions of this bill. If it appeared or were discovered late, it would
         have the effect-where issues of fact or discretion were important and
         the conduct and demeanor of witnesses relevant in determining them-
         of rendering the recommended decisions or initial decisions of such
         officers invalid. This consequetico will require agencies and examiners
         themselves to take care that they do not sit where subject to. dia-
         qualification or conduct themselves in a maimer which will invalidate
         the proceedings.
            (b) HEARING PowuEs.-Presiding officers, subject to the rules of
         procedure adopted by the agency and within its powers, have auhority
         t, (1) adininidter oaths, (2) issue such subpoena as are authrized by
         lan, (O) receive evidence and rule upon offers of proof, (4) take depositione
         or cause depasitioh8 to be taken, (6) regulate. the hearing, (6) hold con-
         (erences for the settlement or simplification of the issues, (7) dispose of
         procedural requests, (8) make decisions or recommended decision under
         section 8 of the bill and (9) exercise other authority as provided by ageiny
         rule consistent vit the remainder of the bill.
            This subsection does not expand the powers of agencies. it is-
         designed to assure that the presiding officer will perform a real func-
         tion rather than serve merely as a notary or policeman. He would
         have and should independently exercise all the powers numbered in
         the subsection. The agency itself-which; must ultimately either
         decide the ease, or consider reviewing it; or hear appeals from the.
         examiner's decisionh-sould not in effset conduct hearings from behind
         the scenes where it cannot know the detailed happenings mi the hearing
         room and does not hear or see the private pArties.
            (C) EVIDENcZ.-Exept as statutes-otherVs' provide, the proponent
         ofofa
            ari ue orrrdr
                      order hmtebreoproof.
                                the'burdn ofpr<-- -Wlileany~evidemce~mavbe
                                                      ilay nc-m J
         received, a mater of polic         t arearewtire4 to proie for the
         exclusion of irreleran and undly repetitiw evidene and nwo 8oraCdio


                                                           Defs.' MSJ App. 348
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 128 of 212 PageID 3645

                            ADMINISTRATIVE PROCEDURE ACT

         may be imposed, or rlde or order be issued except as supported by relevant,
         reliable, anrd probative evidence. Any party may present his case or
         defensee by oral or documentary evi(lence, submit rebuttal evidence, and
         Condutdl reasonable cross8examination. However, in the case of rule
         making or determi'nivq applications for initial licenses, the agency may
         adopt proceduresfor the submission of evidence in written form so far as
         the interest of any party will not be prejudiced thereby.
            Thiat the pro)oponent of a ruilo or order has the burden of proof means
         riot only that theo party initiating the proceeding has the geierail
         burden of coininig forward with a prima facie case but that otier
         parties, who are prI'pOnents of some different result, also for that
         purpose have a burden to maintain. Similarly the requirement that
         rio sanction 1)e imposed or rule or order be issued except upon evidence
        of the kind specified means that the proponeonts of a denial of relief
        must sustain such denial by that kind of evidence. For example,
        Credible and credited evidence submitted bS the applicant for a
        license may not be ignored except upon the rcqujisito Iiind and quinlity
        of contrary evidence. No agency is authorized to stand rniuteandl
        arbitrarily disbelieve credible evidence. Except as applicants for a
        license or other privilege may be required to come forward wit,li a
        priina facie showing, no agency is entitled to presume that the conduct
        of any person or status of any enterprise is unlawful or impi'operI.
            The second and primary sentence of tlhe subsection is framed on the
         theory that an administrative hearing is to be cohipared w%'ith an
         equity proceeding in the court0'S. rTle mero admission of evidence is
        not to be taken as prejudicial error (tiere being no lay jury to be
        protected from improper influence) although irrelevant and unduly
        repetitious evidence is to be excluded as a matter of efficiency anid
        good practice; and no finding or conclusion may be entered except
        upon evidence which is plainly of the requisite materiality and.
        competence; that is, "relevant, reliable, and probative evidence."
        Thus while the exclusionary "rules of evidence" do not apply except
        as the agency may fs a matter of good practice simplify the. hearing
        and record by exclluding obviously improper or unnecessary evidence.
        the standards and principles of probity and reliability of evidences
        must be the same, as tliosa, prevailing in courts of law or equity in
        nonadministrative cases. There are no real rules of probity and
        reliability even in courts of lav, but there are certain standards and
        principles-usually applied tacitly and resting mainly upon common
        sense--which people engaged in the conduct of responsible affairs
        instinctively understand and act upon. They may vary with the
        circumstances and kind of case, but they exist, alnd riust be rationally
        applied. These principles, under this subsection, are to govern in
        administrative proceedings.
           The right of cross-examination extends, in a proper case, to written
        evi(lence submitted puirsuant to the last sentence of the subsection as
        well as to cases in which oral or documentary evidence is received in
        open hearing. Even in the latter case, subject to the appropriate
        safeguards, technical data may as a matter of convenience be reduced
        to writing and introduced as in courts. The written evidence pro.
        vision of the last sentence of the subsection is designed to cover situa-
        tions in which, as a matter of general rule or practice, the submission
        of the whole or substantial portions of the evidence mi a case is done
        in written form. In those situations, however, the provision limits


                                                          Defs.' MSJ App. 349
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 129 of 212 PageID 3646

                            ADMINISTRATIVE PROCEDURE ACT                         23
         the practice to specified classes of cases and, even then, only where
         and to the extent that "the interest of any party will not be prejudiced
         thereby." To the extent that cross-examination is necessary to
        bring out the truth, the party should have it. Also, an adequate
        opportunity must be provided for a party to prepare and submit
        appropriate rebuttal evidence.
            (d) RECORD.-The record of evidence taken and papers filed is excl.u
        sive for decision and, upon payment of costs, is available to the parties.
          Where decision rests on official notice of a material fact not appearing in
        the evidence of record, any party may on timely request show the contrary.
           The "official notice" mentioned relates to the administrative
        practice of taking facts as shown and true though not in the record.
        This is done by analogy to judicial notice familiar in court procedure.
        Where agencies take such notice they must so state on the record oi
        in their decisions and then afford the parties an opportunity to show
        the contrary.
           SEC. 8. DECISIONS.-Section 8 applies to cases in which a hearing is
        required to be conducted pursuant to section 7.
            Like section 7, upon which section 8 depends, this section is sup-
        plementary to sections 4 and 5 in cases in which agency action is
        required to be taken aTter hearing provided by statute and not
        otherwise excepted from the operation of sections 4 or 5.
           (a) ACTION BY StTBORDINATES.--Where the agency ha. not presided
        at the reception of the evidence, the presiding officer (or any other officer
        qualified to preside, in cases exempted from subsec. (c) of sec. S) must
        make the initial decision unless the agency-by general rle or in a
        particular case--undertakes to make the initial decision. If the pre-
        siding officer makes the initial decision, it becomes the decision of the
        agency in the absence of an appeal to the agency or review by the agency
        on its own motion. (n such appeal or review, the agency has all the
        powers it would have had in making the initial decision. If the agency
        makes the initial decision without having presided at the taking of the
        evidence, whatever officer took the evidence must first make a recommended
        decision except that, in ride making or determining applications for,
        initial licenses, (1) the agency may instead issue a tentative decision or
        any of its responsible officers may recommend a decision or (2) such
        intermediate procedure may be wholly omitted in any case in which the
        agency finds on the record that the execution of its functions imperatively
        and unavoidably 8o requires.
           This subsection requires in effect that the officer who presided shall
        make the initial decision in the case, or the agency may do 8s, but in
        the latter event the officer who presided must make a reconuended
        decision. However, the recommended decision may be supplied by
        a tentative agency decision or a proposed decision by its responsible
        officers in certain eses or, where the due and timely execution of
        agency functions will not permit such intermediate action, it may be
        omitted entirely. The parties might aee to waive such intermediate
        procedure in any case. The refeence to an appeal or review by the
        agency does not cut off any further appeals to or review by any exist-
        ing superior agency authorized to hear appeals or review decisions of
        the first agency. The agency for wbich the examiner. or other pre-
        siding officer functions miay not dispense with the recommended de-
        cision except as provided by the subsection.



                                                          Defs.' MSJ App. 350
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 130 of 212 PageID 3647
          OA             ADMINISTRATIV PROCEDURE ACT
             The provision that on agency review of initial examiners' decisions
          the agency shall have all the powers it would. have had in making the
          init ial decision does not mean that the initial examiners' decisions (or
          their recommended decisions) are without effect. They become a
          part of the record in the case. They would be of consequence, for
          example, to the extent that material facts 'in any case depend on the
          determination of credibility of witnesses as shown by their demeanor
          or conduct at the hearing. Since the examiner system is made neces-
          sary because agencies themselves cannot hear cases some device must
          be used to bridge the gap between the officials who Wiear and those who
          decide canes.
             The alternative intermediate procedure which an agency may ado t
          in rule making or determining applications for initial licenses lies in the
          discretion of the agency. In order to simplify the bill, tile exception
          which confers this discretion is broadly drawn. However, it may be
          noted that even in those cases, if issues of fact are sharply controverted
          or the case or class of cases tends to become accusatory in nature, sound
          practice would require the agency to adopt the intermediate recom-
          mended decision procedure
             (b) SUBMITrALS AND DEcIsIoNS.-Prior to each recommended or other
          decision or review the parties must be given an opportunity to submit for
          the full consideration of deciding officers (1) proposed findings and con-
          clusiom or (2) excepts to recommend decisions or' other decision
          being appealed or reviewed, and (3) supporting reasons for such findings,
          conclusions, or exceptions. AU recommended or other decisions become a
          part of the record and must include (1).findings and concluiao, as well
          as the basis therefor, upon aUl the material issues offact, law, or discretion
          presented by the record and (2) the appropriate agency action or denial.
             Ordinarily proposed findings and conclusions are submitted only to
          the officers making the initial decision, and the parties present excep-
         tions thereafter if they contest the result. However, such exceptions
         may in form or effect include proposed findings or conclusions for the
          reviewing authority to consider as a part of the exceptions. "Sup-
          porting reasons" means that briefs on the law and facts must be re-
         ceived and fully considered by every recommending, deciding, or
         reviewing officer. They must also hear such oral argument as may be
         required by law. Where the issues of fact are serious and the case
         becomes one adversary in character, the agency should provide for oral
         argument before all recommending, deciding, or reviewing officers at
         least as a matter of good practice.
            The requiremnent that the agency must state the basis for its findings
         and conclusions means that such findings and conclusions m t
         sufficiently related to the record as to advise the parties of their
         record basis. Most agencies will do so by opinions which reason and
         relate the issues of fact, law, and discretion. Statements of reasons,
         however, may be long or short as the nature of the case and the novelty
         or complexity of the issues may require.
            Findings and conclusions must include.all the relevant issue pre.
         rented by the record in the light of the law involved. They may be
         few or many. A particular conclusion 4f lawimay render certain
         issues and findings immaterial, or vice versa. Where oral tstinony
         is conflicting or subject to doubt of its credibility, *te credibility of
         -witnesses would be a necessary finding if the facts of material. It
         should also be noted that the relevant issues extend- to matters of


                                                             Defs.' MSJ App. 351
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23            Page 131 of 212 PageID 3648
                            ADMINISTRATIVE PROCEDURE ACT                           25
          administrative dis'cretion as well as of law and fact, This is important
          because agencies often determine whether they have power to act
          rather than whether their discretion should be exercised or how it
          should be exercised. Furthermore, without a disclosure of the basis
          for the exercise of, or failure to exercise discretion, the parties are
          unable to determine what other or additional facts they migit offer
          by way of rehearing or reconsideration of decisions.
             SEC. 9. SANCTIONS AND POWERS.-Section 9 relating to power and
          sanctions refers to the exercise of any power or authority by an agency.
            Unlike sections 7 and 8, this section applies in all relevant cases,
         whether or not the agency is required by statute to proceed upon hear-
         ing or in any special manner. It also applies to any power or authority
          that an agency may assume to exercise,
             (a) IN GENEiMAL.-No sanction may be imposed or substantive rule or
         order be issued except within the jurisdiction delegated to the agency and
         as authorized by law.
            This subsection embraces both substantive and procedural require-
         ments of law. It means that agencies may not undertake anything
         which statutes or other appropriate sources of authority (such as
         treaties) do not authorize them to do. Where these sources are
         specific in the authority granted, no additional authority may be
         assumed. Where these sources are general, no authority beyond the
         generality granted may be exercised. In particular, agencies may
         not impose sanctions which have not been specifically or generally
         provided for them to impose. Thus, an agency which is authorized
         only to issue cease-and-desist orders may not set up a licensing system;
         and conversely a licensing authority may not assume to issue desist
         orders. A e-making author ty may not undertake to adjudicate
         cases, and vice versa. Of course some statutes confer upon the same
         agency authority to exercise more than one of these forms of regula-
         tion. An agency authorized to relate trade practices may not
         regulate banking, and so On. Similarly, no agency may undertake
         directly or indirectly to exercise the functions of some other agency.
        The subsection confines each agency to the jurisdiction delegated to
         it Iy law.
             () LIcENsEs.-Agencie are required, with due regard for te rights
         or privileges of all the interested parties or persons adversely affected,
        to proceed with reasonable d atch to conclude and decide proceeding
         on application for licenses. They are not to witdraw a licee toil      hwi
        first iving the licenee notice in writis and atd o~pportuIty to demon-
         strate or achiee compliance with      ? all layd requirements, ezcptm ir
        cases of pilfulness        or those in whichpublic iealth, interest, or 8sfedy
        requires othetwise. In buiine8sse of a continuing nature no license
        expires   until timely applications for new licenses or renewalare detwr-
        mined by the agency.
            This section operates all cases whether or not hearing is required.
        The requirement of dispat&, means that agencies must. proceed as
        rapidly as is feasible and practicable, rather than at their own con-
        venience, Undue delays subject tocorrtion by mandatory
        injunction pursuant to section 10i. The exceptions to the second
        sentence, regarding r'ions,              aply only where tih demonstrable
        facts fully sad fairly warrant the application of the excePions
        Willfulness must be rnafest. The same is true of epublo:-halt,
        interest, or fety." The standard of "public 0                        interest'
                S. epta., 70-i, vol. 8-79



                                                           Defs.' MSJ App. 352
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 132 of 212 PageID 3649

         26                 ADMINISTRATIVE PROCEDURE ACT
         means a situation requiring immediate action irrespective of the
         equities or injuries to the licenee, but the term does not confer upon
         agencies an arbitrary discretion to ignore the req uirement of notice
         and an opportullity to demonstrate compliance. However, this
         limitation (o1s0 not apply to temporary permits or temporary licenses.
            SEC. 10. JUDICIAL ItvnmW.-Section 10 on judicial review does not
         apply in any situation so far as there are involved matters with respect to
         which statutes preclude juicial reie'w or agency action is by law com-
         mitted to agency discretion.
            Very rarely (to statutes withhold judicial review. It has never
         been the policy of Congress to prevent the administration of its own
         statutes from being judicially confined to the scope of authority
         granted or to the objectives specified. Its policy could not be other-
         wise, for in such a case statutes would in effect be blank checks drawn
         to the credit of some administrative officer or board.
           The basic exception of matters committed to agency discretion
         would appTly eveniAf not stated at the outset. If, for example, statutes
         are drawn in such broad terms that in a given case there is no law
         to apply, courts of course have no statutory question to review.
         That situation cannot be remedied by an administrative procedure
         act but must be treated by the revision of statutes conferring admin-
         istrative powers. However, where statutory standards, 'definitions,
         or other grants of power deny or require action in given situations or
         confine an agency within limits as required by the Constitution, then
         the determination of the facts does not lie in agency discretion but
         must be supportedby either the administrative or judicial record.
            (a) RIGHi'iT OF REVIEW.--Any prison suffering legal wrong became of
        any agency action, or adversely affected within the meaning of any statute,
        is entitled to judicial review).
           This subsection confers a right of review upon any person adversely
        affected in fact by agency action or aggrieved within the meaning of
        any statute. Trlle phrase "legal wrong" means such a wrong as is
        specified in subsection (e) of this section. It means that something
        more than mere adverse personal effect must be shown-that is, that
        the adverse effect m11ust be an illegal effect. The law somade relevant
        is notjust constitutional law but any and all applicable law.
           (b) FORM AND VENUE OF ACTION.-The techtncalform-of proceeding
        for judicial review is any special proceeding provided by statute or, in
        the absence or inadequacy thereof, any releantform of legal action (such
        as those for declaratory judgments or injunctions) in 'any court of compe-
        tent jurisdiction. Moreover, agency action is also made subject to judicial
        review in ainy civil or criminal proceeding for enforcement except to the
        extent that prior, adequate, and exclusive opportunity for such reviewwi
        provided by law.
           The first sentence of this subsection is an express statutory recog-
        nition of the so-called common-law actions as being appropriate and
        authorized means of judicial review, operative whenever special forms
        of judicial review are lacking orinsuficient. The declaratory judg-
        ment procedure, for example, may be operative before statutory-
        forms of review are available; and ina proper case it may beutilized
        to determine the validity or application of agency action. The ox-
        presonR special statutory review" means notOnly speci:1 review
        proceedings wholly created by statute, but so-called common-law
        forms referred to and adopted by statute as the appropriate mqod of.


                                                          Defs.' MSJ App. 353
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 133 of 212 PageID 3650
                           ADMINISTRATIVE PROCEDURE ACT                        27
         review. The exception from "prior, adequate, and exclusive * * *
         review" in the second sentence is operative only where statutes,
         either expressly or as they are interpreted, require parties ti resort to
           orome special statutory form of judicial review which is prior in time
         a111d adequate to the case.
             (C) REVIEWABLE Acts.-Agency action made reviewable specially
         byl statute or final agency action for which there is no other adquate
         judicial remedy is subject to judicil review. In addition, preliminary
         or piocedlu(ral matters not directly subject to review are reviewable upon
         the review of final actions. Except as statutes may expressly require
         otherwise, agency action is final whether or not there has been presented
         o1' determined any application for a declaratory order, for any form oJ
         reconsideration, or (unless the agency otherwise requires by rule) for an
         appeal   to superior agency authority.
             "Final" action includes any effective agency action for which
         there is no other adequate remedy in any court. "Reconsideration"
         includes reopening, rehearing, etc.
             Tie last, clause, permitting agencies to require by rule that an
         aft)Ical be taken to superior Agency authority before judicial review
         may be sought, is designed to implement the provisions of section
         8 (a). Pursuant to that subsection an agency may permit an exam-
         incr to make the initial decision in a case, which becomes the agency's
         (I.C ision in the absence of an appeal to or review by the agency. If
         there is such review or appeal the examiner's initial decision becomes
         inoperative until the agency Determines the matter. For that reason
         this subsection permits an agency also to require by rule that, if any
         plarty is not satisfied with the initial decision of a subordinate hearing
         officer, the party must first appeal to the Ag.ency (the decisioxi mean-
         while being inoperative) before resorting to the courts. In no case
         may appeal to "superior agency authority" be required by rule unle's
         the administrative decision meanwhile is 'inoperative, because othr-
         wise the effect of such a requirement would be to subject the party to
         the agency action and to repetitious administrative process without
         recourse. There is a fundamental inconsistency in requiring a person
         to continue "exhausting" administrative processes after administra-
         tive action has become, and while it remains, effective.
             (d) INTERIm RELIST.-Pending judicial review any agency may posat
         pone the effective date of its action. Upon conditions and as may be
         necessary to prevent irreparable injury, any revtewongCurt may polt-
         pone the effective dae of any agency action or preserve the status? No
         pending conclusion of review proceedins.g
             This section permits either agencies or courts, if the proper 3Woig
         be made, to maintain, the status quo; While it would not permit a
         court to grant an initial license, it provides inteimediat. judicial
         relief for every other situation in order to make judicial review effec-
         tive. The authority granted is equitable and should be used by both
         agencies and courts to prevent irreparable injury or affordparti es
         adequate judicial remedy.
             (e) SCOPE OF REvI w.- ielg 'courts are required to deci al
         rdevant questions oflau, initrpketcosrei064 1tonl and t8so i iOrne
         and determine t4e meani o app&ii ofany, ae a - TV
         must (A) Udomr.etion      urdawullywuthkdddor un4s0adeednd
         (B) hold uhztvi~dany action, finding, for c lud      i            : b (l)
         arbitrary, (2), t to the             t       (3) contra tuteoor ator
         of dury gA (")      (4)ih b ao Afp d ujed. 1,

                                                         Defs.' MSJ App. 354
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 134 of 212 PageID 3651
        28                     ADMINISTRATIVE PROCEDURE AX
        unsup ported by substantial evidence upon the administrative record where
        the agency authorized by statute to hold hearings subject to sections 7
        and 8, or (6) unwarranted by the facts far as the latter are subject to
                                                 so




        trial de novo. In making these determinations the court is to consider the
        whole record or such parts as the parties may cite, and due account must
         be taken of the rule of prejudicial error.
            This subsection provides that questions of law are for courts rather
         Lhmn agencies to decide ilt the last analysis and it also lists the several
        categories of questions of law. It expressly recognizes the right of
        properly interested    parties    compel agencies
                                         to                 to     where they im-
                                                                 act



        provi(Iently  refuse   to



                                  act. "Finding" and "conclusion" also mean
        failure
               to   find


                          orconclude as the law and the record may require.
         "Short of statutory right" means that agencies are not authorized to
        givepartial relief where a party demonstrates his right to the whole.
         "Without observance of procdtllire required by law" means not only
        the procedures required by this bill but any other procedures the law
        may require. "Substantial evidence" means evidence which on the
        whole record is clearly substantial, sufficient to support a finding or
        conclusionunder section 7 (c), and material to the issues.
           The sixth category, respectihig the establishment of facts upon trial
        le novo, wouldrequire the reviewing court to determine the facts
        in any case of adjudication not subject to sections 7 and 8. It would
        alsorequire the judicial deternmination of facts in connection with
        rule making or any other conceivable. form of agency action to the
        extent that the facts were relevant to any pertinent issues of law
        presented. For example, statutes providing for "reparation orders",
        in which agencies  (leterline  damages an(I award money judgments,
        usually state that thenioney orders issued are merely prima facie
        ev(ldence in the courts and the parties subject to them are permitted
        to intro(luce evi(lence in thecourt in which the enforcement action
        is pending. In other cascs, the test is whether there has been a
        statutory administrative hearing of the facts which is adequate and
        exclusive for purposes of review. Thus, where adjudications such
        its tax assessments are not made upon iani administrative hearing and
        record, contests may involve a trial of the facts in the Tax Court or
        the United Statesdistrictt courts. Where a(lm ioistrative agencies
        deny parties money to which theytire entitled by statute. or rule, the
        claimants ay sue as for any other claim and in so doing try outthe
        facts inthe(0ourt of Claims or United States district courts as the
        case mayI)e. Where a court enforces or applies an adi-ninistrative
        rule, the party to whom it is applied may offer evidence and show
        the facts upon whichhe bases a contentionthatihe is not subject
        to the terms of the rule. Where for example an affected party claims
        in a judicial proceeding that a ruie issued without an administrative
        hearing (and not required to be issmied after such hearing) is invalid,
        lie may show the facts upon which   he predicates such invalidity.
           The requirement of review upon "th e whole record" means        tlt
        courts may not look only to the case presented by one party,           since
        other evidence may weaken or even indisputably destroy that case.
        The requirement that account shall be taken "of the rule of >
        error" means that aprocedural                                   prejudice,
                                             omission which has been cured b7
                                                                                   i
        affording the party the procedure to which he was originally entitled
        is not a reversible error.
           SEC. 11. EXAMINuRs.-kSubjet to the civil-serie and other 14ws not
         nconsistenn withfil i, agencies are required to appoint
                                                              8uhcexaminer

                                                          Defs.' MSJ App. 355
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23            Page 135 of 212 PageID 3652
                            ADMINISTRATIVE PROCEDURE ACT                           on
        as mays be neessaryfo1r proceedings under sections 7 and 8, who are to be
        assigned to cases in rotation 8ofar as pradicable and to perform no incon-
        sistent duties. They are removable onlytor good cause determined by the
        Civil Service Commisston after opporunity or hearing and upon the rec-
        ord thereof. They are to receive compensation prescribed by the Commit-
        sion independently of agency recommendations or rings. One agency
        may, with the consent of another and upon selection by the Commission,
        borrow examinersfrom another. The Commission is given the necessary
        powers to operate under this section.
            That examiniers be "qualified and competent" requires the Civil
        Service Commission to fx appropriate qualifications and the agencies
        to seek fit persons. In view of the tenure and compensation require-
        ments of the section, designed to make examiners largely independent,
        self-interest and due concern for the proper performance of public
        functions will inevitably move agencies to secure the highest type of
        examiners.
            The purpose of this section is to render examiners independent and
        secure in their tenure and compensation. The section thus takes' a
        different ground than the present situation, in which examiners are
        mere employees of an agency, and other proposals for a completely
        separate" examiners' pool" from which agencies might draw for hearing
        officers. Recognizing that the entire tradition of the Civil Service
        Commission is directed toward security of tenure, it seems wise to
        put that tradition to use in the present case. However, additional
        powers are conferred upon the Commission. It must afford any ex-
        aminer an opportunity for a hearing before acceding to an agency
        request for removal, and even then its action would be subject to
        judicial review. The hearing and decision would be made under
        sections 7 and 8 of this bill. The requirement of assignment of ex-
        amiiner "in rotation" prevents an agency from disfavoring an ex-
        aminer by rendering him inactive.
            In. the matter of examiners compensation the section adds geatly
        to the Commission's powers and function. IX must prescribe and
        adjust examiners' salaries, indepeindently of agency ratings and recom-
        mend.dations. The stated inapplicability of specified sections of the
        Classification Act carries into effect that authority. The Commission
        would exercise its powers by classifying examiners' positions and, upon
        customary examination through its agents, shift examiners to superior
        classifications or higher 'grades as their experience and duties may
        require. The Commission might consult the agency, as it now does
        iil setting up positions or reclassifying positions, but it would act upon
        its own responsibility and with the objects of the bill in mind.
            SEC. 12. CONSTRUCTION AND EFFECT.-Nothing in the bill is to
        diminish constitutional rights or limit or repeat additional requirements
        of law. Requirements of evidence and procedure are to apply equally to
        agencies and private persons except as otherwise provided by law. The
        unconstitutionality ot any portion or application of the bill i8 not to affect
        other portions or applications. Agencies are granted all authority
        necessary to comply with the bill. Subsequent legislation is not to modify
        the bill except as it may do so expre8s8Fy. Ihe bill would become law
        three months after its approval except tha sections 7 and* 8 take effedcix
        months after approval, the requirements 0/ section 11 become effective a
        year after approval, and no requirement i8 mandatory as to any agency
        proceeding initiated prior to the effective dae of such requirement


                                                           Defs.' MSJ App. 356
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 136 of 212 PageID 3653
         on                ADMINISTRATIVE PROCEDURE ACT
            The word "initiated" in the final clause of the section means a pro-
         ceeding formally begun as l)y the issuance of a complaint by the
         agency (irrespective of prior charges or investigations) or of notice of
         a rule-makinrg hearing. As to new cases, the effective dates provided
         in section 12 are deferred longer so far as sections 7 and 8 are con-
         corned in order to afford agencies ample time to prepare and make any
         adjustments required in their procedures. The selection of examiners
         under section 11 is deferred for a year in order to permit present mili-
         tary service personnel an opportunity to qualify for these positions.
                                V. GENERAL COMMENTS
            The bill is (l(signecI to operate as a whole and, as previously stated,
         its provisions are interrelated. At the same time, however, there &re
         certain provisions which touch on subjects long regarded as of the
         highest importance. On those subjects, such as tile separation of
         examiners from the agencies they serve, there has been a wide diver-
        gence of views. The committee has inl such cases taken the course
         which it believes will suffice without being excessive. Moreover,
        ainendatory or supplementary legislation can supply any deficiency
         which experience discloses in those cases. The committee believes that
        special note, should be made of the following situations:
            The exemption of rule making and determinling initial applications
         for licenses fromprovisions of sections 5 (c.), 7 (c), and 8 (a) may
         require change if, in practice, it develops that they are too broad.
        Elarlior in this report, in commenting upon some of those provisions
         the committee has expressed its reasons for the language used and
        has stated that, where cases present sharply contested issues of fact,
        agencies should not as a matter of good practice take advantage of
        the exemptions.
            Should the 1)reservatioIl in section 7 (a) of the "conduct of specified
        clxsses of proceedings in whole or part by or before boards or other
        officers specially provided for by or designated pursuant to statute"
        jprove to be a loot)hole for avoidance of the examiner system in any
        real sense, corrective legislation would be necessary. That provision
        is not intended to permit agencies to avoid the use of examiners but
        to preserve special statutory types of hearing officers who contribute
        something inore than examiners could contribute and at the same time
        assure the parties fair and impartial procedure.
            'T'he basic provision respecting evidence iil section 7 (c)-requiring
        that ally agency action must be supported by plainly "relevant,
        reliable, and probative evidence"-wiN require full compliance by
        agencies and diligent enforcement by reviewing courts. Should
        that language prove insufficient to fix and maintain the standards of
        proof, supplemental legislation will become necessary.
           Thle "substantial evidence" rule set forth in section 10 (e) is exceed-
        ingly important. As a matter of language, substantial evidence
        would seem to be an adequate expression of law. The difficulty
        comes about in the practice of agencies to rely upon (snd of courts to
        tacitly approve) something less-to rely upon suspicion, surmise
        implications, or plainly incredible evidence. It will be the duty oi
        the courts to determine in the final analysis and in the exercise of
        their independent judgment, whether on the whole record the evi-
        dence in a given instance is sufficiently substantial to support
        finding, conclusion, or other agency action as a matter of law. In


                                                         Defs.' MSJ App. 357
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23        Page 137 of 212 PageID 3654
                          -ADMINISTRATIVE PROCEDURE ACT                      SI
        the first instance, however it will be the function of the agency to
        determine the sufficiency of the evidence upon which it acts-and the
        proper performance of its public duties will require it to undertake
        this inquiry in a careful and dispassionate manner. Should these
        objectives of the bill as worded fail, supplemental legislation will be
        re uired.
           the foregoing are by no means all the provisions which Wil require
        vigilant attention to assure their proper operation. Almost any pro-
        vision of the bill, if wrongly interpreted or minimized, may present
        occasion for supplemental legislation. On the other hand, should it
        appear at any time that the requirements result in some undue
        impairment of a particular administrative function, appropriate
        amendments or exceptions may be in order.
           INTERPRETATION AND ENFORCEMENT.-EXcept in a few respects,
        this is not a measure conferring administrative powers but is one
        laying'  down definitions and stating limitations. These definitions
        and limitations'must, to be sure, be interpreted and applied by agencies
        affected by them in the first instance. But the enforcement of the
        bill, by the independent judicial interpretation and application of its
        terms, is a function which is clearly conferred upon the courting the
        fnal aalysis.
           It will thus be the duty of reviewing courts to prevent avoidance
        of the requirements of the bill by any manner or form of indirection,
        and to determine the meaning of the words and phrases used. For
        example, in several provisions the expression "good cause" is used.
        The cause so specified must be interpreted by the context' of the pro-
        vision in which it is found and the purpose of the entire section and
        bill. Cause found must be real and demonstrable. If the agency is
        proceeding upon a statutory hearing and record, the cause will appear
        there; otherwise it must be such that the agency may show the facts
        and considerations warranting the finding in any proceeding in which
        the finding is challenged. The same would be true in the case of
        findings othor than of good cause, required in the, bill. As has been
        said, these findings must in the first instance be made by the agency
        concerned but, in the final analysis their propriety in law and on the
        facts must be sustainable upon inquiry by a-reviewing court.
           Nevertheless, in the nature of things, for most practical purposes
        it is to the agencies that the Congress and the people must look for
        fair administration of the laws and compliance with this bill. Judicial
        review is of utmost importance, but it can be operative in relatively
        few cases because of the cost and general hazards of litigation. It s
        indispensable since its mere existence generally precludes the arbi-
        trary,  exercise of powers or assumption of powers not granted. Yet,
        in the vast majority of cases the agency concerned usually speaks the
        first and last word. For that reason the agencies must make the
        first, primary, and most far-reaching effort to comply with the terms
        and the spirit of this bill.
           It is the view of the committee that this bill is not an indictment
        of administrative agencies -or administrative processes. The corm-
        niittee takes no position one way or the other. on these actions.
        By enacting this bill, the Coress-expr ing the wil of the
        people-wilL be laying down for the' guidance of all branches of the
        Government an.d private interests'in the country a policy respecting
        the minim~um'requirements of fair administrative procedure.
           The committee recommends that the bill a reported be enacted.


                                                       Defs.' MSJ App. 358
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                         Page 138 of 212 PageID 3655




                                           APPENDIXES

                                               APPENDIX A
         That this Act may be cited as the "Administrative Procedurs Act".
                                             DxFIruTioNs
            Sxc. B. As used-in this Act-                                                     or subject
            (a) AaGNor.-"Agency" means each authority (whether or not within than                  Con-
         to review by another agency) of the Government of the United States other District           of
         gress, the courts, or the governments ofbe the possessions, Territories,. or the
         Columbia. Nothing in this Act shall construed to repeal delegations of authority             as
         provided by law. Except as to the requirements of section 3, there shallofbetheexcludedparties
         from the operation of this Act (1) agencies     composed of representatives
                                                                                              by them,
         or of representatives of organizations of the parties to the disputes determined exercised
         (2) courts martial and military commissions, (8) military or naval authority
         in the field in time of war or in occupied territory, or (4) functions which by law expire
                                                                                              or before
         on the termination of present hostilities, within any fixed period thereafter, Training
         July 1, 1947, and the functions conferred by the following statutes: Selective Act of
         andService Act of 1940; Contract Settlement Act of 1944; Surplus Property
           1b9y  PERSON AND PARTY.--"Person" includes individuals, partnerships corpo-
         rations, associations, or public or private organizations of any characterasother         than
         agencies. "Party" includes any person or agency named or admittedin a agency            party,
         or properly seeking and entitled as of right to be admitted as a party,           any
         proceeding; bit nothing herein shallte construed to prevent an agency from admitting
         ant person or agency as a party for limited purposes.
            (C) RULE AND RULE MAKING.-"R le" means the whole or any part of any agency              law
         statement of general applicability designed to implement, interpret, or prescribe any
         or policy or to describe the organization, procedure, or practice requirements of
         agency. "Rule making" means agency process for the formulation,               amendment, or
         repeat of a rule and includes the approval       or prescription for the future of rates,
         wages, corporate or financial structures or reorganizations thereof, prices, facilities,
         appliances, services, or allowances, therefor, or of valuations, costs, or accounting,
         or practices bearing upon any pf the foregoing.
            (d) ORDER AND ADJUDIOATION.- Order means the whole or any part of the
         final disposition (whether affirmative negative, or declaratory in form) of an ication'agency
         in any matter other than rule making but including licensing. "Adju
         means agency process for the formulation of an order.
            (e) LICo'NSE AND LIOzNSINO.-"License" includes the whole or part of any
         agency permit, certificate, approval, registration, charter, membership, statutory
         exemption, or other form of pertnission. ' Licensing" includes agency process respect-
         ing the grant, renewal, denial, revocation, suspension, annulment, withdrawal, limita-
         tion amendment, modification, or conditioning of a license.           or part of any agency
            (j SvBAcsroT AND RELIEP.--"Sanction" includes the whole      affecting the freedom of any
         (1) prohibitions requirement, limitation, or other condition
         person; (2) withholding of relief; (3) imposition        of any form of penalty or fine;
         (4) destruction, taking, seizure, or withholding of property; (5) assessment of damages,
         reimbursement, restitution, compensation costs, charges, or fees; (8) requirement,
                                                                                          or restrictive
         revocation, or suspension of a license; or () taking of other compulsory
         action. "Relief" includes the whole or part of any agency (1) grant of money, assist-
         ance, license, authority, exemption, exception, privilege, or remedy; (2) recognition
         of any claim right, immunity, privilege, exemption, or exception; or (8) taking of any
         other action beneficial to any person.                                    means any agency
            (g) AoENoY PROCEEDINO AND ACTION -"Aagencythisproceeding"  section. For the purposes of
         process as defined   in subsections (c), (d), and (e) of
         section 10, " agency action" includes the whole or part of every agency rule, ordr,
         license, sanction, relief, or TV equivalent or denial thereof, or failure to act.
                  82


                                                                       Defs.' MSJ App. 359
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                         Page 139 of 212 PageID 3656

                                    ADMINISTRATIVE PROCEDURE ACT                                  33
                                             PUBLIC INFORMATION

            SEo.S.           to the extent that there is involved (1) any function of the United
                   FExceptsecrecy
         States requiring           in the public interest or (I) any matter relating solely to the
         internal management of an agency-
         FederalRriJs.-Every
            (a)                    agency shall separately state and currently publish in the
                  Register (1) descriptions of its central and field organization; (5) h estab-
         lished places and methods whereby the public may secure information or make 1b-
         mittals or requests; (3) statementsof the general course and method by which its
         rule making and adjudicating functions are channeled and determined, including the
         nature and requirements of all formal or informal procedures available asWellas
                and instructions as to the scope and contents of all papers reports, or examina-
         forms and
         tions;      (4)substdntive rules adopted as authorized by law anddtatementJ. of general
                 or interpretations formulated and adopted by the agency for the guidanceoJ
         policy
         the public. No person shall in any manner be required to resort to organization or.
         procedure not80 published.
            (b) OPINIONS ANDoRnERs.-Every           agency shall publish or, in accordancewith
         published rule, make    available to public inspection all final opinions or orders in 'the
         adjudication of cases except those required for good cause to be heldconfidential and
         not cited as precedents.
           (C) PUBLIo
         record
                         RECORDs.-Save as otherwise required by statute, matters of official
                shall in accordance with published rule be made available to persons properly
         and directly          eA xept in ormation held confidential for good cause found.
                       concer;zcd
                                               RULE MAKING
            SCo, function            extent that there is involved (1) any military, naval, or foreign
                  4. Except tothetheUnited
         affairs          of                States or (2) any matter relating to agency management
         orpersonnel or to public property, loans, grants, benefits, or contracts
            (a) NoTICE.-General notice of proposed rule making shall be published in the
         Federal Registcr and shall include (1) a statement of the time, place, and nature
         public ruleandmaking proceedings; (2) reference to the authority under which the rule Ss
                                                                                                   of.
         proposed;         (3) either the terms or substance of the proposed rule or a description of
         the subjects and issues involved. Except where notice or hearing is required by
         statute, this subsection shall not apply to interpretative rules, general statementos
         policy, rules of agency organization, procedure, or practice, or in any situation in
         which the agency for good cause finds (and incorporates the finding and a brief state-
         ment of the reasons therefor in the rules, issued) that notice and public procedure
         thereon are impracticable unnecessary, or contrary to the public interest.
            (b) PtooaDuaRsz.-Ater          notice required by this section, the apenc;   shall afford
         interested  persons  an opportunity to participate in the rule making throughsubmission
         of written data, views, or argument with or without opportunity to present the same
         orally in any manner; and, after consideration of ail relevant matter presented, the
         agency   shall incorporate in any rules adopted a concise general statment of their
         basis and purpose. Where rules are required by law to be made upon the record after
         opportunity for or upon an agency hearing, the requirements of sections 7 and 8 shall
         apply in place of the provisions of this subsection.
            (c) Ewxorxzo
         rule (other
                                DArzs.- The required publication or service of a sbstantiv
                      than one granting or recognizin exemption or relieving restriction or inter-
         pretative  rules and statements of policy) shall be made not less than thirty days prior
         to the effective date thereof except as otherwise provided by the agency upon good cause
         found and published with the rule.
            (d) PmrivioNs.-Every agency shall accord any interested person the right to peition
         for the issuance, amendment, or repeal of a rule.
                                             AiVUDIOArION
         record
                  6. Inopportunity
            Szo. after                of adjudication
                           every case for                required by statute to be determined on the
                                           an agency hearing, except to the extent that ther is in-
                 (1) any
         volvedcourt;       matter subject to a subsequent trial of the law and the facts de nova ini
         any           (2) thc section or tenure of an officer or emploe of the United Stat
         decisions rest solely on inspections test, elections,
                                                                     Il;
         other than examiners appointed pursuant orto section (4)(8) proceedingsof int
                                                                               conduct military,
                                                                                                -which
         naval, or forcin affairs functions: (') cases in which an agency is acting as an agent
         for a court; and () the certification of employee representatives-
            (a) Norio.-Perons           entitled to *iotice of an     c airing shall andbe tirnelp in-
         formed   of (1) time, place,
                          the               and  nature  thereof; () the legal authoity     jurtsdic'.
         tien under which th hearing tobehed; and () th m r offact and law asserted.
                                        i'

                                                                      Defs.' MSJ App. 360
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                       Page 140 of 212 PageID 3657

         34                      ADMINISTRATIVE PROCEDURE ACT
          In instances in which private persons are the moving paTtiCs, other parties to the pro.
          ceeding shall give prompt notice of issues controverted in fact or law; and in other
          instances agencies may by rule require responsive pleading, In fixing the times and
          places for hearings, due regard shall be had for the convenience and necessity of tM
          parties or their representative.
              (b) PRoCEDrRP.-'1'he agency shall afford all interested parties opportunity for
          (1) the submission and consideration of facts, argument, offers of settlement, or
          proposals of adjustment where time, the nature of the proceeding, and the public inter-
          eCt permit, ad (e) to the extent that the parties are unable so to determine any contro-
          versy by consent, hearing -and decision upon notice and in conformity with sections 7
          and 8.
              (C) SEPARATION OP irUNOTIONs.-The same officers who preside at the reception of
          evidence pursuant to section 7 shall make the recommended decision or initial decision
         required by section 8 except where such officers become unavailable to the agency.
         Savesuchto the extent required for the disposition of ex parte matters as authorized by law,
         no          ojcer shall consult any person or party on any fact in issue unless upon
         notice and opportunity for all parties to participate; nor shall such officer be responsible
         to or subject to the supervision or direction of any officer, employee, or agent engaged
         in the performance of investigative or prosecutingfunctionsfor any agency. No officer,
         employee, or agent engaged in the performance of investigative or prosecuting functions
         for any agency in any case shall in that or a factually related case, participate or
         advise in the decision, recommended decision, or agency review pursuant to section 8
         except as witness or counsel in public proceedings. This subsection shall not apply
         in determining applications for initial licenses or the past reasonableness of rates;
         nor shall it be applicable in any manner to the agency or any member or members of the
         body comprising the agency.
             (d) DZCLARATORY ORDEE.-The agency is authorized in its sound discretion, with
         like effect as in the case of other orders, to issue a declaratory order to terminate a
         controversy or remove uncertainty.
                                             ANCILLARr MATTZES
            Szo. 6. Except as otherwise provided in this Act-
             (a) APPEARANC.-Any person compelled toappear in person before any agency
         or representative thereof shall be accorded the right      to be accompanied, represented,
         and advised by counsel, or if permitted by the agency, by other qualified representative.
         Every party shall be accorded the right to appear in person or by or with counsel or
         other duly quialftfied representative in any agency proceeding. So far as the respon-
         sible conduct of public business permits, any interested person may appear before
         any agency or its responsible oqlcers or employees for the presentation, adjustment,
         or determination of any issue, request, or controversy in any proceeding or in con-
        nection with any agency function, including stop-order or other summary actions.
         Every agency shall proceed with reasonable dispatch to conclude any matter presented
        to it except that due regard shall be had for the convenience and necessity of the parties
        or their representatives. Nothing herein shall be construed either to grant or to deny
        to any person who it not a lawyer the right to appear for or represent others before any
         agency or in any agency proceeding.
            (b) INVEBTIOATIONs.-No process, requirement of a report, inspection, or other
         investigative act or demand shall be issued; made, or enforced in any manner or for
        any purpose except as authorized by law. Every person compelled to submit data
        or evidence shall be entitled to retain or, on payment of lawfully prescribed costs,
        procure a copy or transcript thereof except that in a nonpublic investigatory proceeding
        the witness may for good cause be limited to inspection of the official transcript of his
        testimony.
            (C) SUBPr;NAr.-Agency subpenas authorized by law shall be issued to any party
        upon request and, as may be required by rules of procedure, upon a statement or
        shounng of general relevance and reasonable scope of the evtience sought. Upon
        contest the cv;rt shall sustain any such subpena or similar process or demand to She
        extent that it is found to be in accordance with law and, in any proceeding for enforce-
        ment, shall issue an order requiring the appearance of the witness or the production
        of the evidence or data under penalty of punishment for contempt in case of contuma-
        ciou8 failure to do so.
            (d) DENIAL8.-Prompt notice shall be given of the denial in whole or in part of
        any written application, petition, or other request of any interested person made in
        connection with any agency proceeding. Except in affirming a prior denial or where
        the denial is self-explanatory, such notice shall be accompanied by it ample statement
        of grounds.



                                                                     Defs.' MSJ App. 361
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                        Page 141 of 212 PageID 3658

                                 ADMINISTRATM PROCEDURE AM
                                                  HzAzRIGS
             Szc. 7. In hearings which section 4 or 6 requires to be conducted purmsant to this
          section-
              (a) PREsiDING OFIIOZRs,-There shall preside at the taking of evidence (1) the
          agency, (2) one or more member. of the body which comprise the agency, or (3) oni or
          more examiners appointed as provided in this Act; but nothing in this Act shall be
          deemed to supersede the conduct of specified classes of ptoceedings in whole or part
          by or before boards or other Qfficers specially provided for by or designated pursuant
          to statute. The functions of all presiding officers and of officers participating in
          decisions in conformity with section 8 Rhall be conducted in an impartial manner.
          Any such o$/cer may at any time withdraw if he deems himself dvqualified; and,
          upon the filing in good faith of a timely and sufficient a#idavit of personal bias or
          disqualification of any such officer, the agency shall determine the matter as a part
          of the record and decision in the case.
             (b) HxaRING POWRRs.-Officers presiding at hearings shall have authority, subject
         to the published rules of the agency and within 'itJ powers, to (1) administer oaths
          and affirmations, (2) issue subpenas authorized by law, (8) rule upon offers of proof
         (and receive relevant evidence, (4) take or cause depositions to be taken whenever the
         ends of justice would be served thereby, (5) regulate the course of the hearing, (6) hold
         conferences for the settlement or simplification of the issues by consent of the parties,
         (7) dispose of procedural requests or similar matters, (8) make decisiotw or recom-
         mend decisions in conformity with section 8, and (9) take any other action authorized
         by a ency rule consistent 'with this Act.
             (C) EVIDE&"OE.-E&cept as statutes otherwise provide, the proponent of a rule or
         order shall,have the burden of proof. Any evidence, oral or documentary, may be
         -received, but every agency shall as a matter of policy provide for the exclusion of
         immaterial and unduly repetitious evidence and no sanction shall be imposed or
         rule or order be issued except as supported by relevant, reliable, and probative evidence.
         Every party shall have the right to present his case or defense by oral or documentary
         evidence, to submit rebuttal evidence, and to conduct such cross-examination as may
         be required for a full and true disclosure of the facts. In rule making or determining
         claims for money or benefits or applications for initial licenses any agency may, where
         the interest of any party will not be prejudiced thereby, adopt procedure for the
         submission of all or part of the evidence in written form.
            (d) RECORD,-The transcript of testimony and exhibits, together with all papers
         and requests filed in the proceeding, shall constitute the exclusive record for decision
         in accordance with section 8 and. upon payment of lawfully prescribed costs, shall be
         of a material fact not appearing in the evidenceageny
         made available to the parties. Where any                 decision rests on official notice
                                                           in the record any party shal on timely
         request bo afforded an opportunity to show the contrary.
                                                  Dzoiaiiors
            Szo. 8. In cases in which a hearing is required to be conducted in conformity with
         section 7-
            (a) ACTION DY BUBORDINATZB.-In cases in which the agency has not presided
         at the reception of the evidence, the officer who A eided (or, in cases not subject to
         subsection (c) of section 6, any other officer or  o=     s qualified to preside at hearinqa
         pursuant to section 7) shall initiallI decide the case or the agency shall require (in
         specific cases or by general rule) the entire record to be certifd toit or initial decision.
          Whenever such opcer# make the initial dt-sion and In th a               of either an appeal
         to the agency or revew upon motion of the agency within time providd bty rule, such
         decision shall without further proceedings then become the decision of the agecy. On
         appealfrom or review of the initial decisions of such officers the ag        shal, except a
         it may limit the issues upon notice or by rule, have all th powr which Would have
         in making the initial decision. .Whenever the agency makee the initial deion t-
         out having presided at the reception of the evidence, such officers shall         rom
         a decision except that in rue making or determining applications for ;nitial licenses
         (1) in lieu theeof the agency may issue a tentativO decision or               its responsible
         officers may recommend a decision or (5) any such procedure may be omitted in
         any case in which the agency finds upon the record thtdu nd tim eewecustion of its
         function imperatively and unavofdably sO requires.
            (b) SUBaMIrA$Z AND DXOIsOoNa.-Prior to each recommended initial, or tenati
         decision, or decision upon agency renew of the decision of W;rdinate officers tOb
         parties shall be afforded a reasonable opportunity to submit for the consideration of
         the officers participating in such deasions (1) proposed fi ngs and conclusions, or



                                                                      Defs.' MSJ App. 362
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                        Page 142 of 212 PageID 3659

         36                      ADMINISTRATIVE PROCEDURE ACT
         (2) exception# to the decisionI or recommended decisions of subordinate officers or to
         tentative agency decisions, and (3) sutpportiny reasons for such exceptions or proposed
         findings or conclusions. All decisions (including initial, recommended, or tentative
         decisions) shall become a part of the record and include a statement of (1) findings and
         conclusions, as well as the basis therefor, upon all the material issues of fact. law, or
         discretion presented; and (2) the appropriate rule, order, sanction, relief, or denial
         thereof.
                                          SANCTIONS AND POWERS
             S&c. 9. In the exercise of any power or authority-
              (a) IN ORNERAL.-No sanction shall be imposed or substantive ruile or order be
          tesued except within jurisdiction delegated to the agency and a's authorized by law,
              (b) JIcaNsXs.-In any case inl "which application is made for a license req -ired
          by law the agency, with due regard to the rights or privileges of all th, i t'erested w'nrlies
          or adversely affected persons and with reasonable dispatch, shalt set and complete tn'y
          proceedings required to be conducted pursuant to sections 7 and 8 of this Act or other
          proceedings required by lau) and shall make its decision. Except in cases Of willful-
          ness or those in ,which public health, interest, or safety requires ntherwi.-e, no with-
          drawval, suspension, revocation, or annulmnent of any license li,01l be laii'ful unless,
          prior to the institution of agency proceedings therefor, facts or conduct which may
          warrant such action shall have been called to the attention of the licensee by the agency
         in writing and the licensee shall have been accorded opportunity to demonstrate or
         achieve compliance with all lawful requirements. In any case in which the licensee
         has, in accordance with agency rules, made timely and su8 cient application for a
         renewal or a newo license, no license with reference to an?, activity of a continuing nature
         ehall expire until such application shall have been finally determined by the agency.
                                             JUDICIAL, R!IEVW
            S~ro. 10. Except so far ns (1) statutes preclude judicial review or (2) agency
         zction is by lator cnmitted to agency discretion-
             (a) RUiGT OF RRVIRW.-A ny person suffering legal wrong because of any agency
         action, or adversely affected or aggrieved by such action within the meaning of any
         relevant statute, shall be entitled to judicial review thereof.
             (b) FORM AND VERNYUE OF ACTioN.-The form of proceeding for' judicial reviewt
         shall be any special statutory review proceeding relevant to the subject matter in any
         court specifield by statute or, in the absence or inadequacy thereof, any applicable
         form olegall   action (including actions for declaratory judgments or writs of prohibi-
         tory or mandatory injunction or habeas corpus) in any court of competent ,urisdic-
         tion. Agency action shall be subject to judicial review in civil or criminal proceed-
         ings for judicial enforcement except to the extent that prior, adequate, and exclusive
         opportunity for such review is provided by law.
            (c) REVIEWABLE Ac1s.-Rvery agency action made reviewable by statute and
         every final agency action for which there is no other adequate remedy in any court
        shall be subject to judicial review. Any preliminary, procedural, or intermediate
        agency action or ruling not directly reviewable shall be subject to review upon
        the review of the final agency action. Except as otherwise expressly required by
        Otr lute, agency action shall be final whether or not there has been presented or deter-
        mined any application for a declaratory order for any form of reconsideration, or
        (unless the agency otherwise requires by ruleS' for an appeal to superior agency
        authority.
            (d) INT Imif   REL.IF.-Pefding judicial review any agency is authorized, where
        it finds that justice so requires, to postpone the effe live date of any action taken by
        it. Upon such conditions as may be required and to the extent necessary to prevent
        irreparable injury every reviewing court (including every court to which a case may
        be taken on appeal from or upon application for certiorari om other writ to a retiewing
        court) is authorized to issue all necessary and appropriate process to postpone the
        effective date of any agency action or to preserve status or rights pending conclusion
        of the review proceedings.
            (e) SCOPE or )?EviPW,-So far as necessary to decision and where presented the
        reviewing couwt shall decide all relevant questions of law, interpret constitutional and
        statutory provisions, and determine the meaning or applicability of the terms of any
        agency action. It shall (A) corn pel agency action unlawfully withheld or unrexson-
        ably delayed; and (B) hold unlawful and set aside agency action, findings and con-
        clusion' found to be (1) arbitrary, capricious, or otherwise not in accorcaece with
        law; (2) contrary to constitutional right, power, privilee or immunity; (3) in excess
        of statutory jurisdiction, authority, or limitation., or short of statutory right; (4)
        without observance of procedure required by law; (5) unsupported by substantiW


                                                                       Defs.' MSJ App. 363
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                       Page 143 of 212 PageID 3660
                                ADMINISTRATIVE PROCEDURN ACT                                     37
         evidence in ant case subject to the requirements of sections 7 and 8 ot otherwise rtviewed
         on the record of an agency hearing provided by statute; or (6) unwarranted bv the fats
         ti' the extent that the facts are subject to trial de novo by the reviewing court. In makin
           the foregoing determinations the court shall review the whole record or such portions
         thereof as may be cited by the parties, and due account shall be taken of the rule of
          prejudicial error.
                                                 EXAMINaa
             ,SEc. 11. Subject to the civil-service and other laws to the extent not inconsistent
         with this Act, there shall be appointed by and for each agency as many qualified and
         competent examiners as may be necessary for proceedings pursuant to sections I
         and 8, who shall be assigned to cases in rotation so far as pracdicable and hall per-
         form no duties inconsistent with their duties and responsibilities as examiners.
         E'xnminiers shall be removable by the agency in which they are employed only for good
         calusc established and determined by the Civil Service Commission (hereinafter called
         the Commission) after opportunity for hearing and upon tIle record thereof., Fxam-
         itinrs shall receive compensation prescribed by the Commnission independently of
         (reiicn recommendations or ratings and in accordance with the Classification Act
         ,,i J.W3, as amended, except that the provisions of paragraphs (2) and (8) of sub-
         stt(lion (b) of section 7 of said Act, as amended, and the provisions of section 9 of
         .Sidl Act, as amended, shall not be applicable. Agencies occasionally or temporarily
         ins ilcieetldy staffed may utilize examiners selected by the Commission from and
         twith the consent of other agencies. For the purposes ofthis section, the Commission
         is a authorized to make investigations, require reports by agencies, issue reports,
         including an annual report to the Congress, promulgate rules, appoint such advisory
         cn, mittees as may be deemed necessary, recommend legislation, subpena witnesses
         or records, and pay witness fees aJ established for the United States courts.
                                        CONBTRUorION AND EBPZOT
             S'rc. 19. Nothing in this Act shall be held-to diminish the constitutional rights of
         any person or to limit or repeal additional requirements imposed by statute or other-
         twise recognized by law. R,except as otherwise required by latw, all requirements or
         privileges relating to evidence or procedure shall apply equally to agencies and persons.
         If a/elg provision of this Act or the application thereof is held invalid, the remainder
         of this Act or otlier applications of such provision shall not be affected. Every agency
         is graaited all authority necessary to comply with the requirements of this Act through
         the issuance of rules or otherwise. No subsequent legislation shall be held to super-
         .sede or modlIfy the provisions of this Act except to the extent that such legislation shall
         (lo so expressly. This -Act shall take effect three months after its approval except
         that sections 7 and 8 shall take effect six months after such approval, the requirement
         of the selection of examiners pursuant to section 11 shall not become effective until
         one year Ujfer such approval, and no procedural requirement shall be mandatory as
         to any agency proceeding initiated prior to the affecive date of such requirenait.


                                              APPvwwx B
                                                                          OCTOBER 19, 1945.
          -1 011. PAT MCCARRAN,
                  Chairman, Senate Judiciary Committee,
                                      United States Senate, 'ashington, D. C.
              1N vY DEAR SENATOt[: You have asked me to comment on S. 7, a bill to improve
         the administration of justice by prescribing fair administrative procedure, in the
         form in; which it appears in the revised committee print issued Oetober 6, 1945,
              I alr-ciate-the opportunity to comment on this proPosed legislation.
              I' or ;;ore thin a decade there has been pending in the Congress legislation in
         oile form or another designed to deal horizontally with the subject of administra-
         tive procedure, so as to overcome the confusion which Inevitably has resulted from
         leaving to basic agency statutes the prescript-lor of thd proceduresoto b followed
         or, it; many instances) the delegation of authority to agencles:to presb   m      tr
         own procedltres. Previous attempts to eiaot general procedural legislation have
         beell unsuccessful generally because they failed to recognize the significant and
         inherent differences between the tasks of courts and those of administrative
         'Ig(ncies or b)ecuse, in their zeal for silu;iI'ity and uniformity, they proposed too
         tIarrovi and rigid a mold.
             Nevertheless, the goal toward which these efWorts have been.directed lis in my
         opinion, worth while. Despite difficulties of draftsmanship, I believe that over-
         &Il procedural legislation Is possible and desirable. The administrativ, process is


                                                                      Defs.' MSJ App. 364
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                  Page 144 of 212 PageID 3661

         38                   ADMINISTRATIVE PROCEDURE ACT
         now well developed. It has been subject in recent years to the most intensive and
         informed stildy-bly various congressional committees, by the Attorney General's-
         Committee on Administrative Procedure, by organizations such as the American
         Bar Association, and by many individual practitioners and legal scholars. We
         have in goneral-as we did not haye until fairly recently-the materials and facts at
         hand. I think the time is ripe for some measure of control and prescription by
        legislation. I cannot agree that there is anything inherent in the subject of
        administrative procedure, however complex it may be, which defies workable
        Co(difiation,
            Since the original introduction of S. 7, I understand that opportunity has been
         afforded to public and private interests to study its provisions and to suggest
         amendments. The agencies of the Government primarily concerned have been
         consulted and their views considered, In particular, I am happy to note that
         your committee and the House Committee on the Judiciary, in an effort to
         reconcile the views of the interested parties, have consulted officers of this Depart-
         aient. and experts in administrative law made available by this Department.
            The revised committee print issued October 5, 1945, seems to me to achieve a
         considerable degree of reconciliation between the views expressed by the various
         Government agencies and the viowti of the proponents of the legislation. The bill
        In Its present form requires administrative agencies to publish or make available
        to the public an increased measure of information concerning their organization,
         functions, and procedures. It gives to that portion of the public which Is to be
        affected by administrative regulations an opportunity to express its views before
        the regulations become effective. Jt prescribes, in instances in which existing
        statutes afford opportunity for hearing in connection with the formulation and
        issuance of administrative rules and orders, the procedures which shall govern
        sulch hearings. It provides for the selection of hearing officers on a basis designed
        to obtain highly qualified and Impartial personnel and to insure their security of
        tenure. It also restates the law governing judicial review of administrative
        action,
            The bill appears to offer a hopeful prospect of achieving reasonable uniformity
        and fairness in administrative procedures without at the same time interfering
        unduly with the efficient and economical operation of the Government. Insofar
        as possible, the bill recognizes the needs of individual agencies by appropriate
        exemption of certain of their functions.
            After reviewing the committee print, therefore, I have concluded that this
        Department should recommend its enactment.
            My conclusion as to the workability of the proposed legislation rests on my
        belief that the provisions of the bill can and should be construed reasonably and
        in a sense which will fairly balance the requirements and interests of private
        persons and governmental agencies. I think it may be advisable for me to attach
        to this report an appendix discussing the pri~lcipal provisions of the bill. This
        may serve to clarify some of the essential issues and may assist the committee in
        evaluating the impact of the bill on public and private interests.
            I am advised by tile Acting Director of the Bureau of the Budget that while
        there would be no objection to the submission of this report, he questions the
        appropriateness of the inclusion of the words "independently of agency recom-
        mendations or ratings," appearing after the words "Examiners shall receive com-
        pensation prescribed by the [Civil Service] Commission," in section 11 of the bill
         inasmuch as he deems' it highly desirable that agency recommendations and
        ratings be fully considered by the Commission.
           With kind personal regards,
                Sincerely yours,
                                                        Tom C. CLARK, Aitorney General,
        APPENDIX TO ATTORNE'Y GxNERAL'S STATEMENT REGARDING REVISED COMUITTEX
                                      PRINT OF OCTOBER 5, 1945
           Section 2: The definitions given In section 2 are of very broad character. It
        is believed however, that this scope of definition will not be found to have any
        unexpected or unfortunate consequences in particular cases, inasmuch as the
        operative sections of the act are themselves carefully limited,
           "(Courts" includes 'Thm Tax Court, Court of Custottis and Patent Appeals, the
        Court of Cilaims, and similar courts. This act does not apply to their proceduoe
        nor affect the re(luirement of resort thereto.
           I n section 2 (n.) the words "agencies composed of representatives of the parties
        or of representatives of organizations of the parties to the disputes determined by




                                                                 Defs.' MSJ App. 365
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                   Page 145 of 212 PageID 3662
                               ADMI SATIVE PIO ID                   ACrT9
         them" are' Intended to i'ortf(bt"o the flowing, among others: National War Labor
         Board andl the N'a'ti'r~aIl'ailr~iad AdJihstiuent' Board2
            In section 2 (c) thel phr`se`:"the approval or prescription or the future of hits,
         wages, corporate or financial structures oF reorganizationsithereof, pris acil
         ties, appliances," etc., is not of course, intended to be an exhaustive enunMeratIon
         of the types of subject matter of rule making; Specification of these particular
         subjects is deemed desirable, however, because there Is nbo fianimity of recognitiQA
         that they are, in fact, rule making. The''phrrise "for the future' is designed to
         differentiate, for exaniple, between the process of prescribing rate for the future
         and the process of determining the lawfulness of rates charged In the sat. The
         latter, of course, is "adjudication" and hnot "rule making." (Arizona Grocery Co.
         V. Atchison, Topeka and Santa Fe Railway Co;, 284 U. S. 370.)
            The definitions of "rule making" Atnd "adjuidication," set forth' in subsections
         (a) and (d) of section 2, are especially slgificant. The basic scheme underlying
         this legislation is to classify all administrative proceedings into these two'cate-
         gories The pattern is familiar to those who have examined the various p ai
         for administrative procedure legislation which have been introduced duping'the
         past few years; it appears also in the 'recommendations of the Attdrney General's
         Committee on Adnisixtrative Procledure. Proceedings are classed as rule making
         under this act not Derely? because, like the legislative' process, they result in regi$
         lations of general applicability but also because they involve subject matter
         dernandlnM judgments based on tchcal knoWledge and' experience. As defined
         in subsection (c), for example rule making includes not only the formulation of
         rules of general applicability but also the formnulation of agency action whether
         of general or particular applicability, relating to the types of subject mattert
         enumerated in sub~~sectieon (c). In many instances of' adjudication, oni the other
         hand, the accusatory element is strong, and individual compliance or behavior
         is challenged; in such cases, special procedural safeguards should be provided to
         insure fair judgments on the facts as they may properly appear of record. The
         statute carefully differentiates between thli.se two basically different classes of
         proceedings so as to avoid, on the one hand, too cumbersonme a procedure and
         to require, ofi the other hand, an adequate procedure.
            Section 3: This section applies to all agencies covered by the act, including` war
         agencies and war functions, The exception of any function of the United States
         requiring secrecy in the public interest is intended to coIver (in addition to inlli-
         tary, naval, and foreign'affairs functions) 'the confidential operations of the Secret
         Service, the Federal Burleau of Investigation, United States attorneys, and other
         prosecuting agencies, as well as the confidential fuhetions of any other agency.;
            Section (a), by requiring publication of certain class of inforir;Atiotn in the'
         Federal Register, is not intended to repeal the Federal RegIstier Act (44 'U. 8. 0.
         301 et Jeq.) hut simply to'require the publication of certain additional materiaL.
            Section 3 (a) (4) is intended to include (in addition to substantive rules) only
         such statements of general policy or interpretations as the agency believes may be
         forniulated with a sufficient degree of definiteness and completeness to warrant
         their publication for the guidanceeof the public.
            Section 3 (b) is design to make' available all final opinions or orders in the
         adjudication of cases. Even here material may be held confidential if the a'nby
         finds good cause. This confidential material, however, should not beciltue         aa
         precedent. If it is desired to rely'jupon' the citation of confidential material, the
         agency should first make available some abstract of the confidential materiW Xi
         such form as will show the principles relied upon without revealing the con-
         fidential facts.
            Section 3 (6) Is not intended to open up Governmsnt files for generlalinap'etiohl
         What is intended is that the agencies to the degree of specificity practicabhl6, shell
         classify its material in terms of wbieter or not it is confidential In character and
         shall set forth in published rules' the information or type of material which is
         confidential and that which is not.'
            Section 4. The term navall' in the first exception clause is ittended'.to include
         the defense functions of the Coast Guard and the Bureau of Marine Inpetion
         and Navigatlon.
            Section 4 (b), in requiring the' publication f a ccqhcse general stateet of th
         basis and purpose of riles mAe without forial hearing,I4 not Intendd to require
         an elaborate analysis f rul6 or of the detailid pbhsiderations uPon whkhi they ari
         based but is desired toeniable the public to bbtaln a gen l idea of the purb
         of, and a statement of the baiic justification for, thei ule. The requirement
         would also serve much the same fnctions n 'the Vhercaa clausee which ar now
         customarily found in the preambles'of Exeoutlve irder-                               i




                                                                  Defs.' MSJ App. 366
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                     Page 146 of 212 PageID 3663
         40                     ADMINISTRATIVE PROCEDURE ACT
             Section 4 (c): This subsection Is not intended to hamper the agencies In case
          in i-hich there is good cause for putting a rule Into effect immediately, or at some
          time earlier than 30 days. The. section requires, however, that where an earlier
          effective date is desired the agency should make a finding of good cause therefor
          and publish its finding along with the rule.
             Section 4 (d) simply permits any interested person to petition an agency for
          the issuance, amendment, or repeal of a rule. It requires the reception and con-
          sideration of petitions but does not compel an agency to undertake any rule-
          making procedure merely because a petition is filed.
             Section 5: Subject to the six exceptions set forth at the commencement of the
          section section 5 applies to administrative adjudications "required by statute
          to be determined on the record after opportunity for an agency hearing." It in
          thus limited to cases in which the Congress ha specifically required a certain
          type of hearing. The section has no application to rule making, as defined in
         section 2 (c). The section does apply, however, to licensing, with the exception
         that section 5 (c), relating to the separation of functions, does not apply in deter-
         mining applications for initial licensee, I e original licenses as contradistinguished
         from renewals or amendments of existing licenses.
             If a case falls within one of the six excee)tions listed at the opening of section 5,
         no provision of section 6 has any application to that case; such a case would be
         governed by the requirements of other existing statutes.
             The first exception is intended to exempt, among other matters, certain types
         of reparation orders assessing damnages, such as are issued by the Interstate
         Commerce Commission and the Secretary of Agriculture, since such orders are
         admissible only as prinma face evidence in court upon attempted enforcement
         proceedings or (at least in the case of reparation orders issued by the Secretary
         of Agriculture under the Perishable Agricultural Commodities Act) on the appeal
         of the losing party. Reparation orders involving in part an administrative deter-
         mination of the reasonableness of rates in the past so far as they are not subject
         to trial do novo would be subject to the provisions of section 5 generally, but
         they have been specifically oxompted frown the segregation provisions of section
         5 (c). In the fourth exception4 the term "naval" is intended to ineliude adjudica-
         tive defense functions of the Coast Guiar(d and the Bureau of Marine Inspection
        and Navigation, where such functions pertain to national defense.
            Section 5 (a) is intended to state. minimum requirements for the giving of notice
         to persons who under existing law are entitle(I to notice of an agency hearing in
         a statutory adjudication. While in miost types of proceedings all of the informa-
        tioi required to be given in clauises (1), (2), anld (3) may be included in the "notice
        of hearing" or other moving parier, in many ifsi ances the agency or other moving
        party may not be in position to set forth all of silch information in the moving
        paper, or perhaps not even ill l(lvanhce of the hearing, especially the "matters of
        fact and law asserted." The first sentence of this subsection merely requires
        that the information specif~'d Th0iold be given as soon as it can be set forth and,
        in any event, in a sufficiently Ginoely manner as to afford those entitled to the
        information an ad(lequate opportunity to meet it. The second sentence comple-
        ments the first antd requires agencies and other parties promptly to reply to
        moving papers of private persons or permits agencies to require responsive plead-
        ing in any proceedings.
           section b (c) applies only to the class of adjudicatory proceedings included
        within the scope of section 5, 1. e., cases of adjudication required by statute to
        be determined after opportunity for an agency hearing, and then not falling
        Nvit.hin one of the six excepted situations listed at the opening of section 5. As
        explained in the comments with respect to section 6 generally, this subsection
        does not apply either in proceedings to determine applications for initial licenses
        or in those to determine the reasonableness of rates in the past.
            In the cases to which this subsection is applicable, if the informal procedures
        described in section 5 (b) (I) are not appropriate or have failed, a hearing is to
        be held as provided in sections 7 and 8. At sutch hearing the same officers who
        preside at the reception of violence pursuant. to section 7 shall make the recom-
        mnended decision or initial decision 'require(l by section 8" except where such
        officers become unavailable to the agency. The reference to section 8 is signifl-
        cant. Section 8 (a) provides thai., in cases in which the agency has not presided
        at the reception of the evidence, the officer who presided (or, in cases not subject
        to subsection (c) of section 5, an officer or officers qualified to preside at hearings
        pursuant to section 7) shall make the initial or recommended decision, as the
        case may be. It is plain, therefore, that in cases subject to section 5 (c), only
        the officer who presided at the hearing (unless he is unavailable for reasons beyond




                                                                   Defs.' MSJ App. 367
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                     Page 147 of 212 PageID 3664
                               ADMINISTKATV PROCEDUR ACT                                      41
          the agency control) is eligible to make the initial or recommended decision, as
         the case may be.
             This subsection further provides that in the adjudicatory hearing covered by
         It no presiding officer shall consult any person or party on any fact issue unless
         upon notice and opportunity for all parties to participate (except to the extent
         required for the disposition of ex part matters ax authorized by law). The
         term "fact in issue" X used in its technical, litigious sense
             In most of the agencies which conduct adjudicative proceedings of the types
         subhject to this subsection, the examiners are placed in organizational units apart
         froin those to which the Investigative or prosecuting personnel are assigned.
          Under this subsection such an arrangement will become operative in a such
          ng oecies, Further in the adjudicatory cases covered by section 6 (c), no officer,
         employee, or agent engaged in the performance of investigative or prosecuting
         futn(;4ions for any agency In any case shall, in that or a factually related caso,
          participate or advise in the decision, recommended decision, or agency review
          pursuian, to section 8 except as witness or counsel in public prooesdineo. ;How-
         ever, sectIon 6 (c) does not apply to the agency itself or, in the case of a multi-
         hea(led aELnI y any member thereof. It would not preclude, for example, a
         membercgP the interstate Commerce Commission personally conducting or super-
         vising an investigation and subsequently participating in the determination of
         the agency action arising out of such investigation.
             Sectio6 (c), applying as it does only to cases of adjudication (exmeOt. deter-'
         mining oppications for initial licenses or determining reasonableness of rates in
         the past within the scope of section 6 generally,' has no application whatever to
         rule mal ng, as defined in section 2 (a). As explained in the comment on soti on.
         2 (c), rul making includes a wide variety of subject matters, and within the temop
         of those vnatters-ft is not limited to the formulation of rules of general applicability
         bhlt inch>'l'es also the formulation of agency action whether of general or par-
         ticular application, for example, the reorganization of a particular company.
             Section 5 (d); Within the scope of section5i (i. e., In cases of adjudication required
          by statute to be determined on the record after opportunity for an agency hearing,
         subject to certain exceptionG) the agency is authorized to issue a declaratory
         order to terminate a controversy or remove uncertainty. Where decolaratory
         orders are found inappropriate to the subject matter, no agency is requirWd to;
         issue them.
             Section 6: Subsection ,a),in stating a right of appearance for the purpose .o
         settling or Informally determining the matter in controversy, would not obtain
         if the agency properly determines that the responsible conduct of public business
         does not permit. It may be necessary, for example, to set the matter down for
         public hearing without preliminary discussion because a statute or the subject
         matter or the special circumstances so require.
             It is not intended by this provision to require the agency to give notice to all
         interested persons, unless such notice Is otherwise required by law.
             This subsection does not deal with, or in any way qualify, the present 'power of
         an agency to regulate practice at its bar. It expressly provides moreover that
         nothing in the act shall be construed either to grant or to deny the right of non-
         lawyers to appear before agencies in a representative capacity. Control over this
         matter remains in the respective agencies.
            Section 6 (b): The first sentence states existing law. The second sentence is
         new.
            Section 6 (c): The first sentence entitles a party to a subpena upon a statement
         or showing of general relevance and reasonable scope of the evidence sought.
         The second sentence is intended to state the existing law with respect 'to the judi-
         cial enforcement of subpoenas.
            Section 6 (d): The statement of grounds required herein will be very simple, 41s
         contrasted with the more elaborate findings which are customarily issued to sup-
         port an order.-,
             Section 7: This section applies in those cases of statutory hearing which arn
         required by. sections 4 and 6to be conducted pursuant to section 7. Subject to
         the numerous exceptions contained in sections.,4 and-65, thtey arencas inwhich
         an order or rule is to be made upon the basis of the record in a statutory hearing.
            Section 7 (a);: The subsection is not intended to disturb presently existing.
         statutory provisions which explicitly provide for certain type of hearing officers.
         Among such are (1) joint hearings before offices of te Federal agencies and per-
         sons designated by one or more States, (2) where officers of more than one agency
         :it,  (3) quota allotment cases under. the, Agricultural Adjustment Act of 1938,
         (4) marine casualty investigation boards, (5) registers of the General LIAd Ofice,
                  S. Rtelts., 79-1, vol. 3~7- 80




                                                                   Defs.' MSJ App. 368
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                    Page 148 of 212 PageID 3665
         42                    ADMINISTRATIVE PROCEDURE ACT
          (6) special hoards set up to review the rights of disconnected servicemen (38
          U. S. (. 693h) and the rights of veterans to special unemployment compensation
          (38 U. S. C. 696h), and (7) boards of employees authorized under the Interstate
         Comnnierce Act (49 U. S. C. 17 (2)).
             Subject to this qualification, section 7 (a) requires that there shall preside at
         the taking of evidence one or more examiners appointed as provided in this act,
           less the agency itself or one or more of Its members presides. This provision
         i; one of the most important provisions in the act. In many agencies of the
         Government this provision may mean the appointment of a substantial number
         of hearing officers having no other duties. The resulting expense to the Govern-
         ment may be increased, particularly in agencies where hearings are now conducted
         by employees of a subordinate status or by employees having duties in addition
         to presiding at hearings. On the other hand, it is contemplated that the CvIl
         Service Commission, which is empowered under the provisions of section 11 to
         prescribe salaries for hearing officers, will establish various salary grades in acco.1-
         ance with the nature and importance of the duties performed and will assign those
         ill the lower grades to duties now performed by employees in the lower brackets.
          It may also be possible for the agencies to reorganize their staffs so as to permit
         the appointment of full-time hearing officers by reducing the number of employees
         engaged on other duties.
             This subsection further provides for withdrawal or removal of examiners dis-
         (pualified in a particular proceeding. Some of the agencies have voiced concern
         that this provision would permit undue delay in the conduct of their proceedings
         because of unnecessary hearings or other procedure to determine whether affidavits
         of bias are well founded. The provision does not require hearings in every instance
         but simply requires such procedure, formal or otherwise, as would be necessary to
         establish the merits of the allegations of bias. If it is manifest that the charge s
         groundless there may be prompt disposition of the matter. On the other hand,
         if the affidavit appears to have substance, it should be inquired into. In any
         event, whatever procedure the agency deems appropriate must be made a part of
         the record in the proceeding in which the affidavit is filed.
            Section 7 (b): the agency may delegate to a hearing officer any of the enumer-
         ated powers with which it is vested. The enumeration of the powers of hearing
         officers is not intended to be exclusive.
            Section 7 (c): The first sentence states the customary rule that the proponent
        of a rule or order shall have the burden of proof. Statutory exceptions to the
         rule are preserved. Parties shall have the right to conduct such cross-examination
         as may be required for a full and true disclosure of the facts. This is not intended
         to disturb the existing practice of submitting technical written reports, Bums
         maries, and analyses of material gathered in field surveys,, and other devices
        appropriately adapted to the particular issues involved in specialized proceedings.
         Whether the agency must in such cases produce the maker of the report depends,
        as it does under the present law, on what is reasonable in all the circumstances.
            It may be noted that agencies are empowered, in this subsection, to dispense
         witch oral evidence only in the types of proceedings enumerated; 1. e., in instances
         in which normally it is not necessary to see and hear the witnesses In order properly
        to appraise the evidence. While there may be types of proceedings other than
        those enumerated In which the oral testimony of the witnesses is not essential, in
        such instances the parties generally consent to submission of the evidence in
        written form so that the Inability of the agency to compel submission of written
        evidence would not be burdensome.
            The provision regarding "evidence In written form" does not limit the generality
        of the prevailing principle that "any evidence may be received"; I. e., that the,
        rules of evidence as such are not applicable in administrative proceedings and
        that all types of pertinent evidentiary material may be considered. It is assumed,
        of course, that agencies will, in the words of the Attorney General's Committee
        on Administrative Procedure, rely only on such evidence (whether. written or
        oral) as Is "relevant, reliable, and probative." This is meant as a guide, but the
        courts in reviewing an order are governed by the provisions of section 10 (e),
        which states the "substantial evidence" rule.
            Section 7 (d): The transcript of testimony and exhibits, together with all
        papers and requests filed in the proceedIng, shall constitute the exclusive record
        for decision, in the cases covered by section 7. This follows from the proposition
        that sections 7 and 8 deal only with cases where by- statute the decision Isto be
        based on the record of hearing. Further, section 7 is limited by the exceptions
        contained In the opening sentences of sections 4 and 5; accordingly, certain special
        classes of cases, such as those where decidewv riwt solely on inspections, tests, or




                                                                  Defs.' MSJ App. 369
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                  Page 149 of 212 PageID 3666
                              ADMINISTRATIVE PROCEDURE ACT                                 43

        elections, are not covered. The second sentence of the subsection enables the
        agency to take official notice of material facts which do not appear in the record,
        provided the taking of such notice is stated in the record or decision, but in such
         cases any party affected shall on timely request be afforded an opportunity to
        show the contrary.
            Section 8; This section applies to all hearings held under setion 7
            Section 8 (a): Under this subsection either the agency or a subordinate heating
        offleer may make the initial decision. As previously observed with respect to'
        section (c) of section 5, in cases to which that subsection Is applicable the same'
        officer who personally presided- over the hearing shall make such decision if it {i
         to be made by a subordinate hearing officer.. The agency may provide that in all
        cases the agency itself is to make the initial decision, or after the hearing it may
        remove a particular case from a subordinate hearing officer and thereupon mnake
        the initial decision. The initial decision of the hearing officer, in the absence of
        appeal to or review by the agency, is (or becomes) the decision of the agency.
         Upon review the agency may restrict its decision to questions of law, or to the
        question of whether the findings are supported by substantial evidence or the
        weight of evidence, as the nature of the cas may be. On the other hand, it may
        make entirely-new findings either upon the record or upon-new evidence wbich it
        takes. It may reniand the matter to the hearing officer for any appropriate fur-
        ther proceedings
            The intention underlying the last sentence of this subsection Is to require teo'
        adoption of a procedure which will give the parties an opportunity to make their
        contentions to the agency: before the issuance of a final agency decision. This
        sentence states as a general requirement that whenever the agency makes the
         initial decision wVithouti having presided at'the reception of the evidence, a recomn,
         needed decision shall be filed by the officer who presided at the hearing (of, in
        cases not subject to section 5 (c), by ahny other officer qualified to preside at s
        tion 7 hearings). However, this procedure need not be followed in rule makin
        or in determining applications for initial liCeTnes (1) if, in lieu of a recommnded
        decision by such-hearing officer, the argtlcy issues 'a tentative decision; (2) If, in
        lieu of a recommended decision by such hearing officer, a recommended decision
        is submitted by any of the agency a responsible officers; or (3) if, in any event, the
        agency makes a record finding that " due and timely execution of its function
        imperatively and of  unavoidably so requires.
            Subsection (e) section 6, as explained in the comments on that subsetion-
        does not apply to rule making. The broad scope of rule making Is explained in
        the notes to subsection (c) of section 2.
            The second exception permits, in proceedings to make rules and to determine
        applications for initial licenses, the continuation of the widespread agency practice
        of serving upon the parties, as a substitute for either an examiner's report or a
        tentative agency report, a report prepared by the staff of specialists and techiw.
        cians normally engaged in that portion of the agency's operations to which the
        proceeding in question relates.; The third exception-permits, in lieu of any sort
        of preliminary report, the agency to issue forthwith its final rule oi its, order
        granting or denying an initial license in the emergent Instances indicated. The
        subsection, however, requires that an examiner issue either an initial or a recom.
        mended decision, as the case may be, in all cases subject to section 7 except rule
        making and determining applications for initial licenses.; The act permits no
        deviation from this requirement, unless, of course, the parties waive much
        procedure.
           Section 8 (b): Prior to each recommended, Initial or tenative decision, parties
        shall have a timely opportunity to submit-prpowed iding and conclusions and,
        prior to each decision; upon agency review of either the decision of ubodiat
        officers or of the agency s tentative decision, to submit exceptions to the- iiil
        recommended, or tentative decision, as the case may be. Subject to the agency's
        rules, either the proposed findings or the exceptions may be oral in form where
        ouch mode of presentation is adequate.
           Section 9: Subsection (a) is-intended to declare the existiDg law. Subsectolo
        (i>) is intended to codify the best xisting law and pratice. -The second senten
        of subsection (b) is'not Intended toapply to temporary licenses which ma
        issued pending the determination, of application for licenses.
           Section 10: This section, in, en, Vdeclares the existing law concerning' jud&m
        cial review. It provides for judic review       except insofar as statutes prelude i,
        or insofar as agency action is by law coiimiltted to aecy discretion. A stat




                                                                 Defs.' MSJ App. 370
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                     Page 150 of 212 PageID 3667

        44                     ADMINISTRATIVE PROCEDURE ACT
         may in terms preclude judicial review or be. interpreted Ps manifesting a congres-
        sional intention to preclude judicial review. Examples of such interpretation are:
        Switchmen's Union of North A me? ira v. National Afedliation Board (320 U. S. 297);
         Ametican Federation of Labor v. National Labor Relations Board (308 U S. 401);
         Butte, Anaconda and 1Pacific Railway Co. v. United Staltcs (290 U. S. 127). Many
         matters are coinnutted partly or wholly to agency discretion. Thus, the courts
         have held that the refusal by the National Ihbor Relations Board to issue a com-
         plaint is an exercise of liscretiotn tinreviewahle by the courts (Jacobsen v. National
         Labor R'elationits Board, 120 F. (2d) 96 (C. C. A. 3d); Marine Fngineers' Beneficial
         A.r.sn. v. National fLabor elationos Board, decided April 8, 1943 (C. C. A. 2d),
        certiorari djellied, 320 IU. S. 777). In this act, for example, the failure to grant a
         pvlition filed uinder section 4 (d) would be similarly unreviewable.
            Section 10 (a): Any person suffering legal wrong because of any agency action,
         o0 adlversely affected or aggrieved by such action within the meaning of any
         relevant statute, shall he titled to judicial review of such action. This reflects
         eXisliing law. In Allalminta P'ower Co. v. Ickes (302 U. S. 464), the Supreme Court
        Stated the rulle concerning persons entitled to judicial review. Other cases having
        an important bearing on this subject arc: Massachusetts v. Mellon (262 U. S. 447),
         The Chirngo .Junctlion Case (264 U. S. 258), Sprunt & Son v. United States (281
         U. S. 249), and Perkins v. Lulkens Steel Co. (310 U. S. 113). An important
          decision interpret ing the meaning of the terms "aggrieved" and "adversely
         affected" is Federal Communications Commission v. Sanders Bros. Radio Station
         (909 U. S. 470).
            Section 10 (b) : This suBsection requires that where a specific statutory method
         is provided for reviewing a given type of case in the courts, that procedure shall
         be used. If there is no such procedure, or if the procedure i.s inadequate (i.,e.,
         where under existing law a court, would regard the special statutory procedure as
         inadequate and would grant another form of relief), then any applicable procedure,
        such as prohihitory or mandatory injunction, declaratory judgment, or habeas
        corpus, is available. The final sentence of the subsection indicates that the ques-
        tion of the validity of an agency action may arise in a court. proceeding to enforce
         the agency action. The statutes presently provide various procedures for
        juliicial enforcement of agency action, and nothing in this act is intended to
        disturb those procedures. In such a proceeding the defendant may contest the
        validity of the agency action unless a prior, adequate, and exclusive opportunity
        to contest or review validity hns been provided by law.
            Section 10 (c): T'his subsection states- subjectt to the provisions of section 10 (a))
        the acts which are reviewabhle( ulnder section 10. It is intended to state existing
        law. The last. sentence nmakes it clear that the, doctrine of exhaustion of adminis-
        trative remedies with respect to finality of agency action is intended to he appli-
        cable only (1) where expressly required by statute (as, for example, is provided in
        49 U. 8.. C. 17 (9)), or (2) where the agency's rules require that decisons by sub-
        ordinate officers miust be appealed to superior agenev authority before the decision
        nelv he regarded as findl for l)purposes of judicial r'wView.
            Section 10 (d): The first sentence states existing law. The second sentence
          hnile snid to change existing law only to the extent that the language of the
        o)inion in Scripps- Floivald Radio, Inc. v. Federal Co rn wnicotions Commission
        (316 U. S. 4, 14) ma" be interpreted to deny to reviewing courts the power to
        permit an applicant for a renewal of a license to continue to operate as if the
        original license had not expired, pending. conclusion of the judicial review pro
        ceedings. In any event, the court must, find, of course, that, granting of interim
        relief is necessary to prevent. irreparable injury.
            Section 10 (e): This declares the existing law concerning the scope of judicial
        review. The lower of the court to direct or compel agency action unlawfully
        withheld or unreasonably delayed is not intended to confer any nonjudicial func-
        tions or to narrow Owit principile'of continuous a(dmini9trative control enunciated
        bv the Supreme (Court in F'ederal Communicamtions Commission Y. Pottsville Broad-
        castingj  Co. (309 U. s. i1'3 l.Clas (6) is intended to embody the luw as declared,
        for exalenj)1, in CGownolidated fdison Co. v. National Labor Relations Board (305
        U. S. 197). There the Chief Justice said: "Suhstantial evidence is more than a
        mere scintilla. It. means such relevAtnt evidence as a reasonable mind nii&vht ac-
        cept as adequate to support, a conclusion (p. 229) * * * assurance of a de-
        sirable flexibility in administrative proce(lure does not go so far as to justify orders
        without a basis in evidence having rational probative force" (p. 230),
           The last sentence of this section makes it clear that not every failure to observe
        thme requirements of this statute or of the law is ipso facto fatal to the validity, of




                                                                   Defs.' MSJ App. 371
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                Page 151 of 212 PageID 3668

                              ADMINISTRATIVE PROCEDURE ACT                              45
         an order. The statute adopts the rule now well established as a matter of com-
         mon law in all jurisdictions that error is not fatal unless prejudicial.
            Section 11: This section provides for the. appointment compensation, and
         tenure of examiners who will preside over hearings and render decisions pursuant
         to sections 7 and 8. The section provides that appointments shall be made
         "subject to the civil service and other laws to the extent not inconsistent with
         this act." Appointments are to be made by the respective employing agencies
         of personnel diiermined by the Civil Service Commission to be qualified and
         competent examiners. The examiners appointed are to serve only as examiners,
         except that, in particular instances (especially where the volume of hearings under
         a given statute or in a given agency is not very great), examiners may be assigned
         additional duties which are not inconsistent with or which do not interfere with
         their duties as examiners. To insure equality of participation among examiners
         in the hearing and decision of cases, the agencies are required to use them in
         rotation so far as may be practicable.
            Examiners are subject to removal only for good cause "established and deter-
         mined" by the Commission. The Commission must afford the examiner a hear-
         ing, if requested, and must rest its decision solely upon the basis of the record
         of such hearing. It should be noted that the hearing and the decision are to be
         conducted and made pursuant to the provisions of sections 7 and 8.
            Section 11 provides further that the Commission shall prescribe the compensa-
         Lion of examiners, in accordance with the compensation schedules provided in
         the Classification Act, except that the efficiency rating system set forth in that
         act shall not be applicable to examiners.
            Section 12: The first sentence of section 12 is intended simply to indicate that
         the act will be interpreted as supplementing constitutional and legal requirements
         imposed by existing law.
            The section further provides that "no subsequent legislation shall be held to
         supersede or modify the provisions of this act except to the extent that such
         legislation shall do so expressly." It is recognized that no congressional legisla-
         tion can bind subsequent sessions of the Congress. The present act can be
         repealed in whole or in part at any time after its passage. However, the act is
         intend(led to express general standards of wide applicability. It is believed that
         the courts should asi a rule of construction interpret the act as applicable on a
         broad basis, unless some subsequent act clearly provides to the contrary.
                                                 0




                                                               Defs.' MSJ App. 372
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23         Page 152 of 212 PageID 3669
             Congress, 2d Session
         79th9hCne2dSsio          -                    -   House Report No. 1980




             ADMINISTRATIVE PROCEDURE ACT


                                     REPORT
                                        OF THE

                    COMMITTEE ON THE JUDICIARY
                     HOUSE OF REPRESENTATIVES
                                          ON

                                         S. 7
                   A BILL TO IMPROVE THE ADMINISTRATION
                       OF JUSTICE BY PRESCRIBING FAIR
                         ADMINISTRATIVE PROCEDURE




               MAY 3, 1946.-Committed to the Committee of the Whole House
                     on the State of the Union and ordered to be printed


                                   UNITED STATES
                             GOVERNMENT PRINTING OFFICE
                                  WASHINGTON: 1946




                                                     Defs.' MSJ App. 373
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                          Page 153 of 212 PageID 3670




                                 COMMITTEE ON THE JUDICIARY
                               HATTON W. SUMNERS, Texas, Chafrman
            MANV,?EL CELLER, New York         CLARENCE E. HANCOCK, New York
           .3EBULON WEAVER, North Carolina    EARL C. MICHENER, Michigan
            FRANCIS E. WALTER, Pennsylvania             JOHN M. ROBSION, Kentucky
           ;;AM HOBBS, Alabama                          CHAUNCEY W. REED, flluols
           JOHN II. TOLAN, California                   JOHN W. OWYNNE, Iowa
           WILLIAM T. BYRNE, New York                   LOUIS E. GRAHAM, Pennsylvanis
           V-'9'ES KEFAUVER, Tennessee                  RAYMOND S. SPRINGER, Indiana
           I GE6X,' 1 t. BRYSON, South Carolina         JOSEPH E. TALBOT, Connocticut
           ?AI)JO CRAVENS, Arkansas                     FRANK FELLOWS, Maine
           iAM M. RUSSELL, Texas                        EARL R. LEWIS, Ohio
           rJiOmAS J. LANE, Massachusetta               JOHN JENNINGS, JR., Tennessee
           MARTIN OERSKI, Illinois                      ANGIER L. GOODWIN, Mssacbmnetts
           14CIIAEL A. FEIGIIAN, Ohio
           FRANK L. CUE0LF, Kentucky
                                              VxLMA SMEDLEY, Clerk
                                          BONNIX ROBERTS, A3uIslant Clerk
                                            CHARLES E. LONO, Jr., Counmd


                                             SUBCOMMITTEE No. 3
                                             MR. WALTER, C'Aafrman
                             MR. KEFAUVER                            MR. aWYNNE
                             MR. BRYSON                              MR. TALBOT
                             MR. LANE                                MR. LEWI8
                  I1




                                                                   Defs.' MSJ App. 374
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23               Page 154 of 212 PageID 3671




                              TABLE OF CONTENTS
                                                                                     Fag.
           I. Text of bill as reported -_1
          II. Legislative history.-                                                      7
                   1937. Report of President's Committee on Administrative Man-
                      agement-                                                           7
                   1938. Senate hearings-                                                8
                   1939-40. W\ralter-Logan bill-                                         9
                   1941. Final report of Attorney General's Committee on Adminis-
                      trative Procedure -                                               11
                   Senate hearings -12
                   1942-44-14
                   .1945. The present bill -                                            14
                   Favorable recommendation of the Attornev General -15
                   Favorable report of the Senate .Judiciary Committee -15
                   1946 Senate debate and passage -_-__-___- __                         16
                   Changes proposed by House Judiciary Committee -16
         [II. The substance of the bill -.                                              16
                   Diagram synopsis -28-29
         IV. Explanation of provisions -18
                   Section 1. Title -                                                   18
                   Section 2. Definitions -18
                         Section 2 (a). "Agency"-18
                         Section 2 (b). "Person" and "parte-   -19
                         Section 2 (c). "Rule' and "rule making"               .19
                         Section 2 (d). "Order" and "adjudication.   -20
                         Section 2 (e). "License" and "licensing" -20
                         Section 2 (f). "Sahction" arid "relief"-20
                         Section 2 (g). "Agency proceeding" and "agency action"-..      21
                   Section 3. Public information -21
                         Section 3 (a). Rules to be published ----------------------    21
                         Section 3 (b). Opinions, orders, andi rules to be available to
                                           public insl)ection.-----------------------   22
                         Section 3 (a). Accessibility of public records -.              23
                   Section 4. Rule making -                                             23
                         Section 4 (a). Notice of rule making -24
                         Section 4 (b). Public procedures in rule making -25
                         Section 4 (c). Future effective date of rules -25
                         Section 4 (d). Petitions respecting rules -26
                     action 5. Adjudications -26
                         Section 5 (a). Notices of making adjudications -27
                         Section 5 (b). Adjudication procedure       ----------------   27
                         Section 5 (c). Separation of prosecuting functions-30
                         Section 5 (d). Declaratory adjudications -31
                   Section 6. Ancillary matters -31
                         Section 6 (a). Appearance or representation of parties - - - - 31
                         Section 6 (b). Administrative investigations -32
                         Section 6 (c). Administrative sull)penas                       33
                         Section 6 (d). Agency denials of requests -33
                   Section 7. Hearings -34
                         Section 7 (a). Presiding officers at hearings -34
                         Section 7 (b). Hearing powers of presiding officers -35
                         Section 7 (c). Evidence requirements -35
                         Section 7 (d). Record of hearings -                            37
                                   .                                              ~~~~m



                                                            Defs.' MSJ App. 375
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23              Page 155 of 212 PageID 3672
          IV                  TABLE OF CONTENTS

         IV. Explanation of provisions-Continued                                     Page
                 Section 8. Agency decisions after hearing-          _                 38
                       Section 8 (a). Decisions by subordinates -38
                       Section 8 (b). Requirements for all submittals and decisions.   39
                  Section 9. Agency sanctions and powers-40
                       Section 9 (a). General limitation on sanctions and powers..     40
                       Section 9 (b). Licenses-40
                 Section 10. Judicial review -                                         41
                       Section 10 (a). Right of court review -_                        42
                       Section 10 (b). Forms of action -42
                       Section 10 (c). Reviewable agency acts-42
                       Section 10 (d). Temporary relief pending full review-43
                       Section 10 (e). Scope of court review -                         44
                 Section 11. Examiners -                                               46
                 Section 12. Construction and effect-      _                           47
         Appendix A. Committee amendment-     -49
         Appendix B. Letter of Attorney General-                                       57




                                                           Defs.' MSJ App. 376
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                  Page 156 of 212 PageID 3673
         79rH CONGREsS           OUSE OF REPRESENTATIVES                            REPORT
           2d Session t               O                                           No. 1980



                       ADMINISTRATIVE PROCEDURE ACT


         MAT 3, 1946.-Committed to the Committee of the Whole House on the State
                          of the Union and Ordered to be printed


         Mr. WALTER, from the Committee on the Judiciary, submitted the
                                   following
                                         REPORT
                                        [To accompany S. 71

            The Committee on the Judiciary, to whom was referred the bill
         (S. 7) to improve the administration of justice by prescribing fair
         a(dmiflistrative procedure, having considered the same, report the bill
         favorably to the House, with an amendment, with the recommenda-
         tion that, as amended, the bill do pass.
            The committee amendment is as follows:
            Strike out all of the bill after the enacting clause and insert in lieu
         thereof the following:
                                         TITLE
          SECTION 1. This Act may be cited as the "Administrative Procedure Act".
                                              DEFINITIONS
           SFc. 2. As used in this Act-
           (a) AGENcY.-"Agency" means each authority (whether or not within or
        slll)ject to review by another agency) of the Government of the United States
        other than Congress, the courts, or the governments of the possessions, Terri-
        tories, or the District of Columbia. Nothing in this Act shall be construed to
        rel)eal delegations of authority as provided by law.g Except as to the require-
        nients of section 3, there shall be excluded from the operation of this Act (1)
        agencies composed of representatives of the parties or of representatives of
        organizations of the parties to the disputes determined by them, (2) courts martial
        and military commissions, (3) military or naval authority exercised in the field
        in time of war or in occupied territory, or (4) functions which by law expire on
        the termination of present hostilities, within any fixed period thereafter, or before
        July 1, 1947, and the functions conferred by the following statutes: Selective
        'Iraining and Service Act of 1940; Contract Settlement Act of 1944; Surplus
        property Act of 1944.
           (b) PERSON AND PARTY.-"Person" includes individuals, partnerships, corpo-
        rations, associations, or public or private organizations of any character other
        than agencies. "Party" includes any person or agency named or admitted as a
        party, or properly seeking and entitled as of right to be admitted as a party, in
        any agency proceeding; but nothing herein shall be construed to prevent an
        agency from admitting any person or agency as a party for limited purposes.
                 H. Rept8., 79-2, vol. 6-19




                                                              Defs.' MSJ App. 377
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 157 of 212 PageID 3674
          2             ADMINISTRATIVE PROCEDURE ACT

            (C) RULE AND RULE MAKING.-"1111'" means the whole or any part of any
         agency statement of general or particular applicability and future effect designed
         to implement, interpret, or prescribe law or policy or to describe the organization,
         procedure, or practice requirements of any agency and includes the approval or
         prescription for the future of rates, wages, corporate or finanical structures or
         reorganizations thereof, prices, facilities, appliances, services, or allowances there-
         for, or of valuations, costs, or accounting, or practices hearing upon any of the
         foregoing. "Rule making" means agency process for the formulation, amnend-
         ment, or repeal of a rule.
            (d) ORDER AND ADJUDICATION.-"Order" means the whole or any part of the
         final disposition (whether affirmative, negative, injunctive, or declaratory in
         form) of any agency in any matter other than rule making but including licensing.
         "Adjudication" means agency process for the formulation of an order.
            (e) LICENSE AND LICENSING.-"LiCenSe" includes the whole or part of any
         agency permit, certificate, approval, registration, charter, membership, statutory
         exemption, or other form of permission. "Licensing" includes agency process
         respecting the grant, renewal, denial, revocation, suspension, annulment, wNith.
         drawal, limitation, amendment, modification, or conditioning of a license.
            (f) SANCTION AND BELIE1.F.-"Sanction" includes the whole or part of any
         agency (1) prohibition, requirement, limitation, or other condition affecting th'e
         freedom of any person; (2) withholding of relief; (3) imposition of any form of
         penalty or fine; (4) destruction, taking, seizure, or withholding of property;
         (5) assessment of damages, reimbursement, restitution, compensation, costs,
         charges, or fees; (6) requirement, revocation, or suspension of a license; or (7) tak-
         ing of other compulsory or restrictive action. "Relief" includes the whole or
         part of any agency (1) grant of money, assistance, license, authority, exemption,
         exception, privilege, or remedy; (2) recognition of any claim, right, immunity,
         privilege, exemption, or exception; or (3) taking of any other action upon the
         application or petition of, and beneficial to, an7 person.
            (g) AGENCY PROCEEDING AND ACTION.-' Agency proceeding" means any
         agency process as defined in subsections (c), (d), and (e) of this section. "Agency
         action" includes the whole or part of every agency rule, order, license, sanction,
         relief, or the equivalent or denial thereof, or failure to act.
                                       PUBLIC INFORMATION
            SEC. 3. Except to the extent that there is involved (1) any function of the
         United States requiring secrecy in the public interest or (2) any matter relating
         solely to the internal management of an agency-
            (a) RuiFs.-Every agency shall separately state and currently publish in the
         Federal Register (1) descriptions of its central and field organization including
         delegations by the agency of final authority and, the established places at which,
         and methods whereby, the public may secure information or make submittals or
         requests; (2) statements of the general course and method by which its functions
         are channeled and determined, including the nature and requirements of all formal
         or informal procedures available as well as forms and instructions as to the scope
         and contents of all papers, reports, or examinations; and (3) substantive rules
         adopted as authorized by law and statements of general policy or interpretations
         formulated and adopted by the agency for the guidance of the public, but not
         rules addressed to and served upon named persons in accordance with law. No
         person shall In any manner be required to resort to organization or procedure not
         so published.
            (b) OPINIONS AND ORDERs.-Eavery agency shall publish or, in accordance with
         published rule, make available to public inspection all final opinions or orders in
         the adjudication of cases (except those required for good cause to be held confi-
         dential and not cited as precedents) and all rules.
            (C) PUBLIC RECOItID.-Save as otherwise required by statute, matters of official
         record shall in accordance with published rule be made available to persons properly
         and directly concerned except information held confidential for good cause found
                                            RULE MAKING
           SEC. 4. Except to the extent that there is involved (1) any military, naval, or
         foreign affairs function of the United States or (2) any matter relating to agency
         management or personnel or to public property, loans, grants, benefits, or con-
         tracts-
            (a) NOTICE.-General notice of proposed rule making shall be published in the
         Federal Register (unless all persons subject thereto are named and either per-
         eonally served or otherwise have actual notice thereof in accordance with law)


                                                                Defs.' MSJ App. 378
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 158 of 212 PageID 3675
                        ADMINISTRATIVE PROCEDURE ACT               3
         and shall include (1) a statement of the time, place, and nature of public rule-
         making proceedings; (2) reference to the authority under which the rule is pro-
         posed; and (3) either the terms or substance of the proposed rule or a description
         of the subjects and issues involved. Except where notice or hearing is required
         by statute. this subsection shall not apply to interpretative rules, general state-
         ments of policy, rules of agency organization, procedure, or practice, or in any
         situation in which the agency for good cause finds (and incorporates the finding
         and a brief statement of the reasons therefor in the rules issued) that notice and
         public procedure thereon are impracticable, unnecessary, or contrary to the public
         interest..
            (b) PROCEDURES.-After notice required by this section, the agency shall afford
         interested persons an opportunity to participate in the rule making through sub-
         mission of written data, views, or argument with or without opportunity to pre-
         sent the same orally in any manner; and, after consideration of all relevant matter
         presented, the agency shall incorporate in any rules adopted a concise general
         statement of their basis and purpose. Where rules are required by statute to be
         markh on the record after opportunity for an agency hearing, the requirements of
         sections 7 and 8 shall apply in place of the provisions of this subsection.
            (c) EFFECTIVE DATES.-The required publication or service of any substantive
         rule (other than one granting or recognizing exemption or relieving restriction or
         interpretative rules and statements of policy) shall be made not less than thirty
         days prior to the effective date thereof except as otherwise provided by the agency
         upon good cause found and published with the rule.
            (d) PETITIoNs.-Every agency shall accord any interested person the right to
         petition for the issuance, amendment, or repeal of a rule.
                                             ADJUDICATION
            SEC. 5. In every case of adjudication required by statute to be determined onr
        the record after opportunity for an agency hearing, except to the extent that there
         is involved (1) any matter subject to a subsequent trial of the law and the facts.
        de novo in any court; (2) the selection or tenure of an officer or employee of the
         United States other than examiners appointed pursuant to section 1i; (3) pro-
        ceedings in which decisions rest solely on inspections, tests, or elections; (4) the
        conduct of military, naval, or foreign-affairs functions; (5) cases in which an
        agency is acting as an agent for a court; and (6) the certification of employee
        representatives-
            (a) NOTICE.-Persons entitled to notice of an agency hearing shall be timely
        informed of (1) the time, place, and nature thereof; (2) the legal authority and
        jurisdiction under which the hearing is to be held; and (3) the matters of fact and
        law asserted. In instances in which private persons are the moving parties, other
        parties to the proceeding shall give prompt notice of issues controverted in fact
        or law; and in other instances agencies may by rule require responsive pleading.
        In fixing the times and places for hearings, due regard shall be had for the con-
        venience and necessity of the parties or their representatives.
            (b) PROCEDURE.-The agency shall afford all interested parties opportunity
        for (1) the submission and consideration of facts, argument, offers of settlement,
        or proposals of adjustment where time, the nature of the proceeding, and the pub-
        lic interest permit and (2) to the extent that the parties are unable so to determine
        any controversy by consent, hearing, and decision upon notice and in conformity
        with sections 7 and 8.
            (C) SEPARATION OF FUNCTIONs.-The same officers who preside at the reception:
        of evidence pursuant to section 7 shall make the recommended decision or initial
        decision required by section 8 except where such officers become unavailable to
        the agency. Save to the extent required for the disposition of ex parte matters
        as authorized by law, no such officer shall consult any person or party on any fact
        in issue unless upon notice and opportunity for all parties to participate; nor shalt
        such officer be responsible to or subject to the supervision or direction of any
        officer, employee, or agent engaged in the performance of investigative or prose-
        citing functions for any agency. No officer, employee, cr agent engaged in the
        performance of investigative or prosecuting functions for any agency in any case
        shall, in that or a factually related case, participate or advise in the decision,
        recommended decision, or agency review pursuant to section e except as witness&
        or counsel in public proceedings. This subsection shall not apply in determining
        applications for initial licenses or to proceedings involving the validity or applica-
        tion of rates, facilities, or practices of public utilities or carriers; nor shall it be
        applicable in any manner to the agency or any member or members of the body
        comprising the agency.



                                                                Defs.' MSJ App. 379
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                       Page 159 of 212 PageID 3676
          4                       ADMINISTRATIVE PROCEDURE ACT
             (d) DECLARATORY ORDERS.-The agency is authorized in its sound discretion,
          with like effect as in the case of other orders, to issue a declaratory order to ter-
          minate a controversy or remove uncertainty.
                                            ANCILLARY MATTERS
             SEC. 6. Except as otherwise provided in this Act-
             (a) APPEARANCE.-Any person compelled to appear in person before any
          agency or representative thereof shall be accorded the right to be accompanied,
          represented, and advised by counsel or, if permitted by the agency, by other
          qualified representative. Every party shall be accorded the right to appear in
          person or by or with counsel or other duly qualified representative in any agency
          proceeding. So far as the orderly conduct of public business permits, any inter-
          ested person may appear before any agency or its responsible officers or employees
          for the presentation, adjustment, or determination of any issue, request, or con-
          troversey in any proceeding (interlocutory, summary, or otherwise) or in connec-
          tion with any agency function. Every agency shall proceed with reasonable. dis-
          patch to conclude any matter presented to it except that due regard shall be had
          for the convenience and necessity of the parties "} their representatives. Nothing
          herein shall be construed either to grant or to deny to any person who is Lot a
          lawyer the right to appear for or represent others before any agency or in any
          agency proceeding.
             (b) INVESTIGATIONS.-No process, requirement of a report, inspection, or other
          investigative act or demand shall be issued, made, or enforced in any manner or
          for any purpose except as authorized by law. Every person compelled to submit
          data or evidence shall be entitled to retain or, on payment of lawfully prescribed
          costs, procure a copy or transcril)t thereof, except that in a nonpublic investigatory
          proceeding the witness may for good cause be limited to inspection of the official
          transcript of his testimony.
             (C) SUBPENAS.-Agency subpenas authorized by law shall be issued to any
          party upon request and, as may be required by rules of procedure, upon a state-
          ment or showing of general relevance and reasonable scope of the evidence
          sought. Upon contest the court shall sustain any such subpena or similar proc-
          ess or demand to the extent that it is found to be in accordance with law and,
          in any proceeding for enforcement, shall issue an order requiring the appearance
          of the witness or the pro(luction of the evidence or data within a reasonable
          time under penalty of punishment for contempt in case of contumacious failure
          to comply.
             (d) DENIALS.-Promrpt notice shall be given of the denial in whole or in part
          of any written application, petition, or other request of any interested person
          mnade in connection with any agency proceeding. Except in aflirming a prior
          denial or where the denial is self-explanatory, such notice shall be accompanied
          by a simple statement of l)rocedural or other grounds.
                                                    HEARINGS
             SiC. 7. In hearings which section 4 or 5 requires to be conducted pursuant to
          this section-
             (a) PlHESID)ING OFFIcErts-Thiere shall preside at the taking of evidence (1)
          the agency, (2) one or more mncinbers of the body which comprises the agency,
          or (3) one or more examiners ajplointe(l as )rovi(le(1 in this Act; but nothing in
          this Act shall be (leemed to superse(le the conduct of specified classes of proceed-
          ings in whole or l)art by or before boards or other officers specially provided for
          by or designated l)ursuant to statute. The functions of all presiding officers and
          of officers f)articif)ating in decisions in conformity with section 8 shall be con-
          (lletcdl in all impartial manner. Any such officer mnay at any time withdraw if
          he deemis himself (lis(ualifie(d; and, upon the filing in good faith of a timely and
          sufficient affidavit of personall bias or disqualification of any such officer, the
          agency shall determine the imiatter as a part of the record and decision in the
          case.
             (b) HIEAMI.NG PowEts.-Oflicers presiding at hearings shall have authority,
          Sul)ject to tile p)ul)lished( rules of $ le agency and wit hill its )owers, to (1) a(dmn1n1-
          ister oathis and iffirtiat ions, (2) issue suinbpenas aut horized hy l aw, (3) rule upon
          offers of p)roof and receive relevant. evidence, (4) take or cause depositionss to be
          taken whenever the ends of justice would be served thereby, (5) regulate the
          course of the hearing, (/;) hold conferences for the settlement or siml)lification
          of the issues by consent of the l)arties, (7) dis1)ose of proeedulral requests or
          similar matters, (8) make decisionss or recommen(l decisions in conformity with



                                                                   Defs.' MSJ App. 380
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 160 of 212 PageID 3677
                        ADMINISTRATIVE PROCEDURE ACT               5
         section 8, and (9) to take any other action authorized by agency rule consistent
         with this Act.
            (C) EVIDENCE.-Except as statutes otherwise provide, the proponent of a rule
         or order shall have the burden of ptoof. Any oral or documentary evidence may
         be received, but every agency shall as a matter of policy provide for the exclusion
         of irrelevant, immaterial, or unduly repetitious evidence and no sanction shall be
         imposed or rule or order be issued except upon consideration of the whole record or
         such portions thereof as may be cited by any party and as supported by and in
         accordance with the reliable, probative, and substantial evidence. Every party
         shall have the right to present his case or defense by oral or documentary evidence,
         to submit rebuttal evidence, and to conduct such cross-examination as may be
         required for a full and true disclosure of the facts. In rule making or determining
         claims for money or benefits or applications for initial licenses any agency may,
         where the interest of any party will not be prejudiced thereby, adopt procedures
         for the submission of all or part of the evidence in written form.
            (d) REcORD.-The transcript of testimony and exhibits, together with all papers
         and requests filed in the proceeding, shall constitute the exclusive record for
         decision in accordance with section 8 and, upon payment of lawfully prescribed
         costs, shall be made available to the parties. Where any agency decision rests
         on official notice of a material fact not appearing in the evidence in the record,
         any party shall on timely request be afforded an opportunity to show the contrary.
                                               DECISIONS
           SEC. 8. In cases in which a hearing is required to be conducted in conformity
        with section 7-
            (a) ACTION BY SUBORDINATES.-In cases in which the agency has not presided
        at the reception of the evidence, the officer who presided (or, in cases not subject
        to subsection (c) of section 5, any other officer or officers qualified to preside at
        hearings plursuant to section 7) shall initially decide the case or the agency shall
        require (in specific cases or by general rule) the entire record to be certified to it
        for initial decision. Whenever such officers make the initial decision and in the
        absence of either an appeal to the agency or review upon motion of the agency
        within time provided by rule, such decision shall without further proceedings
         then become the decision of the agency. On appeal from or review of the initial
        decisions of such officers the agency shall, except as it may limit the issues upon
        notice or by rule, have all the powers which it would have in making the initial
        decision. WX henever the agency makes the initial decision without having pre-
        side(d at the reception of the evidence, such officers shall first recommend a
        decision except that in rule making or determining applications for initial licenses
        (1) in lieu thereof the agency may issue a tentative decision or any of its respon-
        sib)Ie officers may recommend a decision or (2) any such procedure may be omitted
        in any case in which the agency finds upon the record that due and timely execution
        of its function imperatively and unavoidably so requires.
            (b) S I'13MITTALS AND DECISIONs.-Prior to each recommended, initial, or ten-
        tative decision, or decision upon agency review of the decision of subordinate
        officers the parties shall be afforded a reasonable opportunity to submit for the
        consideration of the officers participating in such decisions (1) proposed findings
        and conclusions, or (2) exceptions to the decisions or recommended decisions of
        subordinate officers or to tentative agency decisions, and (3) supporting reasons
        for such exceptions or proposed findings or conclusions. The record shall show
        the ruling upon each such finding, conclusion, or exception presented. All
        decisions (including initial, recommended, or tentative decisions) shall become a
        part of the record and include a statement of (1) findings and conclusions, as well
        as the reasons or basis therefor, upon all the material issues of fact, law, or dis-
        cretion presented on the record; and (2) the appropriate rule, order, sanction,
        relief, or denial thereof.
                                      SANCTIONS AND POWERS
          SF.C. 9. In the exercise of any power or authority-
           (a) IN 0ENERAL.-No sanction shall be imposed or substantive rule or order
        be issued except within jurisdiction delegated to the agency and as authorized by
        law.
           (b) LICENSES.-In any case in which application is made for a license required
        by law the agency, with due regard to the rights or privileges of all the interested
        parties or adversely affected persons and with reasonable dispatch, shall set and
        complete any proceedings required to be conducted pursuant to sections 7 and 8




                                                                Defs.' MSJ App. 381
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                      Page 161 of 212 PageID 3678
         6                      ADMINISTRATIVE PROCEDURE ACT
        of this Act or other proceedings required by law and shall make Its decision.
         Except in cases of willfulness or those In whIoh public health, interest, or safety
         requires otherwise, no withdrawal, suspension, revocation, or annulment of any
         license shall be lawful unless, prior to the Institution of agency proceedings there-
         for, facts or conduct which may warrant such action shall have been called to the
         attention of the licensee by the agency in writing and the licensee shall have been
        accorded opportunity to demonstrate or achieve compliance with all lawful re-
        quirements. In any case in which the licensee has, in accordance with agency
         rules, made timely and .4ufflcient application for a renewal or a new license, no
         license with reference to any activity of a continuing nature shall expire until
        such application shall have been finally determined by the agency.
                                            JUDICIAL RevImw
            Sc, 10. Except so far as (1) statutes preclude judicial review or (2) agency
        action is by law committed to agency discretion-
            (a) RIGHT OF REvImW.-Any person suffering legal wrong because of any
        agency action, or adversely affected or aggrieved by such action within the
        mean ing of any relevant statute, shall be entitled to judicial review thereof.
            (b) FORM AND VENUE OF ACTION.-The form. of proceeding for judicial review
        shall ho any special statutory review proceeding relevant to the subi cot matter
         in any court specified by statute or, In the absence or inadequacy thereof, any
        applicable form of legal action (including actions for declaratory judgments or
         wrMts of prohibitory or man(latory iljunctioln or habea.s; corpus) in any court of
        competent julrisdiction. Agency action shall be subject to judicial review in
        civil or original proceedings for judicial enforcement except to the extent that
        prior, a(iequate, and exclusive opportunity for such review is provided by law.
            (c) OEv1w^ABE.E ACTS.-Every agency action made reviewable by statute and
        every final agency action for which there is no other adequate remedy in any
        court shall be sul;ject to judicial review. Any preliminary, procedural, or ilnter-
        medliate agency action or ruling not, directly revifowable shall be subject to review
        upon the review of the final agency action Except as otherwise expressly re-
        quired by statute, agency action otherwise final shall be final for the pl)rposes of
        this subsection whether or not there has been presented or determined any appli-
        cation for a declaratory order, for any form of reconsideration, or (unle.4ss the
        agency otherwise requires by rule and provl(les that the action meanwhile shall
        be inoperative) for an appeal to superior agency authority.
             ((d) IN'rEwlll.B REIw1 d-Pen(ing judicial review any figenev is authorized,
        where it finds that just ice so requires, to postpone the eifective (dnte of any action
        taker by it, Up)on suche condition.ns smay bel) re(qulirced ant( to the extent necessary
        to prevent irreparable injury, every reviewing court includingg every court to
        which a ease may be taken on apl)eal fromt or uipon ap)l)lication for certiorari or
        other writ to a reviewing court) is authorized to isstiu all necessary atid appropriate
        process to postPlone thle effective date of any agency alctiofl or to lreserve stattls
        or right f pending conclusion of the review p)roceed(iigs.
            (e) ScojPrEO and,  uvItw.S) far n essury to decision               where present e the
        reviewing court shall (lecide all relevant (Iestiotn of lw, interpret, (constittit lonal
        and( satutory provisions, and (delertiniln the meaning or applieability of the toermns
        of any agency action. It shall (A) compel agency actionu nIiawfull\' Wv3th held Or
        unreasonably (dolaved ; and (1B) hold ii tililsuful and et aside agency action, finclings,
        and conclislions f1)und to be (1) arbitrary, cal)riciotiti, ant al)mIse of (discret ion, or
        otherwise not, ir necordan eC with law; (2) contrary to constitutional right, power,
        privilege, or immmti ity; (3) in excess of statiut'ory jurf.isdictIlon, authority, or Iimin-
        tations, or short of stiltittory right: (4) without o)sorvanee of p)roce(iure required
        by law; (5) umnsup)port ed by tibst antial evidence in any case subject, to thet require-
        mInts of seCtilons 7 and Q or otherwise reviewe(1 on the record of an agency hearing
        p)rovi(ie(I by slattite; or (6) unwarrantedl by thc facts to the 0xten1t that the facts
        are subjcCt to trial (Id tiovo by the roeiowing court. In mnaki ug t ie foregoing
        (detenrmtiatfiows the coIrt shIall review thel whole recor(l or sueh l)ortimns thereof
        as may be eited by any party, and due account shall be taken) of the ruloe of preju-
        dicial error.
                                               EXAMINERS
            fixc. 11. ,Subject to the civil-service and other lawsi to the extent not inconsis-
        tent with this Act, there shall be appointed by andl for each agency a8 many qual-
        (fled and comI potent examiners as may be necessary for proceedings pursuant to
        actions 7 amid 8, who shall bo assigned to cases in rotation so far as practicable



                                                                  Defs.' MSJ App. 382
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 162 of 212 PageID 3679
                        ADMINISTRATIVE PROCEDURE ACT                7
        nud shall perform no duties inconsistent with their duties and responsibilities as
        examiners. Examiners shall be removable by the agency in which they are em-
        ployed only for good cause established and determined by the Civil Service Com-
        mission (hereinafter called the Commission) after opportunity for hearing and
        upon the record thereof. Examiners shall receive compensation prescribed by
        the Commission independently of agency recommendations or ratings and in
        accordance with the Classification Act of 1923, as amended, except that the pro-
        visions of paragraphs (2) and (3) of subsection (b) of section 7 of said Act, as
        amended, and the provisions of section 9 of said Act as amended, shaU not be
        applicable. Agencies occasionally or temporarily insuflciently staffed may utilize
        examiners selected by the Commission from and with the consent of other agen-
        cies. For the purposes of this section, the Commission is authorized to make
        investigations, require reports by agencies, issue reports, including an annual
        report to the Congress, promulgate rules, appoint such advisory committees as
        may he deemed necessary, recommend legislation, subpena witnesses or records,
        and pay witness fees as established for the United States courts.
                                     CONSTRUCTION AND EFFECT
           SF.c. 12. Nothing this Act shall be held to diminish the constitutional rights
                               in
        of any person or to limit or repeal additional requirements im posed by statute or
        otherwise recognized by law. Except as otherwise required by law, all require-
        netnts or privileges relating to evidence or procedure shall apply equally to agencies
        and p~ersona. If any provision of this Act or the application thereof is eld invalid,
        the remainder of thiis Act or other apl)licftions of such provision shall not be
        affected. Every agency is granted all authority necessary to comply with the
        requirements of thim Act through the issuance of rules or otherwise. No subsequent
        legislation shall bo held to supersede or modify the provisions of this Act except to
        the extent that such legislation shall do So expressly. This Act shall tako effect
        three months after its approval except that sections 7 and 8 shall take effect six
        months after such approval, the requirement of the selection of examiners pur-
        suant to section 11 shall not become effective until one year after such approval,
        and no procedural requirement tlhall be mandatory aa to any agency proceeding
        initiated prior to the effective date 6f such requirement.
                              II. LEGISLATIVE HISTORY
           For more than 10 years this legislation has been under considera-
        tion. Certainly no measure of like character has had the painstaking
        an(I detailedd study and (l1rafting. Botlh the legislative arid executive
        branches have participate(l, and private interests of every kinud have
         lead an op)portlluity to present their views. In the legislative branch
        there have been four major proposals for the creation of an adminis-
        trative court, and at least eight for the regulation of administrative
        procedure. Two important stulldies were condlucte(l in the executive
        1E)ranch under the late 'resident Franklin D. Roosevelt--each result-
        ing iin reports to Congress With legislative reconmenl(lations, Private
        in(livi(duals and organization have made, innumerable stu(lies and
        recommendations. While various proposals have been ma(Ie over the
        years, the continuously line of (levelol)ment lea(ling to the present bill is
        clear And illuminating.
           1937 Report of President's Committee on Administrative Manage-
        ment.--The growth and intensification of administrative regulation
        of privatee enterprise and other plhases of Americ-an life had moved
        President Roosevelt early in his administration to appoint a committee
        to Studly a(lministrative metho(ls, functioning, and organization.
        Althouggi that. committee approached the probleIn from the standpoint
        of executive branch management, it was soon deeply involved in the
        essential public processes of administrative regulation. It issued
        numerous studies and( an extensive report (Report With SpecioWi Studties,
        1937), Which President Roosevelt transmitted to Congress with his


                                                              Defs.' MSJ App. 383
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                Page 163 of 212 PageID 3680
         8                    ADMINISTRATIVE PROCEDURE ACT

         endorsement and the statement that it was "a great document of
         permanent importance" (p. iii). At that time he also took occasion to
         remark that the practice of creating administrative agencisa-
         who perform administrative work in addition to judicial work, threatens to develop
         a "fourth branch" of the Government for which there is no sanction in the Con-
         stitution.
         To which the committee added (p. 40):
           There Is a cOaft-b-of principle involved in their make-up and functions. * * *
         They are vested with duties of administration * * * and at the same time
         they are given important judicial work. * * * The evils resulting from this
         confusion of principles are insidious and far reaching. * * * Pressures and
         influences properly enough directed toward officers responsible for formulating
         and administering policy constitute an unwholesome atmosphere in which to
         adjudicate private rights. But the mixed duties of the commissions render
         escape from these subversive influences imposHible. Furthermore, the same men
         are obliged to serve both as prosecutors and as judges, This not only undermines
         judicial fairness; it weakens public confidence in that fairness. Commission
         decisions affecting private rights and conduct lie under the suspicion of being
         rationalizations of the preliminary findings which the Commission, in the role of
         prosecutor, presented to itself.
         The foregoing statement reflects a widespread feeling, which has been
         greatly extended by the expansion of administrative controls during
         the subsequent war years.
            The problem has been how to deal with the situation, in our complex
         governmental set-up, without unduly interfering with necessary
         governmental operations. President Roosevelt's committee recom-
         mended a drastic reform by which every agency exercising mixed
         functions would be dividedd into an administrative and judicial section.
         The latter, although it might be "in" a department, was to be wholly
         if nfnit of the former an(l of executive control. While subsequent
         proposals (except for the minority of the later Attorney General's
         Committee on Administrative Procedure, discussed hereinafter) have
         not suggested such a complete separation of functions and the present
         bill does not go so far, the recommendations of the President's Com-
         mittee on Administrative Management are-as P'resident Roosevelt
         said in his nies;sagea to the Congress-of permanent importance,
            1938 Senate hearings.-The Senate Judiciary Committee in 1938
         held hearings on the proposal for the creation of an administrative
         court; al(l it issued as a comnnittee print an elaborate study of ad-
         ministrative powers conferred by statute up to that time (S. 3676,
         75th Conig.). However, such a propositions presents serious problems
         and some deficiencies. It means the creation of a special court or
         courts, in derogation of the regular courts with which people are
         familiar and which the Constitution directs the Congress to provide
         for the redress of all grievances an(1 settlement of disputes. There
         may also be some limitations upon the functions which could be
         conferred upon a court. It could not, for example, exercise the rule-
         making power without undertaking to supplant the administrative
         arm entirely. Moreover, that proposal failsto reach and control the
         administrative process at its source. There is need for a simple and
         standard plan of administrative procedure, together with the state-
         ment of legal an(l enforceable guides for administrative officers and
         agents in their daily operations. In short, an important object of
         any legislation in this field is not only to provide judicial redress but
         to assure administrative fairness in the beginning so that litigation
         may become unnecessary.


                                                             Defs.' MSJ App. 384
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 164 of 212 PageID 3681
                         ADMINISTRATIVE PROCEDURE ACT               9
            1939-40 Walter-Logan bill.-S. 915, the Walter-Logan adminiis-
         trative procedure bill, was favorably reported to the Senate in 1939
         (S. Rept. No. 442, 76th Cong., 1st sess.). Although a different bill
         is now reported to the House of Representatives, the following pas-
         sages of that report are well worth quoting (pp. 9-10):
            Unfortunately the statutes providing for hearings before the so-called Inde-
         pendent agencies of the Federal Government as well as those providing for the
         conduct of the affairs of the single-headed agencies, do' not provide for uniform
         procedure for * * * hearings or for a uniform method and scope of Judicial.
         review. All argun~ent that such uniformity is neither possible or desirable is
         answered by the fact that uniformity has been found possible and desirable for all
         classes of both equity and law actions in the courts exercising the whole of the
         judicial power of the Federal Government. It. would seem to require no argu-
         ment to demonstrate that the administrative agencies exercising but a fraction
         of the judicial power may likewise operate under unliForm rules of practice and
         procedure and that they may be required to remain within the terms of the law as
         to the exercise of both quasi-legislative and quasi-judicial power.
            The results of the lack of uniform procedure for the exercise of quast-jddicial
         power by the administrative agencies have been at least threefold: (1) The respec-
         tive administrative agencies give little heed to, and are little assisted by, the decl-
         sions of other administrative agencies or by the decisions of the courts applicable
         to such agencies; (2) the courts are placed at considerable disadvantage because
         thev must verify the basic statutes of all decisions relating to other administrative
         agencies ivhich are cited to them, thus slowing uip the writing of opinions in par-
         ticular cases; and (3) individuals and their attorneys are at a disadvantage in the
         presentation of their administrative appeals wvIth the result that there is a tend-
         ency to eml)hasize the importance of the Ju(ficiary in the administrative process.
            In fact, the present situation of indescribable confusion Is due to the fact that
         the Congress has ignored the development of the administrative process prior to
         1861; that since such time the Congress has created administrative agencies with-
         out regard to any uniformity of the judicial review provisions and without regard
         to the procedure developed and proven prior to that time; and that the law schools
         have placed undue emphasis on the pathological aspects of administrative pro-
         cedure rather than upon the statutes and the administrative processes, Added to
         all this has been the constantly growing complexity of the Federal Government
         and the resulting lack of training of most lawyers and businessmen therein.
            Furthermore the statutes, commencing with the Interstate Commerce Act,
         have made no provision whatever for improvement of the administrative process
         and rarely have these statutes attempted to prescribe, even in a general way, the
         scope of judicial review. The result has been that the administrative agencies
         and the courts have been required to work out the procedure from case to case with
         unnecessary fumbling in the administrative process and with unnecessary criti-
         cisms of the courts when they have attempted-not altogether with success-in
         their decisions to lay down general rules of trial and appellate procedure.
         The Judiciary Committee of the House of Representatives reported
         the similar bill (H. R. 6324) with some amendments during the same
         year (H. Rept. No. 1149, 76th Cong., 1st sess.).
            Referring to Presidenit Roosevelt's program of governmental reor-
         ganlizationi which followed the report of his Committee on Administra-
         tive Management, described aboVe, tihe Committee on the Judiciary of
         the House of Representatives said in reporting the bill (p. 2):
            Procedures vary as among the several agencies and to some Extent even among
         the principal officers or employees of the same agencies. It is practically inpos-
         sible for a Member of the Congress, mnuch less an individual citizen, to find his
         way among these many agencies or to locate the particular officer or employee in
         any of the agencies with whom any particular problem should be discussed with a
         view to settlement,
            This condition of affairs has been in the making for many years and is not some-
         thing which has come upon us within the past few years, though it might be
         candidly admitted that the condition has grown worse within the past few years
         in the attempts that have been made to meet serious economic and social problems.
            Very obviously these administrative agencies cannot be abolished, though
         without doubt there are many of us who yearn for the comparatively simple life



                                                               Defs.' MSJ App. 385
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 165 of 212 PageID 3682
          10            ADMINISTRATIVE PROCEDURE ACT
         of yesteryear when" these agencies of Government were not needed and did not
         exist. Practically all of these agencies, in their administration of the various and
         sundry statutes, must issue rules, make investigations, conduct hearings, and
         decide controversies and there is no practicable and feasible method which could
         be ado pted by whipc there could be segregated these quasi-legislative and qIias4-
         Judicial functions from the purely administrative functions without destroying the
         usefulness of such agencies.
            At the same time, the law must provide that the governors shall be governed
         and the regulators shall .be regulated, if our present formn of governrment is to
        endure.
        Early in 1940 there was issued an elaborately annotated copy of the
        bill, explaining its purposes and the derivation of its provisions (S.
        Doe. No. 145, 76th Cong., 3d sess.).
           Meanwhile the President had. directed the appointment of a com-
        mittee to make further studies and recommend dations, as described
        under the next heading of this report. Congress nevertheless passed
        the Walter-Logan bill. In vetoing it President Roosevelt said (H.
        Doe. No. 986, 76th Cong., 3d sess, pp. 1, 3-4):
           The objective of the bill is professedly the assurance of fairness in administrative
        proceedings. With that objective there will be universal agreement. The pro.
        motion of expeditious, orderly, anld sensible procedure in the conduct of public
        affairs is a l)ur1po5e which comznends itself not only to the Congress and the courts,
        but to the executive departments and administrative agencies themselves.
                 *          *          *           *          *           *           *
           I am, of course, not unaware that improvement in the administrative process
        is as much the duty of those concerned with it as the improvement of court pro-
        cedure ought to be a duty of the legal profession,
           Recognizing this, more than a Year ago I directed the Attorner General to
        select a committee of eminent lawvers, Jurists, scholars, and adm nistrators to
        review the entire administrative process in the various departments of the execu-
        tive Government and to recommend improvements, including the suggestion of
        any needed legislation.. For over a year such a committee has been taking up in
        detail each of the several typical administrative agencies and has been holding
        prolonged sessions, hearings, in quiries anid discussions, Its task has proved un-
        expectedly complex, The objective o/ this committee, however, is not to hamper
        administrative tribunals but to suggest improvements to make the process more
        workable anid more just and to avoid confusions and uncertainties and litigation.
        I should desire to await their report and recommendations before approving any
        measure in this complicated field. In this thought I believe most Americans wlil
        agree, The report and recommendations will be transmitted to the Congress in a
        few weeks.
        The committee to which the Prqsident referred ha(d been at. work for
        more than, a year, had made an interim report, and had issuedstudies
        of the work of particular agencies.
           The present till must be distinguished from the Walter-Logan bill
        in several essential respects. Unlike that bill it diff'enentiattes the
        several types of rules. It requires no agency hearings in connection
        with either regulations or adjudications unless statutes already do so
        in particular cases, Where statutory hearings are otherwise provided,
        it fills in some of the essential requirements; and it provi(les for a
        special class of semi-independent subordinate hearing officers. It in-
        cludes several types of incidental proce(lures. It confers numerous
        procedural rights. It limits administrative penalties. It contains
        comprehensive provisions for judicial review for the redress of any
        lega wrong. And, since it 1(1mawn entirely upon a functional basis,
        it contains no exemptions of agencies as such. One of the main recom-
        mendations of the later Attorney General's Committee onl Adminis-
        trative Procedure--which, is hereinafter discussed-was that "all im-
        portant and far-reaching defect in the field of administrative law has


                                                                  Defs.' MSJ App. 386
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 166 of 212 PageID 3683
                         ADMINISTRATIVE PROCEDURE ACT              11
         been a simple lack of adequate public information concerning its
         substance and procedure" (S. Doc. No, 8, 77th Cong., p. 25). The
         Walter-Logan bill made no provision in that respect, whereas the first
         operative section of the present bill spells out the requirements of
         public  information in considerable detail (sec. 3). This is an import-
         ant provision of the present bill, The Walter-Logan bill changed the
         present examiner system by providing for employee boards to hear
         cases in departments and that examiners could hear cases in independ-
         ent agencies, but that in independent agencies either boards or three
         members should rehear cases on the petition of the party involved be-
         fore a decision could be entered (sec. 4 (a), (b), (d)). The present
         bill, on the other hand, does not change the operation of the examiner
         system nor does it provide that examiners should supersede the func-
         tions of other types of hearing officers provided by statute (sec. 7 (a)).
            1941 Final Report of Attorney General's Committee on Administra-
         tive Procedure.-In December 1938 the Attorney General in a letter
         to. President Roosevelt had reviewed the progress made in securing
         siljplified and uniform rules of procedure for F'ederal court procedure
         stateol that "there is need for procedural reform in the, wide and
         growing field of administrative law," and recommended the creation
         of an appropriate body to make the necessary studies and recom-
         mendations for congressional consideration (S. Doc. No. 8, 77th
         Cong., 1st sess., p. 251). The President had agreed by letter of
         February 16; 1939 (p. 252). The committee had made an interim
         report in January 1940, setting forth mainly the comprehensive scope
         of its program of studies (p. 254).
            The agencies studied were the following (pp. 3-4):
         The Department of Agriculture (Agricultural Marketing Service; Commodity
            Exchange Administration; Bureau of Anfinal Industry; Bureau of Entomology
           an(l Plant Quarantine; Surplus Marketing Administration; and Sugar Division).
         The I)epartment of Commerce (Civil Aeronautics Administration; Bureau of
            Marine Inspection and Naviation; and Patent Office).
         The D)epartment of the Interior (13ituminous Coal Division; General Land
            Office; Grazing Service; Office of Indian Affairs; Bureau of Fisheries; and
            Bureau of Biological Survey).
         The Department of Justice (ltrnmigration and Naturalization Service).
         The Department of Labor (Division of Public Contracts; Wage and Hour Divi-
           sion; and Children's Bureau).
         The P'ost Office Department (fraud orders and second-class mailing privileges).
         Tlhe Departnment of State (Passport Division, Visa 1)ivision, and the Division of
            Controls, having to do with the international tratfic in arms and with the
           supervision and administration of neutrality laws).
         Th l)eD)artment of the Treasury (Bureau of Internal Revenue (into which had
            l)een absorbed the Federal Alcohol Administration]; Processing Tax Board of
            Review; Bureau of the Comptroller of the Currency; and the Bureau of
           CuSt.bms).
         The War Department (Office of the Chief of Engineers; the Selective Service
            Act was enacted after the completion of theme studies).
         The Commodity ]Exchange (Commission,
         The Federal Communications Commission,
         The Federal Deposit Insurance Corporation.
         The Federal Home Loan Bank Board.
         The Federal Power Commission.
         The Federal ileserve System.
         The Federal Security Agency (Social Security Board, Public Healtb Service, and
           tile Food and Drug Administration).
         The Federal Trade Commission.
         The Interstate (Commerce Commission.
         The National Labor Relations Board.
         The National Mediation Board.



                                                           Defs.' MSJ App. 387
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                 Page 167 of 212 PageID 3684
          12                  ADMINISTRATIVE PROCEDURE ACT
          The National Railroad Adjustment Board.
          The Railroad Retirement Board,
          The Securities and Exchange Commission,
          The United States Board of Tax Appeals.
          The United States Employees'Compensation Commission (including the deputy
            commrL~sioners).
          The United States Maritime Commission.
          The United States Tariff Commission.
         ;The Veterans' Administration.
            The committee's investigators examined agency recordsand pro-
         cedures, it held executive         hearings,    and then written studies were
         issued.     These   usually    embraced    a  first mimeographed study, a re-
         vision tbereof, and finally the issuance of 27 printed monographs each
         embodying       the results for one or more agencies, which became Senate
         documents (S. Doc. No. 186, 76th Cong., 3d sess., pts. 1-13; and S.
         Doc.    No. 10, 77th Cong., 1st sess,, pts. 1-14). They were widely
         distributed, The committee also heIl public hearings. Defects of
         the procedures of particular agencies are also summarized at length
         in chapterIX of the committee's final report.
            There are 474 pages in the committee's final report, of which only
         the first 127 are the report proper. The remainder is made up of
         minority views (pp. 203-250) and appendixes. See Administrative
         Procedure in Government Aqencies-Report of theCommittee on Admin-
         istrative  Procedure, Appointed by the Attorney          General at the Request of
         the President, to Investiqate the   Need     for Procedural Reform in Variouv
         Administrative Tribunals and To Suggest Improvements Therein (S.
         Doc. No. 8 77th Cong., 1st sess,, dated January 22, 1941).
            The published documents relating to the present bill, notably the
         Senate Judiciary Committee print of June 1946 onS. 7 which collates
         inparallel columns the provisions of thepresent billwith the pertinent
         portions of-the final report of the Attorney General's Committee on
         Administrative Procedure, indicate the care with which the recom-
         mendationts
         present   bill.
                          of that committee have beqn studied in framing the
                        While       it follows generally the views of good administra-
         tive practice as expressed lby the     whole     of that committee, it differs in
         several important respects. It provides that agencies may choose
         whether their examiners shall make the initial decision or merely
         recommend a decision, whereas the Attorney General's committee
         made a decision by examiners mandatory. It provides some general
         limitations upon administrative powers an(l sanctions, particularly
                              field of licensing, while the Attorney General's coin-
         mittee rigorous
         in the
                  (id  not
         salaryframework
                             touch   upon the subject. behavior
                                                   goo(l             upon
                                                             It relies
                                                                       of
                                                                              independence,
                                                                           examiners
                  security, of the civil during whereas the Attorney General's
                              and   tenure                                            within
         the                                 service,
         committee favored short-term appointments approved by a special
         "Office of Administrative Procedure."
            As a matter of drafting, the actual language of the present bill has
         had vastly more consideration and participation by all parties con-
         cerned than the bills presented in 1941 by the majority and minority
         of the Attorney General's Committee on Administrative Procedure,
         An entire year has been spent alone in redrafting the original S. 7
         (H. R. 1203) of the present Congress as hereinafter more                   fully ex-
         plained.     Its  predecessor S.    2030 (HI. i.
         gress, had passed throu gf a similar process.
                                                              5081),  of  the previous  Con-
            Senate hearings.-Tile majority and minority bills growing im-
         mediately out of the work of the Attorney General's committee were

                                                             Defs.' MSJ App. 388
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 168 of 212 PageID 3685
                         ADMINISTRATIVE PROCEDURE ACT              13
         introduced in Congress along with revised versions of other bills. A
         distinguished subcommittee of the Senate Committee on the Judiciary
         (composed of Senator Hatch as chairman and Senators O'Mahoney,
         Chandler, Austin, and Danaher) then held hearings in April, May,
         June, and July of 1941, which were published in three parts and an
         appendix. (See hearings on S. 674, 675, and 918.) By far the greater
         part of the hearings were devoted to the oral or written statements, or
         both, of representatives of governmental agencies, among them the
         following:
               Agriculture Department
               Attorney General
               Bituminous Coal Division
               Bonnoville Power Administration
               Bureau of Marine Inspection and Navigation
               Bureau of Rleclamation
               Civil Aeronautics Administration
               Civil Aeronautics Board
               Civil Service Commission
               Export Control Administrator
               Federal Coinmunications (Commission
               Federal Deposit Insurance Corporation
               Federal Power Commission
               Federal Rleservo System
               JFederal Sceurity Agency
               Federal Trade Commission
               Fish and Wildlife Service
               Grazini    Service
               General Lad(1 Ofmie
               Imnmigration and Naturalization Service
               Interim or Department
               Interstate Commerce Commission
               .Jtwltice Dei)artmient
               Labor Departmeint
               National L}abor clleations Board
               NationalIRailroad Retirement Board
               Office of Indian Affairs
               Patent. office
               l'ost, Office I)op)artment
               Sectiritfles and(l Exchange Commission
               Tariff (Conmmhission
               Tetniesswe Valley Authority
               Treasury l)epartment
               V'eterlas' Administration
               War D)epartmnont
         In a(flit ion, thl su bcommiitt!ee 1ear(l or received the written statements
         of repr(esejttives of b)usi ness, p)rofessiol ia, lal)Or, nild agricultural
         orgallizationis as wvell as members of thle Attorney General's C'mmnlittee
         on A(lminiistrative 1Proceduro. Tlhe wlitteon stateilent submitted by
         the milnority Ielnl)ebrs of that comimnitteo summarizes most of thle
         testimony anild( statements (pp. 1374-1401 ) and also presents a revision
         of their legislative recomimen(lations (pp. 1402- 1418)..
            It call 1) Said fairly that 110 point raised by anly agelley inl those
         voley lengthy an(l e'tmiilied hearings has not been given full consi(dera-
         tion ill thle (drafting of te l)presellt bill, and indeed ill almost every
         ilstanece thle present bill avoids thel difficulties which Government
         agencies then feared. For exaniple, in those hearings agencies pro-
         test.ed mainly Against liinitatiolls upon delegations of authority (p.
         1378), but thle present bill exp)ressly states that "nothing in this Act
         shlall be const-rued to repeal delegations of authority as provided l)y



                                                         Defs.' MSJ App. 389
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 169 of 212 PageID 3686
         14                 ADMINISTRATIVE PROCEDURE ACT

         law" (sec. 2 (a)). They feared any provision which might be con-
         strued to require them to issue rules or regulations in advance to
         meet every case (p. 1381), but apart fiom rules of organization and
         procedure the present bill requires the publication only of "substan-
         tive rules adopted as authorized by law and statementts of g,,eieral
         policy or interpretations formulated and adopted hy the agency for
         the guidance of the public" (sec. 3 (a)), Some agencies di( not want
         hearings provided (pp. 1389-1398, 1394), alnd the present bill provides
         the details for hearings only where other statutes require a hearing.
         (See sec. 4 (b) and the introdl)ctory clause to sec. 5.) They wished
         power to make declaratory rulings to be so limited tlat parties would
         not have an absolute right to such a ruling in every case (p. 1392),
         and the present bill expressly confers the authority upon certain
         A0encis to be exercised only in their "sounf(l (liscretion" (sec. 5 (d)).
         V various agencies objected to any provision for the separation of
         functions in rule making (p. 1396), a suggestion which the present bill
         expressly carries evenC further because section 5 which contains the
         segregation l)rovision (loes not al)ply to rule making and in subsection
         (c) makes additional exemptions.
            1942--44.-In August 1941 the increasingly threatening interna-
         tional situLation move(d the Senate Judiciary &onmitteo to postpone
         further consideration of the legislative proposals. The attack at
         Pearl Harbor occurre(l before the3 year was out. During tlhe war
         years 1942-43 the subject was necessarily in abeyance; but war legis-
         lation, administration, and congressional investigations l)rough t d(1-
         ministrative processes more and more into prominence. In June
         1944 nfew bills were intro(luced by the chairmen of tlhe Seniate and
         House Judiciary Committees (S. 2030 and II. R. 5081, 78th Cong.,
         2d sess.), and therenfter there was a goodl deal of discussionn and
         activity in and out of the Government with respect to the form such
         legislation should take. The Attorney General, utilizing some of the
         staff of his former Committee on Adnministrative Procedure, had a
         voluminous analysis made of the new bill.
            1945. The present bill.-With the opening of the present Seventy.
         ninth Conaress revised afnd simplified bills were introduced in Jannuary
          1945 by tfW Chairmen of the two .Judiciary Committees as S. 7 and
         H. R. 1203. Both chairmen called upon ad(ministrative agencies to
         submit their further views and suggestions in writing. Written sub-
          mittals Were also received from private organizations and parties.
          These wvere analyzed and, wvith the. aid of representatives of the
          Attorney General andl interested private organizations, in May 1945
          there was issued a Setinte committee print setting forth 'in parallel
         columns tlhe bill as introduce(d and a tentatively revised text. Th1is
         was distributed to administrative agencies, and they again sul)mitted
         comm zntts anrid suggestions in writi hg.
            Thereuponi the Senate Ju(liciary Committee had its staff make a
          further analysis and issued in June 1945 a large committee print set-
          ting forth in four parallel columns the text of the bill as originally
          introduced, the tentatively revise(l text as previously publ islied, a
          general explanation of provisions with references to thc final report
          of the Attorney Geeneral's Committee on Admnin istrotive Procedure
          and other autliorities, and a summary of agency an(J private views
          received in response to the first committee pritit.



                                                       Defs.' MSJ App. 390
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                    Page 170 of 212 PageID 3687
                                ADMINISTRATIVE PROCEDURE ACT                                 15
            At this point thle full Committee on the Judiciary of the House of
         Representatives lheld hearings late in June. The House Committee
         on the Judiciary had kept in close touch with, and had participated
         fully in, tho development of the bill; and it had also ldesigrlated a
         subcommittee on the subject. Attorney General Biddle had previ-
         olusly if(li('nted ofally that hoe was prepared to recommend the enact-
         mvnit of anl administrative procedures statute, and now indicated sim-
         ilarly that lhe wis prepared to accept the(draft proposed. He was,
         however, succeeded in office by Attorney G(eneral Tom C. Clark, who
         ninde( sor0o additions to the cotiferonce group representintig the Attor-
         tiey (Thnwr'al. They entcre(l uJpon 3 more months of discussions with
         interested Governmenit agenciest;and undertook to screen and correlate
         views and suggestions received orally or in writing. Private parties
         and organizations also participated. By this time the isues had been
         narrowed to matters of laiiguage and expression. A final form of bill
         (see thle r'inVs(C(l Senate committee print date(l October 5 1945) was
         then submitted to and( endorsed l)y the Attorney (Generai by letters
         a(l(r-essed( to the conlIllitt('e chairn(en of both hIouses. (For the full
         text see S. Rlept. No, 752, 79th Cong., 1 st sess., pp. 37-38.)
            Favorable recommendation of the Attorney General.-In his letter
         approvtiug at(l reconummerdiiig S. 7 as revise(l the Attorney Geuiiral
         st tted:
             T'eie goal towar(i which these efforts have been (lirectedi is, in my opinion, worth
         While. )esplto (tifficulties of diraft.smianship, I believe that over-all procedural
         legislation Is possible anid (desirable, The adrministrative prOCess is now well
         developedd. It' has bee subject iii recent years to the most ifltefIslv(, and informed
         stl(ldy---by various congressional comillit Lees, hy thle Attorney (General's Com-
         milit tee o01 Administrative Procediure b}y orgatll/i.tiots such as the American liar
         Association, and by many individual practitioners and legal scholars. We have
         in general--as wo dld not have until fairly recentlv-the materials and facts at
         hand. I think the time is ripo for some measure of control and prescrip)t.ion by
         legislation. I cannot agree that there is anything inherent in the subject of
         a( lninistrative procedure, however comnJ)lex it may be, which defies workable
         codificat ion,
             Since the original introd(lction of S. 7, I understand that                 has been
         afforded to public anid private Interests to study its provesopportunity
                                                                             ions anid to suggest
         amendments. 'l'ho agencies of the (Aovernmemttprinmarily concerned have been
         consulted and their ciens      conslidered. * * *
             The b)ill ap, wars to offer a hopeful prospect of achileing reasonable uniformity
         and fairness inl administrative p)roce(lurcs without at the' same time interfering
         ulytll^ with the efficient anid economical operation of the (Governmnent. Insofar
         as possible, the bill recognizes the imeeds of Individual agencies by appropriate
         exemption of certain of their functions.
             After reviewing the committee print, therefore, I have concluded that this
         Depart ment should recommend its enact ment.
           A similar statement was delivered to the chairman of the Committee
         on the Juidiciairy of the House of Represenllttives at the samilel time.
            Favorable report of the Senate Judiciary Committee.-On Novem-
         be' 19, 1945, the Committee, onl the Judiciary of the Seniate unanimously
         reported tile bill as revised (S. Rept. No. 752, 79th Cong., 1st sess.).
         Its report states that (p. 1)-
           T:here is a widesl)read demand for legislation to settle and regulate the field
        of Federal administrative law an(l l)roce(dure. Thle subjeCt is not exj)ressly
        mentioned ill the Constitution, an(l there is no recognizal)le x)dy of such law
        as there is for the cotirts in the .Judicial Code. There are no clearly recognized
        legal glides for eit her the l)ubllc or the administrators. Even the ordinary
        operations of administrative agencies are often (liflicult to klnow. Thle CoIiI-
        mittee on the Judiciary is conv' minced that, at least ill essentials, there should be
        sonme simple anid standard plan of administrative procedure.



                                                                 Defs.' MSJ App. 391
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 171 of 212 PageID 3688
         16                 ADMINISTRATIVE PROCEDURE ACT
            That report'contains a somewhat more brief rds6m6 of the legis-
         lative history (pp. 1-5) than is here set forth, a general statement
         as to the approach of the Senate committee (pp. 5-6), a comparison
         of the bill with the earlier Walter-Logan bill (p. 6), a comparison
         with the 1941 final report of the Attorney General's Committee on
         Administrative Procedure (pp. 6-7), a general statement as to the
         structure of the bill with a diagram (pp. 7-9), a detailed analysis of
         provisions (pp. 9-30), and some concluding general comments (pp.
         30-31). Appendix A thereto is the Senate bill as reported. Appendix
         B is the letter of the Attorney General in full, together with thie more
         detailed statement which accompanied it.
             1946 Senate debate and passage.-On March 12, 1946, the bill
         came on the Senate floor for action. It was explained in detail. It
         passed on the same day without change and without an a(lverse vote.
            Changes proposed by House Judiciary Committee.-The original
         S. 7, as heretofore stated, was also intro(luce(l in the house of Repre-
         sentatives as H. R. 1203 by Chairman Hlatton NV. Sumners of the
         Judiciary Committee, A half dozen others bills oIn the same subject
         had also been introduced in the House of Representatives. JThe
         revised S. 7 as reported by the Senate Judiciary Committee (and sub-
         sequently passed l)y the Senate) was intro(luced in thoe House ot Repre-
         sentatives in) December 1945 as HI. R. 4941 by Chairman Suniners,
         The (lesiglfate(l subcommittee of the House Ju(Iiciary Committee had
         followed all the proceedings and language of the bill. It considered
         many suggested changes and alternative proposals. As a result of its
         deliberations, certain corrections and clarifications were written'into
         the text of the bill and introduced as HI. R. 5988 by Chairman Francis
         E. Walter of the subcommittee. These changes are shown iIn appendix
         A of this report. They have been submitted for comment to the
         Attorney General, who has approve(l them as shown by his letter set
         forth as appendix B of this report. Thley arc obviously desirable from
         the standlIpoint of all parties collncrne(l. Accordingly, the text of
         H. R. 5988 has been substituted, as a committee amendment, for S. 7
         as passed by the Senate.
                           III. THE SUBSTANCE OF THE BILL
             Manifestly the bill does not unduly encroach upon the needs of
         any legitimate government operation, although it is of course operative
         accor(ini to its terlls even if it s101ol1d Cause some a(lmillistrativo
         inconvenience or changes inI procedure. lt is brief, but necessarily
         not oversimplified(. iFunctional classifications and exemptions have
         been tmand(,e, buit in nO part of the bill is anly agency exempted by name.
         The bill is mieant to l)e operative "across thle boar'(d" in accordance
         with its terms, or not at all. Where one agency has been able to
         demonstrate that it should be exemplted, all like agencies lave been
         exempte(i in general terms. (See sec. 2 (a)). Where one agency
         lhals Shown that saOmIe partictilar operation should be exempted froin
         ally particular requirement, the same function in all agencies has been
         exempte(l. No agency has been favored by special treatment.
            The bill is an outline of minimum essential [ rights and procedures.
         A(ermcies may fill in details so long as they publish them. It affords
         private parties a metals of knowinIg what their rights are and how
         they may protect them, while administrators are given a simple


                                                        Defs.' MSJ App. 392
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 172 of 212 PageID 3689
                        ADMINISTRATIVE PROCEDURE ACT               17
         framework upon which to base such operations as are subject to the
         provisions of the bill.
             What the bill does in substance may be summarized under four
         headings: 1. It provides that agencies must issue as rules certain
         specified information as to their organization and procedure, and
         also make available other materials of administrative law (sec. 3).
         2. It states the essentials of the several forms of administrative pro-
         ceedings (sees. 4, 6, and 6) and the general limitations on adinin-
         istrative powers (sec. 9). 3. It provides in more detail the require-
         ments for administrative hearings and decisions in cases in which
         statutes require such hearings (secs. 7 and 8). 4. It sets forth a
         simplified statement of judicial review designed to afford a remedy
         for every legal wrong (sec. 10).
             The public ilnfornmation section is l)asic, because it requires agencies
         to take tlhe initiative in informing the public. In stating the essen-
         tials of the different forms of administrative proceedings, the bill
         carefully distinguishes between the so-called legislative functions of
         administrative agencies (where they issue general regulations) and
         their judicial functions (in which they determine rights or liabilities
         in particular cases). It provides' quite (liffel'ent procedures for the
         I'legisla'tive" and ''juidieiaFl"functions of administrative agencies. In
         the rulee making" (that is, legislativeve) function it pcovidles that
         with CertainI exceptiolis agencies( must publish notice anli at leA t
         permit interested parties tQ submit their views in writing for agency
         consideration before the issuance of general regulations (sec. 4), No
         hearings are required by tha bill unless statutes already do so in a
         particular case. Similatrly, inl "adjudications" (that is, th1e "judicial"
         function) 110 agency hearings are required unless statutes already do
         so, but in the latter case the nmode of hearing and decision is pre-
         scribed (sec. 5). Where existing statutes require that either general
         regulations (called "rules" in the bill) or particularized adjudications
          (called ordersr" inl the bill) be mna(le after agency hearing or oppor-
         tunity for suGch hearing, then section 7 spells out the minimum reqcuire-
         ments for suich hearings, Section 8 states hiow decisions shall be made
         the'reIafter, and section 11 provi(les for examiners to preside at hcar-
         ings afnd make or participate ill decisions .
             While thc administrative power an(l I)rocedure provisions of see-
         tiotis 4 tlhroutgh.9 are law apart from couit review, the provisions for
         judlicial review afford parties a inethod of enforcing their rights in
         proper cases (sec. 10). However, it is expressly provided that the
         Ju(licial-review provisions are not operative where statutes otlherwise
         preclude judicial review or where agency action is l)y law committed
         to agency (discretion,
             Thle bill is so (drafted that its several sections and subordinate pro-
         visions are closely knit. The operative provisions of the 1)ill should
         be real apart from the purely formal provisions and minor functional
           listinctions. Tle (lefinitiolns in section 2 are imnJportant, but they do
         not indicate the scope of the, bill since thie subsequent provisions
         make many functional distinctionss amid exceptions. The pulblic-in-
         formation provisions of section 3 are of the broadest application be-
         caluse, while some functions atnd some operations may not lend them-
         selves to formal procedure, all administrative operations should as a
          matter of policy be (lisclosed to the public except as secrecy may
                 H. ReIpts., 79-2, vol. 6-20




                                                         Defs.' MSJ App. 393
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23             Page 173 of 212 PageID 3690
         18                  ADMINISTRATIVE PROCEDURE ACT
         obviously be required or only internal agency "housekeeping" ar-
         rangements may be involved. Sections 4 and 5 prescribe the basic
         requirements for the mailing of rules and the a(djudlication of partic-
         Walar cases. In each case, where other statutes require opportunity
         for an agency hearing, sections 7 and1 8 set forth the minimum re-
         quiremeits for suchl learinigs andl the agency decisionss thereafter
         while section 11 provides for the appointment and tenure of exam-
         iners who may participate. Section r, prescribes the rights of private
         parties in a number of miscellaneous respects which may be incidental
         to rule making, adjudication, or the exercise of any other agency
         authority. Section 9 limits sanctions, and section 10 provides for
         judicial review.
            A diagramn of the bill is to be found at pages 28-29 of this report.
                          IV. EXPLANATION OF PROVISIONS
            In the following explanation, under each section heading there
         appears an italicized synopsis of the( provision and a paragraph or
         more of analysis or coinnient. rl1he ci art on pa yes 28 and 29 pro-
         vides a diagrammed syllnpsis of the bill. The ff bill is repro(luced
         as appendlidx A hereto, which also shows the clai'ifications it makes in
         the similar Senate bill.
                                       SECTION 1. TI'TLE
            It is prondled that the measure may be cited a.s the "Administrative
         Procedure Act. ")
            As at rendirg of the bill will demonstrate, it is designed to provide
         for pu blicity of information, fairness in ad(lnliistrative ol)eration, and
         a(lequacy of judicial rev iew, Thlle purpose of the bill is to assure that
         the ndmilnistratioti of government tliroiigh adniinistrative officers
         and ti('encies shall beL conducted according to (Establislhe(I nt(lptd blished
         proceaures which adequately p)1'Otect the I)rivate interests involved,
         the malking of only reasonable and authorized regulations, the settle-
         monit of (llspu tes ini accordanice, with the law and the i(ldeuce, the
         impartial conferring of authorized benefits or privileges, and the
         effectuation of the declared policies of Congress in full.
                                  SECTION 2. DE;FINI'TIONS
            The definitions apply to the rema(inder of the bill.
            The definitions simplify the langiiages of the remaining sections.
         They are necessarily broad. Save as exceptions are mlale froml tile
         term ''agency'' in section 2 (at), this section on definitions is not
         inteldeX( to make al) the necessary exceptions; those are to be found
         in the reniahimig sections of the bill as apl)roI)riate.
                                 SECTION 2 (A). "AGENCY"
            The word "agency" is (defined by exclu(ling legislative, judicial and
         territorial authordiues and by inelu(ing any other "authority" whd.4er or
         not within or subject to review by another agency. Ilte bill is not to be
         construed to repeal delegations of authority pro ide(1 by law. l'xpressly
         exempted from the term, agencycy" except for the ipblic-information
         requirements of section 3, are (1) agencies composed of representatives oj


                                                          Defs.' MSJ App. 394
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 174 of 212 PageID 3691
                        ADMINISTRATIVE PROCEDURE ACT               19
         parties or of organizations of parties and (2) defined uar authorities
         including civUian authorities functioning under temporary or named
         statites.
            Whoever has the authority is an agency, whether within another
         agency or in combination with other persons,. In other words agencies,
         necessarily, cannot be defined by mere form such as departments,
         boards, etc. If agencies were defined by form rather than by the
         criterion of authority, it alight result in the unintended ieclusion of
         mere "housekeeping" functions or the exclusion of those who have
         the real power to act.
            Although delegations of authority otherwise lawful are expressly
         not affected as shown by the second sentence of the section, that does
         not mean that the examiner system or other requirements provided
         by the bill may be avoided.
            Agencies composed in whole or in part of representatives of all the
         parties or organizations of parties are exempted because they do not
         lend themselves to the adjudiicative rocedures set out in the remaining
         sections of the, bill. This excludes from all but the public-information
         provisions' of section 3 such agencies as the National Railroad Ad-
         justment Board and the Railroad Retirement Board. Other boards
         so composed under the Railway Labor Act or like statutes would also
         be exempt. In such cases the exclusion from the bill is total, save for
         section 3.
            The exclusion of war functions is self-explanatory. They are
         rarely required to be exercised upon statutory hearing, with which
         much of the remainder of the bill is concerned, and they are rapidly
         liquidating. But they are subject to the public information requiTe-
         ments of section 3. "Present hostilities" means those connected
         with the war brought on at Pearl Harbor in December 1941.
                         SECTION 2 (B), "PEIISON" AND "PARTY"
            "Per-son" is defined to include 8pecifie(l forms of organizations other
         than agencies. "Party" is defined to include anyone named, or ad-
         mitted Or seeking and entitled to be admitted, as a party in any agency
         proceeding except that nothing in tile subsection is to be construed to
         prevent an agencyfrom admitting anyone as a, )artdyfor limited purpose&.
            Th1e1 (ldefinition of person includes both in(]Iivi(luals and any form of
         pUl)lic or private organization other than Federal agencies, because
         the latter are separately defined in section 2 (a) and so i(le'ntified
         throughout the remain(der of the bill. The practice of agencies to
         a(lndit persons as parties in proceedings "for limited purposes" (toes
         not of course authorize an agency to ignore or prejudice the rights of
         the true or full parties to a plocee(ling.
                        SECTION 2 (C). ' RULYE" AND "RULE .MAKING"
            "R'ule" is defined as any agency statement of general or particular
         applicability and future effect designedd to implement, interpret, or
         prescribe law, policy, organization, procedure, or practice requirements
         and includes any prescription for the future of rates, uwages, financial
         structures, etc. "Rule making" means agency process for the formula-
         tion, amendment, or repeal of a rule.



                                                         Defs.' MSJ App. 395
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 175 of 212 PageID 3692
         20             ADM INISTRATIVE PROCEDURE ACT

            "Rules" are often called "regulations" or "general regulations."
         The definition is important because it determines whether section 4
         rather than section 5 applies to a regulatory operation. The specifica-
         tion of some of the activities that are rule making is included to
         illustrate and to embrace them in the definition beyond question.
         "Rules" formally prescribe a course of conduct for the future rather
         than pronounce past or existing rights or liabilities. Rule making
         is exempted from some of the general requirements of sections 7 and 8
         relating to hearings and decisions.
                      SECTION 2 (D). "ORDER" AND "ADJUDICATION"
            "Order" means the final disposition of any matter, other than rule
         making but including licensing and whether or not affirmative, negative,
         injunctive, or declaratory in form. "Adjudication" means agency
         process for the formulation of an order.
            The term "order" is essentially and necessarily defined to exclude
         rules. "Licensing" is specifically included to remove any question
         since licenses involve a pronouncement of present rights of named
         parties although they may also prescribe terms and conditions for
         future observance. Licensing as such is later exempted from some
         of the provisions of sections 5, 7, and 8 relating to hearings and
         decisions. "Injunctive" action is a common determination of past or
         existing lawfulness, although the remedy or sanction is in form cast
         as a command or restriction for the future rather than as a fine,
         assessment of damages, or other present penalty.
                       SECTION 2 (E). "LICENSE" AND "LICENSING"
            "License" is defined to include any form of required official permission
        -uch as certificate, charter, etc. "Licensing" is defined to include agency
        process respecting the grant, renewal, modification, denial, revocation,
        etc., of a license.
            The definition of licensing sup)plements section 2 (d). It is included
         because licenses take many forms and the term is important in some
        of the remaining sections. Later provisions of the bill distinguish
        between initial licensing and i'enewals or other licensing proceedings.
                        SECTION 2 (F). "SANCTION" AND "RELIEF"
            "Sanction" is defined to include any agency prohibition, withholding of
        relief, penalty, seizure, assessment, requirement, restriction, etc. "Re-
        lief" is defined to include any agency grant, recognition,- or other bene-
        ficial action taken on the application or petition of any person.
            These definitions are mainly relevant to section 9 on sanctions and
        powers and( to section 10 on judicial review. They embrace all forms
        of legitimate administrative authority. They define but do not confer
        powers. They are necessary in order to identify "sanction" for tile
        protection in later sections of those against whom agencies are author-
         lze( to proceed, aIld "relief" for the benefit of those seeking authorized
        redress.




                                                        Defs.' MSJ App. 396
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23             Page 176 of 212 PageID 3693
                              ADMINISTRATIVE PROCEDURE ACT                          21
              SECTION 2 (G). "AGENCY PROCEEDING" AND "AGENCY ACTION"
             "Agency proceeding" means any agency process defined in the foregoing
          subsections (c), (d), or (e). "Agency action" i8 defined to include an
          agency rule, order, license, sanction, relief, or the equivalent or denial
          thereof, a'ndfailure to act.
             "Agency proceeding" is a term devised to simplify the language of
          later sections and assure that all forms of administrative procedure or
          authority are included. The term "agency action" brings together
          previously defined terms in order to simplify the language of the
         judicial-review provisions of section 10 and to assure the complete
         coverage of every form of agency power, proceeding, action, or inac-
          tion. In that respect the term includes the supporting procedures,
         findings, conclusions, or statements of reasons or basis for the action
         or inaction.
                             SECTION 3. PUBLIC INFORMATION
            From the public-information provisions of section 3 there are exempted
         matters (I) requiring secrecy in the public interest or (2) relating solely
         to the internal management of an agency.
            The public-information requirements of section 3 are among the
         most useful provisions of the bill. The general public is entitled to
         know agency procedures and methods or to have the ready means of
         knowing with certainty. The section requires agencies to disclose
         their set-ups and procedures, to publish rules and interpretations
         intended as guides for the solution of cases, and to proceed in consistent
         accordance therewith until publicly changed.
            The introductory clause of the section states the only general ex-
         ceptions. The first, which excepts matters requiring secrecy in the
         public interest, is necessary but may not be construed to defeat the
         remaining provisions. It would include confidential operations in any
         agency, such as some of the aspects of the investigating or prosecuting
         functions of the Secret Service or Federal Bureau of Investigation,
         but no other functions or operations in those or other agencies. "Pub-
         lic interest" means manifest need in order to achieve the due execu-
         tion of authorized functions. Closely related is the second exception,
         of matters relating solely to internal agency management, which may
         not be construed to defeat the other provisions or to permit with-
         holding of information as to operations which remaining provisions
         of the section or of the whole bill require to be public or publicly
         available. Neither exception is operative unless the excepted subject
         matter is clearly and directly involved. Neither exception supersedes
         other legal requirements of publicity or free public accessibility.
                         SECTION 3 (A). RULES TO BE PUBLISHED
            Every agency is required to publish in the Federal Reg-tster its (1) organ-
         ization and delegations of final authority as well as places and ways of
         doing business with the public, (2) methods of rule making and adjudica-
         tion, including the rules of practice relating thereto, and (3) such sub-
         stantive rules, policies, or interpretations as it may frame for the guid-
         ance of the public but not rules addressed to and served upon named par-
         ties as provided by law. No person is in any manner to be required to
         resort to organization or procedure not so published.



                                                          Defs.' MSJ App. 397
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 177 of 212 PageID 3694
         22                 ADMINISTRATIVE PROCEDURE ACT

            Since the bill leaves wide latitude for each agency to frame its own
         procedures, this subsection requiring agencies to state their organiza-
         tion and procedures in the form of rules is essential for the informa-
         tion of the public. The publication must be kept up to date. The
         enumerated classes of informational rules must also be separately
         stated so that, for example, rules of procedure will be separate from
         rules of substance, interpretation, or policy. Under (1) only final
         delegations of authority to dispose of cases or matters must be pub-
         lished; the delegation of other functions would, be shown in (2) in
         stating the general course and method by which each of an agency's
         functions are channeled and determined. Also, under (2), an agency
         is req uire(d to state all the stages, steps, courses, and alternatives for
         each of the types of functions it is authorized to perform. The sec-
         tionIforbids secrecy of rules binding upon or applicable to the public,
         or of delegations of authority. Mimeographed releases of many kinds
         now common should no longer be necessary since, if they contain.
         really informative matter, they must be published as rules, policies,
         or interpretations. Substantive rules include the statement of stand-
         ards. As a matter of good practice rules of any kind should not
         unnecessarily repeat statutes, but may quote anal should identify the
         statutory authority which they invoke or l)rovisions they properly
         amplify. Where it is not desirable to publish complicated forms at
         length and in full-spread fashion in tthe Federal Register, under this
         provision an agency may publish in the Federal Register a simple
         statement of the contents of the form and, if blanks are available,
         state where they may be obtained. The requirement that no one
         shall "in any manner" be required to resort to. unpublished organiza-
         tion or procedure protects the public from being required to pursue
         reme(lies that arel iot published as require(l by the section.
         SECTION 8 (B). OPINIONS, ORDERS, AND RULES TO BE AVAILABLE TO
                                 PUBLIC INSPECTION

           Agencies are required to publish or, pursuant to rule, make available
        to public inspection all final opinions or orders in the adjudication of
        cases (except those held confidential for good cause and not cited as
        precedents) and all rules.
           General rule making results in pl)ublished material in the Federal
        Register as set forth in section 3 (a), but in the case of adjudication
        and some rldes of particular applicability there is no standard medium
        of publication. Somn agencies publish sets of somie of their decisions,
        particularized rules, or orders; but otherwise the public is not informncd
        as to how and where they may consult them. Requiring each agency
        to formulate and publish a riue respecting access to these materials of
        administrative law will afford the general public notice as to how
        such information may be consulted or secured. While tile subsection
        does not mention "rulings"-which are neither rules nor orders but
        are general interpretations, such as the opinions of agency counsel-
        if authoritative they would be covered by the third category in sec-
        tion 3 (a). All rules must'be subject at least to freely accorded public
        inspection under this section. Thle parenthetical exception respecting
        conlfiential opinions and orders would not supersede or repeal future
        or existing legal requirements of publication or public accessibility.



                                                         Defs.' MSJ App. 398
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 178 of 212 PageID 3695
                        ADMINISTRATIVE PROCEDURE ACT               23
                    SECTION 8 (e). ACCESSIBILITY OF PUBLIC RECORDS
           Except as statute8 may require otherwise or information may be held
        confidential for good cause, matters of official record are to be made
        available to persons properly and directly concerned in accordance uivth
        rules to be issued by the agency.
           The purpose of this section is to make access to public records
        generally applicable, uniform. and more readily determinable. The
        requirement of an agency rule on the availability of official records is
        inserted for the same purpose as in section 3 (b). The interest of the
        person seeking access to records may in some cases be determinative.
        Agencies must classify data, specify generally what may be disclosed
        and what may not, and provide where applications for information
        may be made, how they will be determined, and what public agents
        will do so. In short, a routine andia procedure must be provided as.
        well as a classification. Refusals of information would be subject to
        the requirements of section 6 (d). The concluding exception would
        not repeal or supersede present or future legal requirements of pub-
        licity or public accessibility existing apart from the bill.
                               SECTION 4. RULE MAKING
            The introductory clause exemptsfrom, all of the requirements of section 4
        any rule making sofar as there are involved (1) military, naval, orforeign-
        affairs functions or (2) matters relating to agency management or person-
        nel or to public property, loans, grants, benefits. or contracts.
           The principal purpose of this section is, where other statutes do not
        require a hearing, to provide that the legislative functions of adminis-
        trative agencies shall so far as possible te exercised only upon public
         participation on notice as provided in sections 4 (a) and (b).
           The introductory exceptions to the section do not relieve an agency
        from any requirements imposed by law apart from this bill. They
        apply only "to the extent" that the excepted subject matter is clearly
        an(d directly involved. The phrase "foreign affairs functions," used
        here and in some other provisions of the bill, is not to be loosely inter-
        preted to mean any agency operation merely because it is exercised in
        whole or part beyond the borders of the United States but only those
        "affairs" which so affect the relations of the United States with other
        governments that, for example, public rule-making provisions would
        provoke definitely undesirable international consequences. The ex-
        ception of matters of management or personnel would operate only so
        far as not inconsistent with other provisions of the bill relating to those
        matters. The term "public property" would include property held
        by the United States in trust or as guardian, as Indian property is
        often held. The exception of proprietary matters is included because
        a main consideration in such cases relates to mechanics, interpretations,
        or policy and it is wise to encourage and facilitate the issuance of rules
        by dispensing with all mandatory procedural requirements. Changes
        can then be sought through the petition procedures of section 4 (d),
        by which such rule making may also be initially invoked. But these
        exceptions are not to be taken as encouraging agencies not to adopt
        voluntary public rule-making procedures where useful to the agency
        or beneficial to the public. They merely confer a discretion upon
        agencies to decide what, if any, public rule-making procedures shall
        be utilized in a given situation within their terms.


                                                          Defs.' MSJ App. 399
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23            Page 179 of 212 PageID 3696
         24                 ADMINISTRATIVE PROCEDURE ACT

                       SECTION 4    (A). NOTICE OF RULE MAKING
            General notice of proposed rule making must be published in the Federal
         Register-unless all persons 8u)bect to the rules are named and are per-
         sonally served or otherwise have actual notice as provided by law-and
         must include (1) the time, place, and nature of proceedings, (2) reference
         to the authority under which held, and (3) the terms, substance, or is8ues
         involved. However, except where notice and hearing is required by some
         other statute the section does not apply to rules other than those of sub-
         stance or were the agency for good cause finds (and incorporates the
        finding and reasons therefor in the published rule) that notice and public
         procedure are impracticwale, unnecessary, or contrary to the public interest.
            The provisions respecting, the fullness of notice apply whether or
         not, under the terms of the section, it must be published in the Federal
         Register. Notice must fairly apprise interested persons of the issues
         involved, so that they may present relevant data or argument. The
        required specification of legal authority must be done with particu-
        laxity. Statements of issues in the general statutory language of
        legislative delegations of authority to the agency would not be a
         compliance with the section. Prior to public procedures agencies
         must conduct such nonpublic studies or investigations as mill enable
         them to formulate issues, or where possible to issue proposed or
         tentative rules for the purpose of public proceedings. Summaries
         and reports may also be issued as aids in securing public comment
        or suggestions.
            The section governs the application of the public procedures
        required by section 4 (b) since those procedures only apply where
        notice is required by this section. Agencies are given discretion to
        dispense with notice (anid consequently with public proceedings) in
         the case of interpretative rules, general statements of policy, or rules
        of agency organization, procedure, or practice; but this does not
         mean that they shouldnot undertake public procedures in connection
        with such rule making where useful to them or helpful to the public.
        The exemption of situations of emergency or necessity is not an "escape
        clause" in the sense that any agency has discretion to disregard its
         terms or the facts. A true and supported or supportable finding
        of necessity or emergency must be made and published. "Imprac-
        ticable" means a situation in which the due, timely, and required
        execution of agency functions would be unavoidably preventedl by
        its undertaking public rule-making procceedil gs. "Unnecessary"
        means so far as the public is concerne(l, as would be the case if a
        minor or merely technical amendment in which the public is not
        particularly interested were involved. "Public interest" supple-
        ments the terms "impracticablle" or "unnecessary"; it requires that
        public ruile-ma ki ng proce(lures shiall not unreasonably prevent an
        agency from fulfilling its duty anid that, on the other hand, lack of
        public concerii in rile making warrants an agency to dispense with
        public proce(lure. Where authority beneficial to the public does not
         )ecorne operative until a rule is issued, the agency may promulgate the
        necessacv rule immediately an(1 rely upon supplemental procedures in
        the nature of a public reconsideratdon of the issued rule to satisfy the
        requirernents of this section. M here p)ul)lic rule-making procedures



                                                         Defs.' MSJ App. 400
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 180 of 212 PageID 3697
                         ADMINISTRATIVE PROCEDURE ACT              26
         are dispensed with, the provisions of subsections (c) and (d) of this
         section would nevertheless apply. Notice otherwise required by law
         apart from this bill is not repealed or diminished by this section.
                 SECTION 4 (B). PUBLIC PROCEDURES IN RULE MAKING
            After such notice, the agency must afford interested persons an oppor-
         tunity to participate in the rule making at least to the-extent of submitting
         written data, views, or argument; and, after consideration of such presen-
         tations, the agency must incorporate in any rules adopted a concise
         general statement of their basis and purpose. However, where other stat-
         utes require rules to be made after opportunity for hearing, the require-
         ments of sections 7 and 8 (relating to public hearings and decisions
         thereon) apply in place of the provisions of this subsection.
            The first sentence states the minimum requirements of public-rule-
         making procedure short of statutory hearing. Under it agencies
         might in addition confer with industry advisory committees, consult
         organizations, hold informal "hearings," and the like. Open proceed-
         ings may be aided by the submission of reports or summaries of data
         by agency representatives. Where open proceedings are h11(, inter-
         ested persons unable to be present would be entitled to make written
         submittals. Considerations of practicality, necessity, and public in-
         terest as discussed in connection with section -4 (a) will naturally
         govern the agency's determination of the extent to which public
         proceedings may be carried. Matters of great import, or those where
         the public submission of facts will be either useful to the agency or a
         protection to the public, should naturally be accorded more elaborate.
         public procedures. The agency must keep a record and analyze and
         consider all relevant matter presented prior to the issuance of rules.
         The required statement of the basis and purpose of rules issue(l should
         not only relate to the data so presented but with rpasonable fullness
         explain the actual basis and objectives of the rile.
            These rule-making procedures must be incorporated in the rules
         published pursuant to section 3 (a), although their applicability may
         be left to the notice of rule making in a given case and modifications
         or extensions of procedure may be made in the notice.
                    SEC1ION 4 (C). FUTURE EFFECTIVE DATE OF RULES
            The required publication or service of any substantive rule must be
         made not less than 30 days prior to its effective (late except (I) as other-
         wise proved by the agency for good cause foul and published or (2)
         in the case of rules recognizing exemption or relieving restriction, inter-
         pretative rules, and statements of policy.
            This section does not repeal or diminish other time requirements
         provided by law apart from this bill. It does not provide proceelllnes
         alternative to notice and other public proceedings required bcy the
         prior sections. Nor does it supersede the provisions of section 4 (d).
         Wvllere public procedures are omitted as authorized in certain cases
         section 4 (c) does not thereby become inoperative. It will afford
         persons affected a reasonable time to prepare for the effective date of
         a rule or rules or to take any other action which the issuance of miles
         may prompt. The specification of a 30-day deferred effective date



                                                         Defs.' MSJ App. 401
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 181 of 212 PageID 3698
         '26            ADMINISTRATIVE PROCEDURE ACT

         is not to be taken as a maximum, since there may be cases in which
         good administration or the convenience and necessity of the persons
         subject to the rule reasonably require a longer period. While certain
         named kinds of rules are not necessarily subject to the deferred effec-
         tive date provided, it does not thereby follow that agencies are required
         to make such excepted types of rules operative with less notice or no
         notice but, instead, agencies may fix such future effective date as is
         advisable. The other exception-upon good cause found and pub-
         lished-is not an "escape clause" which may be exercised at will but
         requires legitimate grounds supported in law and fact by the required
         finding.. Mlany rules, such as some agricultural marketing "orders,"
         may be made operative in less than 30 days because of inescapable or
         unavoidable limitations of time, because of the demonstrable urgency
         of the conditions they are designed to correct, and because the parties
         subject to them may during the usually protracted hearing and decision
         procedures anticipate the regulation. In any event, however, no
         rule requiring action may be made effective until a legally reasonable
         time after its issuance as judged in the light of all the circumstances.
                     SECTION 4 (D). PETITIONS RESPECTING RULES
            Every agency is required to accord any interested person the right to
         petition for the issuance, amendment, or repeal of a rute.
            This section applies not merely to effective rules existing at any
         time but to proposed or tentative rules. Where such petitions are
         made, the agency must fully and promptly consider then, take such
         action as may be required, and pursuant to section 6 (d) notify the
         petitioner in case the request is denied. The agency may either grant
         the petition, undertake public rule-making proceedings as provided
         by sections 4 (a) and 4 (b), or deny the petition. - The mere filing of a
         petition does not require an agency to grant it, or to hold a hearing, or
         to engage in other public rule-making proceedings. But the agency
         must act on the petition in accordance with procedures set up and
         published in compliance with section 3 (a).
                                   SECTION 5. ADJUDICATIONS
             The provisions of section 6 relating to adjudications apply only where
         the case is required by some other statute to be determined upon an agency
         hearing except that, even in that case, the following classes of operations
         are expressly -not affected: (1) Cases subject to trial de novo in court,
         (2) selection or tenure of public officers other than examiners, (3) decisions
         resting on inspections, tests, or elections, (4) military, naval, and foreign-
         affairsfunctions, (6) cases in which an agency is actingfor a court, and
          (6') the certification of employee representatives.
             This section is limite(i to (aS(!S in Which other statutes require an
         agency to act upon or after a hearing, but even then the numbered ex-
         ceptions remove from the operation of the sectior) adjudications other-
         wise required by statute to be made after hearing or opportunity
         therefor. The' first, where the adjudication is subject to a judicial trial
         de novo, is included because whatever judgment the agency makes is
         effective only in a prima facie sense at most and thel party aggrieved is
         entitled to complete judicial retrial and decision. The second, respect-



                                                          Defs.' MSJ App. 402
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 182 of 212 PageID 3699
                        ADMINISTRATIVE PROCEDURE ACT               27
         ing tho selection and tenure of officers other than examiners, is included
         because the selection and control of public personnel has been tradi-
         tioalfly regarded as a largely discretionary flinction. The third
         exempts proceedings resting entirely on inspections, tests, or elections
         because those, ihetiiods of determination do not lend themselves to
         the hearing process. The fourth exempts military, naval, and foreign
         affairs functions for the same reasons that they are exempted from
         section 4; in any event, rarely do statutes require such functions to
         be exercised upon hearing; and the term "-foreign affairs" is used in
         the same sense as in section 4. The fifth, exempting cases in which
         an agency is acting as the agent for a court, is included because the
         administrative operation is subject to judicial revision in toto. The
         sixth, exempting the certification of employee representatives such as
         the Labor Board operations under section 9 (c) of the National Labor
         Relations Act, is included because those determ inations rest so largely
         upon an election or the availability of an election. Any of these
         exceptions apply only "to the extent" that the excepted subject is
         clearly and directly involved.
                    SECTION 5 (A). NOTICES OF MAKING ADJUDICATIONS
            Persons entitled to notice of an agency hearing are to be duly and timely
         informed of the (1) time, place, and nature of the hearing, (2) the legal
        authority and jurisdiction under which it is to be held, and (3) the matter
         of fact and law asserted. 1l'/here private persons are the moving parties,
        respondents must give prompt notice of issues controverted in law orfact;
         and in other cases the agency may require responsive pleading. In
        fixing the times and places for hearings the agency must give due regard
        to the convenience and necessity of the parties.
            A party must be given ample notice of the legal and factual issues
        with due time to examine, consider, and prepare for them. To make
        that possible the issues must be specified with reasonable, particularity,
        for which purpose the statement of issues in general statutory language
        of delegations of authority to the agency would not be sufficient. The
        second sentence of the subsection applies in those cases where the
        agency does not control the matter of notice because private persons
        are the moving parties; andl in such cases the respondent parties must
        give notice of the issues of law or fact which thevy controvert so that
        the moving party will l)e apprised of the issues he must sustain. The
        purpose of the provision is to simplify the issues for the benefit of
         both the parties and the deciding authority.
                         SECTION 5 (3)., ADJUDICATION PROCEDURE
            The agency is required first to aford parties an opportunity for the
         settlement or adjustment of issues (where time, the nature of the proceeding,
         and the public interest permit) followed, to the extent that issues are not
         80 settled, by hearing and decision under sections 7 and 8.
           The preliminary settlement-by-consent provision of this section is
         important. Such adjustments may comprehend the whole or any
         part of any case. Pursuant to section 3 (a) agencies would be re-
         quired to state settlement procedures in their rules. The limitation
         to cases in which "time, the nature of the proceeding, and the public




                                                          Defs.' MSJ App. 403
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                     Page 183 of 212 PageID 3700

                                     DIAGRAM SYNOPSIS OF BILL OM1rErJ
                    GENERAL PROVISIONS

     SEc. 1. Title.-"Administrative Procedure Act."

     SEC. 2. Definitions.-Defines (a) agency, excepting rep-
     resentative and war agencies, (b) person and party,
     (c) rule and rule making, (d) order and adjudication,
     (e) license and licensing, (f) sanction and relief, (g)
     agency proceeding and action.

     SEC. 3. Public Information..-Except secret functions
     and internal management: (a) agencies are required to
     publish organization, procedure, and other general
     rules, (b) opinions and orders tre to be published or
     open to inspection, and (c) official records are to be
     made available to properly Interested persons.


     SEac. 6. Ancillary Matters.-(a) Parties are entitled to
     counsel. (b) Investigations are to be confined to au-
     thority granted agencies and witnesses are entitled to
     copies of testimony. (c) Subpenas are to be issued to
     parties on request and reasonable showing, and are to
     be judicially enforced if in accordance with law. (d)
     Written notice and statement of grounds is to be given
     by agency in denying any request.

     SFac. 9. Sanctions and Powers.-In exercise of any
     power or authority: (a) no sanction is to he imposed
     or rule or order Issued save within jurisdiction dele-             NOTE: Sections 7,
     gated and authority granted by law, (b) license appli-             8, and 11 apply
     cations are to be acted upon promptly, revocation is not           only where other
     to be attempted except upon notice and opportunity for             statutes require an
     the licensee to comnl)ly with lawful. requirements, and            agency hearing;
     renewals are not to be deemed denied until finally acted           and section 10 ap-
     upon.                                                              plies in a proper
                                                                        case whether or
                                                                        not    an    agency
     SFC. 11. Examiners.-Exanlners tire to he appointed                 hearing is requir-
     pursuant to Civil Service for proceed i ngs uln(Ier section.       ed. Sections 4, 5,.
                  I1)IIt fprform no inconsistelt (luties, T'ia(y
     7 andl 8 and I)ma                                                  6 (b) an(l (c), and
     are removable only for goo(l crause (leternilned by Civil          9 (b) apply only
     Service Conmilsslon after hearing, which Is subject to             where agencies by
     judicial review. They are to receive compensation pre-             other statutes are
     scriled an(d adjusted by Civil Siervice Commission inde-           given authority to
     pendently of agency recommendations or ratings.                    make regulations,
                                                                        a(ljudicate cases,
                                                                        investigate, issue
                                                                        subpenas, or grant
     SEc. 12. Construction and Effect.-The Act is not to                licenses as the
     Impair other or additional legal rights. Procedure is              case may be. The
     to apply equally. The usual saving clause is included.             definitions in sec-
     Authority is granted to agencies to comply with the                tion 2 are not op-
     Act. Subsequent repeals are to be express. Effective               erative apart from
     dates are to be deferred and the Act is not to apply to            the rest of the bill.
     proceedings previously begun.
            28




                                                                    Defs.' MSJ App. 404
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                Page 184 of 212 PageID 3701

   TIHDETAEL     AND SECONDARY EXCEPTIONS


          QUASI-LEGISLATIVE FUNCTIONS                        QUASI-JUDICIAL FUNCTIONS

           SEC. 4. Rule Making.-Except war,                SEx. 5. Adjudication.-Where stat-
           foreign affairs, management, and                utes require a hearing: (a) contents
           proprietary functions: (a) notice of            of notice are specified, (b) hearings
           rule making is to be published in               are to be held under sections 7 and
           certain instances, (b) thereafter in-           8 to the extent issues cannot first be
           terested persons are to be permitted            settled informally, (c) hearing of-
           to make at least written submittals             ficers are required to operate en-
           for agency consideration, except that           tirely separate from prosecuting of-
           if other statutes require an agency             ficers and to make or recommend the
           hearing then sections 7 and 8 apply,            decision in the case, and (d) agen-
           (c) effective date of rules is to be 30         cies are authorized to issue declara-
           days following publication, and (d)             tory orders.
           any interested person may petition
           for issuance, amendment, or repeal
           of a rule.

                SEc. 7. Hearings.-In hearings which sections 4 or 5 require to be con-
                ducted under this section: (a) presiding officers are to be the agency or
                its members, examiners, or others specially provided for in other stat-
                utes, all to act impartially and be subject to disqualification, (b) presid-
                ing officers are to have authority necessary to conduct the hearing and
                dispose of motions, (c) irrelevant and repetitious evidence Is to be ex-
                cluded as a matter of policy and no sanction is to be imposed or rule or
                order issued except upon the whole record and as supported by and In
                accordance with reliable, probative, and substantial evidence, and (d)
                record of the hearing is to be exclusive for purposes of decision.



                SEc. 8. Decisions.-Where hearing is required under section 7: (a) exam-
                iners are to make either Initial decision or recommended decision, as the
                agency may determine, and (b) prior to any recommended or other
                decision the parties are entitled to submit suggested findings, exceptions,
                and supporting reasons and all decisions are to include findings on mate-
                rial issues and a statepnint nf the appropriate action.



                SFC. 10. Judicial Review.-Except so far as statutes preclude judicial re-
                view or agency action is by law committed to agency discretion: (a) any
                person suffering legal wrong is entitled to Judicial review, (b) the form
                of action is to be that specially provided by any statute or, in the absence
                or inadequacy thereof, any appropriate common-law action, (c) every
                action for which there is no other adequate remedy is nade subject to
                such review, (d) agencies or courts may stay agency action or preserve
                status or rights pending review, and (c) reviewing courts, upon the whole
                record and with due regard for the rule of prejudicial error, are to deter-
                mine all questions of law, compel agency action unlawfully withheld, and
                hold unlawful action found (1) arbitrary, (2) not in accord with the
                Constitution, (3) in violation of any statute, (4) without observance of
                procedure required by law, (5) unsupported by substantial evidence on
                the record in cases subject to sections 7 and 8, or (6) unwarranted by the
                facts to extent that facts are subject to trial de novo by the reviewing
                court.
                                                                                        29




                                                             Defs.' MSJ App. 405
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 185 of 212 PageID 3702
          30            ADMINISTRATIVE PROCEDURE ACT

         interest permit" does not mean that formal proceedings, to the
         exclusion of prior opportunity for informal settlement, may be re-
         quired at will by an agency. It is intended to exempt only situations
         in which (1) time is unavoidably lacking, (2) the nature of the pro-
         ceeding is such that the number of parties makes it unlikely that any
         adjustment could be reached, and (3) the administrative function
         requires biimediate execution in order to protect the demonstrable
         requirements of public interest in the due and timely execution of
         the laws. Where settlements do not dispose of the whole case,
         sections 7 and 8 as well as section 5 (c) apply.
                SECTION 5(C). SEPARATION OF PROSECUTING FUNCTIONS
            Officers who preside at the taking of evidence must make the decision
         or recommended decision in the case. They may not consult with any
         person or party except openly and upon notice save in the disposition of
         customary ex parte matters, and they may not be made subject to the
         supervision of prosecuting officers. The latter may not participate in
         the decisions except as witness or counsel in public proceedings. Hlow-
         ever, the subsection is not to apply in determining applications for initial
         licenses or the validity or application of rates, facilities, or practices of
         public utilities or carriers; nor does it apply to the top agency or members
        thereof.
           The purpose of the section is to assure that no investigating or
        prosecuting officer shall directly or indirectly in any manner influence
        or control the operations of hearing and deciding officers, except as a
        participant in public proceedings, and even then in no different
        fashion than the private parties or their representatives. The separa-
        tion of functions here required must be reflected in the rules of organi-
        zation and pri'ocedure issued pursuant to section 3 (a). "Ex parte
        matters authorized by law" means passing on requests for adjourn-
        ments, continuances, filing of papers, and so forth. The exemption
        of applications for initial licenses frees from the requirements of the
        section such matters as the granting of certificates of convenience and
        necessity, upon the theory that in most licensing cases the original
        application may be much like rule making. The latter, of course, is
        not subject to any provision of section 5. The exemption of cases
        involving the validity or application of utility or carries' rates,
        facilities, or practices is included for a similar reason--since they may
        often be consolidated with rule making. There are, however, some
        instances of either kind of case which tend to be accusatory in form
        and involve sharply controverted factual issues, to which agencies
        should not apply the exceptions because they are not to be interpreted
        as precluding fair procedure where it is required.
           The last exemption-of the agency itself or the members of the board
        who comprise it-is required by the very nature of administrative
        agencies, where the same authority is responsible for both the investi-
        gation-prosecution and the hearing and decision of cases. There, too,
        the exemption is not to be taken as meaning that the top authority
        must reserve to itself both prosecuting and deciding functions. It is
        ultimately responsible for all functions committed to it, but it may
        and should confine itself to determining policy and delegate the actual
        supervision of investigations and initiation of cases to responsible



                                                          Defs.' MSJ App. 406
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 186 of 212 PageID 3703
                        ADMINISTRATIVE PROCEDURE ACT               31
        subordinate officers. Agencies, such as bends of bureaus or depart-
        ments, performing mainly executive functions should delegate to ex-
        aminers or boards of examiners at least the initial decision of cases
        and should confine their own review to important issues of law or
        policy.
                     SECTION 5 (D). DECLARATORY ADJUDICATIONS
           Every agency is authorized in its sound discretion to issue declaratory
        orders with the same effect as other orders.
           This section does not mean that any agency empowered to issue
        orders may issue declaratory orders, because it ls limited by the intro-
        ductory clauses of section 5 so that such orders may be issued only
        where the agency is empowered by statute to hold hearings and the
        sul)ject is not otherwise expressly exemj)ted there. Where authorized
        to do so by this section, agencies are not required to issue declaratory
        orders merely because request is made therefor. Such applications
        have no greater effect than they now have under existing comparable
        legislation. "Sound discretion," moreover, would preclude the issu-
        ance of improvident orders. The. administrative issuance of declara-
        tory orders would be governed by the same basic principles that govern
        declaratory judgments in the courts. Such orders, if issued, would not
        bind those not parties to them or determine subject matter not pre-
        sented. They would be subject to judicial review as in the case of
        other orders.
                            SECTION 6. ANCILLARY MATTERS
           The provisions of section 6 relating to incidental or miscellaneous
        rights, powers, and procedures do not override contrary provisions in
        other parts of the bill.
           The purpose of this introductory exception, which reads "except as.
        otherwise provided in this act," is to limit, for example, the right of
        appearance provided in section 6 (a) so as not to authorize improper
        cx parte conferences during formal hearings and pending formal de-
        cisions under sections 7 and 8. This section 6 contains provisions.
        respecting various procedural rights which may be incidental to either
        rule making or adjudication or independent of either.
            SECTION 6 (A). APPEARANCE OR REPRESENTATION OF PARTIES
           Any person compelled to appear in person before any agency or its
        representative is entitled to counsel. In other cases, every party may
        appear in person or by counsel. So far as the orderly conduct of public
        business permits, any interested person may appear before any agency
        or its responsible officers at any time for the presentation or adjustment
        of any matter. Agencies are to proceed with reasonable dispatch to con-
        clu(ie any matter so presented, with (lue regard for the convenience and
        necessity of the parties. Nothing in the subsection is to be taken as
        recognizing or denying the propriety of nonlawyers representing parties.
           The section is a statement of statutory and mandatory right of
        interested persons to appear themselves or through or with counsel
        before any agency in connection with any function, matter, or process.
        whether formal, informal, public, or private. The word "party" in
        the second sentence is to be understood as meaning any person show-



                                                        Defs.' MSJ App. 407
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 187 of 212 PageID 3704
         32             ADMINISTRATIVE PROCEDURE ACT

        ing the requisite interest in the matter, since the section applies in
        connection with the exercise of any agency authority whether or not
        formal proceedings are available. The phrase "responsible officers,"
        as used here and in some other provisions, includes all officers or em-
        ployees who actually determine matters or exercise substantial
        advisory functions. The qualifying words in the third sentence-
        which read "so far as the orderly conduct of public business per-
        mits"-preclude numerous petty appearances by or for the same
        party in the same case; but they do not confer upon agencies a right
        to preclude interested persons from presenting fully and before any
        responsible officer or employee their cases or proposals in full. The
        reference to interlocutory and summary proceedings emphasizes the
        necessity for an opportunity for full informal appearance where
        normal and formal hearing and decision' requirements are not appli-
        cable prior to agency action.
           The requirement that agencies proceed "with reasonable dispatch
        to conclude any matter presented" means that no agency shall in
        effect deny relief or fail to conclude a case by mere inaction, or proceed
        in dilatory fashion to the injury of the persons concerned. No agency
        should permit any person to suffer injurious consequences of unwar-
        ranted official delay.
           The final sentence provides that the subsection shall not be taken
        to recognize or deny the rights of nonlawyers to be admitted to practice
        before any agency. The uise of the word "counsel" means lawyers.
        The right of agencies to pass upon the qualifications of nonlawyers is
        expressly recognized and preserved in the subsection, but this provision
        does not authorize an agency to permit nonlawyers to "practice law"
        where that would be coritrary to law apart from this bill. As to
        lawyers, agencies are ordinarily not warranted in laying burdensome
        requirements upon those in good standing in the courts and should
        normally require no more at most than an attorney's own representa-
        tionl that he is such in good standing before the highest court of any
        State, Territory, or the United States.
                    SECTION 6(B). ADMINISTRATIV E INVESTIGATIONS
           Investigative process is not to be issued or enforced except as authorized
        by law. Persons compelled to submit data or evidence are entitled to
        retain or, on payment of costs, to procure copies except that in nonpublic
        proceedings a witness may for good cause be limited to inspection of the
        official transcript.
           This section is designed to preclude "fishing expe(litions" andi investi-
        gations beyond jurisdiction or authority. It applies to any demandd,
        whether or not a formal subpena is actually issued. It includes d(I-
        mands or requests to inSpect, or for the submission of reports. An
        investigation must be sub)stalntially and(l deimonstrably necessary to
        agency operations, conducted through authorized and official riep-
        reseI)tatives, and confined to the legal and factual sphere of the agency
        as provi(led by law. Investigations may not disturb or disrupt per-
        solnal privacy, or unreasonably interfere with private occupation or
        elnterl)rise. They should be conducted so as to interfere in the least
        degree conipatibie with adequate law enforcement.




                                                         Defs.' MSJ App. 408
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 188 of 212 PageID 3705
                        ADMINISTRATIVE PROCEDURE ACT               33
           "Nonpublic investigatory proceeding" means those of the grand
        jury kind in which evidence is taken behind closed doors. The
        limitation, for good cause, to inspection of the official transcript may
        be properly invoked by an agency where evidence is taken in a case
        in which prosecutions may be brought later and it would nullify the
        execution of the laws to permit copies to be circulated. In those
        cases the "good cause" should be clear and convincing; then the witness
        or his counsel may be limited to inspection of the relevant portions of
        the transcript. Parties should in any case have copies or an oppor-
        tunity for inspection in order to assure that their evidence is correctly
        set forth, to refresh their memories in the case of stale proceedings,
        and to enable ',henm to be advised by counsel. They should also
        have such copies whenever needed in other judicial or administrative
        proceedings.
                         SECTION 6 (C). ADMINISTRATIVE SUBPENAS
           Where agencies are by law authorized to issue subpenas, parties may
        secure them upon request and upon a statement or showing of general
        relevance and reasonable scope if the agency iJules so require. Where a
        party contests a subpena, the court is to inquire into the situation and,
        so far as the subpena is found in accordance with law, issue an order
        requiring the production of the evidence within a reasonable time under
        penalty of contempt for failure then to comply.
           This provision will assure private parties the same access to sub-
        penas, pursuant to the same just and reasonable routine, as that
        available to the representatives of agencies. It will also prevent the
        issuance -of improvident subpenas or action by an agency requiring
        a detailed, unnecessary, and burdensome showing of what evidence
        is sought. The section constitutes a statutory limitation upon the
        issuance or enforcement of subpoenas in excess of agency authority or
        jurisdiction, in connection with any agency function or authority.
        It does not mean that upon contest courts should enter- into a detailed
        examination of facts and issues which are committed to agency au-
        thority in the first instance; they should instead inquire generally
        into the legal and factual situation and be satisfied that the agency
        could lawfully have jurisdiction. The section expressly recognizes
        the right of parties subject to administrative subpenas to contest
        their validity in the courts prior to subjection to any form of penalty
        for noncompliance. In such contests, the court is required to deter-
        mine all relevant questions of law.
                     SECTION 6 (D). AGENCY DENIALS OF REQUESTS
           Prompt notice is to be given of denials of requests in any agency pro-
        ceeding, accompanied by a simple statement of procedural or other
        grounds.
          The section affords the parties in any agency proceeding, whether
        or not formal or upon hearing, the right to prompt action upon their
        requests, immediate notice of such action, and a statement of the actual
        grounds thelrefor. The latter should in any case be sufficient to
        apprisel the party of the basis of the denial and any other or further
        administrative remedies or recourse he may have. A statement of
                II. Repti., 70-2, vol. 6   21



                                                       Defs.' MSJ App. 409
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 189 of 212 PageID 3706
        34              ADMINISTRATIVE PROCEDURE ACT

        the actual grounds need not be made "in affirming a prior denial or
        where the denial is self-explanatory." However, prior denial would
        satisfy this requirement only where the grounds previously stated
        remain the actual grounds and sufficiently notify the party. A self-
        explanatory denial must meet the same test; that is, the request must
        be in such form that its mere denial fully informs the party of all he
        would otherwise be entitled to have stated.
                                  SECTION 7. HEARINGS
           Section 7 relating to agency hearings applies only where hearings are
        otherurise required by statute and by section 4 or 5.
           As heretofore stated in connection with sections 4 and 5, the bill
        requires no hearings unless other statutes contain such a requirement
        in particular cases of either rule making or adju(lication and even then
        section 5 contains numerous functional exceptions. This section 7,
        therefore, is merely supplementary to section 4 or 5 in the relevant
        cases. These formal hearing provisions are not in derogation of the
        settlement provisions of sections 5 and 6 (a), which require that
        parties be given every opportunity to simplify or settle cases. Hear-
        ings are not to be used as indirect burdens or penalties.
                   SECTION 7 (A). PRESIDING OFFICERS AT HEARINGS
            The hearing must be held either by the agency, a member or members
        of the board which comprises it, one or more examiners, or other officers
        specially provided for in or designated pursuant to other statutes. All
        presiding and deciding officers are to operate impartially. 7 hey may at
        any timv withdraw if they deem themselves disqualified and, upon the
        filing of a proper affidavit of personal bias or disqualification against
        them, the agency is required to determine the matter as a part of the record
        and decision in the case.
           The section provides two mutually exclusive methods of hearing-
        by the agency itself (or one or more of its members) or by subordinate
        officers. Also recognized as hearing officers are those, including
        State representatives, specially provided for or named in other statutes.
        But the reference to other statutory officers would not prevent an
        agency, such as the head of a department or a board, from utilizing
        examiners as provided by the bill. On the other hand, statutory
        provisions authorizing the use of employees or attorneys generally to
        be presiding officers are superseded. The preservation of the "con-
        duct of specified classes of proceedings by or before boards or other
        officers specially provided by or designated pursuant to statute" is
        not a loophole for the avoidance of the examiner system; it is intended
        to preserve only special types of statutory hearing officers who con-
        tribute some special qualifications, as distinguished from examiners
        otherwise provided in the bill, and at the same time assure the parties
        fair and impartial procedure.
           Those who so preside arc subject to the remaining provisions of the
        bill. They must (conduct the hearing in a strictly impartial and con-
        siderate manner, rather than as representatives of an investigative
        or prosecuting authority. They may make sure that all necessary
        evidence is adduced and keep the hearing orderly and efficient. No



                                                        Defs.' MSJ App. 410
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 190 of 212 PageID 3707
                         ADMINISTRATIVE PROCEDURE ACT               35
         examiner may proceed in willful disregard of law. Presiding officers
         must conduct themselves in accord with the requirements of this bill
         and with due regard for the rights of all parties as well as the facts,
         the law, and the need for prompt and orderly dispatch of public busi-
         ness.
            The provision for affidavits of bias or personal disqualification
         requires a decision thereon by the agency in, and as a part of, the case;
         it thereby becomes subject to administrative and judicial review.
         That decision might be made upon the affidavit alone, as for example,
         the protest might be dismissed as insufficient on its face. The agency
         itself may hear any relevant argument or facts, or it may designate an
         examiner to do so. The effect which bias or disqualification shown
         upon the record might have would be determined by the ordinary
         rules of law and the other provisions of this bill. If it appeared or
         were discovered late, it would have the effect-where issues of fact or
         discretion were important and the conduct and demeanor of witnesses
         relevant in determining them-of rendering the recommended deci-
         sioris or 'initial decisions of such officers invalid. This consequence
         will require agencies and examinert themselves to take care that they
         do not sit where subject to disqualification.
            The term "presiding officers" means those who officially sit and
         conduct the proceedings for reception of evidence. If more than one,
         so "presides," there may of course be a chairman who also presides in
         a slightly different but familiar sense as chairman of the presiding
         body.
                 SECTION 7 (B). HEARING POWERS OF PRESIDING OFFICERS
            Presiding officers, subject to the rules of procedure adopted by the agenoy-
         and within its powers, have authority to (1) administer oaths, (2) issue
         such subpenas as are authorized by law, (8) receive evidence and rule upon
         qfjers of proof, (4) take depositions or cause them to beortaken, (5) regulate
         the hearing, (6) hold conferences for the settlement simplification of
         issues, (7) dispose of procedural requests, (8) make decisions or recom-
         mended decisions under section 8 of the bill, and (9) exercise other author-
         ity as provided by agency rule consistent with the remainder of the bill.
            The section does not expand the powers of agencies. It assures
         that the presiding officer or officers will perform a real function rather
         than serve merely as notaries or policemen. They would have and
         independently exercise all the powers listed in the section. The
         agency itself-which must ultimately either decide the case, consider
         reviewing it, or hear appeals from the examiner's decision-should
         not in effect Conduct hearings from behind the scenes where it cannot
         know the detailed happenings in the hearing room and does not hear
         or see the witnesses or private parties.
                        SECTION 7 (C). EVIDENCE REQUIREMENTS
            Except as statutes otherwise provide, the proponent of a rule or order
         has the burden of proof. While any evidence may be received, as a matter
         of policy agencies are required to provide for the exclusion of irrelevant,
         immaterial, or unduly repetitious evidence and no sanction may be im-
         posed or rule or order be issued except upon consideration of the whole
         record or such portions as any party may cite and as supported by and



                                                           Defs.' MSJ App. 411
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 191 of 212 PageID 3708
          36             ADMINISTRATIVE PROCEDURE ACT

         in accordance with reliable, probative, and substantial evidence. Any
         party may present his case or defense by oral or documentary evidence,
         submit rebuttal evidence, and conduct reasonable cross-examination.
         However,    in the case of rule making or determining applications for
         initial licenses, the agency may adopt procedures for the submission of
         evidence in uwitten form so far as the interest of any party will not be
         prejudiced thereby.
            Tlhat the proponent of a rule or order has the burden of proof means
         not only that the party initiating the proceeding has the general
         burden of coming forward with a prima facie case but that other
         parties, who are proponents of some different result, also for that
         purpose have a burden to maintain. Similarly the requirement that
         no sanction be imposed or rule or order be issued except upon evidence
         of the kind specified means that the proponents of a denial of relief
         must sustain such denial by that kind of evidence. For example,
         credible and credited evidence submitted by the applicant for a
         license may not be ignored except upon the requisite kind and quality
         of contrary evidence. No agency is authorized to stand mute anid
         arbitrarily disl-4hlieve credible evidence. Except as applicants for a
         license or other privilege may be required to come forward with a
         prima facie showing, no agency is entitled to presume that the con-
         duct of any person or status of any enterprise is unlawful or improper.
         In other words, this section means that every proponent of a rile or
         order or the denial thereof has the burden of coming forward with
         sufficient evidence therefor; and in determining applications for
         licenses or other relief any fact, conduct, or status so shown by credible
         and credited evidence must be accepted as true except as the con-
         trary has been shown or such evidence has been rebutted or im-
         peached by duly credited evidence or by facts officially noticed and.
         stated.
            The second and primary sentence of the section is framed on the
         premise that, as to the admissibility of evidence, an administrative
         hearing is to be compared with an equity proceeding in the courts.
         Thus, the mere admission of evidence, is niot to be taken as prejudicial
         error (there being no liay jury to be protected from improper infience)
         although irrelevant, immaterial, and unduly repetitious evidence is
          useless and is to be excluded as a matter of efficiency and good practice;
         and no finding or conclusion may be entered except upon consideration
         by the agency of the whole record or so much thereof as a party may
         cite and as sulpported by and in accordance with evidence Ahicl is
         plainly of the requisite relevance arid materiality-that is, "reliable,
         probative, and substantial evidence." Thus while the exclusionary
          "rules of evidence" (1o not apply except as the agency may as a matter
         of sound practice simplify the hearing and record by excluding iiim-
          proper or unnecessary matter, the accepted standards and plrincil)les
         of probity, reliability, and substantiality of evidence must be applied.
         These are standards or princil)les usually applied tacitly anrd resting
          mainly upon common sense which people engaged in the conduct of
         responsible affairs instinctively understand. But they exist and must
          be rationally applied. They are to govern in administrative proceed-
          ings. These requirements do not preclude the admission of or reliance
          upon technical reports, surveys, analyses, and summaries where appro-
          priate to the subject matter.


                                                        Defs.' MSJ App. 412
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 192 of 212 PageID 3709
                        ADMINISTRATIVE PROCEDURE ACT               37
           The first and second sentences of the section therefore mean that,
        where, a party having the burden of proceeding has come forward with
        a prima facie and substantial case, he will prevail unless his evidence
        is (discre(lited or rebutted. In any case the agency must decide "in
        accordance with the evidence." Where there is evidence pro and
        conl, the agency nAust weigh it and decide in accordance with the pre-
        pon(lerance. In short, these provisions require a conscientious and
        rational judgment on the whole record in accordance with the proofs
        ad(Iuced. The proof must be substantial, as provided in this section
        and also in section 10 (e) where the term "substantial evidence" is
        discussed later in this report.
           The provision on its face does not confer a right of so-called "un-
        limited" cross-examination. Presiding officers will have to make the
        necessary initial determination. whether the cross-examination is
        pressed to unreasonable lengths by a party or whether it is required
        for the "full and true disclosure of the facts" stated in the provision.
        Nor is it the intention to eliminate the authority of agencies to con-
        fer sound discretion upon presiding officers in the matter of its ex-
        tent. The test is-as the section states-whether it is required "for
        a full and true disclosure of the facts." In many rule-making pro-
        ceedings where the subject matter and evidence are broadly economic
        or statistical in character and the parties or witnesses numerous, the
        direct or rebuttal evidence may be of such a nature that cross-exam-
        ination adds nothing, substantial to the record and unnecessarily
        prolongs the hearings. The right of cross-examination extends, in a
        proper case, to written evidence submitted pursuant to the last sen-
        tence of the section as well as to cases in which oral or documentary
        evidence is received in open hearing. Even in the latter case, sub-
        ject to the appropriate safeguards, technical data may as a matter of
        convenience be reduced to writing and introduced as in courts.
        Among these are technical statements, reports of surveys, analyses,
        and summaries. The written evidence provision of the last sentence
        of the section is designed to cover situations in which, as a matter of
        general rule or practice, the submission of the whole or substantial
        portions of the evidence in a case is done in written form. In those
        situations, however, the provision limits the practice to specified
        classes of cases and, even then, only where and to the extent that
        "the interest of any party will not be prejudiced thereby." To the
        extent that cross-examination is necessary to bring out the truth, the
        party must have it. An adequate opportunity must also be provided
        for a party to prepare and submit appropriate rebuttal evidence.
           Agencies must comply fully and the courts, pursuant to section 10
        of the bill, must enforce all of these requirements diligently.
                          SECTION 7 (D). RECORD OF HEARINGS
           The record of evidence taken and papers fled is exclusive for decision
        and, upon payment of costs, is avai abe to the parties. Where decision
        rests on official notice of a material fact not appearing in the evidence of
        record, any party may on timely request show the contrary.
           The "official notice" mentioned relates to the administrative prac-
        tice of taking facts as shown and true though not in the record.
        This is done by analogy to "judicial notice" familiar in court pro-
        cedure. Where agencies take such notice they must so state on the



                                                         Defs.' MSJ App. 413
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 193 of 212 PageID 3710
         38             ADMINISTRATIVE PROCEDURE ACT

        record or in their decisions and then afford the parties an opportunity
        to show the contrary. But such notice may initially be taken only
        of generally recognized and ordinarily indisputable facts-usually
        those of a scientific or public nature.
                    SECTION 8. AGENCY DECISIONS AFTER HEARING
           ,Section 8 applies to cases in which a hearing is required to be conducted
        pursuant to section 7.
           Like section 7, upon which section 8 depends, this section is supple-
        mentary to sections 4 and 5 in cases in which agency action is required
        to be taken after hearing provi(led by statute and not otherwise
        expressly exce1)ted. The decision in formal proceedings is exceedingly
        important, because most criticisms of the administrative process
        relate in one way or another to the methods whereby agencies decide
        cases. There are suspicions and good ground for assuming that those
        who purport to deci(de cases actually do not, that the submittals of
        private parties are not fully considered, that the views of agency
        personnel    are emphasized without opportunity for private parties to
        meet them, and that matters outside the record are often the real
        grounds of decision.
                      SECTION 8 (A). DECISIONS BY SUBORDINATES
           Where the agency has not presided at the reception of the evidence, the
        presiding officer (or any other oq/icer qualifled to preside, in cases
        exempted from section 6 (c)) must make the initial decision unless the
        ageney--by general rule or in a particular case-undertakes to make the
        tnttial decision. If the presiding officer makes the initial decision, it
        becomes the decision of the agency in the absence of an appeal to the
        agency or review by the agency on its own motion. On such appeal or
        renew, the agency has all the powers it would have had in making the
        initial decision. If the agency makes the initial decision without having
        presided at the taking of the evidence, whatever officer took the evidence
        must first make a recommended decision except that, in rule making or
        determining applicationsfor initial licenses, (1) the agency may instead
        issue a tentative decision or any of its responsible officers may recommend
        a decision or (2) such intermediate procedure may be wholly omitted in
        any case in which the agency finds on the record that the execution of its
        functions imperatively and unavoidably so requires.
           These provisions are mandatory but permit agencies to either have
        their examiners make decisions or, as is now usually the case, recom-
        mend decisions. In either case the examiner system is necessary
        because agencies cannot themselves hear all cases. Where they (1o
        not do so some device must be used to bridge the gap between the
        officials who hear and those who decide cases. The provision that on
        agency review of initial examiners' decisions it has all the powers it
        would have had in making the initial decision itself (toes not mean
        that initial examiners' decisions or recommended decisions are without
        effect. They become a part of the record and are of consequence, for
        example, to the extent that material facts in any case depend on the
        determination of credibility of witnesses as shown by their demeanor
        or con(Iuct at the hearing. In a broad sense the agencies' reviewing
        powers are to be compared with that of courts under section 10 (e)



                                                         Defs.' MSJ App. 414
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 194 of 212 PageID 3711
                         ADMINISTRATIVE PROCEDURE ACT                              39
         of the bill. The agency may adopt in whole or part the findings,
         conclusions, and basis stated by examiners or other presiding officers.
         Agency rules must prescribe a reasonable time for appeals from initial
         examiners' decisions. Where the agency determines to review such a
         case, it should, so far as possible, specify the issues of law, fact, or dis-
         cretion for review with particularity.
            The alternative intermediate procedure which an agency'may adopt
         in rule-making or determining applications for initial licenses is broadly
         drawn. But even in those cases, if issues of fact are sharply con-
         troverted or the case or class of cases tends to become accusatory in
         nature, sound practice would require the agency to adopt the in-
         termediate recommended decision procedure.
          SECTION 8 (B). REQUIREMENTS'FOR ALL SUBMITTALS AND DECISIONS
            Prior to each recommended or other decision or review the parties mu
         be given an opportunity to submit for the full consideration of deciding
         officers (1) proposed findings and conclusions or (2) exceptions to recom-
         mended decisions or other decisions being appealed or reviewed, and (3)
         8up)porting reasons for such findings, conclusions, or exceptions. The
         record must show the official rulings upon each such finding; conclusion,
         or exception pre8ente d. All recommended or other decisions become a
         part of the record and must include (1) findings and conClu8io', as well
         a8 the reasons or basis therefor, upon all the material issueR offad, law,
         or discretion presented by the record and (2) the appropriate agency
         action or denial.
            "Supporting reasons" means that briefs on the law and facts must
         be received and fully considered by every recommending, deciding,
         or reviewing officer. They must also hear such oral argument as
         may be required by law, and the bill does. not diminish rights to oral
         argument. Where the issues are serious or the case becomes one
         adversary in character, the agency should provide for oral argument
         before all recommending, deciding, or reviewing officers.
            The requirement that the agency must state the reasons or basis
         for its findings and conclusions means that such findings and conclu-
         sions must be sufficiently related to the record and the law as to advise
         the parties and any reviewing court of their record and legal basis.
         Most agencies will do so by opinions which reason and relate the
         issues of fact, law, and discretion. Statements of reasons, however,
         may be long or short as the nature of the case and the novelty or
         complexity of the issues may require.
            Findings and conclusions must include all the relevant issues of
         law and fact presented by the record. They may be few or many,
         simple or complex, as the case may be. Where oral testimony is
         conflicting or subject to doubt of its credibility, the credibility of
         witnesses would be a necessary finding if the facts are material. It
         should also be noted that the relevant issues extend to matters of
         administrative discretion as well as of law and fact. rPiis is important
         because agencies often appear to determine only whether they have
         power to act rather than whether their discretion should be exercised
         or how it should be exercised. Furthermore, without a disclosure of
         the basis for the exercise of, or failure to exercise, discretion, the
         parties are unable to determine what other or additional facts they
         might offer by way of rehearing or reconsideration of decisions.


                                                          Defs.' MSJ App. 415
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23           Page 195 of 212 PageID 3712
         40                 ADMINISTRATIVE PROCEDURE ACT

            WVhen made, decisions as defined by this section must be served on
         parties named, and also furnished to those participating as well as to
         interested persons who request them or have attempted to participate
         or intervene. Any person who requests in writing to be notified or
         given copies should have his request honored.
                       SECTION 9. AGENCY SANCTIONS AND POWERS
           Section 9 relating to powers and sanctions refers to the exercise of any
         power or authority by an agency.
           Unlike sections 7 and 8, this section applies in all relevant cases,
         whether or not the agency is required by statute to proceed upon hear-
         ing or in any special manner. It also applies to any power or authority
         tbat an agency may assume to exercise.
              SECTION 9 (A). GENERAL LIMITATION ON SANCTIONS AND POWERS
            No sanction may be imposed or substantive rule or order be issued ex-
         cept within the jurisdiction delegated to the agency and as authorized
         by law.
            This section embraces both substantive and procedural requirements
         of law. It means that agencies may not undertake anything which
         statutes or other adequate sources of authority (such as treaties) do
         not authorize them to do. Where these sources are specific in the
         authority granted, no additional authority may be assumed. Where
         these sources are general, no authority beyond the generality granted
         may be exercised. In short, agencies may not impose sanctions which
         have not been specifically or generally provided for them to impose.
         Thus, an agency which is authorized only to issue cease-and-desist
         orders may not set up a licensing system. An agency authorized to
         regulate only trade practices may not regulate banking, and so on.
         Similarly, no agency may undertake directly or indirectly to exercise
         the functions of some other agency. The section confines each agency
         to the jurisdiction delegated to it by law. Sanctions in the way of
         penalties or relief must be identified and authorized by law, and
         where authorized they must in any case properly apply in the factual
         situation presented.
            One troublesome subject in this field is that of publicity, which may
         in no case be utilized directly or indirectly as a penalty or punishment
         save as so authorized. Legitimate publicity extends to the issuance
         of authorized documents, such as notices or decisions; but, apart from
         actual and final adjudication after all proceedings have been had, no
         publicity should reflect adversely upon any person, organization,
         product, or commodity of any kind in any manner otherwise than as
         required to carry on authorized agency functions and necessary in the
         administration thereof. It will be the dutv of agencies not to permit
         informational releases to be utilized as penalties or to the injury of
         parties.
                                SECTION 9 (B), LICENSES
           Agencies are required, with due regard for the rigids or privileges of
        all the interested parties or persons adversely affected, to proceed with
        reasonable dispatch to conclude and decide proceedings on applications
        for licenses. They are not to withdraw a license without first giving the
        licensee notice in writing and an opportunity to demonstrate or achieve
        compliance with all lawful requirements except in cases of WvilIfulness or


                                                        Defs.' MSJ App. 416
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 196 of 212 PageID 3713
                        ADMINISTRATIVE PROCEDURE ACT               41
         those in which public health, interest, or safety requires otherwise. In
         businesses of a continuing nature, .no license expires until timely appli-
         cations for new licenses or renewals are determined by the agency.
            This section operates in all cases whether or not hearing is required,
         but it does not provide for a hearing where other statutes do not do
         so. Nor does it diminish statutory rights to a hearing. It does not
         confer licensing powers. The requirement of dispatch -means that
         agencies must proceed as rapidly as is feasible and practicable, rather
         than at their own convenience. Undue delays are subject to correc-
         tion by mandatory injunction pursuant. to section 10. The excep-
         tions to the second sentence, regardcling revocations, apply otly where
         the demonstrable facts fully and fairly warrant their application.
         Willfulness must be manifest. The same. is true of "public health,
         interest, or safety." The standard of "public * * * interest"
         means a situation where clear and immediate necessity for the due
         execution of the laws overrides the equities or the injury to the licen-
         see; the term does not confer upon agencies authority at Mc-ill to ignore
         the requirement of notice and an opportunity to demonstrate com-
         pliance. tIowever, this limitation does not apply to temporary
         permits or temporary licenses.
                              SECTION 10. JUDICIAL REVIEW
            Section 10 on judicial review does not apply in any situation so far as
         there are involved matters with respect to which statutes preclude judicial
         review or agency action is by law committed to agency discretion.
            This section requires adequate, fair, effective, complete, and just
         determination of the rights of any person in properly invoked pro-
         ceed ibgs.
            Very rarely do statutes withhold judicial review. It has never
         been tLe policy of Congress to prevent the administration of its own
         statutes from being judicially coifflned to the scope of authority
         granted or to the objectives specified. Its policy could not be other-
         wise. for in such a case statutes would in effect be blank checks drawn
         to the credit of some administrative officer or board. The statutes
         of Congress are not merely advisory when they relate to administrative
         agencies, any more than in other cases. To preclude judicial review
         uwder this bill a statute, if not specific in withholding such review,
         must up on its face give clear and convincing evidence of an intent to
         withhold it. The mere failure to provide specially by statute for
         judicial review is certainly no evidence of intent to withhold review.
            Matters of discretion are' necessarily exempted from the section,
         since otherwise courts would in effect supersede agency functioning.
         But that does not mean that. questions of law properly presented are
         withdrawal from reviewing courts, Where laws are so broadly drawn
         that agencies have large discretion, the situation cannot be remedied
         by an administrative procedure act but must be treated by the
         revision of statutes conferring administrative powers. However,
         where statutory standards, definitions, or other grants of power deny
         or require action in given situations or confine an agency within limits
         as required by the Constitution, then tihe determination of the facts
         does not lie in agency discretion but must be supported by either the
         administrative or judicial record. In any case the existence of
         discretion does not prevent a person from bringing a review action
         but. merely prevents him pro tanto from prevailing therein.


                                                         Defs.' MSJ App. 417
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 197 of 212 PageID 3714
         42             ADMINISTRATIVE PROCEDURE ACT

                          SECTION 10 (A). RIGHT OF COURT REVIEW
           Any person suffering legal wrong 'because of any agency actwo. 'It
        adversely affected within the meaning of any statute, is entitled to judicial
        review.
           This section confers a right of review upon any person adversely
        affected in fact by agency action or aggrieved within the meaning of
        any statute. The phrase. "legal wrong" means such a wrong as is
        specified in section 10 (e). It means. that something more than mere
        adverse personal effect must be shown in order to prevail-thlat is,
        that the adverse effect must be an illegal effect. Almost any govern-
        mental action may adversely affect somebody-as where rates or
        prices are fixed-but a complainant, in order to prevail, must show
        that the action is contrai'y to law in either sul)staince or procedure.
        The law so made relevant is not only constitutional law but any and
        all applicable law.
                            SECTION 10 (1). FORNIS OF ACTION
            The technical form of proceeding for judicial review is any special
         proceeding provided by .statute or, in the absence or inadequacy thereof
         any relevantf(orm of legal actionn (such as those for declaratory judgments
         or injunctions) in any court of competent jurisdiction. Moreover, agency
         action is also made subject to judicial review in any civil or criminal
         proceeding for enforcement except to the extent that prior, adequate, and
         exclusive opportunity for such review is provided by law.
            The first sentence of this section is an express statutory recognition
         and adoption of the so-called common-law actions as being appro-
         priate andl authorized means of judicial review, operative whenever
         special statutory forms of judicial review are either lacking or in-
         sufficient. Declaratory judgment procedure, for example, may be
         operative before statutory forms of review are available and may be
         utilized to determine the validity or application of any agency action.
         By such an action the court must determine the validity or applica-
         tion of a rule or order, render a judicial declaration of rights, and so
         bind an agency upon the case stated and in the absence of a reversal.
         The expression "special statutory review" means not only special
         review proceedings wholly create(l by statute, but so-called common-
         law 'forms referred to and adopted by other statutes as the appropriate
         mode of review in given cases. The provision respecting " prior,
         adequate, and exclusive * * * review" in the second sentence is
         operative only where statutes, either expressly or as they are inter-
         preted, require parties to resort to some special statutory form of
         ju(licial review which is prior in time and adequate to the case.
            The section (loes not alter venue provisions under existing law,
         whether in connection with spe cially provided statutory review or the
         so-called nonstatutory or cornmoro-law-action variety.. Under this
         and the other provisions of section 10 a. proper reviewing court has
         full authority to render decision and grant relief..
                       SECTION 10 (C). REVIEWABLE AGENCY ACTS
           Agency action made revievable specially by statute or final agency
         action for which there is no other adequate julicial remedy is subject to
         judicial review. In addition, preliminary or procedural matters not



                                                         Defs.' MSJ App. 418
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 198 of 212 PageID 3715
                        ADMINISTRATIVE PROCEDURE ACT               43
        directly subject to review are renewable upon the review of final actions.
        Except as statutes may expressly require otherwise, agency action is final
        for the purposes of the section whether or not there has been presented or
        determined any application for a declaratory order, for any form of re-
        consideration, or (unless the agency otherwise requires by rule and pro-
        vides that the action shall meanwhile be inoperative) for an appeal to
        superior agency authority.
            "Final" action includes any effective or operative agency action for
        which there is no other adequate remedy in any court. Action which
         is automatically stayable on further proceedings invoked by a party
        is not final "Reconsideration" includes reopening, rehearing, etc.
        The last clause, permitting agencies to req uire by rule that an appeal
        be taken to superior agency authority-before judicial review may be
        sought, is designed primarily to implement the provisions of section
         8 (a) pursuant to which an agency may permit an examiner to make
        the initial decision in a case which becomes the agency's decision in
        the absence of an appeal to or review by the agency. If there is
        such review or a ppeal, the examiner's initial decision becomes in-
        operative, until the agency determines the matter. This section
         permits an agency also to require by rule that, if any party is not.
        satisfied with the initial decision of a subordinate hearing officer, the
        party must first appeal to the agency (the decision meanwhile being
         inoperative) before resorting to the courts. In no case may appeal
         to "superior agency authority" be required by rule unless the adminis-
         trative decision meanwhile is inoperative, because' otherwise the
         effect of such a requirement would be to subject the party to the
         agency action and to repetitious administrative process without
        recourse. There is a fundamental inconsistency in requiring a person
        to continue "exhausting" administrative processes after adminis-
         trative action has become, and while it remains, effective.
               SECTION 10 (D). TEMPORARY RELIEF PENDING FULL REVIEW
            Pending judicial review any agency may postpone the effective date of
         its action. Upon conditions and as may be necessary to prevent irre-
         parable injury, any reviewing court may postpone the effective (late of
         any agency action or preserve the status quo pending conclusion of
         review proceedings.
            This section permits either agencies or courts, if the proper showing
         be made, to maintain the status quo. The section is in effect a
         statutory extension of rights pending judicial review, although the
         reviewing court must Ur(Ier the extension; or, to put the situation
         another way, statutes authorizing agency action are to be construed
         to extend rights pending judicial review and the exclusiveness of the
         administrative remedy is diminished so far as this section operates.
         While the section would not permit a court to grant an initial license,
         it provides intermediate judicial relief for every other situation in
         order to make judicial review effective. The authority granted
         is equitable and should be used by both agencies and courts to prevent
         irreparable injury or afford parties an adequate judicial remedy.
         Such relief would normally, if not always, be limited to the parties
         complainant and may be withheld in the absence of a substantial
         question for review. In determining whether agency action should
         be postponed, the court should take into account that persons other



                                                       Defs.' MSJ App. 419
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 199 of 212 PageID 3716
         A4             ADMINISTRATIVE PROCEDURE ACT

         than parties may be adversely affected by such postponement and
         in such cases the party seeking postponement may be required to
         furnish security to protect such other persons from loss resulting
         from postponement.
                       SECTION 10 (E). SCOPE OF COURT REVIEW
           Reviewing courts are required to decide all relevant questions of law,
        interpret constitutional and statutory provmsions, and determine the mean-
        ing or applicability of any agency action. They must (A) compel action
        unlawfully withheld or unreasonably delayed and (B) hold unlawful any
        action, findings, or conelusionsfjound to be (1) arbitrary or an abuse of
        discretion, (2) contrary to the Constitution, (3) contrary to statutes or
        statutory right, (4) without observance of procedure required by law., (5)
        unsupported by substantial evidence in any case reviewed upon the record
        of an agency hearing provided by statute, or (6) unwarranted by the facts
        80 far as the latter are subject to trial de novo. In making these deterini-
        nations the court is to. consider the whole record or such parts as any
        party may cite, and due account must be taken of the rule of prejudicial
        error.
           This section provides that questions of law are for courts rather, than
        agencies to decide in the last analysis and it also lists the several
        categories of questions of law. Under it courts are required to deter-
        mine the application or threatened application or questions respecting
        the validity or terms of any agency action notwithstanding the form of
        the proceeding or whether brought by private parties for review or by
        public officers or others for enforcement. It expressly recognizes the
        right of properly interested parties to compel agencies to act where they
        improvidently refuse to act. "Finding" and "conclusion" also mean
        failure to find or conclude as the law and the record may require.
        "Accordance with law" requires, among other things, a judicial deter-
        mination of the authority or propriety of interpretative rules and
        statements of policy. "Short of statutory right" means that agencies
        are not authorized to give partial relief where a party demonstrates
        his right to the whole. Authorized relief must be granted by an
        agency to the full extent that entitlement is shown.
           "Without observance of procedure required by law" means not
        only the procedures required and procedural rights conferred by this
        bill but any other proce(lures or procedural rights the law may require.
        Except in a few respects, this is not a measure conferring administra-
        tive powers but is one laying down definitions and stating limitations.
        These definitions and limitations must, to be sure, be interpreted and
        applied by agencies affected lay them in the first instance. Blut the
        enforcement of the bill, by the independent judicial interpretation
        and application of its terms, is a function which is clearly conferred
        upon the -courts in thle final analysis. It will thus be the duty of
        reviewing courts to prevent avoidance of the requirements of the bill
        by any manner or form of indirection, and to determine the meaning
        of the words and phrases used. For example, in several pro visions
        the expression "good cause" is used. The cause so specified must be
        interpreted by the context of the provision in which it is found and
        the purpose of the entire section and bill. Cause found must be real
        and demonstrable. If the agency is proceeding u-pon a statutory
        hearing and record, the cause will appear there; otherwise it must be


                                                        Defs.' MSJ App. 420
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23          Page 200 of 212 PageID 3717
                            ADMINISTRATIVE PROCEDURE ACT                        45
         such that the agency may show the facts afnd consi(lerations warranting
         the finding in any proceeding in which the finding is challenged. The
         same wouLh be true in the case of findings other than of good cause,
         required in the bill. As has been said, these findings must in the first
         instance be made by the agency concerned but, in the final analysis,
         their propriety in law and on the facts must be sustainable upon
         inquiry by a reviewing court
            "Sul)stantial evidence" means evidence which on the whole record
         is clearly sul)stantial, plainly sufficient to support a finding or con-
         clusion uiidler the reqluirenwnts of section 7 (c), and material to the
         issues. It is exceedingly important. Difficulty has come about by
         the practice of agencies and courts to rely upon something less-
         suspicion, surmise, implications, or plainly incredible evidence. Al-
         though the agency must do so in the first instance, under this bill
         it will be the uhity of the (courts to determine in the final analysis
         and in the exercise of their independent judgment whether on the
         whole of the proofs brought to their attention the evidence in a given
         instance is, sufficiently substantial to support a finding, conclusion, or
         other agency action or inaction. In reviewing a case under this fifth
         category the court nmust base its judgment upon its own review of the
         entire record or so much thereof as may be cited by any party.
            The sixth category, respecting~the establishment of facts upon trial
         de novo, would require the reviewing court to determine the facts in
         any case of adjudication not subject to sections 7 and 8 or otherwise
         required to be reviewed exclusively on the record of a statutory agency
         hearing. It would also require the judicial determination of facts in
         connection with rule making or any other conceivable form of ageiicy
         action to the extent that the facts were relevant to any pertinent
         issues of law presented. For example, statutes providing for "repara-
         tion orders," in which agencies determine damages and award money
         judgments, usually state that the money orders issued are merely
         prima facie evidence in the courts and the parties subject to them are
         permitted to introduce evidence in the court in which the enforcement
         action is pending. In other cases, the test is whether there has been
         a statutory administrative hearing of the facts which is adequate and
         exclusive for purposes' of review. Thus, adjudications such as tax
         assessments not made upon a statutory administrative hearing and
         record may involve a trial of the facts in The Tax Court or the United
         States district courts. WN-here administrative agencies deny parties
         money to which they are entitled by statute or rule, the claimants
         may sue as for any other claim and in so doing try out the facts in
         the Court of Claims or United States district courts as the case may
         be. Where a court enforces or applies an administrativerule, the
         party to whom it is applied may for example offer evidence and show
         the facts upon which he bases a contention that he is not subject
         to the terms of the rule. Where for example an affected party claims
         in a judicial proceeding that a rule issued without an administrative
         hearing (and not required to be issued after such hearing) is invalid
         for some relevant reason of law,he may show the facts upon which
         hepredicates such invalidity. In short, where arule or order is not
         required by statute to be made after opportunity for agency hearing
         and to be reviewed solely upon the record thereof, the factspertinent
         to any relevant question oflaw must be tried and determined de novo



                                                        Defs.' MSJ App. 421
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23             Page 201 of 212 PageID 3718
         46                    ADMINISTRATIVE PROCEDURE ACT
         by the reviewing court respecting either the validity or application of
         such rule or order-because facts necessary to the determination of
         any relevant question of law must be determined of record somewhere
         and, if Congress has not provided that an agency shall do so, then the
         record must be made in court.
            The requirement of review upon "the whole record" means that
         courts may not look only to the case presented by one party, since
         other evidence may weaken or even indisputably destroy that case.
         The requirement that account shall be taken "of the rule of prejudi-
         cial error" means that a procedural omission which has been cured
         prior to the finality of the action involved by affording the party the
         procedure to which he was originally entitled is not a reversible error.
                                    SECTION 11. EXAMINERS
            Subject t'o the civil-service and other laws not inconsistent with this bill,
         agencies are required to appoint, such examiners as may be necessary for
         proceedings under sections 7 and 8, who are to be assigned to cases in
         rotation sofar as practicable anl to perform no inconsistent duties. They
         are removable only for good cause determined by the Civil Service (Com-
         mission after opportunity for hearing and upon the record thereof. They
         are to receive compensation prescribed by the Commission independently
         of agency recommendations or ratings. One agency may, with the consent
         of another and upon selection by the Commission, borrow examiners from
         another. The Commission is given the necessary powers to operate under
         this section.
            That'examiners be "qualified and competent" requires the Civil
         Service Commission to fix appropriate qualifications and the agencies
         to seek fit persons-l. In view of tMe tenure and compensation requUie-'
         mients of the section, designed to make examiners largely independent
         in matters of tenure and compensation, self-interest and due concern
         for the proper performance of public functions will inevitably move
         agencies to secure the highest type of examiners. The section thus
         changes the present situation, in which examiners are mIre employees
         of an agency. The entire tradition of tile Civil Service Commission is
         directed toward security of tenure, and that system is put to appro-
         priate use in the present case.
            Additional powers are conferred upon the Commission. It must
         afford any examiner an opportunity for a hearing before acceding to
         an agency re(juiest for removal, and even then its action woil(l be sub-
         ject to judicial review. The hearing and decision would be made
         un(ler setionrs 7 and 8 of this bill.
            The reqiairemenit of assignment of examiners "in rotation" prevents
         an agency fromidisfavoring an examiner by ren(lering him inactive,
         although e(xaminers may be permitted to specialize and be assigned
         mainly to cases for which they have so qualified.
            In thle inatter of examiners' compensation the section a(l(ls greatly
         to the Commission's powers all(n function. It must prescribe and
         a(ljust examiners' salarties, independently of agency ratings and
         recommendations. The state(l inapplicability of specified sections of
         the Classification Act carries into effect that authority. The Com-
         mission would exercise its powers by classifying examiners' positions
         and, upon customary examiination. through its agents, shift examiners
         to superior classifications or higher grades as their experience and


                                                          Defs.' MSJ App. 422
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 202 of 212 PageID 3719
                        ADMINISTRATIVE PROCEDURRE ACT              47
         duties may require. Agencies may make, and the Commission may
          consider, recommendations; and the Commission might consult the
         agency, as it now does in setting up positions or reclassifying positions
         but it would act upon its own responsibility and with the objects of
         the bill in mind. Examiners' salaries should be high enough to attract
         superior personnel.
            The provision permitting agencies to borrow examiners is intended
          to permit those who do not need full-time examiners to borrow them
         as needed as well as to aid those agencies which may become tem-
         porarily or occasionally insufficiently staffed.
                         SECTION 12. CONSTRUCTION AND EFFECT
            Nothing in the bill is to diminish constitutional rights or limit or
         repeal additional requirements of law. Requirements of evidence and
         procedure are to apply equally to agencies and private persons except as
          otherwise provided by law. The unconstitUtionality of any portion or
         application of the bill is not to affect other portions or applications.
         Agencies are granted all authority necessary to comply with the bill.
         Subsequent legislation is not to modify the bill except as it may do so
         expressly. The bill would become law three months after its approval
         except that sections 7 and 8 take effect six months after approval, the
         requirements of section 11 become effective a year after approval, and no
         requirement is mandatory as to any agency proceeding initiated prior to
         the effective date of such, requirement.
            The word "initiated" in the final clause of the section means a pro-
         ceeding formally begun as by the issuance of a complaint by the
         agency (irrespective of prior charges or investigations) or of notice of
         a rule-making hearing. As to new cases, the effective dates provided
         in section 12 are deferred longer so far as sections 7 and 8 are concerned
         in order to afford agencies ample time to prepare and make any adjust-
         ment.s required in their procedures. The selection of examiners under
         section 11 is (leferred for a year in order to permit present military
         service personnel an opportunity to qualify for these positions.
            Trhis section, however, inerely provides formal matters of coristruc-
         tion and effect. Except as it Cexpands or defers the prior sections of
         the bill, it supplies mainly the time of taking eff ect of the several
         provisions of the bill. Otherwise the. earlier provisions are operative
         according to their terms. Any inconsistent agedey action or statute
         is in effect repealed. No agency action taken or refused would be
         lawful except as (lone in full compliance with all applicable provisions
         of the bill and subject to the judicial review provided. No agreed
         waiver of its provisions would suffice unless entirely voluntary and
         without any manner or form of coercion.
            Like some other statutes, judicial enforcement in case by case
         fashion is not the only method of enforcing the bill. For willful
         failure to comply, funds may be withheld or officers or employees may
         be subject to disciplinary action or dismissal. However, for most
         practical purposes it is to the agencies that the Congress and the
         people must look for fair administration of the laws and compliance
         with this bill. Judicial review is of utmost importance, but it can be
         operative in relatively few cases because of the cost and general haz-
         ards of litigation. It is indispensable since its mere existence gener-
         ally precludes the arbitrary exercise of powers or assumption of powers



                                                        Defs.' MSJ App. 423
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23       Page 203 of 212 PageID 3720

        48                ADMINISTRATIVE PROCEDURE ACT

        not granted. Yet, in the vast majority of cases the agency concerned
        usually speaks the first and last word. For that reason the agencies
        must make the first, primary, and most far-reaching effort to comply
        with the terms and the spirit of this bill.
          This bill is not, of course, the final word. It is a beginning. If it
        becomes law, changes may be made in the light of further experience;
        and additions should be made.




                                                     Defs.' MSJ App. 424
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23                                  Page 204 of 212 PageID 3721




                                               APPENDIX A
                                           COMMITTEE AMENDMENT
           It is proposed by the Committee amendment to make the following changes in S. 7: Portions of the bill
         I' which no change is proposed are printed in roman, with matter proposed to be omitted shown in black
         brackets, and new matter Is printed in italic:
               A BILL To improve the administration of justice by prescribing fair administrative procedure
            Be it enacted by the Senate and House of Representatives of the United States of
         America in Congrees assembled, MThat]
                                                         TITLE
             SECTION 1. This Act may be cited as the "Administrative Procedure Act".
                                                    DEFINITIONS
            SEC. 2. As used in this Act-
             (a) AGENCY.- "Agency" means each authority (whether or not within or sub-
         ject. to review by another agency) of the Governiment of the United States other
         than Congress, the courts, or the governments of the possessions, Territories, or
         the District of Columbia. Nothing in this Act shall be construed to repeal del-
         gations of authority as provided by law. Except as to the requirements of sec-
         tion 3, there shall be excluded from the operation of this Act (1) agencies com-
         posed of representatives of the parties or of representatives of organizations of
         the parties to the disputes determined by them, (2) courts martial and military
         commissions, (3) military or naval authority exercised in the field in time of war
        or in occupied territory, or (4) functions which by law expire on the terminations
        of present hostilities, within any fixed period thereafter, or before July 1, 1947
        and the functions conferred by the following statutes: Selective Training arid
        Service Act of 1940; Contract Settlement Act of 1944; Surplus Property Act
        of 1944.
            (b) PERSON AND PARTY.-"Person" includes individuals, partnerships, corpo-
        rations, associations, or public or private organizations of any character other
        than agencies. "Party" includes any person or agency named or admitted as a
        party, or properly seeking and entitled as of right to be admitted as a party, in
        any agency proceeding; but nothing herein shall be construed to prevent an
        agency from admitting any person or agency as a party for limited purposes.
            (c) RULE AND RULE MAKING.-"Rule" means the w;vhole or any part of any
        agency statement of general or particular applicability and future effect I designed
        to implement, interpret, or prescribe law or policy or to describe the organization,
        procedure, or practice requirements of any agency [.] and includes the approval'
        or prescription for the future of rates, wages, corporate or financial structures or
        reorganizations thereof, prices, facilities, appliances, services, or allowances therefor,
        or of valuations costs, or accounting, or practices bearing upon any of the foregoing.
        "Rule making'; means agency process for the formulation, amendment, or repeal
        of a rule [and includes the approval or prescription for the future of rates, wages,
        corporate or financial structures or reorganizations thereof, prices, facilities, appli-
        ances, services, or allowances therefor, or of valuations, costs, or accounting, or
        practices bearing upon any of the foregoing].
          I The change of the language to embrace specifically rules of "particular" as well as "general" applica-
        bility necessary order to avoid controversy and assure coverage of rule making addressed to named
               is         in
        persons. The Senate comm ttee report so interprets the provision, and the other changes are likewise in
        conformlty with the Senate committee report (p. ll). The phrase "future effect" does not preclude agen-
        cies froth considering and, so far as legally authorized, dealing with past transactions in prescribing rule
        for the future.
                                                                                                       42

                     B. Reptse. 79-2, vol. 6- 22




                                                                             Defs.' MSJ App. 425
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 205 of 212 PageID 3722
         50             ADMINISTRATIVE PROCEDURE ACT
            (d) ORDER AND ADJUDICATION.-"Order" means the whole or any part of the
        final disposition (whether affirmative, negative, injunctive,2 or declaratory in
        form) of any agency in any matter other than rule making but including licensing.
        "Adjudication" means agency process for the formulation of an order.
            (e) LICENSE AND LICENSING.-"License" includes the whole or part of any
        agency permit, certificate, approval, registration, charter, membership, statutory
        exemption, or other form of permission. "Licensing" includes agency process
        respecting the grant, renewal, -denial, revocation, suspension, annulment, with-
        drawal, lImitation, amendment, modification, or conditioning of a license.
            (f) SANCTION AND RELIEF.-"Sanction" includes the whole or part of any
        agency (1) prohibition, requirement, limitation, or other condition affecting the
        freedom of any pers')n; (2) withholding of relief; (3) imposition of any form of
        penalty or fine; (4) destruction, taking, seizure, or withholding of property; (3)
        assessment of damages, reimbursement, restitution, compensation, costs, charges,
        or fees; (6) requirement, revocation, or suspension of a license; or (7) taking of
        other compulsory or restrictive action. "Relief" includes the whole or part of
        any agency (I) grant of money, assistance, license, authority, exemption, excep-
        tion, privilege, or remedy; (2) recognition of any clain, right, immunity, privilege,
        exemption, or exception; or (3) taking of any other action upon the application or
        petition of, and 3 berneficial to, any person.
            (g) AO,£.NCY PROCJ*1)ING AND ACTWoN.-"Agency proceeding" mleans any
        agency process as dlefined in suibse(ctions (c), (d), and (e) of this section. [For the
        purT)oscs of section IO,'] "Agency action" includes the whole or part of ever
        agency rule, order, license, sanction, relief, or the equivalent or denial there)f,
        or failure to act.
                                                         PUBLIC INIFORMATION
            SEC. 3. Except to the extent that there is involved (1) any function of the
         United States requiring secrecy iii the public interest or (2) any matter relating
        solely to the internal nanriagemrent of an agency--
            (a) IRuLr;s.-EverN agency shall scparat.ely state arid currently publish in the
        Federal Register (I) descriptions of its central atici fiel(l organization, inclluding
        delegations by the agency of final authority and thle established places (at which,
        and methods wherebv, the pIlublic maty secure information or make submittals or
        re(luests; [(3)] (2) statements of the general course and method by vyhich its
        [rule iriakinig arid adjildicatirig 6] functions are channelled and (leterilined, in-
        clueding thle hat ire and re(jui remients of all formal or inforriial p)roce(lures avail-
        able as well as formis all(i insiruietioris as to the scope anfi contents of all papers,
        rel)orts, or examinations; arid [(4)] (:S1) suibst alitive rules a(lopte(d as authorized
        b)v lawv and statements of general policy or iliterpretatiolis formiuilated an(l a(lol)ted
        by the agency for the guidance of tle p)uiblic, butl riot rules (addressed to and served
        upon nanted persons in accordance with law.6 No )crso0ll sliall in any manner 'bo
        re(Juired to resort to organization or lprocedure riot so published.
            (b) OPiNIONS A ND O11);ItrS.-E'Very agency shall Ipblish or, in accordance with
        piublisll('d rule, mnake available to public ilislwetion all final opinions or or(lers in
        the adjudication of ecass (except those required for goo(l cause to be lheld con-
        fidential and riot (it(d as precedlets) and all rules.7
            This afdititll Is prompiiilted by the fael thlit sominepeoplee interpret "filtulre efect" as liS41d ill iflnlieg
           ;T
        rule in kiti-lg, to Ii ',lr inlimijotnri e net io, wilivreas thie liter is tradtidittonally and eaeril tyljyialijudaionl. It
        is iradle evin mo ilre ii'-evsitiry t iho this miat ter Ibe cliivltie't because of the amiendmrirent of settion 2 (c) to eii-
        bract' (cu-ni ly port l ii rize (I ro Il' iakirit as set fol hi ill lole 1.
                    hn is jiveessary to iniake It clear thlatl "'elief'' mttens onily action l;kel 1p1)011 the application or
            'l' ehwri'!
            T
        jwtitioll of li isty. A5ge(rites fitc-in i tly,oof Co(Ji,Ise, uy take a(ctiotll, b) iiief(itil oilierwise, on tieir
                                                                                                       or                        own
        niotfort.
           4 As thle t)ilt IIiWV st snnds he terni 'iigericy actIII toiSis io n*SeI jIn other SO(c tilIS, bUiI Il leterni otiglI I riOt he
        linlited to SectntlOn 111 Si f1c 1it ii ,(aybe fOUiI;usi(u111 in later yeals iln connections Wiit adldtlit ins anId a1lellld
        mint fs.
           3 '1 he fIrst insert Is ne(ossary t show Ill which separate set of rnles idelegatIons of authority should amw)Par.
          ' Semnite comilitintltI rel))lt stat,4ts tlat I 1Ii Etf(lt Of Hn1Y otne of the flrst three classilleatdbus requires the
        1in    lktif)o ofsuhIl itlIissot a tir
               IIt
        hiJt c-crttitil.ty so-li I vIjitionsio
                                                     ir it y.o sri hor-flinnite ofti!-rs (p). I12), rirtl, of totirse, to      (rtter
                                                  hII not he requiredi jnill tililirve sets of rin es. It shot Itt he note(l t fat
                                                                                                                                        agenuibs,
                                                                                                                                               I




        there w ill b4 no r-fiu irin-iel tol} Iist ji tihv ril St, tn-e no nies of sjicele i!tl iidwilits to wUliUII power jS 41viciiteli
                               SmaIU~ io II(now reqil ireti b~y III iv. l' tie isl ilog 1ff so i t~etmt,li. nsl of f inul airttiil ~it y ret ti itex
        u rIteSS SU( 11i a (li-iE
        Only the nw  lIliniv if the spoiIfh- 4lc& -or agency to whI h a lel -gottioll of f1nite     r ilnthority hlas been iaitlih. 'ITle
        phirae '"ruih Iimnk ain      uo't uijudiieatidig'" Ls eliwina te!t because Iihe iitrodluietory dlusustS of hie sect iol wake
             'I le titided I iringul ig- is IU (csarry ill ord -r ri'i to fill tre Fe, tertrl Hl- ostec witIi a renat I rioes of 1lartti lar.
        at-tl role triuk ing wlti-il lie hIU         -toev Isaisfta-titrily hatniilt1tiwithorit vil'il I)IIIli-atitt.
              tIllris (lalrgt- sotitpiUierts the (etoin,
                                                      II:xUI tiif)        Ijr ote it. If sillne InIstire  nrtIIt dbtlsiel iu thl F'eil-
        e-nil Iegistur, tewn ewut-rly nthvy should be muide availllle In the suIICe uninwr as orilers.




                                                                                                  Defs.' MSJ App. 426
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 206 of 212 PageID 3723
                         ADMINISTRATIVE PROCEDURE ACT              51
            (C) PUBLIC RECORDS.-Save as otherwise required by statutes, matters of
         official record shall in accordance with published rule be made available to persons
         properly and directly concerned except information held confidential for good
         cause found.
                                             RULE MAKING
            SEC. 4. Except to the extent that there is involved (1) any military, naval, or
         foreign affairs function of the United States or (2) any matter relating to agency
         management or personnel or to public property, loans, grants, benefits, or con-
         tracts-
            (a) NOTICE.-General notice of proposed rule making shall be published in the
         Federal Register (unless all persons subject thereto are named and either personally
         served or otherwise have actual notice thereof in accordance with law)8 and shall
         include (1) a statement of the time, place, and nature of public rule making
         proceedings; (2) reference to the authority under *hich the rule is proposed: and
         (3) either the terms or substance of the proposed rule or a description of the
         subjects and issues involved. Except where notice or hearing is required by
         statuite, this subsection shall not apply to interpretative rules, general statements
         of policy, rules of agency organization, procedure, or practice. or in any situation
         in which the agency for good cause finds (and incorporates the finding and a brief
         statement of the reasons therefor in the rules issued) that notice and public
         procedure thereon are impracticable, unnecessary, or contrary to the public
         interest.
            (b) P1nocEimuaEs.-After notice required by this section, the agency shall
         afford interested persons an opportunity to participate in the rule making through
         subImissionl of written data, views, or argunient with or without opportunity to
         l)resent the same orally in any manner and, after consideration of all relevant
         matter presented, the agency shall incorporate in any rules atlopte(l a conceise
         general statement of their basis and purpose. Where rules are required by
         [law] statute to be mncie [upon] on the record after opportunity for [or upon] 9 an
         agency hearing, the requirements of sect-oiis 7 axnd 8 shall apply iii place of the
         provisions of this subsection.
            (C) EFFECTIVE DATEs.-rThe required l)ublication or service of any substantive
         rule (other than one granting or recognizing exemption or relieving restriction or
         interl)rctative rules and statements of policy) shall be made not less tharl thirty
          lays prior to the effective date thereof except as otherwise provided by the agency
         u)pon good cause found and published with the rule.
            (d) PETITIONs.-Every agency shall accord any interested person the right to
         petition for the issuance, amendment., or repeal of a rule.
                                                        ADJUDICATION
               SEc. 5. In every case of adjudication required by statute to be determiined on
         the record after opportunity for an agency hearing, except to the extent that,
          there is involved (1) nny inwtter subject to a subsequent trial of the law anid the
         facts (le novo in any court; (2) the selection or tentire of an officer or ernployee of
         the United States other than examiners appointed )pursuant to section 11; (3) pro-
         ceedlitigs in which decisions rest solely onl inspections, tests, or elections; (4) the
         contltict. of military, naval, or foreign affairs functions; (5) cases in which an agency
         is acting As an agent for a court; aII(l (6) the certification of employee repre-
         senltat ives-
               (a) No'ricE.-Persons entitled to notice of an agency hearing shall be timely
         inforined of (1) the time, place, and nature thereof; (2i) the legal authority an(I1
         ittris(liction under which the bearing is to be held; and (3) the Iimatters of fact and
         law asserted. In instances in which private persons are the wlovinig parties, other
         parties to the proceeding shall give prompt notice of issues controverted in fact or
         law; and in other instances agencies may by rude require resp)oisive )leading. In
         fixing the timls and l)laves for hearings, (lute regardl shall be had for the Colnvenience
         and necessity of the parties or their represelitatives.
               (b) I'Poch:m E.--Tl'he agency shall afford all interested parties opportunity
         for (I) the submission audi consideration of facts, arguimient, offers of settlement, or
             *lThe ad~tedllanniage sttj'jI;.'nients the changes explainel in n't's 6 andl 7. There is no re&mon to burden
         the Fd(leral itegistir with notiees aw(resse(l to particular parties who have been personally served or other-
         wise lave, nolick.
              'IIhe ehanve is inadle to conformn to the language used in the introductory clause of stctioji .5 reipecting
         a(dIjtlivations. .4 statute may, in terms, require a rub or order to be niade upoo the recor'I of a hearing, or
         litthe tisual esse Ihe inter rete(l as manifesting C'onvressiozial iutention so to require, and in either situa-
                                                              a
         tion sections 7 and 8 would apply save as other exceptions are olerative.




                                                                                Defs.' MSJ App. 427
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 207 of 212 PageID 3724
          52            ADMINISTRATIVE PROCEDURE ACT

         proposals of adjustment where time, the nature of the proceeding, and the public
         interest permit and (2), to the extent that the parties are unable so to determine
         anyN controversy by consent, hearing and decision upon notice and in conformity
         with sections 7 and 8.
            (C) SEPARATION OF FUNCTIONs.-The same officers who preside at the reception
         of evidence pursuant to'section 7 shall make the recommended decision or initial
         decision required by section 8 excel)t where such officers become unavailable to the
         agency. Save to the extent, required for the disposition of ex parte matters as
         authorized by law, no such officer shall consult any person or party on any fact in
         issue unless upon notice and opportunity for all parties to participate; nor shall
         such officer be responsible to or subject to the supervision or direction of any
         officer, employee, or agent engaged in the performance of investigative or prose-
         cuting functions for any agency. No officer, employee, or agent engaged in the
         performance of investigative or prosecuting functions for any agency in any case
         shall, in that or a factually related case, participate or advise in the decision,
         recommended decision, or agency review pursuant to section 8 except as witness
         or counsel in public proceedings. This subsection shall not applv in determining
         ap;)licat ions for initial licenses or [the past reasonahbleness of rates:] to proceedings
         intv-olving the validity or (application of rates, facilities, or practices of public utilities
         or carriers;'0 nor shall it be alul)lical)le in any nanlner to the agency or any member
         or menibers of the b)ody coiprising the agency.
            (d) DECLARAroRY ORDERs.-The agency is authorized in its sound discretionn,
         with like effect as in the case of other orders, to issue a declaratory order ti
         terminate a controversy or remove uncertainty.
                                                     ANCILLARY AIMATTERS
              SEC. 6. Except as otherwise provided in this Act-
              (a) APPEARANCE.-Any person compelled to appear in person before anj
         agency or representative thereof shall be accorded the right to be
         represented, and advised by counsel or, if permitted by the agency, by othet
                                                                                                        accompanied,
         qualified representative. Every party shall be accorded the right to appear in
         person or by or with counsel or other duily qualified representative in any agency
         proceeding. So far as the [responsible] orderly 11 conduct of public business permits,
         any interested person may appear before any agency or its responsible officers or
         employees for the presentation, adjustment, or determination of any issue, re-
         quest, or controversy in any proceeding (interlocutory, summary, or otherwise)12
         or in connection with any agency function [including stop order or other summary
         actions]. Every agency shall proceed with reasonable dispatch to conclude any
         matter presented to it except that due regard shall be had for the convenience and
         necessity of the parties or their representatives. Nothing herein shall be construed
         either to grant or to deny to any person who is not a lawyer the right to appear
         for or represent others before any, agency or in any agency proceeding.
              (b) INVESTIGATIo.N;s.-No process, requirement of a report, inspection, or other
         investigative act or demand shall be issued, made, or enforced in any manner or
         for any purpose except as authorized by law. Every person compelled to submit
         data or evidence shall be entitled to retain or, on payment of lawfully prescribed
         costs, procure a copy or transcript thereof, except that in a nonpublic investi-
         gatory proceeding the witness miay for good cause be limited to inspection of the
         official transcript of his testimony.
              (C) SUUBPENAs.-Agency subpenas authorized by law shall be issued to any
         party upon request and, as may be required by rules of procedure, upon a state-
         ment or showing of general relevance and reasonable scope of the evidence sought.
         Upon contest the court shall sustain any such subpena or similar process or demand
         to the extent that it is found to be in accordance with law and, in any proceeding
         for enforcemelit, shall issue an order requiring the appearance of the witness or
         the production of the evidence or data within a reasonable time under penalty of
         punishment for contempt in case of contumacious failure [to do so] to comply.'3
            10 'I'he exeuiption Is broadened to Include facilities and practices, which are quite as important as rates and
         often involved in the determination of rate questions. It also seems a wise clarlflcation to use the broader
         term "validity or applicstion" instead of merely ''past reasonablenesis." It is understood that the reason
         for this exemption is that these i)roceedings are often consolidate(d with rule making so that, unless the
         exem)tiof is properly made, either rule making will be restricted or the consoli(iation of proceedings may
         impossible.
            " The word "orderly" Is substituted because "responsible" Is used later In the saene sentence In a some-
         what different sense.
            is It seems desirable to specify that Interlocutory proceedings are Included. The change does not restrict
         tile section. Stop-order proceedings arc one form of interlocutory      action.
            13 The additions are made to clarify the intended meaning of the provisions.




                                                                                 Defs.' MSJ App. 428
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 208 of 212 PageID 3725
                        ADMINISTRATIVE PROCEDURE ACT               53
          (d)written
               DENIALS.-Prompt notice shall       be given of the denial in whole orin part of
        any          application, petition,  or other request of any interested person made in
        connection with any agency proceeding.          Except in affirming a prior denial or
        where the denial is self-explanatory, such notice shall be accompanied by a simple
        statement  of procedural or other grounds.'4
                                                  HEARINGS
           SEC. 7. In hearings whichsection 4 or 5 requires to be conducted pursuant to
        this section-
           (a) PRESIDINGOFFICERS.-There shall preside at the taking of evidence (1)
        the agency, (2) one or more members of the body which comprises the agency,
        or (3) one or more examiners appointed as                       provided
                                                                      in this Act; but nothing in
        this Act shall be deemed to supersede the conduct of specified classes of proceed-
        ings   in. whole or part by or before boards or other officers specially-piovided for by
        ordesignated pursuant to statute. The functions of all presiding officers and of
        officers participating in decisions in conformity with section 8 shall be conducted
        in an impartial manner. Any such officer may at any time withdraw if he deems
        himself disqualified; and, upon the filing in good faith of a timely and sufficient
        affidavit of personal bias or disqualification of any such officer, the agency shall
        determine the matter as a part of the record and decision in the case.
           (b) HEARING POWERS.-Officers            presiding at hearings shall have authority,
                                           of the agency and within its powers, to (1) administer
        subject to the published rulesissue
        oaths and affirmations, (2)            subpenas authorized by law, (3) rule upon offers
        of proof and receive relevant evidence, (4) take or cause depositions to be taken
        whenever the ends of justice would be served thereby, (5) regulate the course of the
        hearing, (6) hold conferences for the settlement or simplification of the issues by
        consent of the parties, (7) dispose of procedural requests or similar matters, (8)
        make decisions or recommend decisions in conformity with section 8, and (9)
        take any other action authorized by agency rule consistent with this Act.
        or (C)
                 EVIDENCE.-EXcCpt as statutes otherwiseprovide, the proponent of a rule
            order shall have the burden of proof. Any Levidence] oral or documentary
        evidence    15 may be received, but every agency shall as a matter of policy provide
        for the exclusion of irrelevant,' immaterial, [and] or unduly repetitious evidence
        and no sanction shall be imposed or rule or order beissued except upon considera-
        tion                record orsuch portions thereof as may be cited by any party and17 as
              of the wholeand
        supported by            in accordance with the Erelevant] reliable,            probative,
        and substantial evidence."8 Every party shall have the right to present his case
                                                                                                   [and]
        or defense by oral or documentary evidence, to submit rebuttal evidence, and to
        conduct such cross-examination as may be required for a full and true disclosure
        of the facts. In rule making or determining claims for money or benefits or
        applications     for initial licenses any agency may, where the interest of any party
        will not be prejudiced thereby, adopt procedures for the submission of all or
        part of the evidence in written form.
           (d) RECORD.-The          transcript of testimony     and exhibits, together with                               all
        papers     and requests filed in the           proceeding,
                                                            shall constitute the exclusive record
        for decision in accordance with section 8 and, upon payment of lawfully pre-
        scribed costs, shall be made available to the parties.                         Wi
                                                                         here any agency decision
        rests on official notice of a material fact not appearing in the evidence in the
        record, any party shall on timely request be afforded an opportunity to show the
        contrary.
                                                           DECISIONS
               SEC. 8. In cases in which a hearing is required to be conducted in conformity
        with section 7-
               (a) ACTION BY rUBORDINATES.-In cases in which the agency has not presided
        at the reception of the evidence, the officer who presided (or, in cases not subject
        to subsection (c) of section 5, any other officer or officers qualified to preside at
        Is 1procedural,
            2 'I'ic addedthelanguage   is designed to clarify the provision by making it clear that, If the ground for denial
                              agency must     say so.
           28 The prior form involved an unnecessary circumlocution of language.
           26 The word "relevant" has been stricken from the latter part of this sentence and the word "irrelevant"
                                               where It more appropriately belongs, to achieve the samein purpose.
                That the whole of thepoint
        has been inserted      at this
           s 1                             relevant record  must be considered is the rule laid down such   section 10 (e) on
        Judicial
        at the
                   review,   but sonic hypercritical mind might contend that the omission to specifyrequired
                agency stage proceedings Intentional
                                  of                was             and meant that the agency Is not
                                                                                                                consideration
                                                                                                                   to consider
        the whole record.
           It The insertion of the word "substantial" Is made for the same reason as the insertion explained in note
        17. Obviously the agency will proceed in accordance with the evidence which it fiuds reliable, probative,
        and substantial-there Is no reason why the bill should not say so.




                                                                                    Defs.' MSJ App. 429
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 209 of 212 PageID 3726
         54             ADMINISTRATIVE PROCEDURE ACT
        hearings pursuant to section 7) shall initially decide the case or the agency shall
        require (in specific cases or by general rule) the entire record to be certified to It
        for initial decision. Whenever such officers make the initial decision and in the
        absence of either an appeal to the agency or review upon motion of the agency
        within time provided by rule, such decision shall without further proceedings then
        become the decision of the agency. On appeal from or review of the intital
        decisions of such officers the agency shall, except as it may limit the issues upon
        notice or by rule, have all the powers which it would have in making the initial
        decision. Whenever the agency makes the initial decision without having presided
        at the reception of the evidence, such officers shall first recommend a decision
        except that in rule making or determining applications for initial licenses (1) in
        lieu thereof the agency may issue a tentative decision or any of its responsible
        officers may recommend a decision or (2) any such procedure may be omitted in
        any case in which the agency finds upon the record that due and timely execution
        of its function imperatively and unavoidably so requires
           (b) SUBMITrALS AND DECISIONS.-Prior to each recommended, initial, or tenta-
        tive decision, or decision upon agency review of the decision of subordinate officers
        the parties shall be afforded a reasonable opportunity to submit for the considera-
        tion of the officers participating in such decisions (1) proposed findings and
        conclusions, or (2) exceptions to the decisions or recommended decisions of sub-
        ordinate officers or to tentative agency decisions, and (3) supporting reasons for
        such exceptions or proposed findings or conclusions. The record shall shot the
        ruling upon each such finding, conclusion, or exception presented." All decisions
        (including initial, recommended, or tentative decisions) shall become a part of
        the record and include a statement of (1) findings and conclusions, as well as the
        reasons or basis therefor, upon all the material issues of fact, law, or discretion
        presented on the record; 20 and (2) the appropriate rule, order, sanction, relief, or
        denials thereof.
                                       SANCTIONS AND POWERS
           SFC. 9. In the exercise of any power or authority-
           (a) IN GENERAL.-No sanction shall be imposed or substantive rule or order be
        issued except within jurisdiction delegated to the agency and as authorized by law.
           (b) cAENSES.-In any case in which application is made for a license required
        by law the agency, with due regard to the rights or privileges of all the interested
        parties or adversely affected persons and with reasonable dispatch, shall set and
        complete any proceedings required to be conducted pursuant to sections 7 and 8
        of this Act or other proceedings required by law and shall make its decision.
        Except in cases of willfulness or those in which public health, interest, or safety
        requires otherwise, no withdrawal, suspension, revocation, or annulment of any
        license shall be lawful unless, prior to the institution of agency proceedings there-
        for, facts or conduct which may warrant such action shall have been called to the
        attention of the licensee b3 the agency in writing and the licensee shall have been
        accorded opportunity to demnonst rate or achieve compliance with all lawful
        requirements. In any case in which the licensee has, in accordance with agency
        rules, made timely and sufficient application for a renewal or a new license, no
        license with reference to any activity of a cont inning nature shall expire until such
        application shall have been finally determined by the agency.
                                                JUDICIAI REvIEw
            SEc. 10. Except so far as (1) statutes preclude judicial review or (2) agency
        action is by law committed to agency discretion-
            (a) RIGHT OF REVIE;w.-Any person suffering legal wrong because of any
        agency action, or adversely affected or aggrieved by such action within the mean-
        ing of any relevant statute, shall be ent~itle(l to judicial review thereof.
            (b) FORM AND VENUE OF ACrloN.-The form of proceeding for judicial review
        shall be any special statutory review proceeding relevant to the subject matter in
        any court specified by statute or, in the absence or inadequacy thereof, any appli-
        cable form of legal action (including actions for declaratory judgments or writs of
        prohibitory or mandatory injunction or habeas corpus) in any court of competent
        jurisdiction. Agency action shall be subject to judicial review in civil or criminal
          to rhe sentence is added for the purpose of requiring agencies to note their rulings somewhere on the
        record In order to preclude later controversy as to what the agency had done.
           ' "Rteasons or" an(l "on the record" are inserted for purposes of clariflcation. "Basis" ought to include
        "reasons," hut use of both words will preclude controversy. "Presented" should mean "on the record,"
        or the protection of both agencies and parties, and the matter should be made specific.




                                                                             Defs.' MSJ App. 430
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 210 of 212 PageID 3727
                        ADMINISTRATIVE PROCEDURE ACT               55
         proceedings for judicial enforcement except to the extent that prior, adequate,
         and exclusive opportunity for such review is provided by law.
            (C) REVIEWABLE ACTS.-EVcry agency action made reviewable by statute and
         every final agency action for which there is no other adequate remedy in any
         court shall be subject to judicial review. Any preliminary, procedure, or inter-
         mediate agency action or ruling not directly reviewable shall be subject to review
         upon the review of the final agency action. Except as otherwise expressly
         required by statute, agency action otherwise final shall be final for the purposes of
         this subsection whether or not there has been presented or determined any appli-
         cation for a declaratory order, for any form of reconsideration, or unlesss the
         agency otherwise requires by rule and provides that the action meanwhile shall be
         inoperative) for an appeal to superior agency authority.21
            (d) INTERIM RELIEF.-Pending judicial review any agency is authorized, where
         it finds that justice so requires, to postpone the effective date of any action taken
         by it. Upon such conditions as may be required and to the extent necessary to
         prevent irre)arable injury, every reviewing court (including every court to which
         a case may be taken onl appeal from or upon application for certiorari or other
         writ to a reviewing court) is authorized to issue all necessary and appropriate
         process to postpone the effective date of any agency action or to preserve status
         or rights pending conclusion of the review proceedings.
            (e) SCOPE OF REVIEW.-So far as necessary to decision and where presented
         the reviewing court shall decide all relevant questions of law, interpret conIstitu-
         tional and statutory provisions, and determine the meaning or applicability of the
         terms of gizy ..gency action. It shall (A) compel agency action unlawfully with-
         held or unreasonably delayed; and (B) hold unlawful and set aside agency action,
         findings, and conclusions found to be (1) arbitrary, capricious, an abuse of dis-
         cretion,22 or otherwise not in accordance with law; (2) contrary to constitutional
         right, power, privilege, or immunity; (3) in excess of statutory jurisdiction, au-
         thority, or limitations, or short of statutory right; (4) without observance of pro-
         cedure required by law; (5) unsupported by substantial evidence in any case sub-
         ject to the requirements of sections 7 and 8 or otherwise reviewed on the record of
         an agency hearing provided by statute; or (6) unwarranted by the facts to the ex-
         tent that the facts are subject to trial de novo by the reviewing court. In inaking
         the foregoing determinations the court shall review the whole record or Such por-
         tions thereof as may be cited by [the parties] any party,23 and due account shall be
         taken of the rule of prejudicial error.
                                                        EXAMINE RS
             SEc. 11. Subject to the civil-service and other laws to the extent not incon-
         sistent with this Act, there shall be appointed by and for each agency as many
         qualified and competent examiners as may be necessary for proceedings pursuant
         to sections 7 and 8, who shall be assigned to cases in rotation so far as practicable
         and shall perform no duties inconsistent with their duties and responsibilities as
         examiners. Examiners shall be removable by the agency in which they are
         employed only for good cause established and determined by the Civil Service
         Commission (hereinafter called the Commission) after opportunity for hearing
         and upon the record thereof. Examiners shall receive compensation prescribed
         by the Commission; independently of agency recommendations or ratings and in
         accordance with the Classification Act of 1923, as amended, except that the pro-
         visions of paragraphs (2) and (3) of subsection (b) of section 7 of said Act, as
         amended, and the provisions of section 9 of said Act, as amended, shall not be
         applicable. Agencies occasionally or temporarily insufficiently staffed may
         utilize examiners selected by the Commission from and with the consent of other
           21 The change is made to clarify the provision by making specifically the language of the bill the explana.
         tion given In tile Senate Committee report (p. 27). It should he noted that section 8 (a) permits agencies
         to lrosvide by rule for appeals to then from initial decisions of examiners. That provision, as well as this
         provision of section 10 (c), would authorize an agency to adopt rules requiring a party to take a timely
         appeal to the agency before resorting to the courts. A party cannot wilfully fail to exhaust his adminis-
         trative remedies and then, after the agency action has become operative either secure a suspension of the
         agency action by a belated appeal to the agency, or resort to court without having given the agency an
         opl)Ortunity to determine the questions raised. if he so fails he is precluded from judicial review by the
         application of the time-honored doctrine of exhaustion of administrative remedies. This is not to av that
         after the right to an administrative appeal has lapsed an agency may not, on proper application, either
         reconsider an adjudication or receive proposals for the modification of a rule, with or without suspending-
         the operation of the agency action involved.
            "
           23 The change is designed to make it clear that S. 7 preserves judicial review of abuses of discretion.
              This change Is to conform the language with the similar provision in sec. 7 (c).




                                                                               Defs.' MSJ App. 431
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23 Page 211 of 212 PageID 3728
         .56            ADMINISTRATIVE PROCEDURE ACT
        agencies. For the purposes of this section, the Commission is authorized to make
        investigations, require reports by agencies, issue reports, including an annual
        report to the Congress, promulgate rules, appoint such advisory committees as
        may be deemed necessary, recommend legislation, subpena witnesses or records,
        and pay witness fees as established for the United States courts.
                                    CONSTRUCTION AND EFFECT
           SEC. 12. Nothing in this Act shall be held to diminish the constitutional rights
        of any person or to limit or repeal additional requirements imposed by statute
        or otherwise recognized by law. Except as otherwise required by law, all require-
        ments or privileges relating to evidence or procedure shall apply equally to agen-
        cies and persons. If any provision of this Act or the application thereof is held
        invalid, the remainder of this Act or other applications of such provision shall not
        be affected. Every agency is granted all authority necessary to comply with the
        requirements of this Act through the issuance of rules or otherwise. No subse-
        *quent legislation shall be held to supersede or modify the provisions of this Act
        except to the extent that such legislation shall do so expressly. This Act shall
        take effect three months after its approval except that sections 7 and 8 shall take.
        effect six months after such approval, the requirement of the selection of examiners
        pursuant to section 11 shall not become effective until one year after such approval,
        and no procedural requirement shall be m- -datory as to any agency proceeding
        initiated prior to the effective date of such requirement.




                                                             Defs.' MSJ App. 432
Case 4:22-cv-00691-O Document 182-1 Filed 02/13/23               Page 212 of 212 PageID 3729




                                      APPENDIX B
                               LETTER oF ATTORNEY GENERAL
                                                                          APRIL 3, 1946:
         lon. FRANCiS E. WALTER,
              Chairman, Subcommittee on Administrative Law,
                  Committee on the Judiciary,
                        House of Representatives, Washington, D. C.
            MY DEAR CONGRESSMAN WALTER: I have carefully reviewed the revised version
         of H. R. 4941, a bill to improve the administration of justice by prescribing fair
         administrative procedure, as contained in the attached document entitled "Final
         Draft, April 2, 1946."
            The changes indicated in the enclosed draft, as explained by the notes appended
         thereto, are not objectionable to the Department of Justice. They may, in
         general, be described as clarifications of the language and intention of H. R.
         4941, as introduced by Congressman Sumners on December 10,1945. As you
         know, I recommended the enactment of H. R. 4941 in my letter to Congressman
         Sumners dated October 19, 1945.
            With kind personal regards.
                Sincerely yours,
                                                        TOM C. CLARK, Attorney General.
                                                                                   67
                                                0




                                                            Defs.' MSJ App. 433
